                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 1 of 305 Page ID #:1




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        JEFFREY S. RANEN, SB# 224285
                      2   E-Mail: Jeffrey.Ranen@lewisbrisbois.com
                        SOOJIN KANG, SB# 219738
                      3   E-Mail: Soojin.Kang@lewisbrisbois.com
                        ANDREA L. STEFFAN, SB# 332596
                      4   E-Mail: Andrea.Steffan@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                      5 Los Angeles, California 90071
                        Telephone: 213.250.1800
                      6 Facsimile: 213.250.7900
                      7 Attorneys for Defendants,
                        CITY OF SANTA ANA, non-jural entity
                      8 SANTA ANA POLICE DEPARTMENT,
                        KRISTINE RIDGE, SONIA
                      9 CARVALHO, and JASON MOTSICK
                    10
                                                      UNITED STATES DISTRICT COURT
                    11
                                     CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                    12
                    13
                       SANTA ANA POLICE OFFICERS                      Case No.
                    14 ASSOCIATION; GERRY SERRANO,
                                                                      [Orange County Superior Court Case
                    15                      Plaintiffs,               No.: 30-2021-01230129-CU-OE-CJC]
                    16             vs.
                                                                      NOTICE OF REMOVAL UNDER 28
                    17 CITY OF SANTA ANA, a Municipal                 U.S.C. §1441(a) (FEDERAL
                       corporation; SANTA ANA POLICE                  QUESTION)
                    18 DEPARTMENT; a public safety
                       department; DAVID VALENTIN,
                    19 Chief of Police; KRISTIN RIDGE, City           State Court Action Filed: 11/08/21
                       Manager; SONIA CARVALHO, City                  Federal Court Removal Filed: 1/24/22
                    20 Attorney; JASON MOTSICK, Director              Trial Date: None Set
                       of Human Resources; and DOES 1
                    21 through 10, inclusive,
                    22                      Defendants.
                    23
                                  TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR
                    24
                         THE CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION:
                    25
                                  PLEASE TAKE NOTICE that Defendants, City of Santa Ana (“City”), non-
                    26
                         jural entity Santa Ana Police Department, Kristin [sic] Ridge, Sonia Carvalho, and
                    27
                         Jason Motsick, hereby remove this action from the Superior Court of the State of
LEWIS               28
BRISBOIS
BISGAARD                 4863-3881-0123.1
& SMITH LLP
ATTORNEYS AT LAW                                             NOTICE OF REMOVAL
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 2 of 305 Page ID #:2




                      1 California, County of Orange (“Orange County Superior Court”) to the United
                      2 States District Court for the Central District of California, Southern Division, and in
                      3 furtherance of this removal avers:
                      4                              NOTICE OF REMOVAL IS TIMELY
                      5            1.        On November 8, 2021, Plaintiffs Santa Ana Police Officers Association
                      6    (“SAPOA”) and Gerry Serrano (“Serrano”) (collectively “Plaintiffs”), filed a
                      7    Complaint in the Orange County Superior Court, entitled Santa Ana Police Officers
                      8    Association and Gerry Serrano v. City of Santa Ana, et al., Case No. 30-2021-
                      9    001230129-CU-OE-CJC (“State Court Action”). Attached as Exhibit “A” is a true
                    10     and correct copy of the Complaint.
                    11             2.        On November 10, 2021, Plaintiffs attempted but failed to effectuate
                    12     service of process on Defendant City of Santa Ana, by using a defective summons
                    13     that was not signed by the court clerk, did not contain the seal of the court, and did
                    14     not indicate who was served or by what method, as required by California law.
                    15     Attached as Exhibit “B” is a true and correct copy of the defective Summons,
                    16     Notice of Case Management Conference, and Civil Case Cover Sheet, that were
                    17     delivered to the Clerk of the Council of the City of Santa Ana, on November 10,
                    18     2021, along with a copy of the Complaint (Ex. A).
                    19             3.        Specially appearing in the State Court Action, Defendant City of Santa
                    20     Ana filed a Motion to Quash Service of Summons, on December 10, 2021, and also
                    21     filed an Ex Parte Application to advance the Motion to Quash hearing date, on
                    22     December 15, 2021. Plaintiffs filed an Opposition to the Ex Parte Application on
                    23     December 16, 2021. Attached as Exhibits “C”, “D”, and “E” are true and correct
                    24     copies of the Motion to Quash (with supporting Declaration and Proposed Order),
                    25     Ex Parte Application (with Proposed Order), and Opposition to Ex Parte
                    26     Application, respectively. On December 16, 2021, the Honorable Lon Hurwitz
                    27     granted Defendant City of Santa Ana’s Ex Parte Application and advanced the

LEWIS               28     hearing of the Motion to Quash from April 20, 2022 to January 7, 2022. Attached
BRISBOIS
BISGAARD
& SMITH LLP
                          4863-3881-0123.1                               2
ATTORNEYS AT LAW                                                 NOTICE OF REMOVAL
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 3 of 305 Page ID #:3




                      1    as Exhibit “F” is a true and correct copy of the Notice of Granting the Ex Parte
                      2    Application.
                      3            4.        On December 23, 2021, Plaintiffs re-attempted service of process on
                      4    Defendant City of Santa Ana, this time with a revised Summons that was signed by
                      5    the court clerk, contained the seal of the court, and indicated that the City of Santa
                      6    Ana was served under California Code of Civil Procedure §416.50 by personal
                      7    delivery. Attached as Exhibit “G” is a true and correct copy of the revised
                      8    Summons that was delivered to the Clerk of the Council of the City of Santa Ana,
                      9    on December 23, 2021, along with a copy of the Complaint (Ex. A), Civil Case
                    10     Cover Sheet (Ex. B, pg. 59-60), and Notice of Case Management Conference (Ex.
                    11     B., pg. 57-58).
                    12             5.        Also on December 23, 2021, Plaintiffs purported to attempt service on
                    13     Defendants David Valentin, Kristin [sic] Ridge, Sonia Carvalho, and Jason
                    14     Motsick, and non-jural entity Santa Ana Police Department, by delivering to the
                    15     Clerk of the Council of the City of Santa Ana the revised Summons, Complaint,
                    16     Civil Case Cover Sheet, and Notice of Case Management Conference. However,
                    17     service was ineffective because none of them was personally served, the revised
                    18     Summons stated that each individual Defendant was served under California Code
                    19     of Civil Procedure §416.50 (which provides for service of process on public
                    20     entities, not on individuals), and Santa Ana Police Department, a department within
                    21     the City of Santa Ana, is a non-jural entity. Attached as Exhibit “H” is a true and
                    22     correct copy of the revised Summonses directed at Defendants David Valentin,
                    23     Kristin [sic] Ridge, Sonia Carvalho, Jason Motsick, and non-jural entity Santa Ana
                    24     Police Department, and delivered to the Clerk of the Council of the City of Santa
                    25     Ana, on December 23, 2021.
                    26             6.        On January 7, 2022, Plaintiffs informed the court that they re-served
                    27     Defendant City of Santa Ana on December 23, 2021, and the court ordered the

LEWIS               28     Motion to Quash off calendar. Attached as Exhibit “I” is a true and correct copy
BRISBOIS
BISGAARD
& SMITH LLP
                          4863-3881-0123.1                                3
ATTORNEYS AT LAW                                                 NOTICE OF REMOVAL
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 4 of 305 Page ID #:4




                      1    of the Minute Order dated January 7, 2022.
                      2            7.        Notwithstanding the ineffective purported service on the individual
                      3    Defendants, Defendant City of Santa Ana agreed, on January 7, 2022, to accept
                      4    service of process on behalf of Defendants David Valentin, Kristin [sic] Ridge,
                      5    Sonia Carvalho, and Jason Motsick and so advised counsel for Plaintiffs.
                      6            8.        This Notice of Removal is timely filed pursuant to 28 U.S.C. §
                      7    1446(b)(1), which requires removal “within 30 days after the receipt by the
                      8    defendant, through service or otherwise, of a copy of the initial pleading.” Using
                      9    the earliest effective service date of December 23, 2021, the 30th day after was
                    10     January 22, 2022, a Saturday. As such, by operation of FRCP Rule 6(a)(1)(C), this
                    11     Notice of Removal is timely filed on Monday, January 24, 2022. (See Moistner v.
                    12     Aerojet Rocketdyne, Inc., 2021 U.S. Dist. LEXIS 134192 at 2-3 (C.D. Cal. July 16,
                    13     2021); Krug v. Wells Fargo Bank, N.A., 2011 U.S. Dist. LEXIS 143218 (N.D. Cal.
                    14     Dec. 13, 2011.)
                    15                         FEDERAL QUESTION JURISDICTION EXISTS
                    16             9.        This action is a civil action of which this Court has original jurisdiction
                    17     under 28 U.S.C. § 1331 and is one which may be removed to this Court by
                    18     Defendants pursuant to the provisions of 28 U.S.C. § 1441(a), in that Plaintiffs’
                    19     Third Cause of Action arises under the First Amendment of the U.S. Constitution
                    20     and 42 U.S.C. § 1983.
                    21             10.       “The presence or absence of federal-question jurisdiction is governed
                    22 by the ‘well-pleaded complaint rule,’ which provides that federal jurisdiction exists
                    23 only when a federal question is presented on the face of the plaintiff’s properly
                    24 pleaded complaint.” (Caterpillar, Inc. v. Williams, 482 U.S. 386, 392 (1987).)
                    25             11.       Generally, actions for violations of federal law are within federal
                    26 question jurisdiction. (See e.g. Rains v. Criterion Sys., 80 F.3d 339, 343 (9th Cir.
                    27 1996) (identifying as one of three possible grounds for federal question jurisdiction

LEWIS               28 “that federal law creates the cause of action [the plaintiff] asserted”; Merrell Dow
BRISBOIS
BISGAARD
& SMITH LLP
                          4863-3881-0123.1                                 4
ATTORNEYS AT LAW                                                  NOTICE OF REMOVAL
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 5 of 305 Page ID #:5




                      1 Pharmaceuticals Inc. v. Thompson, 478 U.S. 804, 807-10 (1986) (“[t]he ‘vast
                      2 majority’ of cases that come within this grant of jurisdiction are covered by Justice
                      3 Holmes’ statement that a ‘suit arises under the law that creates the cause of
                      4 action.’”)
                      5            12.       Here, the federal question is presented on the face of Plaintiffs’
                      6 pleading in the Third Cause of Action for “Violations of Constitutional Right to
                      7 Freedom of Speech,” alleging violation of the First Amendment to the U.S.
                      8 Constitution and enforcement under 42 U.S.C § 1983. (Ex. A, pg. 40, ln. 4-6 and ln.
                      9 16-17). Plaintiffs allege facts supporting municipal liability for violation of 42
                    10 U.S.C § 1983 under Monell v. Department of Social Services, 436 U.S. 658, 690
                    11 (1978). (Ex. A, pg. 41, ln. 4-8.) Plaintiffs also seek monetary damages (pg. 40, ln.
                    12 28-pg. 41, ln. 1 and ln. 18-19), which are available under 42 U.S.C § 1983 but are
                    13 generally not available for free speech violations under the California Constitution.
                    14 (See, Degrassi v. Cook, 29 Cal.4th 333, 342 (2002).) Thus, while Plaintiffs also
                    15 reference the California Constitution alongside the U.S. Constitution and may be
                    16 making a claim for free speech violation under state law as well, federal law creates
                    17 a claim under Plaintiffs’ Third Cause of Action and Plaintiffs’ right to relief
                    18 thereunder necessarily depends on resolution of a substantial question of federal
                    19 law.
                    20             13.       Accordingly, federal question jurisdiction exists, and this action may be
                    21 removed under 28 U.S.C. § 1441(a).
                    22     SUPPLEMENTAL JURISDICTION EXISTS OVER STATE LAW CLAIMS
                    23             14.       This Court has supplemental jurisdiction over claims “that are so
                    24 related to claims in the action within such original jurisdiction that they form part of
                    25 the same case or controversy under Article III of the United States Constitution,”
                    26 pursuant to 28 U.S.C. § 1367(a).
                    27             15.       Supplemental jurisdiction exists because all six causes of action are

LEWIS               28 alleged against Defendant City of Santa Ana and non-jural entity Santa Ana Police
BRISBOIS
BISGAARD
& SMITH LLP
                          4863-3881-0123.1                                 5
ATTORNEYS AT LAW                                                  NOTICE OF REMOVAL
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 6 of 305 Page ID #:6




                      1 Department, based on allegations related to Plaintiff Serrano’s role as a sergeant in
                      2 the Santa Ana Police Department and as president of the Santa Ana Police Officers
                      3 Association, set forth in paragraphs 1 through 94 of the Complaint. Based on the
                      4 same allegations, Plaintiffs also allege the first four causes of action against all
                      5 individual Defendants and the fifth cause of action against all individual Defendants
                      6 except Jason Motsick. Paragraphs 1-94 of the Complaint are referenced and re-
                      7 alleged in support of every cause of action in the Complaint. (Ex. A, ¶¶96, 113,
                      8 144, 156, 174, 191.) Thus, as pled, all of Plaintiffs’ causes of action are based on
                      9 the same allegations.
                    10            16.       In the Third Cause of Action, in particular, Plaintiffs allege that
                    11 Defendants engaged in “acts and/or omissions” that Plaintiffs allege violate their
                    12 “right to freedom to speak, write and publish their sentiments, and/or their ability to
                    13 petition government for redress of grievances, assemble and to consult for the
                    14 common good” (Ex. A, ¶146), but Plaintiffs do not identify any of the “acts and/or
                    15 omissions.” Instead, they re-allege paragraphs 1-143 of their Complaint (Ex. A,
                    16 ¶144) and then allege that “[e]ach and every act listed above, individually or jointly,
                    17 constitutes a violation of Plaintiffs’ speech rights…” (Ex. A, ¶148.)
                    18            17.       Therefore, each of Plaintiffs’ claims is “so related to claims in the
                    19 action within such original jurisdiction that they form part of the same case or
                    20 controversy under Article III of the United States Constitution” and is thus subject
                    21 to this Court’s supplemental jurisdiction.
                    22 THE OTHER PREREQUISITES FOR REMOVAL HAVE BEEN SATISFIED
                    23            18.       All served Defendants have joined in or consented to removal.
                    24            19.       Venue is proper in this division of this district, pursuant to 28 U.S.C.
                    25    §§ 84(c)(3) and 1441(a), because it embraces the state court where the removed
                    26    action has been pending.
                    27            20.       All process, pleadings, and orders filed in this action and served upon

LEWIS               28 Defendants are attached hereto. (Ex. A through Ex. I.)
BRISBOIS
BISGAARD
& SMITH LLP
                         4863-3881-0123.1                                 6
ATTORNEYS AT LAW                                                 NOTICE OF REMOVAL
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 7 of 305 Page ID #:7




                      1            21.       Defendants will promptly give Plaintiffs written notice of the filing of
                      2 this Notice of Removal and will promptly file a copy of this Notice of Removal with
                      3 the Clerk of the Orange County Superior Court, wherein the action is currently
                      4 pending.
                      5            22.       If any questions arise as to the propriety of the removal of this action,
                      6 Defendants request the opportunity to present a brief and oral argument in support
                      7 of their position that this case is removable.
                      8 DATED: January 24, 2022                      Respectfully submitted,
                      9
                                                                     LEWIS BRISBOIS BISGAARD & SMITH LLP
                    10
                    11
                    12                                               By:
                    13                                                     JEFFREY S. RANEN
                                                                           SOOJIN KANG
                    14                                                     ANDREA L. STEFFAN
                    15                                                     Attorneys for Defendants,
                                                                           CITY OF SANTA ANA, SANTA ANA
                    16                                                     POLICE DEPARTMENT, KRISTINE
                    17                                                     RIDGE, SONIA CARVALHO, and
                                                                           JASON MOTSICK
                    18
                    19
                    20
                    21
                    22
                    23
                    24
                    25
                    26
                    27

LEWIS               28
BRISBOIS
BISGAARD
& SMITH LLP
                          4863-3881-0123.1                                 7
ATTORNEYS AT LAW                                                  NOTICE OF REMOVAL
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 8 of 305 Page ID #:8




                             EXHIBIT A
  '   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 9 of 305 Page ID #:9
            Electronically Filed by Superior Court of California, County of Orange, 11/08/2021 08:00:00 AM.
30-202 -01230129-CU-OE-CJC - ROA# 2 - DAVID H. YAMASAKI, Clerk of the Court By Jessica Duarte, Deputy Cl rk.




      1   COREY W. GLAVE (State Bar No. 164746)
          Attorney at Law
      2   632 S. Gertruda Ave
          Redondo Beach, CA 90277
      3   Phone: (323) 547-0472
          POAattorney@aol.com
      4

      5   Attorneys for Plaintiffs
          Santa Ana Police Officers Assn
      6   and Gerry Serrano

      7
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
      8
                                   FOR THE COUNTY OF ORANGE-CENTRAL
      9
                                                        AosFif1MillforAmE'ul'Jll'lffll1 Judge Lon F. Hurwit,
  10
          SANTA ANA POLICE OFFICERS                          Case 30-2021-01230129-CU-OE-CJC
  11      ASSOCIATION; GERRY SERRANO
                                                             CIVIL COMPLAINT
  12                 Plaintiffs,
          vs.                                                1.      VIOLATION OF GOVERNMENT
  13                                                                 CODE §3500, ET SEQ.
          CITY OF SANTA ANA, a Municipal                     2.      VIOLATION OF THE PUBLIC
  14      Corporation; SANTA ANA POLICE                              SAFETY OFFICERS
          DEPARTMENT, a public safety                                PROCEDURAL BILL OF
  15      department; DAVID VALENTIN, Chief                          RIGHTS ACT, GOVERNMENT
          of Police; KRISTIN RIDGE, City                             CODE SECTION 3300 ET. SEQ.
  16      Manager; SONIA CARVALHO, City        )             3.      VIOLATION OF FREEDOM OF
          Attorney; JASON MOTSICK, Director of )                     SPEECH
  17      Human Resources; DOES 1-X, inclusive)              4.      VIOLATION OF LABOR CODE
                                                    )                §§1102, 1102, 1102.5
  18                 Defendants.                             5.      VIOLATION OF PENAL CODE
                                                                     §§832.5-832.8, EVIDENCE
  19                                                                 CODE §§1043-1046
                                                             6.      RETALIATION UNDER
  20                                                                 GOVERNMENT CODE §12900,
                                                                     ET SEQ.
  21

  22      ____________ )                                     REQUEST FOR JURY TRIAL

  23

  24            COMES NOW PLAINTIFFS SANTA ANA POLICE OFFICERS ASSOCIATION

  25      and GERRY SERRANO and allege as follows:

  26            1.    Plaintiff Santa Ana Police Officers Association (SAPOA) is the recognized

  27      employee organization as defined under Government Code §3500, et seq., and/or

  28      Government Code §3501(a). The SAPOA has as one of its primary purposes the



                                                  COMPLAINT
                                                                                                  EXHIBIT A
                                                                                                    Page 8
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 10 of 305 Page ID #:10




 1   representation of sworn and non-sworn employees of the Santa Ana Police Department

 2   in their employment relations with the City of Santa Ana and/or Santa Ana Police

 3   Department. In the sworn ranks the SAPOA represents all sworn officers holding the

 4   ranks of Police Sergeant and below, as well as Correctional Supervisor and below.

 5          2.     Plaintiff Gerry Serrano has been since 2016, and now is, the President of

 6   the Santa Ana Police Officers Association and the recognized representative of the

 7   Santa Ana Police Officers Association as that term is used in Government Code

 8   §3502.1. He is also a sworn police officer, holding the rank of Police Sergeant with the
 9   Santa Ana Police Department.

10          3.     Defendant City of Santa Ana is a Municipal Corporation existing under the

11   Constitution and the laws of the State of California. The City of Santa Ana is a public

12   agency as that term is defined in Government Code §3501(c). It is a municipal entity

13   employing public employees and thus, has a mandatory duty to comply with the

14   provisions of Government Code §3300, et seq., and Government Code §3500, et seq.

15          4.     Defendant Santa Ana Police Department is a department of the City of

16   Santa Ana and a public safety department, as that terms is used in Government Code

17   §3309.5. Defendant Santa Ana Police Department is also a public agency, as that term

18   is used in Government Code §3500, et seq.

19          5.     Defendant Kristine Ridge was and is the City Manager for the City of

20   Santa Ana, and the direct supervisor/appointing authority of the Chief of Police and

21   Human Resource Director. Ridge is the person responsible for the operations of the

22   city, including the overall management of the City. Plaintiffs have information and belief

23   that Ridge participated in, supervised and/or was actively involved in the incidents

24   giving rise to this action in both her individual and official capacities.

25          6.     Defendant David Valentin was and is the appointed Chief of Police for the

26   City of Santa Ana, Santa Ana Police Department. As such he is charged with the

27   supervision and management of personnel, including personnel investigations and

28   discipline of employees of the Santa Ana Police Department. Plaintiffs have information

                                                    2

                                               COMPLAINT
                                                                                    EXHIBIT A
                                                                                      Page 9
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 11 of 305 Page ID #:11




 1   and belief that Valentin participated in, supervised and/or was actively involved in the

 2   incidents giving rise to this action in both his individual and official capacities.

 3          7.     Sonia Carvalho was and is a private attorney employed by the law firm of

 4   Best Best and Krieger LLP, and is the appointed and/or contracted City Attorney for the

 5   City of Santa Ana. Plaintiffs have information and belief that Carvalho participated in,

 6   supervised and/or was actively involved in the incidents giving rise to this action in both

 7   her individual and official capacities, and that she acted outside the scope of her duties

 8   as an attorney when engaging in acts described below.

 9          8.      Defendant Jason Motsick was and is the appointed Human Resource

10   Director for the City of Santa Ana and is charged with the supervision and management

11   of personnel, including personnel investigations and discipline of employees of the

12   Santa Ana Police Department. Plaintiffs have information and belief that Motsick

13   participated in, supervised and/or was actively involved in the incidents giving rise to

14   this action in both his individual and official capacities.

15          9. At all times herein mentloned, DOES 1-X, inclusive, were the agents, servants

16   and emploxees of Respondent, City of Santa Ana and/or Santa Ana Police Department,

17   and in doing the things hereinafter alleged, were acting within the scope of their

18   authority as such agents, servants and employees with the permission and consent of

19   Respondents. Claimant will amend the Complaint to allege true names and capacities

20   of DOES 1-X, inclusive when ascertained.

21                                         GENERAL FACTS

22          10.     Serrano became President of the SAPOA in 2016 and has served

23   continuously in the position.

24          11.    When seeking appointment as Chief of Police, Defendant Valentin sought

25   out and received the support of Serrano and the SAPOA. Later, when the SAPOA and

26   Serrano sought wages and benefits for the SAPOA membership and/or opposed

27   Valentin on matters of concerns to the Plaintiffs, Valentin's demeanor and working

28   relationship with Plaintiffs became adversarial.

                                                     3

                                               COMPLAINT
                                                                                            EXHIBIT A
                                                                                              Page 10
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 12 of 305 Page ID #:12




 1          12.    In or about February 2019, the City Council for the City of Santa Ana
 2   passed a resolution adopting a Memorandum of Understanding that provided
                                             ..
 3   significant, and needed salary increases for members of the SAPOA. Two City

 4   Councilpersons and Defendant Valentin opposed the raises. Thereafter, the SAPOA

 5   led a successful recall effort to remove the City Councilperson, causing Valentin to
 6   become concerned with the SAPOA's and Serrano's political influence.
 7          13.    Later, when Valentin attempted to obtain approval from the City Council to
 8   create an additional captain position so he could promote one of his allies,

 9   SAPOA/Serrano opposed the creation of the position. The City Council sided with the

10   SAPOA/Serrano and did not create an additional captain position. Valentin became

11   emotionally upset and barked at Serrano that he needed to "ST AND DOWN." It was

12   clear Valentin's concern about the SAPOA having more influence with the City Council
13   than he did was growing.

14          14.    Similarly, Defendant Carvalho began expressing to others that she did not
15   like Serrano. Thereafter, she would purposely interfere and obstruct items pertaining to
16   the SAPOA or Serrano.

17          15.    II is believed that Defendants Valentin and Carvalho formed a conspiracy

18   to attack Serrano and the SAPOA. Defendant Valentin and members of his police

19   management team have admitted animosity against Serrano as the President of the

20   Santa Ana Police Officers Association. This animosity has caused Defendant Valentin
21   and the management team under his guidance to treat members of the SAPOA

22   adversely if the employee is believed to be associated with or sought the aid of SAPOA

23   and/or SAPOA President Serrano. Due to this relationship, Defendant Valentin

24   purposely and intentionally interferes with the SAPOA's ability to represent its

25   membership and acts contrary to slate law. Conversely, Valentin gives special

26   treatment and turns a blind eye to allegations of misconduct by those he believes will

27   either give their loyalty to him and/or oppose the SAPOA/Serrano.
28
                                                  4

                                            COMPLAINT
                                                                                        EXHIBIT A
                                                                                          Page 11
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 13 of 305 Page ID #:13




 1                                           SPYING

 2          16.   In January, 2020, Defendant Valentin began spying on Plaintiff Serrano

 3   and members of the Santa Ana City Council by redirecting copies of all e-mail

 4   communications sent by Serrano to City Councilmember Solorio, from June 2017

 5   forward, to his office. Defendant Valentin then had the City's IT department put a tracer
 6   on all of Serrano's emails so that they would automatically be copied to Defendant

 7   Valentin.

 8                                  OTHER INTERFERENCE

 9          17.   During the last year and continuing to the present, Defendants have

10   censored membership communications and/or denied the SAPOA the ability to send

11   membership communications via the City's e-mail system.

12          18.   Defendant Valentin has engaged in action to advocate for a change of

13   leadership in the SAPOA and has attempted to interfere with SAPOA elections. Said

14   action includes, but is not limited to, encouraging candidates to run against Serrano for

15   the position of Association President, and questioning members' support for Serrano

16   when they are seeking special assignments and promotions.

17                          COMPLAINTS AGAINST LIEUTENANTS

18          19.   In or about January, 2020, the SAPOA and Serrano were informed of

19   allegations of misconduct by SAPD Lieutenants/Commanders Jose Gonzalez and

20   Robert Rodriguez. It was alleged that the two were maliciously spreading rumors

21   regarding activities of Serrano and the SAPOA. Plaintiffs have information and belief,

22   and thereon allege, that said actions constitute violations of department policy and

23   negatively impact the morale of the police department as well as cause division in the

24   SAPOA. The Plaintiffs met with Defendant Valentin and informed him of the allegations

25   of misconduct. Valentin appeared dismissive. Since Valentin failed to initiate an

26   investigation as required by Penal Code §§832.5-832.7, the SAPOA/Serrano reported

27   the information to Defendant Ridge. Again, no investigation was initiated of the police

28   commanders nor of Defendant Valentin.

                                                 5

                                            COMPLAINT
                                                                                   EXHIBIT A
                                                                                     Page 12
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 14 of 305 Page ID #:14




 1          20.    On or about June 8, 2021, Plaintiffs filed an official complaint regarding

 2   the commanders' actions and the failure to investigate the allegations with Defendant

 3   Motsick. Motsick also refused to initiate.an investigation of the commanders and
 4   Defendant Valentin.

 5                                      PERB COMPLAINT

 6          21.    In or about February, 2020, the SAPOA filed an Unfair Practice Charge

 7   with the Public Employment Relations Board (PERB) alleging that the City of Santa Ana

 8   had interfered with, intimidated, attempted to restrain and coerce members of the

 9   Association and Gerry Serrano. The City informally resolved the matters, so the SAPOA

10   withdrew the charge.

11                                      CAMPAIGN SIGNS

12          22.    In April, 2020, Plaintiffs reported the theft of campaign signs related to a

13   recall of Santa Ana City Councilmember Iglesias. One of the identified suspects was

14   the City Council person herself. The SAPOA learned that a Police Commander directed

15   the investigating officer to alter his report so that the City Council person would not be

16   listed as the suspect. The Plaintiffs reported the Police Commander's actions to

17   Defendant Valentin.

18          23.    Instead of investigating the unlawful actions of the Police Commander,

19   Valentin ordered his Internal Affairs commander and investigators to conduct an

20   investigation of Serrano.

21          24.    When the Plaintiffs obtained a video recording showing the former City

22   Council person stealing the campaign signs, Defendant Valentin, Defendant Carvalho

23   and other private attorneys employed by her firm, directly and through Valentin's

24   supporters pressured the Orange County District Attorney's office to open a criminal

25   case against Serrano. When the District Attorney's office rejected Valentin's pressures

26   Valentin became upset. With the help of Defendant Carvalho and her private law firm,

27   he began a lengthy letter and meeting campaign in which he chastised the District

28   Attorney's decision and knowingly included false information in the communications

                                                  6

                                             COMPLAINT
                                                                                      EXHIBIT A
                                                                                        Page 13
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 15 of 305 Page ID #:15




 1   with the District Attorney's office.

 2          25.      As part of the April, 2020, efforts to wrongfully bring a criminal case

 3   against Serrano, Defendants used department resources, including the Internal Affairs

 4   unit, to draft memoranda with adverse comments about Serrano. Serrano was never

 5   informed by Defendants of the internal investigation or memoranda, and Defendants

 6   failed to allow Serrano to review the adverse comments. It is further believed, to the

 7   extent that Defendants have initiated an lhternal Affairs investigation, the investigation

 8   was not completed within one year of notice of the allegations of misconduct nor has
 9   Plaintiff Serrano been notified of any proposed discipline or outcome of the

10   investigation during that one year period. Defendants intentionally concealed the

11   information regarding this investigation and the related memoranda from Plaintiffs.

12                                   CULICHI TOWN COVER-UP
13          26.      On August, 2020, on-duty SAPD officers responded to a call for service at

14   the Culichi Town Restaurant. The call involved allegations that off-duty SAPD officers

15   had sexually battered two underage girls thatwere at the restaurant. The officers

16   response was caught on body worn cameras and the victim's family produced a video

17   of the incident that showed off-duty police sergeant Oscar Lizardi as being present and

18   possibly involved in the incident. A Police Commander reported the incident to then IA

19   Commander, and now Deputy Chief, Robert Rodriguez. Rodriguez is believed to be a

20   close friend of Lizard. He denied the Commander's request for the incident to be
21   investigated.

22          27.      On or about September 2, 2020, a request for public records was made

23   for information related to the call including the Incident Detail Report, copy of the 911

24   emergency calls and/or non-emergency line calls, and police dispatch radio traffic audio
25   files related to the incident (Incident No. 200805316). Defendant Valentin, on

26   September 24, 2020, denied, in total, the PRA request in order to cover up the

27   misconduct of his IA Commander and one of his closest allies (Lizardi) asserting that

28   the records could not be released because they involved juveniles. This demonstrated

                                                    7

                                               COMPLAINT
                                                                                        EXHIBIT A
                                                                                          Page 14
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 16 of 305 Page ID #:16




 1   that Valentin was aware of the incident and that it involved allegations of criminal

 2   conduct towards juveniles by off-duty SAPD officers.
                                              \
 3            28.   SAPOA/Serrano complained to Defendants about Valentin's and

 4   Rodriguez's attempts to cover up alleged criminal conduct by officers who supported

 5   Defendant Valentin pointing out that this conduct amounted to conspiring to commit a

 6   criminal act. It is believed that it wasn't until June, 2021, after multiple complaints and

 7   requests for investigations by the SAPOA, that Defendants initiated an investigation of

 8   two of the three responding officers. The third responding officer was given a special

 9   assignment on Lizardi's specialized team. In July, 2021, the Department initiated an

10   Internal Affairs investigation of one of the off-duty officers, but not Lizardi, who was the

11   ranking officer amongst the off duty personnel involved in the incident.

12            29.   On information and belief, Plaintiffs allege that Defendants have refused

13   to initiate an investigation of Deputy Chief Rodriguez and/or Defendant Valentin.

14                                        PENSION ISSUE

15            30.   In October, 2020, the Defendants inquired of CalPERS as to the propriety

16   of including a premium pay, called "Confidential" received by Serrano while on paid

17   release time to serve as the SAPOA President in the calculation of his pension. It is

18   believed that the City had never inquired about this issue with any prior SAPOA

19   President. When it appeared that there might be a question regarding the inclusion of

20   the premium in the calculation of Serrano's pension, the City and SAPOA reached an

21   agreement acceptable to CalPERS. However, because Serrano continued to carry out

22   his duty to represent the Association and its members, activity that is clearly protected

23   under the law, Defendants failed and refused to take the necessary steps to resolve the

24   issue.

25                                       FPPC COMPLAINT

26            31.   In November, 2020, Sonia Carvalho, believed to be acting on her own

27   personal vendetta and without City Council approvalsent a request to the California Fair

28   Political Practices Commission seeking a finding that Serrano, as the SAPOA

                                                   8

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 15
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 17 of 305 Page ID #:17




 1   President, engaged in a conflict of interest by negotiating a side letter agreement

 2   related to the pension issue. As the City Council was scheduled to approve the

 3   resolution of the pension issue, Carvalho made multiple inquiries to the FPPC for an

 4   opinion letter finding Serrano was engaging in an unethical conflict of interest.

 5   Ultimately, the FPPC found that Serrano did not engage in any conflict of interest nor

 6   did his actions give rise to an unethical conflict of interest. It is believed that Carvalho

 7   was acting on her own and with the sole purpose of personally interfering with the

 8   SAPOA/Serrano and/or with intent to harm Serrano.

 9                          FEMALE DISCRIMINATION COMPLAINTS

10          32.    In or about November, 2020, SAPOA/Serrano informed Defendant Ridge

11   that there was ongoing discrimination against female employees in the Department.

12   Plaintiffs described an incident involving female officers' attendance at a conference

13   regarding leadership issues for women in law enforcement and the Chief's behavior

14   towards those female employees. Defendant Ridge did not open an investigation into

15   the matter until months later when it was statutorily too late to take disciplinary action
16   against Defendant Valentin or his subordinates.

17          33.    After Plaintiffs informed Defendant Ridge of the discrimination and

18   harassment of the female officers, Defendant Valentin ordered a "preliminary

19   assessment" in order to cover up his and his staff's misconduct. The Human Resource

20   representative that appeared with him when he confronted the female officers

21   conducted the investigation. The female officers were ordered to appear for

22   interrogations. They were not provided any information as to the nature of the

23   investigation. When they appeared for interrogation, the HR Representative read from a

24   transcript, indicated that she was going to prepare a report that only went to Valentin,

25   and then questioned the females about the female's actions and did not have any

26   preset questions about Chief Valentin's, DC Esparza's or other police commander's

27   actions.

28          34.    On information and belief, it is alleged the Valentin lied to Defendant

                                                   9

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 16
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 18 of 305 Page ID #:18




 1   Ridge and Defendant Motsick claiming that he had initiated an investigation of the

 2   discrimination when, in fact, he initiated an investigation of the female officers in order
 3   to silence them.

 4          35.    The Defendants did not hire an investigator to look into these issues of
 5   harassment and discrimination until April, 2021.

 6          36.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against the City

 7   of Santa Ana, Santa Ana Police Department, Defendant Valentin, and Deputy Chief

 8   Enriquez Esparaza related to the unlawful discrimination, harassment and investigation
 9   of the female officers.

10          37.    Defendant has summarily dismissed the complaints from the

11   SAPOA/Serrano regarding the discrimination against female officers as just part of
12   Serrano's desire to fix his pension issue.

13                              JAIL MANAGEMENT COMPLAINT
14          38.    On December 2, 2020, the SAPOA/Serrano sent an email to Defendant

15   Ridge and Defendant Valentin requesting an investigation of misconduct by jail

16   management/supervision wherein it was alleged that serious misconduct was being

17   covered up and/or not addressed, and that supervisors were being directed to falsify
18   reports and/or official documents.

19                        DISCLOSURE OF CONFIDENTIAL RECORDS

20          39.    On or about February 25, 2021, a purported reporter with the Voice of OC

21   (an online nonprofit media source) sent to Sonia Carvalho, the City Attorney for the City

22   of Santa Ana and Santa Ana Police Department, a Public Records Act (PRA) request

23   seeking, a spreadsheet or breakdown of how many employees at the Santa Ana Police

24   Department have been put on paid administrative leave between 01/01/2016 and

25   2/25/2021. The PRA request included a request for Ms. Carvalho to provide the

26   reasons for the employees being put on paid administrative leave and a breakdown of

27   total costs to the City of Santa Ana incurred by paid administrative leave for Santa Ana

28   Police Department employees between 01/01/2016 and /25/2021.

                                                  10

                                             COMPLAINT
                                                                                      EXHIBIT A
                                                                                        Page 17
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 19 of 305 Page ID #:19




 1          40.    On or about March 26, 2021, without prior notice to the involved

 2   employees or the SAPOA and/or without complying with Penal Code §§832.5-832.8

 3   and/or Evidence Code §1043-1046, the City Attorney's office, the City of Santa Ana,

 4   under the supervision of Defendant Ridge and/or the Santa Ana Police Departm en!,

 5   under the supervision of Defendant Valentin, intentionally and purposely produced

 6   confidential records from the involved officers' personnel files. It is believed that this

 7   disclosure included data that identified the individual officers involved which is a clear
 8   violation of Penal Code §832.7(d).

 9          41.    Defendants Carvalho, Valentin, Ridge, City of Santa Ana and/or the Santa

10   Ana Police Department are aware that peace officer personnel records are confidential
11   and exempt from disclosure.

12          42.    On or about April 21, 2021, Deputy Chief of Police Eric Paulson, on behalf

13   of Defendant Valentin, conceded in a letter to the Voice of OC that confidential peace

14   officer personnel had been produced to the Voice of OC, including, but not limited to

15   the names of the officers in connection with administrative investigations. Deputy Chief

16   Paulson requested that the confidential records be returned. Plaintiffs are informed and
17   believe, and thereupon allege that after the Voice of OC refused to return the

18   confidential records, Defendants failed to take any action to force the Voice of OC to
19   return the documents.

20          43.    On or about April 27, 2021, Defendants started notifying certain of the

21   impacted officers of the unlawful actions by Defendants. The Notification did not advise

22   the impacted employees of what specific information had been released and did not

23   notify them of any rights they may have. The notices also did not indicate if the

24   Defendants would be laking further action to enforce the employees' rights.

25          44.    Also on or about April 27, 2021, Deputy Chief Paulson informed the Santa

26   Ana Police Officers Association of the Defendants' unlawful disclosure of the

27   confidential peace officer information of members of the Santa Ana Police Officers

28   Association. The notification of Defendants' unlawful action did not identify to the POA

                                                   11

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 18
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 20 of 305 Page ID #:20




 1   the names of the impacted members/officers, but simply slated that the effected

 2   employees had been notified. As it turned out, when Deputy Chief Paulson claimed, on

 3   behalf and presumably at the directions of Defendants, that all affected employees had

 4   been notified, the statement was not true and appears to have been an intentional

 5   misrepresentation by Defendants to conceal the fact that the notifications to the

 6   effected employees had just begun.

 7          45.    The Santa Ana Police Officers Association filed a written complaint with

 8   the Defendant City Manager Kristine Ridge, and Human Resource Director Jason

 9   Motsick requesting that the matter be immediately investigated. Plaintiffs are informed

10   and believe, and thereupon allege that even though the Defendants were required to

11   investigate this matter, as a "citizen complaint" pursuant to Penal Code §§832.5-832. 7,

12   Defendants did not investigate nor discipline those city employees responsible for the

13   violations of law.

14          46.    On or about April 28, 2021, a number of affected officers and the Santa

15   Ana Police Officers Association, which has a legal right to represent its members in any

16   and all matters related to their employment with the Santa Ana Police Department,

17   requested copies of any and all communications regarding PRA #21-289, including all

18   e-mails between representatives of the City, Police Department and/or Voice of OC and

19   also requested copies of all records that were produced to the Voice of OC and a list of

20   the impacted officers. Defendants, as part of an ongoing plan and scheme to

21   undermine and interfere with the POA's ability to represent its members, denied the

22   POA's request for copies of the produced records and list of names of impacted

23   employees. Defendants refused to provide copies of the unlawfully released information

24   and/or the list of names of the impacted employees.

25          47.    Also on April 28, 2021, Defendants Molsick, Valentin, Ridge and Carvalho

26   issued a letter wherein they indicated that City was terminating the SAPOA's long

27   standing ability to send emails to communications to all SAPOA members through the

28   City's email system.

                                                 12

                                            COMPLAINT
                                                                                   EXHIBIT A
                                                                                     Page 19
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 21 of 305 Page ID #:21




 1          48.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against

 2   Defendants City of Santa Ana, Santa Ana Police Department and Defendant Valentin

 3   regarding their unlawful disclosure of confidential peace officer records.

 4          49.    Defendant Ridge and Carvalho have summarily dismissed the complaints

 5   from the SAPOA/Serrano regarding the unlawful disclosure of records as just part of
 6   Serrano's desire to fix his pension issue.

 7                     FALSE INFORMATION TO CITY COUNCIL MEMBER

 8          50.    On or about May 12, 2021, the SAPOA/Serrano learned that Santa Ana

 9   City Councilmember Penaloza had complained to Defendant Valentin that officers from

10   Valentin's special unit (MET), which is supervised by Sgt. Lizardi, had shined the patrol

11   vehicle's ally lights at him while he was driving on multiple occasions. It was further

12   learned that Defendant Valentin tried to falsely blame the SAPOA and Serrano for the
13   officers' alleged actions.

14                                COMPLAINT AGAINST VALENTIN

15          51.    On or about May 13, 2021, the SAPOA/Serrano filed a complaint on

16   behalf of the members of the SAPOA against Defendant Valentin and his police

17   management similar to that made in November, 2020. SAPOA raised issues regarding

18   unaddressed gender discrimination; unaddressed cover-up of the Culichi Town incident;

19   allegations that Valentin committed perjury in at least one deposition; the inclusion of

20   false information in official personnel records; Jail Managers covering up alleged

21   misconduct by employees and/or falsifying records/reports related to the misconduct;

22   interference in a criminal investigation where a former City Council person was initially

23   listed as the suspect until the officer was directed to change his report; and interference

24   with Association activities and/or representation of members.

25          52.    In response to the May 13, 2021, complaint, Defendants either failed to

26   initiate an investigation, as required by Penal Code §§832.5-832.7 and/or failed to

27   report to the complainant the outcome of the investigation(s).

28   53.    Defendant Ridge and Carvalho have summarily dismissed the complaints from

                                                  13

                                             COMPLAINT
                                                                                     EXHIBIT A
                                                                                       Page 20
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 22 of 305 Page ID #:22




 1   the SAPOA/Serrano as just part of Serrano's desire to fix his pension issue.

 2                          CITY MANAGER DISCIPLINARY ACTION

 3          54.    In order to try to silence the SAPOA/Serrano, on or about May 18, 2021,

 4   Defendant Ridge issued a disciplinary document entitled "Employee Conduct Warning

 5   Letter" to Serrano for acts he undertook as the "advocate and leader of the SAPOA"

 6   which Defendant Ridge argued violated the City Charter and police department policies.

 7   Under the provisions of Government Code §3300, et seq., this document constituted a

 8   written reprimand and punitive actions as that term is used under Government Code

 9   §§3303 and 3304.

10          55.    Under the City Charter Defendant Ridge does not have the ability to

11   discipline a police sergeant as she is not the appointing authority for the police

12   department. Therefore, Ridge's actions were outside her official capacity and

13   demonstrated that she was acting in excess of her authority in order to discriminate,

14   harass and retaliate against Serrano and the SAPOA.

15          56.    The May 18, 2021, Employee Conduct Warning Letter specifically initiated
16   punitive action against Serrano, as the President of the SAPOA, for communicating (via

17   text and e-mail) to elected officials raising issues with the management of the Police

18   Department. The Warning Letter also directed Serrano, as the President of the SAPOA

19   not to communicate regarding police management issues with the Santa Ana City

20   Council.

21          57.    Serrano, on May 20, 2021, invoked his rights under POBRA and

22   requested all documentation supporting Defendant Ridge's allegations of misconduct,

23   and all complaints giving rise to the punitive action. Serrano also invoked his right to an

24   administrative appeal under Government Code §3304. Defendants have failed and

25   refused to provide Serrano any documents supporting the allegations contained in

26   Ridge's letter and have refused to afford him any administrative appeal of the punitive

27   action imposed against him.

28                               INVESTIGATION OF SERRANO

                                                  14

                                             COMPLAINT
                                                                                     EXHIBIT A
                                                                                       Page 21
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 23 of 305 Page ID #:23




 1          58.    On or about May 27, 2021, Defendant Valentin ordered an investigation of
 2   Serrano based on alleged comments Serrano made in his capacity as the current

 3   President of the SAPOA about a former SAPOA President in October, 2020. The

 4   investigation was opened even though legal counsel for the City of Santa Ana indicated,

 5   in writing that to the extent Serrano's statements were made as a POA President, Mr.

 6   Serrano was not speaking as a police sergeant of the City or the Santa Ana Police

 7   Department, and acknowledged that the City was not able to restrict the conduct of the

 8   POA and/or its President which relate to the administration of the POA as such action

 9   would be a violation of the Meyers-Milias Brown Act. (See Government Code section

10   3506.5(d).). Counsel for the City acknowledged, therefore, the City was not able to

11   direct Mr. Serrano to engage or not engage in conduct that is done in his capacity as
12   President of the POA in relation to the administration of the POA.

13          59.    Evidently, the City of Santa Ana had to pay the former POA President and

14   his wife approximately $350,000.00, as Defendants had allegedly retaliated against the

15   former POA President and Defendant Valentin sexually harassed the former POA

16   President's wife. Thereafter, the former POA President, in an effort to obtain more

17   money from the City, alleged that Serrano violated the settlement agreement even

18   though Serrano was not a party to the action or the agreement. On or about October

19   26, 2020 when the City would not pay any additional money, the former POA President
20   filed a written complaint against Serrano.

21          60.    It appeared that the City was not going to take action on the frivolous

22   complaint, but Defendant Valentin and possibly others, in order to further retaliate

23   against Serrano and the SAPOA, initiated the investigation nine months later. To this

24   date, Defendants have not notified Serrano of the outcome of the investigation and the
25   one year statute of limitations has expired.

26                          SEXUAL HARASSMENT ALLEGATIONS

27          61.    On June 16, 2021, Defendants Motsick and Carvalho scheduled a

28   meeting with Serrano without informing him of the nature of the meeting. Serrano

                                                    15

                                             COMPLAINT
                                                                                    EXHIBIT A
                                                                                      Page 22
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 24 of 305 Page ID #:24




 1   appeared with legal counsel. After arriving Serrano was informed that Defendants

 2   Motsick and Carvalho were conducting "fact-finding" regarding allegations they had

 3   been made aware of by a third party. The allegation was that Defendant Ridge had

 4   sexually harassed Serrano. Being caught off guard, Serrano, on advice of counsel, did

 5   not make any statement. It was clear at that point that the City was not protecting

 6   Serrano from retaliation by the other Defendants.

 7          62.    Even though Serrano had not filed a complaint against Defendant Ridge,

 8   Defendants feared that Serrano had disclosed or might disclose information of unlawful
 9   activities by Defendant Ridge.

10          63.    As discussed below, it was later learned that approximately a month

11   earlier Ridge "self-reported" the harassment allegations to Defendant Carvalho and her

12   subordinate Defendant Motsick. In a letter to the City Council Ridge was careful in her

13   assertion, making allegations that Serrano had been untruthful and interfered in

14   investigations, but not specifically denying allegations that she sexual harassed

15   Serrano. In that same letter to the City Council Ridge violated state law by disclosing

16   closed session communications with the Council as well as disclosing confidential

17   personnel information about a peace officer to wit, Serrano.

18          64.    Ridge's disclosures to the City Council reveal that Carvahlo and Motsick

19   were not simply conducting a fact finding investigation, but were investigating Ridge's

20   allegations against Serrano who should have been afforded his rights under the Peace

21   Officers Procedural Bill of Rights.

22          65.    On July 7, 2021, Defendant Ridge, fearing the Serrano would report her

23   unlawful activities, directed Serrano to refrain from sending any e-mail communications

24   to her. In essence, Defendant Ridge gave direct orders to the President of the SAPOA

25   not to contact elected officials or herself with any issues or complaint.

26          66.    On July 9, 2021, Plaintiff filed a Notice of Claim (Gov't Code §910, 910.4)
27   with Defendants.

28          67.    On or about July 16, 2021, the City of Santa Ana hired the law firm of

                                                  16

                                             COMPLAINT
                                                                                   EXHIBIT A
                                                                                     Page 23
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 25 of 305 Page ID #:25




 1   Barboza & Associates to assist Motsick in conducting a personnel investigation into

 2   Serrano's possible allegations of harassment even though Serrano had not made any

 3   such allegations. However, when Plaintiffs tried to determine who retained Barboza,

 4   and whether she was working independently or as an agent/attorney for the City, she

 5   refused to answer. Plaintiffs made the same inquiry of Defendant Motsick on July 21st,
 6   but never received a response.

 7          68.    It was later confirmed that Barboza and Associates was hired to provide

 8   legal advice to the City regarding the investigations thus creating an attorney-client

 9   relationship and a duty of Barboza and Associates to find in a manner to protect their

10   clients. The City specifically prohibited the firm to render any determination about

11   unlawful discrimination, harassment, violation of public policy or any other violations of

12   law or statute. Therefore, there was no reason for Serrano to participate in

13   investigations that could not result in a legal determination.

14          69.    On or about July 19, 2021, Defendant Ridge, trying to minimize her

15   misconduct and redirect attention from the allegations of misconduct against her, sent a

16   letter to the Mayor and City Council falsely claiming that all complaints and tort claims

17   coming from the SAPOA and its members were singularly focused on Serrano's

18   pension issues. In the letter to the Mayor and City Council Ridge revealed confidential

19   personnel file information of Serrano in violation of state law. Ridge also tried to defame

20   Serrano in order to diminish his credibility if he was to come forward with allegations of
21   sexual harassment.

22          70.    II became clear that Ridge's letter dated July 19, 2021, was meant to

23   tarnish Serrano and the SAPOA and to be produced to mass audiences. In fact, on

24   August 3, 2021, the Voice of OC contacted Serrano and advised him that it had been

25   given copies of the letter and the disciplinary letter which outline allegations against him

26   by the City Manager and City Attorney. According to the records they were provided the

27   Voice of OC indicated that both Kristine Ridge and Sonia Carvalho claimed Serrano

28   had caused harm to the city through his pursuit of higher compensation including filing

                                                  17

                                             COMPLAINT
                                                                                     EXHIBIT A
                                                                                       Page 24
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 26 of 305 Page ID #:26




 1   unsubstantiated legal claims, threats to 'burn the place down' and 'make disclosures

 2   that will hurt people" and asking elected officials to put pressure on the city manager.

 3   Ridge and Carvahlo conspired to release confidential communications to the media in

 4   violation of Penal Code §§832.5- 832.8 and/or Evidence Code §§1043-1046 and/or the

 5   Brown Act.

 6          71.    Two days later, even though Ridge had ordered Serrano not to have

 7   contact with her, she attempted to contact Serrano on his personal phone. Serrano

 8   knew better and did not take the call.

 9          72.    On July 29, 2021, the City rejected the Government Tort Claim filed

10   related to the above issues. The City chose not to try to resolve the matter or conduct

11   investigations prior to issuing the rejection. II appears that the Defendants are intent on

12   forcing the parties to litigate the City's liability. The use of Ms. Barboza's services is just

13   to obtain statements in an effort to defend the anticipated lawsuit.

14          73.    The City is believed to have closed its "sexual harassment investigation"
15   of Defendant Ridge without conducting a single interview and without questioning

16   Defendant Ridge regarding her alleged illegal and/or harassing conduct.

17                    SAPOAASSISTS MEMBERS IN FILING COMPLAINTS

18          74.    On July 20, 2021, the SAPOA supported the filing of a citizen complaint

19   by one of the Association's members against Defendant Valentin alleging retaliation

20   and creating a hostile working environment for the member that was known to support

21   the SAPONSerrano. The Defendants assigned the investigation to an outside

22   investigator, but failed to notify the complainant of the outcome of the investigation.

23          75.    On or about August 19, 2021, the SAPOA supported the filing of a citizen

24   complaint by one of the Association's members against Sgt. Oscar Lizardi for

25   allegations of engaging in intimidation and threats against a member who Lizardi

26   believed supported the SAPOA's vote of no confidence against Defendant Valentin.

27   The Defendants assigned the investigation to an outside investigator, but failed to notify

28   the complainant of the outcome of the investigation.

                                                   18

                                              COMPLAINT
                                                                                        EXHIBIT A
                                                                                          Page 25
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 27 of 305 Page ID #:27




 1          76.    On or about August 19, 2021, the SAPOA supported the filing of a citizen

 2   complaint by one of the Association members against Sgt. Oscar Lizardi for allegation

 3   of witness intimidation related to an internal affairs investigation that Defendant Valentin

 4   ordered against a supporter of the SAPOA/Serrano. The Defendants assigned the

 5   investigation to an outside investigator, but failed to notify the complainant of the
 6   outcome of the investigation.

 7                                   VOTE OF NO CONFIDENCE

 8          77.    On July 8, 2021, Plaintiffs notified Defendant Ridge and Motsick that the

 9   Board of Directors had unanimously voted to send out a Vote of No Confidence ballot
10   regarding Defendant Valentin.

11          78.    In August, 2021, the SAPOA Board of Directors issued a Memorandum

12   regarding the Vote and raised a number of issues for the membership to consider.

13          79.    On or about August 25, 2021, Charles Goldwasser, who serves as

14   General Counsel to the Santa Ana Police Officers Association, wrote Defendant

15   Valentin and Defendant Ridge regarding on-duty harassment and verbal pressure

16   against SAPOA members by Sergeant Lizardi. The conduct interfered with these

17   officers' ability to perform their duties. The Santa Ana Police Officers' Association

18   requested that the City of Santa Ana issue a reminder about this type of on-duty

19   conduct taking place at the Police Department. Plaintiff Serrano, as the President of the

20   SAPOA, followed-up Mr. Goldwasser's communication with an email to Defendant

21   Motsick acknowledging that his members were reporting their working conditions were

22   becoming unbearable and reminding the City that an unchecked hostile work

23   environment, especially where the employees are armed, could result in a bad

24   situations occurring.

25          80.    On August 26, 2021, during a time the SAPOA was considering a "Vote of

26   No Confidence" in Defendant Valentin, Valentin in coordination with Defendants

27   Carvalho, Ridge and Motsick, tried to silence SAPOA President Gerry Serrano by

28   placing him on administrative leave and restricting his access to, and use of, the

                                                  19

                                             COMPLAINT
                                                                                      EXHIBIT A
                                                                                        Page 26
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 28 of 305 Page ID #:28




 1   City/Police Department e-mail system. In order to place Serrano on administrative

 2   leave, Defendant Valentin, or his underlings, specifically ordered Commander Sorenson

 3   to leave the Notice of Administrative Leave/Fitness for Duty Exam at Serrano's

 4   residence where it was found by his son.

 5          81.    The order to undergo the Fitness for Duty Exam specifically references

 6   Mr. Serrano's August 26, 2021, 5:05 a.m., email to Defendant Motsick as the sole basis

 7   for the exam. Therefore, because Mr. Serrano decided that it was necessary, as the

 8   SAPOA President, to reaffirm the seriousness of the issues, Defendants ordered

 9   Serrano to undergo a Fitness for Duty Examination.
10          82.    Serrano, via counsel, objected to the Fitness for Duly Examination as

11   being unlawful. He invoked his rights under Government Code §3300, et seq., including

12   Government Code §3305 and/or Government Code §3306.5 (requesting copies of

13   and/or access to any and all documents being used or have been used to determine

14   that officer's qualifications for employment, promotion, additional compensation, or

15   termination or other disciplinary action).

16          83.    In response to Plaintiff's assertion of rights and request for materials

17   Defendants intentionally falsified a letter to Serrano's attorney by including claims that

18   Serrano had not been ordered to sign any releases. Defendants denied the request for

19   materials.

20          84.    II was subsequently discovered that Defendants did not comply with their

21   own policy regarding Fitness for Duty and/or Fitness for Duty Examinations.

22          85.    Police Commander Sorrenson was ordered not to retrieve department

23   issued equipment from Mr. Serrano at the SAPOA officce, but instead to order him to

24   report to the police station. The applicable Memorandum of Understanding specifically

25   states: "The Association and the City of Santa Ana agree that the Association's

26   representative will not be required to carry out any peace officer's duties during such

27   time that the Association's representative is on such full-time release from duly. The

28   Association's representative will be required to comply with the Rules and Regulations

                                                  20
                                              COMPLAINT
                                                                                     EXHIBIT A
                                                                                       Page 27
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 29 of 305 Page ID #:29




 1   of the Santa Ana Police Department as they apply to off-duty employees, except such

 2   representative ill not be required to report for duty for any purpose. Defendants

 3   breached of the MOU by ordering Mr. Serrano to appear for a FFDE and to report to the

 4   police station.

 5          86.        Moreover, the Police Department Fitness for Duty policy indicates that its

 6   purpose and scope is directly related to the exercise of peace officers powers, but the

 7   MOU releases Mr. Serrano from any such exercise. Furthermore, the Fitness for Duty

 8   policy governs on-duty conduct, not off-duty.

 9          87.        Plaintiff initiated a grievance, but that matter was futile as it was to be

10   heard by the City Manager that had ordered Serrano not to have contact with her.

11   Defendants then had Defendant Motsick conduct the grievance hearing even though he

12   was the one that initiated the FFDE by claiming Serrano's e-mail was threatening.

13          88.        On September 1, 2021, the SAPOA disclosed the results of the Vote of

14   No Confidence. More than a majority of the members that voted indicated that they had

15   no confidence in the Chief of Police. That same day Defendant Valentin responded to

16   the membership vote by targeting Serrano. Defendant Valentin falsely attributed the

17   SAPOA's actions as Serrano's personal pension dispute and not about the facts giving

18   rise to the Vote. Defendant Valentin accused Serrano of making false and frivolous

19   claims, and engaging in crimes and corruption when Defendant Valentin knew these

20   allegations against Serrano were false.

21          89.     With the grievance over the FFDE pending and unresolved, Defendants

22   ordered Serrano to appear for the exam and undergo hours of questioning by the

23   contract doctor. The Defendants did not pay Serrano for his time at the FFDE

24   examination.

25          90.     On September 14, 2021, Serrano was found to be fit for duty and

26   removed from administrative leave. After Serrano was found to be fit for duty Defendant

27   Motsick finally held a grievance meeting and later summarily rejected the grievance.

28   Finally, even though Plaintiffs raised issues of retaliation and hostile environment

                                                      21

                                                  COMPLAINT
                                                                                           EXHIBIT A
                                                                                             Page 28
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 30 of 305 Page ID #:30




 1   Defendants have not even attempted to investigate these claims. Therefore, Plaintiffs

 2   have exhausted all administrative remedies related to the FFDE.

 3          91.    Additionally, even though Serrano had been removed from Administrative

 4   Leave, the locker assigned to him by the Police Department was secured so Serrano

 5   could not access it. It was visible to any person that walked into the locker room that the
 6   locker was still being secured by the Department.

 7          92.    Plaintiffs request a jury trial on all non-mandamus relief.

 8          93.    Plaintiff has no plain, speedy or adequate remedy under the law.

 9   Pursuant to Government Code Section 3309.5, Plaintiff need not pursue any

10   administrative remedy in order to address this problem; thus, Plaintiff is excused from

11   or has exhausted his administrative remedies. This court is given initial jurisdiction over
12   this matter pursuant to Government Code §3309.5.

13          94.    To the extent facts, incidents and/or issues described above were learned

14   and/or occurred after Plaintiffs' filed their Government Tort Claim, Plaintiffs only seek

15   mandamus and/or injunctive relief to cure the violations and prevent future violations of

16   a similar nature. Once Plaintiffs has processed and/or the Defendants rejected any
17   such supplemental claim, Plaintiffs will amend this Complaint accordingly.

18                                 VENUE AND JURISDICTION

19   95.Venue is proper in the Superior Court of the State of California, for the County of

20   Orange in that the underlying acts, omissions, injuries and related facts and

21   circumstances giving rise to the present action occurred in the City of Santa Ana,

22   County of Orange, California. This Court has jurisdiction over the present matter

23   because, as delineated within this complaint, the nature of the claims and amount in

24   controversy meet the requirements of jurisdiction in the Superior Court. This Court is

25   empowered with initial jurisdiction to entertain suits brought pursuant to California

26   Government Code §3300, et seq., and for traditional mandamus action.

27                                  FIRST CAUSE OF ACTION

28                                     Against All Defendants

                                                  22
                                             COMPLAINT
                                                                                     EXHIBIT A
                                                                                       Page 29
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 31 of 305 Page ID #:31




 1                         Violation of Government Code §3500, et seq.

 2          96. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   First Cause of Action against all Defendants for violations of Government Code §3500,

 4   et seq., re-allege paragraphs 1-95, above, and further allege as follows:

 5          97. Government Code §3502 provides, in pertinent part, public employees shall
 6   have the right to form, join, and participate in the activities of employee organizations of

 7   their own choosing for the purpose of representation on all matters of employer-

 s   employee relations.

 9          98. Government Code §3502.1 provides that "No public employee shall be

10   subject to punitive action or denied promotion, or threatened with any such treatment,

11   for the exercise of lawful action as an elected, appointed, or recognized representative
12   of any employee bargaining unit."

13          99. Government Code §3503 provides, in pertinent part, that "Recognized

14   employee organizations shall have the right to represent their members in their
15   employment relations with public agencies."

16          100. Government Code §3504 provides, in pertinent part, that the scope of

17   representation shall include all matters relating to employment conditions and

18   employer-employee relations, including, but not limited to, wages, hours, and other
19   terms and conditions of employment.

20          101. Government Code §3506 provides that "Public agencies and employee

21   organizations shall not interfere with, intimidate, restrain, coerce or discriminate against

22   public employees because of their exercise of their rights under Section 3502."

23          102. Government Code §3506.5 provides, in pertinent part, that a public agency

24   shall not do any of the following: (a) Impose or threaten to impose reprisals on

25   employees, to discriminate or threaten to discriminate against employees, or otherwise

26   to interfere with, restrain, or coerce employees because of their exercise of rights

27   guaranteed by this chapter; {b) deny to employee organizations the rights guaranteed to

28   them by this chapter; {d) dominate or interfere with the formation or administration of

                                                  23
                                             COMPLAINT
                                                                                     EXHIBIT A
                                                                                       Page 30
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 32 of 305 Page ID #:32




 1   any employee organization, contribute financial or other support to any employee

 2   organization, or in any way encourage employees to join any organization in preference

 3   to another.

 4          103. Defendants, and each of them, in undertaking the acts and/or omissions

 5   listed above, violated the above provisions of the Meyers-Milias-Brown Act (MMBA),

 6   including, but not limited to interfering with, intimidating, restraining, coercing and/or

 7   discriminating against the SAPOA, Gerry Serrano and/or other public employees who

 8   are members of the SAPOA because of their exercise of their rights under this Act.

 9          104. Defendants, and each of them, have engaged in acts and/or omissions, as

10   alleged above, wherein they have 1) subjected Serrano to punitive actions and/or

11   threatened him with said actions; 2) imposed or threatened to impose reprisals on

12   Serrano, 3) discriminated or threatened to discriminated against him; 3) otherwise

13   interfered with, restrained, or coerced Serrano because of his exercise of rights

14   guaranteed by the MMBA, and/or for the exercise of lawful action as an elected,

15   appointed, or recognized representative of any employee bargaining unit..

16          105. The duty to obey the laws set forth in Government Code §3500, et seq., is

17   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth

18   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions

19   of defendants, set forth above, demonstrate that defendants' failure to comply with

20   Government Code §3500, et seq., was illegal as a matter of law under Government

21   Code section 1222, which makes a public officer's "willful omission to perform any duty

22   enjoined by law" a misdemeanor.

23          106. Each and every act listed above, individually or jointly, constitutes a

24   violation of Government Code §3500, et seq., and therefore this court should render

25   appropriate injunctive or other extraordinary relief to remedy the violation and to prevent

26   future violations of a like or similar nature, including, but not limited to, the granting of a

27   temporary restraining order, a preliminary injunction and a permanent injunction, or, in

28   the alternative, a Writ of Mandate prohibiting the Santa Ana Police Department from

                                                   24

                                               COMPLAINT
                                                                                        EXHIBIT A
                                                                                          Page 31
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 33 of 305 Page ID #:33




 1   taking any punitive action against any public safety officer member of the SAPOA.

 2   Plaintiffs specifically seek a "make whole" remedy.

 3          107. The above articulated violations were proximately caused by City's

 4   deliberate indifference to its employee's violations of the Meyer-Milias Brown Act, and

 5   the failure to train and control its officers and representatives on the provisions of these

 6   Acts. The violations set forth above were proximity caused by the customs, practices,

 7   policies and decisions of the defendants.

 8          108. Unless this court issues a preliminary and permanent injunction enjoining

 9   and restraining defendants, and each of them, and their agents, employees and

10   servants, from ordering, requiring, commanding, or taking any other action that will

11   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

12   rights, as afforded by Government Code §3500, et seq., will be violated without any

13   remedy being afforded.

14          109. Plaintiffs have attempted, without success, to exhaust any and all

15   administrative remedies afforded to them to deal with these issues, but such efforts are

16   futile as the named defendants are the ones that make the final decisions via any

17   complaints, grievances or other administrative actions.

18          110. Plaintiff requests this court to award damages and attorney fees pursuant
19   C.C.P. §1090 and 1095.

20          111. In bringing this action, Petitioners have sought enforcement of an important

21   right affecting the public interest which will result in the conferring of a significant benefit

22   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

23   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

24          112. The actions of defendants, and each of them, were arbitrary and capricious

25   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
26   Code §800.

27                                   SECOND CAUSE OF ACTION

28                                        Against All Defendants

                                                      25

                                                 COMPLAINT
                                                                                            EXHIBIT A
                                                                                              Page 32
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 34 of 305 Page ID #:34




 1                         Violation of Government Code §3300, et seq.

 2           113. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   Second Cause of Action against all Defendants for violations of Government Code

 4   §3300, et seq., relief re-alleges paragraphs 1-112, above, and further allege as follows:

 5           114. Government Code §3301 provides, in pertinent part, that "The Legislature

 6   hereby finds and declares that the rights and protections provided to peace officers

 7   under this chapter constitute a matter of statewide concern. The Legislature further

 8   finds and declares that effective law enforcement depends upon the maintenance of

 9   stable employer-employee relations, between public safety employees and their

10   employers. In order to assure that stable relations are continued throughout the state

11   and to further assure that effective services are provided to all people of the state, it is

12   necessary that this chapter be applicable to all public safety officers, as defined in this

13   section, wherever situated within the State of California."

14           115. Government Code §3302 provides, in pertinent part, that except as

15   otherwise provided by law, or whenever on duty or in uniform, no public safety officer

16   shall be prohibited from engaging, or be coerced or required to engage, in political

17   activity.

18           116. Government Code §3303 provides, in pertinent part, that when any public

19   safety officer is under investigation and subjected to interrogation by his or her

20   commanding officer, or any other member of the employing public safety department,

21   that could lead to punitive action, the interrogation shall be conducted under the

22   following conditions. For the purpose of this chapter, punitive action means any action

23   that may lead to dismissal, demotion, suspension, reduction in salary, written

24   reprimand, or transfer for purposes of punishment.

25                 (a) The interrogation shall be conducted at a reasonable hour, preferably

26                 at a time when the public safety officer is on duty, or during the normal

27                 working hours for the public safety officer, unless the seriousness of the

28                 investigation requires otherwise. If the interrogation does occur during off-

                                                   26

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 33
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 35 of 305 Page ID #:35




 1             duty lime of the public safety officer being interrogated, the public safety

 2             officer shall be compensated for any off-duty lime in accordance with

 3             regular department procedures, and the public safety officer shall not be

 4             released from employment for any work missed.

 5             (b) The public safety officer under investigation shall be informed prior to

 6             the interrogation of the rank, name, and command of the officer in charge

 7             of the interrogation, the interrogating officers, and all other persons to be

 8             present during the interrogation. All questions directed to the public safety

 9             officer under interrogation shall be asked by and through no more than

10             two interrogators at one time.

11             (c) The public safety officer under investigation shall be informed of the

12             nature of the investigation prior to any interrogation.

13             (e) The employer shall not cause the public safety officer under

14             interrogation to be subjected to visits by the press or news media without

15             his or her express consent nor shall his or her home address or

16             photograph be given to the press or news media without his or her

17             express consent.

18             (g) The complete interrogation of a public safety officer may be recorded.

19             If a tape recording is made of the interrogation, the public safety officer

20             shall have access to the tape if any further proceedings are contemplated

21             or prior to any further interrogation at a subsequent time. The public safety

22             officer shall be entitled to a transcribed copy of any notes made by a

23             stenographer or to any reports or complaints made by investigators or

24             other persons, except those which are deemed by the investigating

25             agency to be confidential. No notes or reports that are deemed to be

26             confidential may be entered in the officer's personnel file. The public

27             safety officer being interrogated shall have the right to bring his or her own

28             recording device and record any and all aspects of the interrogation.

                                                27

                                         COMPLAINT
                                                                                 EXHIBIT A
                                                                                   Page 34
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 36 of 305 Page ID #:36




 1          117. Government Code §3304(a) provides that "No public safety officer shall be

 2   subjected to punitive action, or denied promotion, or be threatened with any such

 3   treatment, because of the lawful exercise of the rights granted under this chapter, or the

 4   exercise of any rights under any existing administrative grievance procedure.

 5          118. Government Code §3304(b) provides, in pertinent part, "No punitive action,

 6   nor denial of promotion on grounds other than merit, shall be undertaken by any public

 7   agency against any public safety officer who has successfully completed the

 8   probationary period that may be required by his or her employing agency without

 9   providing the public safety officer with an opportunity for administrative appeal."

10          119. Government Code §3304(d) (1) reads "Except as provided in this

11   subdivision and subdivision (g), no punitive action, nor denial of promotion on grounds

12   other than merit, shall be undertaken for any act, omission, or other allegation of

13   misconduct if the investigation of the allegation is not completed within one year of the

14   public agency's discovery by a person authorized to initiate an investigation of the

15   allegation of an act, omission, or other misconduct. This one-year limitation period shall

16   apply only if the act, omission, or other misconduct occurred on or after January 1,

17   1998. In the event that the public agency determines that discipline may be taken, it

18   shall complete its investigation and notify the public safety officer of its proposed

19   discipline by a Letter of Intent or Notice of Adverse Action articulating the discipline that

20   year, except as provided in paragraph (2). The public agency shall not be required to

21   impose the discipline within that one-year period."

22          120. Government Code §3305 provides that no public safety officer shall have

23   any comment adverse to his interest entered in his personnel file, or any other file used

24   for any personnel purposes by his employer, without the public safety officer having first

25   read and signed the instrument containing the adverse comment indicating he is aware

26   of such comment, except that such entry may be made if after reading such instrument

27   the public safety officer refuses to sign it. Should a public safety officer refuse to sign,

28   that fact shall be noted on that document, and signed or initialed by such officer.

                                                   28

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 35
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 37 of 305 Page ID #:37




 1          121. Government Code §3306 reads "A public safety officer shall have 30 days

 2   within which to file a written response to any adverse comment entered in his personnel

 3   file. Such written response shall be attached to, and shall accompany, the adverse
 4   comment."

 5          122. Government Code §3306.5. provides, in pertinent part, that (a) Every

 6   employer shall, at reasonable times and at reasonable intervals, upon the request of a

 7   public safety officer, during usual business hours, with no loss of compensation to the

 8   officer, permit that officer to inspect personnel files that are used or have been used to

 9   determine that officer's qualifications for employment, promotion, additional

10   compensation, or termination or other disciplinary action; (b) Each employer shall keep

11   each public safety officer's personnel file or a true and correct copy thereof, and shall

12   make the file or copy thereof available within a reasonable period of time after a request
13   therefor by the officer."

14          123. Government Code §3309 provides that "No public safety officer shall have

15   his locker, or other space for storage that may be assigned to him searched except in

16   his presence, or with his consent, or unless a valid search warrant has been obtained or

17   where he has been notified that a search will be conducted. This section shall apply

18   only to lockers or other space for storage that are owned or leased by the employing

19   agency.

20          124. Government Code §3309.5(a) provides "It shall be unlawful for any public

21   safety department to deny or refuse to any public safety officer the rights and

22   protections guaranteed to him or her by this chapter."

23          125. Government Code §3309.5 further provides, in pertinent part, "(d) (1) In

24   any case where the superior court finds that a public safety department has violated

25   any of the provisions of this chapter, the court shall render appropriate injunctive or

26   other extraordinary relief to remedy the violation and to prevent future violations of a like

27   r similar nature, including, but not limited to, the granting of a temporary restraining

28   order, preliminary injunction, or permanent injunction prohibiting the public safety

                                                  29
                                              COMPLAINT
                                                                                      EXHIBIT A
                                                                                        Page 36
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 38 of 305 Page ID #:38




 1   department from taking any punitive action against the public safety officer" and "(e) In

 2   addition to the extraordinary relief afforded by this chapter, upon a finding by a superior

 3   court that a public safety department, its employees, agents, or assigns, with respect to

 4   acts taken within the scope of employment, maliciously violated any provision of this

 5   chapter with the intent to injure the public safety officer, the public safety department

 6   shall, for each and every violation, be liable for a civil penalty not to exceed twenty-five

 7   thousand dollars ($25,000) to be awarded to the public safety officer whose right or

 8   protection was denied and for reasonable attorney's fees as may be determined by the

 9   court. If the court so finds, and there is sufficient evidence to establish actual damages

10   suffered by the officer whose right or protection was denied, the public safety

11   department shall also be liable for the amount of the actual damages."

12          126. As described above, Plaintiff Gerry Serrano was the subject of numerous

13   investigations that could result in punitive action. One investigation was conducted by

14   Defendants Carvalho and Motsick after Defendant Ridge complained that Serrano was

15   making false statements about her. Serrano was not told, prior to his interview, that

16   Carvalho would be present, was not informed of the nature of the investigation prior to

17   arriving, was not told, nor afforded the opportunity to record the interview.

18          127. In other administrative investigations conducted under the orders of

19   Defendant Valentin, Serrano was not compensated for his time in the interrogations.

20          128. Defendant Ridge issued punitive action against Serrano and when he

21   sought an administrative appeal and the documents purportedly supporting the punitive
22   action, both requests were denied.

23          1.29. Defendant Valentin has placed or caused to be placed in Serrano's

24   personnel file and/or files used for personnel purposes adverse comments without

25   affording Serrano the ability to review the documents containing the adverse comments.

26          130. Defendant Valentin has ordered administrative investigations to be

27   conducted well in excess of the one year statute of limitations, and has not provided

28   notice of the investigations or the outcome of the investigations to Serrano.

                                                  30

                                              COMPLAINT
                                                                                      EXHIBIT A
                                                                                        Page 37
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 39 of 305 Page ID #:39




 1          131. Serrano has requested to review documents used for personnel purposes

 2   but has been denied the opportunity to do so.

 3          132. Serrano has information and believe that his department issued locker

 4   and/or other space for storage (including his department issued email storage system)

 5   has been searched outside of his presence and/or without his knowledge/consent or
 6   valid search warrant.

 7          133. Serrano, while acting as the President of the SAPOA, and while off-duty

 8   and out of uniform has been prohibited from engaging in political activity.

 9          134. Serrano has been threatened with punitive action because of the lawful

10   exercise of the rights granted by Government Code §3300, et seq., and/or exercising

11   rights under existing administrative grievance procedures.

12          135. The duty to obey the laws set forth in Government Code §3300, et seq., is

13   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth

14   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions

15   of defendants, set forth above, demonstrate that defendants' failure to comply with

16   Government Code §3300, et seq., was illegal as a matter of law under Government

17   Code section 1222, which makes a public officer's "willful omission to perform any duty

18   enjoined by law" a misdemeanor.

19          136. Each and every act listed above, individually or jointly, constitutes a

20   violation of Government Code §3300, et seq., and therefore this court should render all

21   available and proper relief under Government Code §3309.5 to remedy the violations

22   and to prevent future violations of a like or similar nature. Plaintiffs specifically seek a
23   "make whole" remedy.

24          137. For those acts identified in the already filed Government Tort Claim,

25   Plaintiffs further seek all relief afforded under Government Code §3309.5(e).

26          138. The above articulated violations were proximately caused by City's

27   indifference to its employee's violations of the Public Safety Officers Procedural Bill of

28   Rights Act, and the failure to train and control its officers and representatives on the
                                                   31

                                              COMPLAINT
                                                                                        EXHIBIT A
                                                                                          Page 38
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 40 of 305 Page ID #:40




 1   provisions of this Act. The violations set forth above were proximity caused by the

 2   customs, practices, policies and decisions of the defendants.

 3          139. Unless this court issues a preliminary and permanent injunction enjoining

 4   and restraining defendants, and each of them, and their agents, employees and

 5   servants, from ordering, requiring, commanding, or taking any other action that will

 6   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

 7   rights, as afforded by Government Code §3300, et seq., will be violated without any
 8   remedy being afforded.

 9          140. Plaintiffs have attempted, without success, to exhaust any and all

10   administrative remedies afforded to them to deal with these issues, but such efforts are

11   futile as the named defendants are the ones that make the final decisions via any

12   complaints, grievances or other administrative actions. Moreover, pursuant to

13   Government Code §3309.5, Plaintiffs are not required to exhaust administrative
14   remedies.

15          141. Plaintiff requests this court to award damages and attorney fees pursuant
16   to C.C.P. §1090 and 1095.

17          142. In bringing this action, Petitioners have sought enforcement of an important

18   right affecting the public interest which will result in the conferring of a significant benefit

19   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

20   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

21          143. The actions of defendants, and each of them, were arbitrary and capricious
22   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

23   Code §800.

24                                     THIRD CAUSE OF ACTION

25                                        Against All Defendants

26                     Violation of Constitutional Right to Freedom of Speech

27          144. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

28   Third Cause of Action against all Defendants for violations of Plaintiffs' right to freedom

                                                      32
                                                COMPLAINT
                                                                                            EXHIBIT A
                                                                                              Page 39
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 41 of 305 Page ID #:41




 1   of speech and writing, freedom to instruct their representative, freedom to petition

 2   government for redress of grievances, and to consult for the common good, re-allege
 3   paragraphs 1-143, above, and further allege as follows:

 4          145. While the U.S. Constitution grants citizens protections for free speech

 5   under the First Amendment to the U.S. Constitution, which are enforced via 42 USC

 6   §1983, the California Constitution also protects this right. Article I, Section 2 of the

 7   California Constitution states that "[e]very person may freely speak, write and publish

 8   his or her sentiments on all subjects, being responsible for the abuse of this right. ... "

 9   Article I, Section 3 of the California Constitution states "[T]he people have the right to

10   instruct their representatives, petition government for redress of grievances, and

11   assemble freely to consult for the common good.

12          146. Defendants, and each of them, have engaged in acts and/or omissions to

13   violate Plaintiffs right to freedom to speak, write and publish their sentiments, and/or

14   their ability to petition government for redress of grievances, assemble and to consult

15   for the common good.

16          147. The duty to obey the laws set forth in state and federal laws is a ministerial

17   duty and is not discretionary. By acting, and failing to act, as set forth above,

18   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

19   defendants, set forth above, demonstrate that defendants' failure to comply with the

20   California Constitution wherein it enjoins certain acts; therefore, defendants actions

21   were illegal as a matter of law under Government Code section 1222, which makes a

22   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.

23          148. Each and every act listed above, individually or jointly, constitutes a

24   violation of Plaintiffs' speech rights and/or the California Constitution and therefore this

25   court should render all available and proper relief to remedy the violations and to

26   prevent future violations of a like or similar nature. Plaintiffs specifically seek a "make

27   whole" remedy.

28          149. For those acts identified in the already filed Government Tort Claim,

                                                   33

                                              COMPLAINT
                                                                                         EXHIBIT A
                                                                                           Page 40
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 42 of 305 Page ID #:42




 1   Plaintiffs further seek all available monetary damages and statutory penalties. For those

 2   acts not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs
 3   seek injunctive and/or mandamus remedies.

 4          150. The above articulated violations were proximately caused by City's

 5   deliberate indifference to its employees' violations law, and the failure to train and

 6   control its officers and representatives on the provisions of law referenced above. The

 7   violations set forth above were proximity caused by the customs, practices, policies and
 8   decisions of the defendants.

 9          151. Unless this court issues a preliminary and permanent injunction enjoining

10   and restraining defendants, and each of them, and their agents, employees and

11   servants, from ordering, requiring, commanding, or taking any other action that will

12   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

13   rights will be violated without any remedy being afforded.

14          152. Plaintiffs have attempted, without success, to exhaust any and all

15   administrative remedies afforded to them to deal with these issues, but such efforts are

16   futile as the named defendants are the ones that make the final decisions via any
17   complaints, grievances or other administrative actions.

18          153. Plaintiffs request this court to award damages and attorney fees as

19   provided by law, including pursuant to C.C.P. §1090 and 1095.

20          154. In bringing this action, Petitioners have sought enforcement of an important

21   right affecting the public interest which will result in the conferring of a significant benefit

22   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to
23   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

24          155. The actions of defendants, and each of them, were arbitrary and capricious

25   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
26   Code §800.

27                                   FOURTH CAUSE OF ACTION

28                                       Against All Defendants
                                                     34


                                                                                            EXHIBIT A
                                                COMPLAINT

                                                                                              Page 41
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 43 of 305 Page ID #:43




 1                               Violation of Labor Code § 1101-1102.5

 2          156. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a
 3   Fourth Cause of Action against all Defendants for violation of provisions of the Labor

 4   Code re-alleges paragraphs 1-95, above, and further allege as follows:

 5          157. Labor Code section 1101 provides, in pertinent part, that no employer shall

 6   make, adopt, or enforce any rule, regulation, or policy: (a) Forbidding or preventing

 7   employees from engaging or participating in politics ... (b) Controlling or directing, or

 8   tending to control or direct the political activities or affiliations of employees.

 9          158. Labor Code §1102 provides "No employer shall coerce or influence or

10   attempt to coerce or influence his employees through or by means of threat of

11   discharge or loss of employment to adopt or follow or refrain from adopting or following

12   any particular course or line of political action or political activity.

13          159. Labor Code §1102.5 provides that (a) An employer, or any person acting

14   on behalf of the employer, shall not make, adopt, or enforce any rule, regulation, or

15   policy preventing an employee from disclosing information to a government or law

16   enforcement agency, to a person with authority over the employee, or to another

17   employee who has authority to investigate, discover, or correct the violation or

18   noncompliance, or from providing information to, or testifying before, any public body

19   conducting an investigation, hearing, or inquiry, if the employee has reasonable cause

20   to believe that the information discloses a violation of state or federal statute, or a

21   violation of or noncompliance with a local, state, or federal rule or regulation, regardless

22   of whether disclosing the information is part of the employee's job duties. (b) An

23   employer, or any person acting on behalf of the employer, shall not retaliate against an

24   employee for disclosing information, or because the employer believes that the

25   employee disclosed or may disclose information, to a government or law enforcement

26   agency, to a person with authority over the employee or another employee who has the

27   authority to investigate, discover, or correct the violation or noncompliance, or for

28   providing information to, or testifying before, any public body conducting an

                                                     35

                                                COMPLAINT
                                                                                           EXHIBIT A
                                                                                             Page 42
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 44 of 305 Page ID #:44




 1   investigation, hearing, or inquiry, if the employee has reasonable cause to believe that

 2   the information discloses a violation of state or federal statute, or a violation of or

 3   noncompliance with a local, state, or federal rule or regulation, regardless of whether

 4   disclosing the information is part of the employee's job duties.

 5          160. Sections 1101 and 1102 protect "the fundamental right of employees in

 6   general to engage in political activity without interference by employers." (Gay Law

 7   Students Assn., 24 Cal.3d at 487 (quoting Fort v. Civil SeNice Commission (1964) 61

 8   Cal.2d 331, 335).)

 9          161. As shown by the facts pied above, Defendants, and each of them, have

10   engaged in acts and/or omissions that violated Labor Code §§1101 and/or 1102 to the

11   detriment of Plaintiff Serrano, Plaintiff SAPOA, and those members of the SAPOA that

12   support the SAPOA's actions.

13          162. Defendants, and each of them, have engaged in retaliation against both

14   Plaintiffs for disclosing information, or because the employer believed that the

15   employee disclosed or may disclose information, to a government or law enforcement

16   agency, to a person with authority over the employee or another employee who has the

17   authority to investigate, discover, or correct the violation or noncompliance, or for

18   providing information to, or testifying before, any public body conducting an

19   investigation, hearing, or inquiry, wherein the employee had reasonable cause to

20   believe that the information disclosed a violation of state or federal statute, or a violation

21   of or noncompliance with a local, state, or federal rule or regulation.

22          163. As a proximate result of Defendants willful, knowing and intentional

23   violations of the Labor Code sections referenced above, Plaintiff Serrano has suffered

24   and continues to suffer substantial losses in earnings and/or other employment

25   benefits. As a legal result of the conduct of Defendants, and each of them, Plaintiff has

26   suffered and will continue to suffer distress, suffering, anguish, fright, nervousness,

27   grief, anxiety, worry, shame, mortification, injured feelings, shock, humiliation and

28   indignity, as well as other unpleasant reactions, damages to reputation, and other non-

                                                   36

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 43
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 45 of 305 Page ID #:45




 1   economic damages, in a sum to be ascertained according to proof. Said damages are

 2   of the type that any person would suffer as result of the illegal and wrongful conduct of

 3   Defendants; Plaintiff does not claim that he has suffered any psychiatric illness as a

 4   result of the conduct of Defendants. Plaintiff Serrano further seeks to recover all wages

 5   and benefits that Plaintiff would have earned if not discriminated against, retaliated

 6   against, or unlawfully harmed in amount to be proven at trial.

 7          164. Plaintiff SAPOA has incurred damages in the form of attorney fees, costs

 8   and nominal damages because of Defendants' violations of the Labor Code section

 9   cited above.

10          165. The duty to obey the Labor Code sections set forth above is a ministerial

11   duty and is not discretionary. By acting, and failing to act, as set forth above,

12   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

13   defendants, set forth above, demonstrate that defendants' failure to comply with the

14   California Constitution wherein it enjoins certain acts; therefore, defendants actions

15   were illegal as a matter of law under Government Code section 1222, which makes a

16   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.

17          166. The acts listed above, individually or jointly, constitute a violation of

18   Plaintiffs' rights under the Labor Code and therefore this court should render all

19   available and proper relief to remedy the violations and to prevent future violations of a

20   like or similar nature. Plaintiffs specifically seek a "make whole" remedy.

21          167. For those acts identified in the already filed Government Tort Claim,

22   Plaintiffs seek all available monetary damages and statutory penalties. For those acts

23   not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs seek

24   injunctive and/or mandamus remedies. Plaintiffs are in the process of satisfying the

25   Government Tort Claim requirement for those acts or omissions that were learned of

26   and/or took place after the initial Tort Claim was filed and rejected; upon completion of

27   that process, Plaintiffs will seek leave to amend the complaint to seek damages and/or

28   civil penalties for the additional acts that recently occurred or were learned of.

                                                  37


                                                                                         EXHIBIT A
                                              COMPLAINT

                                                                                           Page 44
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 46 of 305 Page ID #:46




 1          168. The above articulated violations were proximately caused by City's

 2   deliberate indifference to its employees' violations law, and the failure to train and

 3   control its officers and representatives on the provisions of law referenced above. The

 4   violations set forth above were proximity caused by the customs, practices, policies and

 5   decisions of the defendants.

 6          169. Unless this court issues a preliminary and permanent injunction enjoining

 7   and restraining defendants, and each of them, and their agents, employees and

 8   servants, from ordering, requiring, commanding, or taking any other action that will

 9   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

10   rights will be violated without any remedy being afforded.

11          170. Plaintiffs have attempted, without success, to exhaust any and all

12   administrative remedies afforded to them to deal with these issues, but such efforts are

13   futile as the named defendants are ttie ones that make the final decisions via any

14   complaints, grievances or other administrative actions.

15          171. Plaintiff requests this court to award damages and attorney fees as

16   provided by law, including pursuant to C.C.P. §1090 and 1095.

17          172. In bringing this action, Plaintiffs have sought enforcement of an important

18   right affecting the public interest which will result in the conferring of a significant benefit

19   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

20   an award of attorneys' fees pursuant to Code of Civil Procedure §1021 .5.

21          173. The actions of defendants, and each of them, were arbitrary and capricious

22   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
23   Code §800.

24                                     FIFTH CAUSE OF ACTION

25                 Against City, Police Department, Valentin, Ridge and Carvalho

26              Violation of Penal Code §§832.5-832.8/Evidence Code §1043-1046

27          174. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

28   Fifth Cause of Action against all Defendants for violations of Penal Code §§832.5-832.8
                                                      38

                                                 COMPLAINT
                                                                                            EXHIBIT A
                                                                                              Page 45
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 47 of 305 Page ID #:47




 1   and/or Evidence Code §§1043-1046 re-alleges paragraphs 1-95, above, and further

 2   allege as follows:

 3            175. Penal Code 832.5(a) (1) provides "Each department or agency in this state

 4   that employs peace officers shall establish a procedure to investigate complaints by

 5   members of the public against the personnel of these departments or agencies, and

 6   shall make a written description of the procedure available to the public."

 7   176.Penal Code §832.7(f) (1) mandates that "The department or agency shall provide

 8   written notification to the complaining party of the disposition of the complaint within 30

 9   days of the disposition."

10            177. The City of Santa Ana and Santa Ana Police Department have established

11   and published procedures for receiving and investigating complaints. The established

12   procedures state that complaints will investigated and the party submitting the

13   complaint will be notified of the results by mail.

14            178. The procedure for addressing citizen complaints that the department has

15   established and published obligated the department to conduct an investigation into the

16   allegations of the complaint that was sufficient to allow a decision-maker make one of

17   four possible findings, and the procedure obligated the Chief of Police to make one of

18   those findings with respect to each allegation of misconduct. Defendants did not comply

19   with these obligations and Plaintiffs are entitled lo a writ of mandate compelling

20   defendants to perform their ministerial duty to satisfy the obligations imposed by the

21   department's published procedure. (See Galzinski v. Somers, (2016) 2 Cal.App.5 th

22   1164).

23            179. Plaintiffs filed complaints and requests for investigations and Defendants

24   failed to either investigate the allegations of misconduct (which were also violations of

25   state law and possible misdemeanor offenses) and/or refused to notify Plaintiff SAPOA

26   of the outcome of the investigation.

27            180. Defendants had a ministerial duty to investigate the SAPOA's and/or

28   Serrano's citizen's complaint and to render a finding on that complaint in compliance
                                                   39

                                              COMPLAINT
                                                                                     EXHIBIT A
                                                                                       Page 46
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 48 of 305 Page ID #:48




 1   with the complaint procedure the department established and made public pursuant to

 2   subdivision (a)(1) of Penal Code section 832.5. (See Gregory v. State Bd. of Control

 3   (1999) 73 Cal.App.4th 584 ('[a] public entity has a ministerial duty to comply with its

 4   own rules and regulations where they are valid and unambiguous); Pozar v. Department

 5   of Transportation (1983) 145 Cal.App.3d 269 (a writ of mandate may be issued to

 6   compel a public agency to follow its own internal procedures.).

 7          181. A writ of mandate may be issued by any court to any inferior tribunal,

 8   corporation, board, or person, to compel the performance of an act which the law

 9   specially enjoins, as a duty resulting from an office, trust, or station." (Code Civ. Proc., §

10   1085, subd. (a).) Indeed, "[t]he writ must be issued in all cases where there is not a

11   plain, speedy, and adequate remedy, in the ordinary course of lawupon the verified

12   petition of the party beneficially interested." (Id.,§ 1086.) In essence, "[m]andamus lies

13   to compel the performance of a clear, present, and ministerial duty where the petitioner

14   has a beneficial right to performance of that duty." (Carrancho v. California Air

15   Resources Board (2003) 111 Cal.App.4th 1255 1265) "A duty is ministerial when it is

16   the doing of a thing unqualifiedly required." (Redwood Coast Watersheds Alliance v.
17   State Bd. of Forestry & Fire Protection (1999) 70 Cal.App.4th 962, 970).

18          182. Plaintiffs seek a writ of mandate commanding Defendants to investigate

19   Plaintiff's complaint regarding the release of the confidential information and to inform

20   Plaintiff of the outcome of that investigation. Plaintiff further seeks an order of the court

21   mandating that Defendants, and each of them, fully investigate any and all complaints

22   made to the City of Santa Ana/Santa Ana Police Department regarding the misconduct

23   of police department employees/officials.

24          183. Furthermore, Penal Code §832.5-832.8 requires Defendants to maintain as

25   confidential peace officer personnel files/information. The only manner in which the

26   information can be released to third parties is through compliance with Evidence Code

27   §§1043-1046.

28          184. Plaintiff Serrano was issued punitive action by Defendant Ridge, and then

                                                  40

                                              COMPLAINT
                                                                                      EXHIBIT A
                                                                                        Page 47
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 49 of 305 Page ID #:49




 1   Defendant Ridge and/or Carvalho released copies of the punitive action to elected

 2   Council members and media sources without complying with the legal requirements set

 3   forth above.

 4           185. The duty to obey the laws set forth in Penal Code § §832.5-832.8 and/or

 5   Evidence Code §§1043-1046, is a ministerial duty and is not discretionary. By acting,

 6   and failing to act, as set forth above, defendants have violated a ministerial duty.

 7   Moreover, the acts and/or omissions of defendants, set forth above, demonstrate that

 8   defendants' failure to comply with Penal Code §§832.5-832.8 and/or Evidence Code

 9   §1043-1046 was illegal as a matter of law under Government Code section 1222, which

10   makes a public officer's "willful omission to perform any duty enjoined by law" a

11   misdemeanor.

12           186. As a result of Defendants' unlawful action, Plaintiff Serrano has suffered

13   and will continue to suffer distress, suffering, anguish, fright, nervousness, grief,

14   anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,

15   damages to reputation, and other non-economic damages, in a sum to be ascertained

16   according to proof. Said damages are of the type that any person would suffer as result

17   of the illegal and wrongful conduct of Defendants; Plaintiff does not claim that he has

18   suffered any psychiatric illness as a result of the conduct of Defendants.

19           187. Plaintiffs have no plain, speedy or adequate remedy under the law.

20   Plaintiffs have attempted to exhaust all administrative remedies to redress the violation
21   of their rights.

22           188. Plaintiffs request this court to award ancillary damages pursuant to C.C.P.

23   § 1090 and 1095.

24           189. The actions of defendants, and each of them, were arbitrary and capricious

25   and, therefore, Plaintiffs are entitled to recover attorneys' fees pursuant to Government

26   Code §800.

27           190. The success of Plaintiffs in this action will result in the enforcement of an

28   important right affecting the public interest in that a significant benefit will be conferred

                                                   41

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 48
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 50 of 305 Page ID #:50




 1   on a large class of persons, that is, public employees, and the necessity and financial

 2   burden of private enforcement of said benefit are such as to make appropriate the

 3   award of attorney fees pursuant to California Code of Civil Procedure §1021.5.

 4                                  SIXTH CAUSE OF ACTION

 5                   (Violation of FEHA (Government Code§ 12900, et seq.)

 6                         Retaliation for Engaging in Protected Activity

 7                  (Against City of Santa Ana/Santa Ana Police Department)

 8          191. The allegations set forth in paragraphs 1 through 190 are re-alleged and
 9   incorporated herein by reference.

10          192. Plaintiffs filed complaints with the City of Santa Ana, via Defendant Ridge

11   and/or Motsick regarding allegations of gender discrimination and/or harassment.

12   Furthermore, Defendants Ridge, Motsick and Carvalho believed that Plaintiffs had or

13   would file complaints against Ridge for allegations of sexual harassment. In retaliations

14   for Plaintiffs filing complaints, and/or the fear that additional complaints would be made,

15   defendants engaged in actions such as issuing punitive action, causing Plaintiff Serrano

16   to be subject to improper investigations, placed on administrative leave, and/or to

17   implement other adverse employment action against Plaintiff Serrano.

18          193. Plaintiffs complained to Defendants about the inappropriate actions

19   (discrimination, harassment and/or retaliation), but nothing was done and the retaliation

20   continued unabated. On the basis of the above, Plaintiffs believe and allege that

21   Defendants retaliated against them for their complaints of gender discrimination, sexual
22   harassment, and/or retaliation.

23          194. Plaintiffs reporting of unlawful actions were motivating factors in

24   Defendants' decision not to implement adverse employment actions against Plaintiff

25   Serrano.

26          195. Defendants' conduct, as alleged, violated the Fair Employment and

27   Housing Act, Government Code section 12900, et seq., and Defendants committed

28   unlawful employment practices.

                                                 42

                                             COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 49
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 51 of 305 Page ID #:51




 1          196. As a proximate result of Defendants' willful, knowing, and intentional
 2   discrimination/harassment/retaliation against Plaintiff, Plaintiff has sustained and

 3   continues to sustain damages, humiliation, distress, pain and anguish, all to his
 4   damage in a sum according to proof.

 5          197. Plaintiffs have incurred and continues to incur legal expenses and

 6   attorneys' fees. Pursuant to Government Code section 12965(b), plaintiffs are entitled

 7   to recover reasonable attorneys' fees and costs (including expert costs) in an amount
 8   according to proof.

 9          198. Plaintiffs further request that the Court render appropriate injunctive or

10   other extraordinary relief to remedy these violations and to prevent future violations of a

11   like or similar nature, including, but not limited to, the granting of a permanent injunction

12   requiring the Defendants, upon receiving notification of conduct which may violate the

13   California Department of Fair Employment and Housing regulations or California

14   whistleblower statutes, to promptly conduct a fair and thorough investigation into the

15   allegations and not allow retaliatory actions to be taken against the employees.

16          199. Plaintiff requests this court to award ancillary damages pursuant to C.C.P.
17   §1090 and 1095.

18          200. The actions of defendants, and each of them, were arbitrary and capricious

19   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

20   Code §800.

21          201. The success of Plaintiff in this action will result in the enforcement of an

22   important right affecting the public interest in that a significant benefit will be conferred

23   on a large class of persons, that is, public employees, and the necessity and financial

24   burden of private enforcement of said benefit are such as to make appropriate the

25   award of attorney fees pursuant to California Code of Civil Procedure §1021.5

26          202. Plaintiff obtained a Righi to Sue letter from the DFEH, and served the

27   same on defendants via the City Clerk's office.

28          WHEREFORE, Plaintiff prays for judgment against Defendants and each of them

                                                   43

                                              COMPLAINT
                                                                                       EXHIBIT A
                                                                                         Page 50
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 52 of 305 Page ID #:52




 1   as follows:

 2                                     FIRST CAUSE OF ACTION

 3             1. Any and all appropriate injunctive or other extraordinary relief afforded under

 4   Government Code §3500, et seq., to remedy the violation and to prevent future

 5   violations of a like or similar nature, including, but not limited to, the granting of a

 6   temporary restraining order, preliminary injunction, or permanent injunction prohibiting

 7   Defendants, and each of them, and their agents, representatives, employees, servants

 8   and/or investigators from violating Government Code §3500, et seq.

 9             2. For those matters already identified in Plaintiffs' Government Tort Claims,

10   any and all damages and/or civil penalties afforded under the law.

11                                   SECOND CAUSE OF ACTION

12          3. Any and all appropriate injunctive or other extraordinary relief afforded under

13   Government Code §3309.5(d) to remedy the violation and to prevent future violations of
14   a like or similar nature.

15          4. For those matters already identified in Plaintiffs' Government Tort Claims, any

16   and all damages and/or civil penalties afforded under the law.

17                                    THIRD CAUSE OF ACTION

18          5. Any and all appropriate injunctive or other extraordinary relief afforded under

19   the law to remedy the violation and to prevent future violations of a like or similar

20   nature.

21          6. For those matters already identified in Pl~intiffs' Government Tort Claims, any

22   and all damages and/or civil penalties afforded under the law.

23                                   FOURTH CAUSE OF ACTION

24             7. Any and all appropriate injunctive or other extraordinary relief afforded under

25   the law to remedy the violation and to prevent future violations of a like or similar

26   nature.

27          8. For those matters already identified in Plaintiffs' Government Tort Claims, any

28   and all damages and/or civil penalties afforded under the law.
                                                    44

                                               COMPLAINT
                                                                                        EXHIBIT A
                                                                                          Page 51
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 53 of 305 Page ID #:53




 1                                     FIFTH CAUSE OF ACTION

 2          9. A declaration of the Court that the Defendants violated Penal Code §832.5-

 3   832.7 and/or Evidence Code §§1043-1046 and that Plaintiffs are entitled to the full

 4   relief afforded under Penal Code §832.5-832.7 and/or Evidence Code §§1043-1046.

 5             10. Any and all appropriate injunctive or other extraordinary relief afforded under

 6   the law to remedy the violation and to prevent future violations of a like or similar

 7   nature.

 8             11. For those matters already identified in Plaintiffs' Government Tort Claims,
 9   any and all damages and/or civil penalties afforded under the law.

10                                    SIXTH CAUSE OF ACTION

11             12. Any and all appropriate injunctive or other extraordinary relief afforded under

12   the law to remedy the violation and to prevent future violations of a like or similar
13   nature.

14             13. For those matters already identified in Plaintiffs' Government Tort Claims,

15   any and all damages and/or civil penalties afforded under the law.

16                                     ALL CAUSES OF ACTION

17             14. An award ancillary damages pursuant to C.C.P. §1090 and 1095.

18             15. For all matters covered by Plaintiffs' Government Tort Claim(s), all damages

19   which the Plaintiffs have sustained as a result of Defendants' conduct, including general

20   damages for pain, suffering, distress, and special damages for lost compensation,

21   including back, front pay, job benefits that he would have received but for the

22   discriminatory practices of Defendants, damages for anguish, fright, nervousness, grief,

23   anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,

24   as well as other unpleasant physical, mental, and emotional reactions ordinarily to be

25   expected, damages to reputation, and other non-economic damages, to the extent

26   permitted by law and in a sum to be ascertained according to proof;

27             16. For all matters covered by Plaintiffs' Government Tort Claim(s), other actual,

28   consequential, and/or incidental damages, and/or statutory penalties in a sum to be
                                                    45

                                               COMPLAINT
                                                                                      EXHIBIT A
                                                                                        Page 52
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 54 of 305 Page ID #:54




 1   ascertained according to proof;

 2         17. Attorneys' fees pursuant to Government Code §800.

 3         18. Attorney fees pursuant to California Code of Civil Procedure §1021.5

 4         19. Attorney fees as provided by any other law and/or statutes

 5         20. That Defendants takes nothing by virtue of this action;

 6         21. For cost of suit and attorney's fees incurred herein; and

 7         22. For such other and further relief as the Court may deem just and proper/

 8

 9   DATED: November_, 2021                  COREYW. GLAVE, ATTORNEY AT LAW

10                                           By:_~-~~~--------
                                               Corey W. Glave
11                                             Attorneys for Plaintiffs

12

13
14
15

16
17

18

19

20

21

22

23
24
25

26
27

28
                                                46

                                           COMPLAINT
                                                                                EXHIBIT A
                                                                                  Page 53
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 55 of 305 Page ID #:55




 1                                          VERIFICATION

 2          The undersigned declares as follows:

 3

 4          I am the attorney of record for all plaintiffs in this action. I am verifying this

 5   Complaint on the basis that all named plaintiffs are absent from the county where I

 6   have my office. I have read the foregoing COMPLAINT, and know the contents thereof.

 7   The contents are true, except as to the matters which are therein stated on information

 8   or belief, and as to those m alters I believe them to be true and Plaintiffs are acting in

 9   good faith in bringing forward such allegations.

10          I declare under penalty of perjury under the laws of the State of California that

11   the foregoing is true and correct.

12                                        /S/    Corey Glave

13

14                                        COREY GLAVE

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                   47
                                                COMPLAINT
                                                                                         EXHIBIT A
                                                                                           Page 54
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 56 of 305 Page ID #:56




                              EXHIBIT B
   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 57 of 305 Page ID #:57
            Electronically Filed by Superior Court of California, County of Orange, 11/08/2021 08:00 :00 AM.
30-2021-01230129-CU-OE-CJC - ROA# 4- DAVID H. YAMASAKI, Clerk of the Court By Jessica Duarte , Deputy s:tfM<;.100
                                           SUMMONS                                                                         FOR COURT USE OHL Y
                                                                                                                       (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (A VISO AL DEMANDADO):
 CITY OF SANTA ANA, a Municipal Corporation ;
 see additional parties attachment

 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 Santa Ana Police Officers Association and Gerry Serrano


  NOTICE! You have been sued . The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you . Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response . You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/se/fhelp), your county law library, or the courthouse nearest you . If you cannot pay the filing fee , ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages , money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case .
  jAVISOI Lo han demandado. Si no responde dentro de 30 dfas, la corte puede decidir en su contra sin escuchar su versi6n. Lea la informaci6n a
  continuaci6n.
     Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
  en fonnato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta .
  Puede encontrar estos formularios de la corte y mas infonnacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
  biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
  que le de un formu/ario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
  podra quitar su sue/do, dinero y bienes sin mas advertencia.
     Hay otros requisitos /egales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
  remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
  programa de servicios /ega/es sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
  (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la corte o el
  colegio de abogados locales. AV/SO: Parley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sabre
  cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la corte antes de que la corle pueda desechar el caso.
The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                          (NOmero de/ Caso):
(El nombre y direcci6n de la corte es) :
Orange County Superior Court
700 Civic Center Drive West, Santa Ana, CA 92701



The name, address, and telephone number of plaintiffs attorney , or plaintiff without an attorney , is:
(El nombre, la direcci6n y el numero de telefono def abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Corey W. Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472


DATE:                                                                          Clerk, by                               , Deputy
(Fecha)                                                                        (Secretario) - - - - - - -- - -- -- - - (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010) .)
(Para prueba de entrega de esta citati6n use el formulario Proof of Service of Summons , (POS-010)) .
 (SEALJ                               NOTICE TO THE PERSON SERVED: You are served
                                      1.     D
                                             as an ind ividual defendant.
                                      2.     D
                                             as the person sued under the fictitious name of (specify) :

                                      3.     0 on behalf of (specify):
                                           under:     D
                                                      CCP 416.10 (corporation)                                  D CCP 416.60 (m inor)
                                                      0CCP 4 16.20 (defunct corporation)                        D CCP 416.70 (conservatee)
                                                      DCCP 416.40 (association or partnership)                  D CCP 416.90 (authorized person)
                                                      Dother (specify):
                                     4.     D by personal delivery on (date) :
                                                                                                                                                            Pae1of1
 Form Adopted for Mandatory Use                                                                                                   Code of Civil Proce dure §§ 412.20, 465
   Judicial Council of California
                                                                       SUMMONS                          American LegalNet, Inc.
                                                                                                                                                   www.courtinfc .ca.go v
                                                                                                        www. FormsWorkflow.com
   SUM-1 00 (Rev. July 1, 2009]
                                                                                                                                     EXHIBIT B
                                                                                                                                       Page 55
    Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 58 of 305 Page ID #:58


                                                                                                                              SUM-20DlAl
    SHORT TITLE:                                                                                      CASE NUMBER:

    Santa Ana POA/Serrano v. City of Santa Ana, et al
-
                                                            INSTRUCTIONS FOR USE
    + This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    + If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment folTTl is attached."

    List additional parties (Check only one box. Use a separate page        for each   type of party.):

      D        Plaintlff         !ZI   Defendant    D   Cross-Complainant     D        Cross-Defendant
      SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
      of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
      Resources; DOES 1-X, inclusive




                                                                                                                     Page _ _ of _ _
                                                                                                                                        Page1of 1
 Fann Adapted fer Mandatcry Use
   Judicial Council of Call!Dmla
                                                   ADDITIONAL PARTIES ATTACHMENT
SUM-2011(A) [Rav. January 1, 2007]                       Attachment to Summons                                           American Lagal Net, Inc.
                                                                                                                         www.FormslMldctlcw.c:om
                                                                                                                     EXHIBIT B
                                                                                                                       Page 56
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 59 of 305 Page ID #:59


SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE                                                    FOR COURT USE ONLY

STREET ADDRESS : 700 W. Civic Center DRIVE
MAILING ADDRESS: 700 W. Civic Center Drive
                                                                                                     FILED
                                                                                              SUPERIOR COURT OF C/JJ.IFrnNIA
CITY AND Z IP CODE: Santa Ana 92701                                                                COUNTY OF ORANGE
BRANCH NAME : Cen tral Justice Center
PLANTIFF: Santa Ana Police Officers Association et.al.
                                                                                                  Nov 8, 2021
DEFENDANT: City of Santa Ana et.al.
                                                                                                      Clerk of the Court
Short Title: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA                         By: Jessica Duarte. Deputy




                                                                                      CASE NUMBER:
                             NOTICE OF HEARING                                        30-2021-01230129-CU-OE-CJC
                       CASE MANAGEMENT CONFERENCE



  Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 05/09/2022 at 09:00 :00 AM in Department C20 of this court , located at Central Justice
  Center.

  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.


    IMPORTANT: Prior to your hearing date , please check the Court's website for the most cutTent instrnctions
    regarding bow to appear for your hearing and access services that are available to answer your questions.
    Civil Matters - https J/www.occourls .orgimcdia-relations/civil.hlml
    Probate/Mental Health - hllps ://www.occomts .org:/media-rclations/probu Le-mental-health.html


    IMPORTANTE: Antes de la fecba de su audiencia, visite el sitio web de la Corte para saber cuales son las
    instrncciones mas actuates para pa1ticipar en la audiencia y tener acceso a los servicios disponibles para
    responder a sus preguntas.
    Casos Civiles - https ://www.occourts.org/media-relatio11s/civil.html
    Casos de Probate y Salud Mental- https :fhvww .occourts.org/media-relations/probate-mental-health.html


    QUAN TRONG: Tnroc ngay phien toa CW\ quy vi, vui long ki~m tra trang 111<.'lllg ClJa toa an ct~ bi€t nln)ng
    Im&ng cIBn mol nh~t v~ each ra h~u phien t6a c1ia quy vj va ti~p c~n nbfmg djcb vi,1 hi~n co ct~ gial c1ap nhfrng
    th5c m~c cua quy vj.
    V§n DS Dan Su - https ://www .occomts.org/media-relations/civil.html
    Tin't Tue Di Cb1'.tc/Si'.rc K.hl'le Tinh Th~n - https ://www.occou1ts.org/media-relations/probate-mental-health.html




                                              Clerk of the Court, By:        c/JirrfjP---               , Deputy
                                                                           - -- - - - - - - -- - - - --


                                                                                                                              Page: 1
                                                         NOTICE OF HEARING


                                                                                                             EXHIBIT B
                                                                                                               Page 57
   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 60 of 305 Page ID #:60



   SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
   Central Justice Center
   700 W. Civic Center DRIVE
   Santa Ana 92701


   SHORT TITLE: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA



                                                                                            CASE NUMBER:
            CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                    30-2021-01230129-CU-OE-CJC


     I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 11/08/2021 . Following standard court practice the mailing will occur at Sacramento, California on
     11/09/2021 .



                                                                    '/)l~
                                          Clerk of the Court, by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                         , Deputy

    COREY W GLAVE
    632 S. GERTRUDA
    REDONDO BEACH , CA 90277




                                                                                                                                Page: 2
                                     CLERK'S CERTIFICATE OF SERVICE BY MAIL
V31013a(June 2004)                                                                                   Code of Civil Procedure . § CCP 1013(a)


                                                                                                     EXHIBIT B
                                                                                                       Page 58
     Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 61 of 305 Page ID #:61
                    Electronica ll y Filed by Superior Court of California, County of Orange , 11/08/2021 08:00:00 AM.
                                                                                                                                                                    010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name , State Bar number, and address):
   Corey W. Glave (SBN164746)
   Attorney at Law
    632 S. Gertruda Ave.
    Redondo Beach, CA 90277
      TELEPHONE NO.: 323-547 -04 72                           FAA.NO.: nla
 ATTORNEY FOR (Name/: Plaintiffs SAPOA/Serrano
SUPERIOR COURT OF CALIFORNIA, COUNTY OF           Orange
      sTREET ADDREss 700 Civic Center Plaza
    MAILING ADDRESS:
    cITY AND 2IP coDE Santa Ana, CA 92701
         BRANCH NAME: Central Justice
   CASE NAME: SAPOA/Serrano V. City of Santa Ana, et al

         CIVIL CASE COVER SHEET                                   Complex Case Designation                  CASE NUMBER:
 ~       Unlimited         Limited
                                   □
         (Amount           (Amount
                                                       Counter
                                                              □              Joinder
                                                                                    □    JUDGE:
         demanded          demanded is          Filed with first appearance by defendant
         exceeds $25,000   $25 ,000 or less          Cal. Rules   of Court, rule 3.402    DEPT:
                                  Items 1-6 below must be com feted see instructions on a e 2 .
1. Check one box below for the case type that best describes this case:
     Auto Tort                                            Contract                                   Provisionally Complex Civil Litigation
     0       Auto (22)                                    0       Breach of contract/warranty (06)   (Cal. Rules of Court, rules 3.400-3.403)
     0       Uninsured motorist (46)                      D       Rule 3.740 collections (09)        D      Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property             O       Other collections (09)             D     Construction defect (10)
     Damage/Wrongful Death) Tort                          D       Insurance coverage (18)            D     Mass tort (40)
                                                                                                     D
     B
     0       Asbestos (04)
             Product liability (24)
                                                          0       Other contract (37)
                                                          Real Property
                                                          0
                                                                                                     0
                                                                                                           Securities litigation (28)
                                                                                                           Environmental/Toxic tort (30)
     □       Medical malpractice (45)
             Other PI/PD/WD (23)
                                                                  Eminent domain/Inverse
                                                                  condemnation (14)
                                                                                                     □     Insurance coverage claims arising from the
                                                                                                           above listed provisionally complex case
     Non-Pl/PD/WO (Other) Tort                            D       Wrongful eviction (33)                   types (41)
     0    Business tort/unfair business practice (07) D           Other real property (26)           Enforcement of Judgment
     0    Civil rights (08)                           Unlawful Detainer
                                                                                                     D     Enforcement of judgment (20)
     0    Defamation (13)                             D Commercial (31)                              Miscellaneous Civil Complaint
     0    Fraud (16)                                  D Residential (32)                             0    RICO (27)
     0    Intellectual property (19)                  D Drugs (38)                                   0    Other complaint (not specified above) (42)
     0    Professional negligence (25)                Judicial Review
                                                                                                     Miscellaneous Civil Petition
     0    Other non-PI/PD/WD tort (35)                D Asset forfeiture (05)                        D    Partnership and corporate governance (21)
     Employment                                       D Petition re: arbitration award (11)          D     Other petition (not specified above) (43)
     0 Wrongful termination (36)                      D Writ of mandate (02)
     l:8J Other employment (15)                       0 Other judicial review (39)
2. This case         is D 1:8'.1 is not complex under rule 3.400 of the               California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a. D Large number of separately represented parties         d. 0                    Large number of witnesses
   b. D Extensive motion practice raising difficult or novel e. D                      Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve                             in other counties, states, or countries, or in a federal court
   c. D Substantial amount of documentary evidence             f. 0                    Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.1:8'.1 monetary b. 1:8'.1 nonmonetary; declaratory or injunctive relief c. 1:8'.1 punitive
4. Number of causes of action (specify) : 6:MMBA; PO BRA; Speech; Labor Code; Penal Code 832 .5-832.8; Retaliation
5. This case D is 1:8'.1 is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: November7, 2021
          Corey W. Glave                                                   ► Isl Corey W. Glave
                       ITYPE OR PRINT NAME\                                           /SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                              NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding .
  • Unless this is a collections case under rule 3. 740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                               Paoe 1 of 2


Form Adopted for Mandatory Use                                                                                   Cal. Rules of Court, rules 2 .30, 3.220, 3.400-3.403, 3,740;
  Judicial Council of California
                                                          CIVIL CASE COVER SHEET                                         Cal. Standards or Judicial Administration , std. 3.1o

                                                                                                                                       EXHIBIT B
   CM -010 [Rev, July 1, 2007]                                                                                                                         www.courtinfo.ca.gov



                                                                                                                                         Page 59
     Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 62 of 305 Page ID #:62

                                                                                                                                      CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffa and others FIiing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This Information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type In Item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 Is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes In Items 1 and 2. If a plalr:,tlff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder ln the
plaintiff's designation, a counter-designation that the case is not complex, or, If the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provlalonally Complex Clvll LltlgaOon (CaL
     Auto (22)-Per.;anal Injury/Property            Breach of Contract/Warranty (06)                Rules of Court Rules 3.4DD-3.403)
            Damage/Wrongful Death                        Breech of Rental/Lease                          Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (If the                         Contract (not unlawful detainer             Construction Defect (10)
            case Involves an uninsured                            or wrongful eviction)                  Claims Involving Mass Tort (4D)
            motorist claim subject to                   Contract/Warranty Breach-Seller                  Securities Litigation (28)
            arbitration, check this item                      Plaintiff (not fraud or negligence)        EnvironmentaVToxic Tort (30)
            instead of Auto)                            Negligent Breach of ContracU                     Insurance Coverage Claims
Other PIIPD/WD (Personal Injury/                              Warranty                                        (arisfng from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                     case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                              Enforcement of Judgment (20)
           Asbestos Property Damage                     Collection Case-Seller Plaintiff                      Abstract of Judgment (Out of
          Asbestos Personal Injury/                     Other Promissory Note/Collections                          County)
                 Wrongful Death                              Case                                             Confession of Judgment (non-
      Product Liability (not asbestos or            Insurance Coverage (not provisionally                          domestic relations)
             toxic/environmental) (24)                  complex) (1 B)                                        Sister State Judgment
      Medical Malpractice (45)                          Auto Subrogation                                      Administrative Agency Award
           Medical Malpractice-                         Other Coverage                                             (not unpaid taxes)
                  Physicians & Surgeons             Other Contract (37)                                       Petition/Certification of Entry of
          Other Profasslonal Health Care                Contractual Fraud                                          Judgment on Unpaid Taxes
                  Malpracllce                           Other Contract Dispute                                Other Enforcement of Judgment
     other PI/PDIWD (23)                         Real Property                                                     Case
           Premises Liability (e.g., slip           Eminent Domain/Inverse                           Mlscallanaou& Clvll Complaint
           and fall)                                    Condemnation (14)                                RICO (27)
           lntentlonal Bodily Injury/PD/I/VD        Wrongful Eviction (33)                               Other Complaint (not specified
                  (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (28)              above) (42)
           Intentional Infliction of                    Writ of Possession of Real Property                   Declaratory Relief Only
                  Emotional Distress                    Mortgage Foreclosure                                  Injunctive Relief Only (non-
           Negllgent Infliction of                      Quiet litle                                                harassment)
                  Emotional Distress                    Other Reel Property (not eminent                      Mechanics Lien
          Other PI/PD/WD                                 domain, landlord/tenant, or                          Other Commerclal Complaint
Non-PIIPD/WD (Other) Tort                               foreclosure)                                               Case (non-tort/non-complex)
     Business TorVUnfair Business               Unlawful Detainer                                             Other Civil Complaint
         Practice (07)                             Commercial (31)                                                 (non-tort/non-complex)
     Civil Rights (e.g., discrimination,           Residential (32)                                  Miscellaneous Civil Petition
         false arrest) (not civil                  Drugs (38) (If the case Involves Illegal              Partner.ship end Corporate
         harassment) (08)                               d,vgs, check this item; otherwise,                     Governance (21)
     Defamation (e.g., slander, libel)                  report as Commercial or Residential)             Other Petition (not specified
         (13)                                   Judicial Review                                               above) (43)
     Fraud (18)                                    Asset Forfeiture (05)                                      Clvll Harassment
     lntelectual Property (19)                     Petition Re: Arbitration Award (11)                        Workplace Violence
     Professional Negligence (25)                  Writ of Mandate (02)                                       Elder/Dependent Adult
         Legal Malpractice                             Writ-Administrative Mandamus                                Abuse
         Other Professional Malpractice                Writ-Mandamus on Limited Court                         Election Contest
              (not medical or legal)                        Case Matter                                       Petition for Name Change
      Other Non-PIIPDJWD Tort (35)                     Writ-Other Limited Court Case                          Petition for Relief From Late
Employment                                                  Review                                                Claim
     \'Vrongful Termination (38) Other             Other Judicial Review (39)                                 Other Clvll Petition
         Employment (15)                                Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                            Commissioner Appeals
CM--010 (Rev. J~ly 1, 2007]                        CIVIL CASE COVER SHEET                                                                    Pa11112or2

                                                                                                                               Amallcan LagalNet Inc.
                                                                                                                               www.Forms Worlolow.oom
                                                                                                                       EXHIBIT B
                                                                                                                         Page 60
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 63 of 305 Page ID #:63




                              EXHIBIT C
                Electronically Filed by Superior Court of California, County of Orange, 12/10/2021 06:09:00 PM.
          Case 8:22-cv-00118-CJC-DFM
     30-2021-01230129-CU-OE-CJC      - ROA # 12 -Document      1 Filed 01/24/22
                                                  DAVID H. YAMASAKI,      Clerk of the Page  64Karla
                                                                                       Court By of 305   Page
                                                                                                     Macias,    ID #:64
                                                                                                             Deputy Clerk.




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        JEFFREY S. RANEN, SB# 224285                                       Exempt from filing fees per
                    2     E-Mail: Jeffrey.Ranen@lewisbrisbois.com                          Government Code § 6103
                        SOOJIN KANG, SB# 219738
                    3     E-Mail: Soojin.Kang@lewisbrisbois.com
                        ANDREA L. STEFFAN, SB# 332596
                    4     E-Mail: Andrea.Steffan@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                    5   Los Angeles, California 90071
                        Telephone: 213.250.1800
                    6   Facsimile: 213.250.7900

                    7 Attorneys for Specially-Appearing Defendant
                        City of Santa Ana
                    8
                                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                            FOR THE COUNTY OF ORANGE – CENTRAL DISTRICT
                   10
                   11
                      SANTA ANA POLICE OFFICERS                           Case No. 30-2021-01230129-CU-OE-CJC
                   12 ASSOCIATION; GERRY SERRANO,
                                                                          [Assigned to Honorable Lon Hurwitz Dept. 20]
                   13                 Plaintiffs,
                                                                          SPECIALLY-APPEARING DEFENDANT
                   14          vs.                                        CITY OF SANTA ANA’S NOTICE OF
                                                                          MOTION AND MOTION TO QUASH
                   15 CITY OF SANTA ANA, a Municipal                      SERVICE OF SUMMONS;
                      Corporation; SANTA ANA POLICE                       MEMORANDUM OF POINTS AND
                   16 DEPARTMENT, a public safety department;             AUTHORITIES
                      DAVID VALENTIN, Chief of Police;
                   17 KRISTIN RIDGE, City Manager; SONIA                  [Filed concurrently with Declaration of Andrea
                      CARVALHO, City Attorney; JASON                      L. Steffan and Exhibit Attached Thereto;
                   18 MOTSICK, Director of Human Resources;               [Proposed] Order]
                      DOES 1 – X, inclusive,
                   19
                                      Defendants.                         Date:    April 20, 2022
                   20                                                     Time:    1:30 p.m.
                                                                          Dept:    20
                   21
                                                                          Reservation No.: 73661593
                   22
                   23                                                     Action Filed:       11/08/2021
                                                                          Trial Date:            None Set
                   24
                   25          TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

                   26                 PLEASE TAKE NOTICE that on April 20, 2022 at 1:30 p.m., or as soon thereafter

                   27 as the matter may be heard in Department 20 of the above-referenced Court, located at 700 W

LEWIS              28 Civic Center Dr, Santa Ana, CA 92701, Specially-Appearing Defendant City of Santa Ana
BRISBOIS
BISGAARD
                      4891-3647-7190.1                              1
                       SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                              EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                  Page 61
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 65 of 305 Page ID #:65




                       1 (“City”) will, and hereby does, move to quash service of summons upon it. This Motion is made
                       2 pursuant to Code of Civil Procedure section 418.10, subdivision (a)(1) on the ground that the
                       3 Court lacks personal jurisdiction over City. City does not consent to the jurisdiction of the Court
                       4 by its special appearance to contest personal jurisdiction. (Code Civ. Proc., § 418.10, subd. (d).)
                       5            This Motion is based upon the Notice of Motion, the attached Memorandum of Points and

                       6 Authorities, the Declaration of Andrea L. Steffan and attached exhibit, the pleadings and records
                       7 on file herein, and such other matter, oral or documentary, as the Court may consider at the time it
                       8 rules upon this Motion.
                       9 DATED: December 10, 2021                    Respectfully Submitted,

                     10                                              LEWIS BRISBOIS BISGAARD & SMITH LLP
                     11
                     12
                                                                     By:
                     13                                                    JEFFREY S. RANEN
                                                                           SOOJIN KANG
                     14                                                    ANDREA L. STEFFAN
                     15                                                    Attorneys for Specially-Appearing Defendant City
                                                                           of Santa Ana
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
                           4891-3647-7190.1                                 2
                            SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                           EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                            Page 62
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 66 of 305 Page ID #:66




                       1                       MEMORANDUM OF POINTS AND AUTHORITIES
                       2 I.         INTRODUCTION

                       3            On November 8, 2021, Plaintiffs Santa Ana Police Officers Association (“SAPOA”) and

                       4 Gerry Serrano (“Serrano” collectively “Plaintiffs”) filed an action alleging violation of the Meyers
                       5 Milias Brown Act Gov. Code § 3500 et seq.; violation of the Public Safety Officers Procedural
                       6 Bill of Rights (“POBRA”), Gov. Code § 3300, et. seq.; violation of Freedom of Speech; violation
                       7 of Labor Code §§ 1102 and 1102.5; violation of Penal Code §§ 832.5-832.8 and Evidence Code
                       8 §§ 1-43-1046; and retaliation under the Fair Employment and Housing Act against defendants
                       9 City of Santa Ana (“City”); Santa Ana Police Department; David Valentin, Chief of Police;
                     10 Kristin Ridge, City Manager; Sonia Carvalho, City Attorney; Jason Motsick, Director of Human
                     11 Resources; and Does I-X (collectively “Defendants”). On November 10, 2021, Plaintiffs
                     12 attempted to serve some or all of the Defendants by delivering a patently defective summons,
                     13 notice of case management conference, civil case cover sheet, and complaint to the Santa Ana City
                     14 Hall.
                     15             Specially-appearing defendant City brings this Motion to Quash pursuant to Code of Civil

                     16 Procedure section 418.10(a)(1) on the ground that this Court lacks personal jurisdiction over City
                     17 because City has not been served with a summons as required by Code of Civil Procedure section
                     18 410.50. The summons served upon Defendants is patently defective as it was not signed by the
                     19 clerk of the court as required by Code of Civil Procedure section 412.20(a). (See Declaration of
                     20 Andrea L. Steffan (“Steffan Decl.”), ¶3, Ex. A at p. 1 (summons and other documents purportedly
                     21 served upon City and/or Defendants). The summons is further defective because it does not
                     22 indicate who was served or by what method. (Steffan Decl., ¶4; Ex. A at p. 1-2.) Because the
                     23 summons is patently defective, City has not been served with a summons and this Court does not
                     24 have personal jurisdiction over it. Consequently, City specially appears and respectfully requests
                     25 that this Court quash service of the defective summons.
                     26 / / /
                     27 / / /

LEWIS                28 / / /
BRISBOIS
BISGAARD
                           4891-3647-7190.1                                 3
                            SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                           EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                           Page 63
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 67 of 305 Page ID #:67




                       1 II.        THIS COURT DOES NOT HAVE PERSONAL JURISDICTION OVER CITY OF
                                    SANTA ANA
                       2
                                    “Personal jurisdiction is conferred only where the statutory requirements for service of
                       3
                           process are fulfilled.” (Stancil v. Superior Court (2021) 11 Cal. 5th 381, 397 (citing MJS
                       4
                           Enterprises, Inc. v. Superior Court (1984) 153 Cal.App.3d 555, 557).) Under the Code, “the court
                       5
                           in which an action is pending has jurisdiction over a party from the time summons is served on
                       6
                           him as provided by Chapter 4 (commencing with Section 413.10).” (Code Civ. Proc., § 410.50.)
                       7
                           A summons “shall be directed to the defendant, signed by the clerk and issued under the seal of
                       8
                           the court in which the action is pending.” (Code Civ. Proc., § 412.20.) Because a summons is the
                       9
                           process by which a court acquires personal jurisdiction over a party “a defendant has an absolute
                     10
                           right to demand that process be issued against him in a manner prescribed by law.” (Mannesmann
                     11
                           Demag v. Superior Court (1985) 172 Cal. App. 3d 1118, 1122-23.) Importantly, “[s]ervice of a
                     12
                           substantially defective summons does not confer jurisdiction over a party.” (MJS Enterprises, Inc.
                     13
                           v. Superior Court (1984) 153 Cal.App.3d 555, 557.) Here, the summons Plaintiffs attempted to
                     14
                           serve upon City is not signed by the clerk of the court or issued under seal of this Court making it
                     15
                           patently defective under Code of Civil Procedure section 412.20. (Steffan Decl., ¶3, Ex. A at p.
                     16
                           1.)
                     17
                                    In addition to Plaintiffs’ failure to comply with Code of Civil Procedure section 412.20,
                     18
                           the summons served is further defective in that it fails to confer notice on any party it has been
                     19
                           served. Notice of a claim against them is given to a defendant in a civil action “by service of a
                     20
                           summons on the person.” (Renoir v. Redstar Corp. (2004) 123 Cal.App.4th 1145, 1152.) In MJS
                     21
                           Enterprises an employee of the defendant was served with a summons on which the “Notice to the
                     22
                           Person Served” section stated he was being served as an individual, but Plaintiff filed a proof of
                     23
                           service indicating that service had been on MJS Enterprises. (MJS Enterprises at 557.) The court
                     24
                           found that although MJS Enterprises had actual notice of the litigation the court did not have
                     25
                           personal jurisdiction over MJS Enterprises because “[n]otice of the litigation does not confer
                     26
                           personal jurisdiction absent substantial compliance with the statutory requirements for service of
                     27
                           summons.” (Id.) The summons was “fatally defective” because (1) it did not contain the
LEWIS                28
BRISBOIS
BISGAARD
                           4891-3647-7190.1                                  4
                            SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                           EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                              Page 64
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 68 of 305 Page ID #:68




                       1 mandatory notice under Code of Civil Procedure section 412.30 that a corporation was being
                       2 served (the box in the “Notice to the Person Served” section was not checked and no corporate
                       3 name was listed) and (2) it did “not otherwise in any manner indicate an attempt to assert judicial
                       4 power over defendant.” (Id. at 558.)
                       5            Similarly, in Mannesmann Demag none of the checkboxes in the “Notice to the Person

                       6 Served” section were checked and the court found “the summons was so incomplete on its face as
                       7 to render it ineffective to impart notice to its recipient.” (Mannesmann Demag at 1122, 1124.)
                       8 Here the summons served lists every named and Doe defendant and as in Mannesmann Demag,
                       9 none of the boxes in the section titled “Notice to the Person Served” are checked. (Steffan Decl.,
                     10 ¶4, Ex. A at p. 1.) This is insufficient to impart notice on the City, or any other defendant, that it
                     11 has been served and the City’s actual knowledge of the suit is insufficient to confer personal
                     12 jurisdiction over the City. (MJS Enterprises at 557.)
                     13             Plaintiffs have not complied with the statutory requirements to effectively serve City – or

                     14 any of the Defendants - with a summons signed by the clerk of the court under Code of Civil
                     15 Procedure section 412.20. Further, the summons served is fatally defective on its face and failed
                     16 to give the required notice to City. This Court has no personal jurisdiction over City and City does
                     17 not consent to personal jurisdiction by this Court.
                     18 / / /
                     19 / / /
                     20 / / /
                     21 / / /
                     22 / / /
                     23 / / /
                     24 / / /
                     25 / / /
                     26 / / /
                     27 / / /

LEWIS                28 / / /
BRISBOIS
BISGAARD
                           4891-3647-7190.1                                   5
                            SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                           EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                              Page 65
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 69 of 305 Page ID #:69




                       1 III.       CONCLUSION

                       2            For the foregoing reasons, Specially Appearing Defendant City of Santa Ana requests that

                       3 its Motion to Quash Service of Summons be granted, that it be dismissed from this action pursuant
                       4 to Code of Civil Procedure section 581(h), and that it be granted any further relief that this Court
                       5 deems just and necessary.
                       6 DATED: December 10, 2021                    Respectfully Submitted,

                       7                                             LEWIS BRISBOIS BISGAARD & SMITH LLP
                       8
                       9
                                                                     By:
                     10                                                    JEFFREY S. RANEN
                                                                           SOOJIN KANG
                     11                                                    ANDREA L. STEFFAN
                     12                                                    Attorneys for Specially-Appearing Defendant City
                                                                           of Santa Ana
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
                           4891-3647-7190.1                                 6
                            SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                           EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                            Page 66
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 70 of 305 Page ID #:70




                       1                            CALIFORNIA STATE COURT PROOF OF SERVICE
                                                  Santa Ana Police Officers Association v City of Santa Ana, et al.
                       2                      Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC

                       3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                       4          At the time of service, I was over 18 years of age and not a party to this action. My
                           business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
                       5
                              On December 10, 2021, I served true copies of the following document(s): SPECIALLY-
                       6 APPEARING  DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND
                         MOTION TO QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND
                       7 AUTHORITIES
                       8         I served the documents on the following persons at the following addresses (including fax
                           numbers and e-mail addresses, if applicable):
                       9
                                                               SEE ATTACHED SERVICE LIST
                     10
                                    The documents were served by the following means:
                     11
                                   (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
                     12             agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                                    documents to be sent from e-mail address Lytonia.Sanders@lewisbrisbois.com to the
                     13             persons at the e-mail addresses listed above. I did not receive, within a reasonable time
                                    after the transmission, any electronic message or other indication that the transmission was
                     14             unsuccessful.

                     15           I declare under penalty of perjury under the laws of the State of California that the
                           foregoing is true and correct.
                     16
                                    Executed on December 10, 2021, at Los Angeles, California.
                     17
                     18
                     19                                                         Lytonia Sanders

                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
                           4891-3647-7190.1                                    7
                            SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                           EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                              Page 67
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 71 of 305 Page ID #:71




                       1                                  SERVICE LIST
                                   Santa Ana Police Officers Association v City of Santa Ana, et al.
                       2        Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC
                       3
                       4 Corey W. Glave, Esq.         Attorneys for Plaintiffs SANTA ANA POLICE
                         Attorney at Law              OFFICERS ASSN and GERRY SERRANO
                       5 632 S. Gertruda Ave.
                         Redondo Beach, CA 90277
                       6 Telephone 323.547.0472 Facsimile
                         E-Mail: POaattorney@aol.com
                       7
                       8
                       9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
                           4891-3647-7190.1                        8
                            SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                           EXHIBIT C
                                    QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                             Page 68
                  Electronically Filed by Superior Court of California, County of Orange, 12/10/2021 06:09:00 PM.
            Case 8:22-cv-00118-CJC-DFM
        30-2021-01230129-CU-OE-CJC      - ROA # 10Document       1 Filed 01/24/22
                                                    - DAVID H. YAMASAKI,      Clerk of thePage
                                                                                           Court72
                                                                                                 By of  305 Page
                                                                                                    efilinguser,     IDClerk.
                                                                                                                 Deputy #:72




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                        JEFFREY S. RANEN, SB# 224285                                              Exempt from filing fees per
                    2     E-Mail: Jeffrey.Ranen@lewisbrisbois.com                                 Government Code § 6103
                        SOOJIN KANG, SB# 219738
                    3     E-Mail: Soojin.Kang@lewisbrisbois.com
                        ANDREA L. STEFFAN, SB# 332596
                    4     E-Mail: Andrea.Steffan@lewisbrisbois.com
                        633 West 5th Street, Suite 4000
                    5   Los Angeles, California 90071
                        Telephone: 213.250.1800
                    6   Facsimile: 213.250.7900

                    7 Attorneys for Specially-Appearing Defendant
                        City of Santa Ana
                    8
                                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                              FOR THE COUNTY OF ORANGE – CENTRAL DISTRICT
                   10
                   11
                      SANTA ANA POLICE OFFICERS                                 Case No. 30-2021-01230129-CU-OE-CJC
                   12 ASSOCIATION; GERRY SERRANO,
                                                                                [Assigned to Honorable Lon Hurwitz Dept. 20]
                   13                      Plaintiffs,
                                                                                DECLARATION OF ANDREA L.
                   14             vs.                                           STEFFAN IN SUPPORT OF SPECIALLY-
                                                                                APPEARING DEFENDANT CITY OF
                   15 CITY OF SANTA ANA, a Municipal                            SANTA ANA’S MOTION TO QUASH
                      Corporation; SANTA ANA POLICE                             SERVICE OF SUMMONS
                   16 DEPARTMENT, a public safety department;
                      DAVID VALENTIN, Chief of Police;                          Filed Concurrently with Specially-Appearing
                   17 KRISTIN RIDGE, City Manager; SONIA                        Defendant City of Santa Ana’s Notice of
                      CARVALHO, City Attorney; JASON                            Motion and Motion to Quash Service of
                   18 MOTSICK, Director of Human Resources;                     Summons; [Proposed] Order
                      DOES 1 – X, inclusive,
                   19                                                           Date:     April 20, 2022
                                           Defendants.                          Time:     1:30 p.m.
                   20
                                                                                Reservation No.: 73661593
                   21
                   22
                   23                                                           Action Filed:       11/08/2021
                                                                                Trial Date:            None Set
                   24
                   25            I, Andrea L. Steffan, declare as follows:

                   26            1.        I am an attorney duly admitted to practice in all of the courts of the State of

                   27 California and I am an associate with Lewis Brisbois Bisgaard & Smith LLP, attorneys of record

LEWIS              28 for Specially-Appearing Defendant City of Santa Ana (“City”) herein. The facts set forth herein
BRISBOIS                4871-4025-2422.1
BISGAARD
                         DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-APPEARING DEFENDANT CITY
& SMITH LLP
ATTORNEYS AT LAW                        OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONSEXHIBIT C
                                                                                                               Page 69
                   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 73 of 305 Page ID #:73




                       1 are of my own personal knowledge, except those matters stated on information and belief, which I
                       2 believe to be true, and if sworn I could and would competently testify thereto.
                       3            2.        On November 8, 2021, Plaintiffs Santa Ana Police Officers Association

                       4 (“SAPOA”) and Gerry Serrano (“Serrano”) (collectively “Plaintiffs”) filed suit alleging several
                       5 claims against defendants City of Santa Ana (“City”); Santa Ana Police Department; David
                       6 Valentin, Chief of Police; Kristin Ridge, City Manager; Sonia Carvalho, City Attorney; Jason
                       7 Motsick, Director of Human Resources; and Does I-X (collectively “Defendants”).
                       8            3.        I am informed and believe that on November 10, 2021, Plaintiffs attempted to serve

                       9 some or all of the Defendants by delivering: a summons that is not signed by the clerk of the court,
                     10 a notice of case management conference, a civil case cover sheet, and the complaint to the Santa
                     11 Ana City Hall. A true and correct copy of the documents Plaintiffs attempted to serve on City
                     12 and/or Defendants is attached hereto as Exhibit A. The summons is on pages one and two. It is
                     13 not signed by the clerk and does not contain the seal of the court.
                     14             4.        The summons also does not have any boxes in the section titled NOTICE TO THE

                     15 PERSON SERVED checked and lists all named and Doe defendants in the NOTICE TO
                     16 DEFENDANT section making it impossible for Defendants to determine who was being served
                     17 and in what capacity. (Exhibit A at 1-2.)
                     18             I declare under penalty of perjury under the laws of the State of California that the

                     19 foregoing is true and correct and that this declaration was executed on December 10, 2021, at Los
                     20 Angeles, California.
                     21
                     22
                     23                                                        Andrea L. Steffan

                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS
BISGAARD
                           4871-4025-2422.1                                    2
                            DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-APPEARING DEFENDANT CITY
& SMITH LLP
ATTORNEYS AT LAW                           OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONSEXHIBIT C
                                                                                                               Page 70
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 74 of 305 Page ID #:74




            Exhibit “A”
                                                                  EXHIBIT C
                                                                    Page 71
   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 75 of 305 Page ID #:75
            Electronically Filed by Superior Court of Californ ia, County of Orange, 11/08/2021 08:00:00 AM.
30-2021-01230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI, Clerk of the Court By Jessica Duarte, Deputy SUM..100
                                           SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                        (SOLO PARA USO DE LA CORTE)
                                    (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AV/SO AL DEMANDADO):
 CITY OF SANTA ANA, a Municipal Corporation;
 see additional parties attachment

 YOU ARE BEING SUED BY PLAINTIFF:                                                                           r:LE~~I< ~Jf- Ti1E c:~JU1iCIL
 (LO ESTA DEMANDANDO EL DEMANDANTE):                                                                            NOV :W 121 AH11;iJ3
 Santa Ana Police Officers Association and Gerry Serrano


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/se/fhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalffomia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/se/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  1AVISOI Lohan demandado. Si no responde dentro de 30 d/as, la corte puede decidiren su contra sin escuchar su versi6n. Lea la informaci6n a
  continuaci6n.
     Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles lega/es para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una llamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en /a
  biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
  que le de un formu/ario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incump/imiento y /a carte /e
  podra quitar su sue/do, dinero y bienes sin mas advertencia.
     Hay otros requisitos lega/es. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
  remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios le gales gratuitos de un
  programa de servicios /ega/es sin fines de /ucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
  (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca .gov) o poniendose en contacto con la corte o el
  co/egio de abogados locales. AV/SO: Por fey, la corte tiene derecho a reclamar las cuotas y /os costos exentos por imponer un gravamen sobre
  cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
  pagar el gravamen de la corte antes de que la carte pueda desechar el caso.
The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                          (Numero de/ Caso/:
(El nombre y direcci6n de la carte es):
Orange County Superior Court
700 C1v1c Center Drive West, Santa Ana, CA 92701



The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
Corey W. Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472


DATE:                                                                         Clerk, by                                                                   , Deputy
(Fecha)                                                                        (Secretario) - --        - - - - - --               -    -   -   -    -    (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
 ISEALI                               NOTICE TO THE PERSON SERVED: You are served
                                      1.     D
                                             as an individual defendant.
                                      2.     D
                                             as the person sued under the fictitious name of (specify):

                                      3.     D on behalf of (specify):
                                           under:  D CCP 416.10 (corporation)                                   D CCP 416.60 (minor)
                                                    0 CCP 416.20 (defunct corporation)                          D CCP 416.70 (conservatee)
                                                      DCCP 416.40 (association or partnership)                  D CCP 416.90 (authorized person)
                                                    D other (specify):
                                     4.     D    by personal delivery on (date):
                                                                                                                                                            Pa e1 of1
 Form Adopted for Mandatory Use                                                                                                   Code of Civil Procedure §§ 412.20, 465
   Judicial Council of California
                                                                       SUMMONS                         Am erican Lega!Net, Inc.                     w ww.courtinfc .ca.gov
                                                                                                       www.FormsWorldfow.com
   SUM-100 [Rev. July 1, 20091
                                                                                                                                       EXHIBIT C
                                                                                                                                         Page 72
    Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 76 of 305 Page ID #:76


                                                                                                                             SUM-200/Al
    SHORT TITLE:                                                                               CASE NUMBER:

    Santa Ana POA/Serrano v. City of Santa Ana, et al
~




                                                            INSTRUCTIONS FOR USE
   + This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   + If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

   List additional parties (Check only one box. Use a separate page for each type of patty.):

     D         Plaintiff        1:81   Defendant    D   Cross-Complainant   D    Cross-Defendant
     SANTA ANA POLICE DEPARTMENT, a public safely department; DAVID VALENTIN, Chief
     of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
     Resources; DOES 1-X, inclusive




                                                                                                                  Page _ _ of _ _

                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                   ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                        Attachment to Summons                                          American LegalNet, Inc.
                                                                                                                        www.FormsWorlctlow.com

                                                                                                                  EXHIBIT C
                                                                                                                    Page 73
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 77 of 305 Page ID #:77


SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE                                                     FOR COURT USE ONLY

STREET ADDRESS 700 W. Civic Center DRIVE
MAILING ADDRESS: 700 W. Civic Center Drive
                                                                                                      FILED
                                                                                               SUPERIOR COURT OF CN..IFCRNIA
CITY AND ZIP CODE: Santa Ana 92701                                                                  COUNTY OF ORIWGE
BRANCH NAME: Central Justice Center
PLANTIFF: Santa Ana Police Officers Association et.al.
                                                                                                   Nov 8, 2021
DEFENDANT: City of Santa Ana et.al.
                                                                                                      Clerk r:I lhe Court
Short Title: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA                          By: Jessica Duarte. Deputy



                                                                                       CASE NUMBER:
                            NOTICE OF HEARING                                           30-2021-01230129-CU-OE-CJC
                      CASE MANAGEMENT CONFERENCE



  Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 05/09/2022 at 09:00:00 AM in Department C20 of this court, located at Central Justice
  Center.

  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.


    IMPORTANT: Prior to your hearing date, please check the Court's website for the most c1m·ent instrnctions
    regarding how to appear for your hearing and access services that are available to answer your questions.
    Civil Matters - https J/www.occourts.org/mcdia-rclations/civil.html
    Proba te/Meutal H ealth - hllps://www .occourls .orn:/mcclia-rclations/proba Le-mental-heallh.htm1


    IMPORTANTE: Antes de la fee ha de su audiencia, visite el sitio web de la Cotie para saber cuales son las
    instrncciones mas actuates para pa1iicipar en la audiencia y tener acceso a los servicios disponibles para
    responder a sus preguntas.
    Casos Civiles - https ://www .occourts.org/media-rel;:itions/civil.html
    Casos de Probate y Salud Mental - htlps://ww,v.occourts .org/media-relations/probate-mental-health.html


    Q UAN TRONG: Tnroc ngay pbien toa cua quy vi, vui long ki~m tra trang m<,1ng elm toa an dS bi6t nlurng
    lmong clan 1116! nhfit v~ each ra h~u phien t6a ci1a quy vj va tiJp c~n nhfrng cljch v1;1 hi~n co ct~ gial dap nhfrng
    th~c m~c cua quy vj.
    V§n D~ Dan Su - https://www.occoutts.org/media-relations/civil.html
    111\1 Tue Di Chi'.1c/ Slrc Khl'>e Tinh 11i§n - https://wv,1w .occou1ts .org/media-relations/probate-mental-health.html




                                              Clerk of the Court, By:       c./J i~
                                                                           ----------------
                                                                                                                               ,Deputy

                                                                                                                                Page: 1
                                                         NOTICE OF HEARING


                                                                                                              EXHIBIT C
                                                                                                                Page 74
   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 78 of 305 Page ID #:78



   SUPERIOR COURT OF CALIFORNIA, COUNTY OFORANGE
   Central Justice Center
   700 W. Civic Center DRIVE
   Santa Ana 92701

   SHORT TITLE: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA



                                                                                            CASE NUMBER:
            CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                    30-2021-01230129-CU-OE-CJC


     I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 11/08/2021. Following standard court practice the mailing will occur at Sacramento, California on
     11/09/2021 .



                                                                    '/)1~
                                          Clerk of the Court, by: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                       , Deputy

    COREY W GLAVE
    632 S. GERTRUDA
    REDONDO BEACH, CA 90277




                                                                                                                              Page: 2
                                     CLERK'S CERTIFICATE OF SERVICE BY MAIL
V31013a(June 2004)                                                                                   Code of Civil Procedure.§ CCP1013(a)


                                                                                                     EXHIBIT C
                                                                                                       Page 75
     Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 79 of 305 Page ID #:79
                     Electronically Filed by Superior Court of California , County of Orange, 111081202~ 08:00:00 AM.
                                                                                                                                                                     010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name. State Bar number. and address):
   Corey W. Glave (SBN164746)
   Attorney at Law
     632 S. Gertruda Ave.
     Redondo Beach, CA 90277
       TELEPHONE NO.: 323-547-0472                            FAX NO.:   nla
 ATTORNEY FOR /Name/.· Plaintiffs SAPOA/Serrano
SUPERIOR COURT OF CALIFORNIA, COUNTY OF            Orange
      STREET AODREss 700 Civic Center Plaza
     MAILING ADDRESS:
     cITY AND zIP coDE Santa Ana, CA 92701
           BRANCH NAME: Central J ustice
   CASE NAME: SAPOA/Serrano v. City of Santa Ana, et al


         CIVIL CASE COVER SHEET                                   Complex Case Designation                    CASE NUMBER:

 ~       Unlimited         Limited
                                   □
         (Amount           (Amount
                                                       Counter
                                                              □            Joinder
                                                                                    □    JUDGE:
         demanded          demanded is          Filed with first appearance by defendant
         exceeds $25,000   $25,000 or less           Cal. Rules of Court, rule 3.402      DEPT:
                                 Items 1-6 below must be com feted see instructions on a e 2.
1. Check one box below for the case type that best describes this case:
     Auto Tort                                            Contract                                    Provisionally Complex Civil Litigation
     D        Auto (22)                                   D       Breach of contract/warranty (06)    (Cal. Rules of Court, rules 3.400-3.403)
     D        Uninsured motorist (46)                     D       Rule 3.740 collections (09)         D     Antitrusl/Trade regulation (03)
     Other Pl/PD/WO (Personal Injury/Property             D       Other collections (09)              D     Construction defect (10)
     Damage/Wrongful Death) Tort                          D       Insurance coverage (18)             D     Mass tort (40)
     D        Asbestos (04)                               D       Other contract (37)                 D     Securities litigation (28)
     D        Product liability (24)                      Real Property                               D     Environmental/Toxic tort (30)
     D        Medical malpractice (45)                    D       Eminent domain/Inverse
                                                                                                      □     Insurance coverage claims arising from the
     D        Other Pl/PD/WO (23)                                 condemnation (14)                         above listed provisionally complex case
     Non-PI/PD/WD (Other) Tort                            D       Wrongful eviction (33)                    types {41)
     D    Business tort/unfair business practice (07)     D       Other real property (26)            Enforcement of Judgment
     D    Civil rights (08)                           Unlawful Detainer                               D    Enforcement of judgment {20)
     D    Defamation (13)                                 D Commercial (31)
                                                                                                      Miscellaneous Civil Complaint
     D    Fraud (16)                                      D Residential (32)                          0      RICO (27)
     D    Intellectual property (19)                      D Drugs (38)
                                                                                                      D      Other complaint (not specified above) (42)
                                                                                                      Miscellaneous Civil Petition
     D    Professional negligence (25)                Judicial Review
                                                                                                      D      Partnership and corporate governance (21)
     D    Other non-Pl/PD/WO tort (35)                    D Asset forfeiture (05)
     Employment                                           D Petition re: arbitration award (11)       D      other petition (not specified above) (43)
     D    Wrongful termination (36)                       D Writ of mandate (02)
     ~ Other emplo ment (15)                              D other judicial review (39)
2. This case     D is ~ is not complex under rule 3.400 of the                        California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a. D Large number of separately represented parties       d. D                       Large number of w itnesses
   b. D Extensive motion practice raising difficult or novel e. D                       Coordination with related actions pending in one or more courts
             issues that will be time-consuming to resolve                              in other counties, states, or countries , or in a federal court
   c. D Substantial amount of documentary evidence           f. D                       Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.~ monetary b. ~ nonmonetary; declaratory or injunctive relief c. ~ punitive
4. Number of causes of action (specify): 6 :MMBA; PO BRA; Speech; Labor Code; Penal Code 832.5- 832.8; Retaliation
5. This case D is ~ is not a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: November?, 2021
              Corey W. G lave                                                           ►   Isl Corey W. Glave
                         !TYPE OR PRINT NAME)                                                        ISIGNATURE OF PARTY OR ATTORNEY FOR PARTY\
                                                                               NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failu re to fi le may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court rule.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical pu rposes only.
                                                                                                                                                                Paqe 1 of 2

Form Adopted for Mandatory Use                            CIVIL CASE COVER SHEET                                  Cal. Rules of Court, rules 2 .30, 3.220, 3.400-3.403, 3.740;
  Judicial Council of California                                                                                          Cal. Standards of Judicial Administration, std. 3.10

                                                                                                                                       EXHIBIT C
  CM-010 (Rev. July 1, 2007)                                                                                                                             www.courtinro.ca.gov



                                                                                                                                         Page 76
    Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 80 of 305 Page ID #:80

                                                                                                                                      CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others FIiing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3. 740 collections case on this form means that it will be exempt from the general
lime-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaiotiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provlslonally Complex Civil Litigation (Cal.
       Auto (22)-Personal lnjwy/Property            Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
             Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (If the                       Contract (not unlawful detainer             Construction Defect (10)
             case involves an uninsured                           or wrongful eviction)                  Claims Involving Mass Tort (40)
             motorist clai'm subject to                 ContracVWarranty Breach-Seller                   Secuntles Litigation (28)
             arbitration, check this item                     Plaintiff (not fraud or negligence)       EnvironmentalfToxic Tort (30)
         instead of Auto)                               Negligent Breach of ContracU                    Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
       Asbestos (04)                                     book accounts) (09)                             Enforcement of Judgment (20)
            Asbestos Property Damage                     Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
            Asbestos Personal Injury/                    Other Promissory Note/Collections                       County)
                   Wrongful Death                            Case                                            Confession of Judgment (non-
       Product Liability (not asbestos or            Insurance Coverage (not provisionally                       domestic relations)
           toxic/environmental) (24)                     complex) (18)                                       Sister State Judgment
       Medical Malpractice (45)                          Auto Subrogation                                    Administrative Agency Award
            Medical Malpractice-                         Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entiy of
            Other Professional Health Care              Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractlce                             other Contract Dispute                               other Enforcement of Judgment
       Other PI/PD/WD (23)                       Real Property                                                   Case
            Premises Liability (e.g., slip          Eminent Domain/Inverse                           Mlscellaneous Civil Complaint
            and fall)                                   Condemnation (14)                                 RICO (27)
            Intentional Bodily lnjury/PD/WD          Wrongful Eviction (33)                              Other Complaint (not specified
                 (e.g., assault, vandalism)          Other Real Property (e.g., quiet tltle) (26)            above) (42)
            Intentional Infliction of                  Writ of Possession of Real Property                   Declaratoiy Relief Only
                 Emotional Distress                     Mortgage Foreclosure                                 Injunctive Relief Only (non-
            Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                     Other Real Property (not eminent                     Mechanics Lien
            Other PI/PD/WD                              domain, landlord/tenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Otherl Tort                               foreclosure)                                             Case (non-tort/non-complex)
   Business TorVUnfair Business                  Unlawful Detainer                                           Other Civil Complaint
       Practice (07)                                Commercial (31)                                              (non-tort/non-complex)
   Clvll Rights (e.g., discrimination,               Residential (32)                                Miscellaneous Civil Petition
      false arrest) (not civil                      Drugs (38) (if the case involves illegal             Partnership and Corporate
          harassment) (08)                               drugs, check this item; otherwise,                  Governance (21)
       Defamation (e.g., slander, libel)                 report as Commercial or Residential)            Other Petition (not specified
          (13)                                   Judicial Review                                             above) (43)
       Fraud (16)                                    Asset Forfeiture (05)                                   Civil Harassment
       Intellectual Property (19)                    Petition Re: Arbitration Award (11)                     Workplace Violence
       Professional Negligence (25)                  Writ of Mandate (02)                                    Elder/Dependent Adult
          Legal Malpractice                             Writ-Administrative Mandamus                              Abuse
          other Professional Malpractice                Writ-Mandamus on Limited Court                       Electlon Contest
             (not medical or legal)                          Case Matter                                     Petition for Name Change
       Other Non-PI/PD/WD Tort (35)                     Writ-other Limited Court Case                        Petition for Relief From Late
Employment                                                   Review                                               Claim
   Wrongful Termination (36) Other                   Other Judicial Review (39)                              Other Civil Petition
           Employment (15)                              Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                             Commissioner A eals

CM--010 [Rev. July 1, 2007]                        CIVIL CASE COVER SHEET                                                                    Pege2of2

                                                                                                                              American LegalNel, Inc.
                                                                                                                              www.FormsWorldlow.com

                                                                                                                       EXHIBIT C
                                                                                                                         Page 77
   Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 81 of 305 Page ID #:81
            Electronically Filed by Superior Court of California , County of Orange, 11 /08/2021 08:00:00 AM.
30-202 -01230129-CU-OE-CJC - ROA# 2 - DAVID H. YAMASAKI , Clerk of the Court By Jessica Duarte, Deputy Cl rk.




    1   COREY W. GLAVE (State Bar No. 164746)
        Attorney at Law
    2   632 S. Gertruda Ave
        Redondo Beach, CA 90277
    3   Phone: (323) 547-0472
        POAattorney@aol.com
    4

    5   Attorneys for Plaintiffs
        Santa Ana Police Officers Assn
    6   and Gerry Serrano

    7
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
    8
                               FOR THE COUNTY OF ORANGE-CENTRAL
    9

  10
        SANTA ANA POLICE OFFICERS            )              Case
  11    ASSOCIATION; GERRY SERRANO           )
                                             )              CIVIL COMPLAINT
  12                Plaintiffs,              )
        vs.                                  )              1.     VIOLATION OF GOVERNMENT
  13                                         )                     CODE §3500, ET SEQ.
        CITY OF SANTA ANA, a Municipal       )              2.     VIOLATION OF THE PUBLIC
  14    Corporation; SANTA ANA POLICE        )                     SAFETY OFFICERS
        DEPARTMENT, a public safety          )                     PROCEDURAL BILL OF
  15    department; DAVID VALENTIN, Chief )                        RIGHTS ACT, GOVERNMENT
        of Police; KRISTIN RIDGE, City       )                     CODE SECTION 3300 ET. SEQ.
  16    Manager; SONIA CARVALHO, City        )              3.     VIOLATION OF FREEDOM OF
        Attorney; JASON MOTSICK, Director of )                     SPEECH
  17    Human Resources; DOES 1-X, inclusive )             4.      VIOLATION OF LABOR CODE
                                             )                     §§1102, 1102, 1102.5
  18                Defend ants.             )              5.     VIOLATION OF PENAL CODE
                                             )                     §§832.5-832.8, EVIDENCE
  19                                         )                     CODE §§1043-1046
                                             )              6.     RETALIATION UNDER
  20                                         )                     GOVERNMENT CODE §12900,
                                             )                     ET SEQ.
  21                                         )
                                             )
  22    _ _ _ __ _ _ _ _ _ _ )                              REQUEST FOR JURY TRIAL

  23

  24           COMES NOW PLAINTIFFS SANTA ANA POLICE OFFICERS ASSOCIATION

  25    and GERRY SERRANO and allege as follows:

  26           1.     Plaintiff Santa Ana Police Officers Association (SAPOA) is the recognized

  27    employee organization as defined under Government Code §3500, et seq ., and/or

  28    Government Code §3501 (a). The SAPOA has as one of its primary purposes the



                                                  COMPLAINT
                                                                                            EXHIBIT C
                                                                                              Page 78
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 82 of 305 Page ID #:82




 1   representation of sworn and non-sworn employees of the Santa Ana Police Department
 2   in their employment relations with the City of Santa Ana and/or Santa Ana Police

 3   Department. In the sworn ranks the SAPOA represents all sworn officers holding the
 4   ranks of Police Sergeant and below, as well as Correctional Supervisor and below.

 5          2.      Plaintiff Gerry Serrano has been since 2016, and now is, the President of
 6   the Santa Ana Police Officers Association and the recognized representative of the

 7   Santa Ana Police Officers Association as that term is used in Government Code

 8   §3502.1. He is also a sworn police officer, holding the rank of Police Sergeant with the

 9   Santa Ana Police Department.

10          3.      Defendant City of Santa Ana is a Municipal Corporation existing under the

11   Constitution and the laws of the State of California. The City of Santa Ana is a public

12   agency as that term is defined in Government Code §3501 (c). It is a municipal entity

13   employing public employees and thus, has a mandatory duty to comply with the

14   provisions of Government Code §3300, et seq., and Government Code §3500, et seq.

15          4.     Defendant Santa Ana Police Department is a department of the City of

16   Santa Ana and a public safety department, as that terms is used in Government Code
17   §3309.5. Defendant Santa Ana Police Department is also a public agency, as that term

18   is used in Government Code §3500, et seq.

19          5.     Defendant Kristine Ridge was and is the City Manager for the City of

20   Santa Ana, and the direct supervisor/appointing authority of the Chief of Police and

21   Human Resource Director. Ridge is the person responsible for the operations of the

22   city, including the overall management of the City. Plaintiffs have information and belief

23   that Ridge participated in, supervised and/or was actively involved in the incidents

24   giving rise to this action in both her individual and official capacities.

25          6.     Defendant David Valentin was and is the appointed Chief of Police for the

26   City of Santa Ana, Santa Ana Police Department. As such he is charged with the

27   supervision and management of personnel, including personnel investigations and

28   discipline of employees of the Santa Ana Police Department. Plaintiffs have information
                                                    2

                                               COMPLAINT                            EXHIBIT C
                                                                                      Page 79
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 83 of 305 Page ID #:83




 1   and belief that Valentin participated in, supervised and/or was actively involved in the
 2   incidents giving rise to this action in both his individual and official capacities.

 3          7.     Sonia Carvalho was and is a private attorney employed by the law firm of

 4   Best Best and Krieger LLP, and is the appointed and/or contracted City Attorney for the

 5   City of Santa Ana. Plaintiffs have information and belief that Carvalho participated in,

 6   supervised and/or was actively involved in the incidents giving rise to this action in both

 7   her individual and official capacities, and that she acted outside the scope of her duties
 8   as an attorney when engaging in acts described below.

 9          8.     Defendant Jason Motsick was and is the appointed Human Resource

10   Director for the City of Santa Ana and is charged with the supervision and management

11   of personnel, including personnel investigations and discipline of employees of the

12   Santa Ana Police Department. Plaintiffs have information and belief that Motsick

13   participated in, supervised and/or was actively involved in the incidents giving rise to

14   this action in both his individual and official capacities.

15          9. At all times herein mentioned, DOES 1-X, inclusive, were the agents, servants

16   and employees of Respondent, City of Santa Ana and/or Santa Ana Police Department,

17   and in doing the things hereinafter alleged, were acting within the scope of their

18   authority as such agents, servants and employees with the permission and consent of

19   Respondents. Claimant will amend the Complaint to allege true names and capacities

20   of DOES 1-X, inclusive when ascertained.

21                                        GENERAL FACTS
22          10.    Serrano became President of the SAPOA in 2016 and has served

23   continuously in the position.

24          11.    When seeking appointment as Chief of Police, Defendant Valentin sought

25   out and received the support of Serrano and the SAPOA. Later, when the SAPOA and

26   Serrano sought wages and benefits for the SAPOA membership and/or opposed

27   Valentin on matters of concerns to the Plaintiffs, Valentin's demeanor and working

28   relationship with Plaintiffs became adversarial.
                                                    3

                                               COMPLAINT                                    EXHIBIT C
                                                                                              Page 80
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 84 of 305 Page ID #:84




 1          12.    In or about February 2019, the City Council for the City of Santa Ana

 2   passed a resolution adopting a Memorandum of Understanding that provided

 3   significant, and needed salary increases for members of the SAPOA. Two City

 4   Councilpersons and Defendant Valentin opposed the raises. Thereafter, the SAPOA

 5   led a successful recall effort to remove the City Councilperson, causing Valentin to
 6   become concerned with the SAPOA's and Serrano's political influence.

 7          13.    Later, when Valentin attempted to obtain approval from the City Council to
 8   create an additional captain position so he could promote one of his allies,

 9   SAPOA/Serrano opposed the creation of the position. The City Council sided with the

10   SAPOA/Serrano and did not create an additional captain position. Valentin became

11   emotionally upset and barked at Serrano that he needed to "ST AND DOWN." It was

12   clear Valentin's concern about the SAPOA having more influence with the City Council

13   than he did was growing.

14          14.   Similarly, Defendant Carvalho began expressing to others that she did not

15   like Serrano. Thereafter, she would purposely interfere and obstruct items pertaining to

16   the SAPOA or Serrano.

17          15.    It is believed that Defendants Valentin and Carvalho formed a conspiracy

18   to attack Serrano and the SAPOA. Defendant Valentin and members of his police

19   management team have admitted animosity against Serrano as the President of the

20   Santa Ana Police Officers Association. This animosity has caused Defendant Valentin

21   and the management team under his guidance to treat members of the SAPOA

22   adversely if the employee is believed to be associated with or sought the aid of SAPOA

23   and/or SAPOA President Serrano. Due to this relationship, Defendant Valentin

24   purposely and intentionally interferes with the SAPOA's ability to represent its

25   membership and acts contrary to state law. Conversely, Valentin gives special

26   treatment and turns a blind eye to allegations of misconduct by those he believes will

27   either give their loyalty to him and/or oppose the SAPOA/Serrano.

28
                                                 4

                                            COMPLAINT                               EXHIBIT C
                                                                                      Page 81
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 85 of 305 Page ID #:85




 1                                           SPYING

 2          16.    In January, 2020, Defendant Valentin began spying on Plaintiff Serrano

 3   and members of the Santa Ana City Council by redirecting copies of all e-mail

 4   communications sent by Serrano to City Councilmember Solorio, from June 2017

 5   forward, to his office. Defendant Valentin then had the City's IT department put a tracer

 6   on all of Serrano's emails so that they would automatically be copied to Defendant

 7   Valentin.

 8                                  OTHER INTERFERENCE

 9          17.   During the last year and continuing to the present, Defendants have

10   censored membership communications and/or denied the SAPOA the ability to send

11   membership communications via the City's e-mail system.

12          18.   Defendant Valentin has engaged in action to advocate for a change of

13   leadership in the SAPOA and has attempted to interfere with SAPOA elections. Said

14   action includes, but is not limited to, encouraging candidates to run against Serrano for

15   the position of Association President, and questioning members' support for Serrano

16   when they are seeking special assignments and promotions.

17                          COMPLAINTS AGAINST LIEUTENANTS

18          19.   In or about January, 2020, the SAPOA and Serrano were informed of

19   allegations of misconduct by SAPD Lieutenants/Commanders Jose Gonzalez and

20   Robert Rodriguez. It was alleged that the two were maliciously spreading rumors

21   regarding activities of Serrano and the SAPOA. Plaintiffs have information and belief,

22   and thereon allege, that said actions constitute violations of department policy and

23   negatively impact the morale of the police department as well as cause division in the

24   SAPOA. The Plaintiffs met with Defendant Valentin and informed him of the allegations

25   of misconduct. Valentin appeared dismissive. Since Valentin failed to initiate an

26   investigation as required by Penal Code §§832.5-832.7, the SAPOA/Serrano reported

27   the information to Defendant Ridge. Again, no investigation was initiated of the police

28   commanders nor of Defendant Valentin.
                                                 5

                                            COMPLAINT                              EXHIBIT C
                                                                                     Page 82
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 86 of 305 Page ID #:86




 1          20.    On or about June 8, 2021, Plaintiffs filed an official complaint regarding

 2   the commanders' actions and the failure to investigate the allegations with Defendant

 3   Motsick. Motsick also refused to initiate an investigation of the commanders and

 4   Defendant Valentin.

 5                                      PERB COMPLAINT

 6          21.    In or about February, 2020, the SAPOA filed an Unfair Practice Charge

 7   with the Public Employment Relations Board (PERB) alleging that the City of Santa Ana

 8   had interfered with, intimidated, attempted to restrain and coerce members of the

 9   Association and Gerry Serrano. The City informally resolved the matters, so the SAPOA

10   withdrew the charge.

11                                      CAMPAIGN SIGNS

12          22.    In April, 2020, Plaintiffs reported the theft of campaign signs related to a

13   recall of Santa Ana City Councilmember Iglesias. One of the identified suspects was

14   the City Council person herself. The SAPOA learned that a Police Commander directed

15   the investigating officer to alter his report so that the City Council person would not be

16   listed as the suspect. The Plaintiffs reported the Police Commander's actions to

17   Defendant Valentin.

18          23.    Instead of investigating the unlawful actions of the Police Commander,

19   Valentin ordered his Internal Affairs commander and investigators to conduct an

20   investigation of Serrano.
21          24.    When the Plaintiffs obtained a video recording showing the former City

22   Council person stealing the campaign signs, Defendant Valentin, Defendant Carvalho

23   and other private attorneys employed by her firm, directly and through Valentin's

24   supporters pressured the Orange County District Attorney's office to open a criminal

25   case against Serrano. When the District Attorney's office rejected Valentin's pressures

26   Valentin became upset. With the help of Defendant Carvalho and her private law firm,

27   he began a lengthy letter and meeting campaign in which he chastised the District

28   Attorney's decision and knowingly included false information in the communications

                                                  6

                                             COMPLAINT
                                                                                     EXHIBIT C
                                                                                       Page 83
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 87 of 305 Page ID #:87




 1   with the District Attorney's office.

 2          25.      As part of the April, 2020, efforts to wrongfully bring a criminal case

 3   against Serrano, Defendants used department resources, including the Internal Affairs

 4   unit, to draft memoranda with adverse comments about Serrano. Serrano was never

 5   informed by Defendants of the internal investigation or memoranda, and Defendants

 6   failed to allow Serrano to review the adverse comments. It is further believed, to the

 7   extent that Defendants have initiated an Internal Affairs investigation, the investigation

 8   was not completed within one year of notice of the allegations of misconduct nor has

 9   Plaintiff Serrano been notified of any proposed discipline or outcome of the

10   investigation during that one year period. Defendants intentionally concealed the

11   information regarding this investigation and the related memoranda from Plaintiffs.

12                                   CULICHI TOWN COVER-UP

13          26.      On August, 2020, on-duty SAPD officers responded to a call for service at

14   the Culichi Town Restaurant. The call involved allegations that off-duty SAPD officers

15   had sexually battered two underage girls that were at the restaurant. The officers

16   response was caught on body worn cameras and the victim's family produced a video

17   of the incident that showed off-duty police sergeant Oscar Lizardi as being present and

18   possibly involved in the incident. A Police Commander reported the incident to then IA

19   Commander, and now Deputy Chief, Robert Rodriguez. Rodriguez is believed to be a

20   close friend of Lizard. He denied the Commander's request for the incident to be
21   investigated.

22          27.      On or about September 2, 2020, a request for public records was made

23   for information related to the call including the Incident Detail Report, copy of the 911

24   emergency calls and/or non-emergency line calls, and police dispatch radio traffic audio

25   files related to the incident (Incident No. 200805316). Def end ant Valentin, on

26   September 24, 2020, denied, in total, the PRA request in order to cover up the

27   misconduct of his IA Commander and one of his closest allies (Lizardi) asserting that

28   the records could not be released because they involved juveniles. This demonstrated
                                                    7


                                                                                        EXHIBIT C
                                               COMPLAINT

                                                                                          Page 84
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 88 of 305 Page ID #:88




 1   that Valentin was aware of the incident and that ii involved allegations of criminal

 2   conduct towards juveniles by off-duty SAPD officers.

 3            28.   SAPOA/Serrano complained to Defendants about Valentin's and

 4   Rodriguez's attempts to cover up alleged criminal conduct by officers who supported

 5   Defendant Valentin pointing out that this conduct amounted to conspiring to commit a

 6   criminal act. II is believed that it wasn't until June, 2021, after multiple complaints and

 7   requests for investigations by the SAPOA, that Defendants initiated an investigation of

 8   two of the three responding officers. The third responding officer was given a special

 9   assignment on Lizardi's specialized team. In July, 2021, the Department initiated an

10   Internal Affairs investigation of one of the off-duty officers, but not Lizardi, who was the

11   ranking officer amongst the off duty personnel involved in the incident.

12            29.   On information and belief, Plaintiffs allege that Defendants have refused
13   to initiate an investigation of Deputy Chief Rodriguez and/or Defendant Valentin.

14                                        PENSION ISSUE

15            30.   In October, 2020, the Defendants inquired of CalPERS as to the propriety

16   of including a premium pay, called "Confidential" received by Serrano while on paid

17   release time to serve as the SAPOA President in the calculation of his pension. It is

18   believed that the City had never inquired about this issue with any prior SAPOA

19   President. When ii appeared that there might be a question regarding the inclusion of

20   the premium in the calculation of Serrano's pension, the City and SAPOA reached an

21   agreement acceptable to CalPERS. However, because Serrano continued to carry out

22   his duty to represent the Association and its members, activity that is clearly protected

23   under the law, Defendants failed and refused to take the necessary steps to resolve the

24   issue.

25                                       FPPC COMPLAINT

26            31.   In November, 2020, Sonia Carvalho, believed to be acting on her own

27   personal vendetta and without City Council approvalsent a request to the California Fair

28   Political Practices Commission seeking a finding that Serrano, as the SAPOA
                                                   8

                                              COMPLAINT                                EXHIBIT C
                                                                                         Page 85
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 89 of 305 Page ID #:89




 1   President, engaged in a conflict of interest by negotiating a side letter agreement
 2   related to the pension issue. As the City Council was scheduled to approve the

 3   resolution of the pension issue, Carvalho made multiple inquiries to the FPPC for an
 4   opinion letter finding Serrano was engaging in an unethical conflict of interest.

 5   Ultimately, the FPPC found that Serrano did not engage in any conflict of interest nor

 6   did his actions give rise to an unethical conflict of interest. It is believed that Carvalho

 7   was acting on her own and with the sole purpose of personally interfering with the

 8   SAPOA/Serrano and/or with intent to harm Serrano.

 9                          FEMALE DISCRIMINATION COMPLAINTS

10          32.    In or about November, 2020, SAPOA/Serrano informed Defendant Ridge

11   that there was ongoing discrimination against female employees in the Department.

12   Plaintiffs described an incident involving female officers' attendance at a conference

13   regarding leadership issues for women in law enforcement and the Chief's behavior

14   towards those female employees. Defendant Ridge did not open an investigation into

15   the matter until months later when it was statutorily too late to take disciplinary action

16   against Defendant Valentin or his subordinates.

17          33.    After Plaintiffs informed Defendant Ridge of the discrimination and

18   harassment of the female officers, Defendant Valentin ordered a "preliminary

19   assessment" in order to cover up his and his staff's misconduct. The Human Resource

20   representative that appeared with him when he confronted the female officers

21   conducted the investigation. The female officers were ordered to appear for

22   interrogations. They were not provided any information as to the nature of the

23   investigation. When they appeared for interrogation, the HR Representative read from a

24   transcript, indicated that she was going to prepare a report that only went to Valentin,

25   and then questioned the females about the female's actions and did not have any

26   preset questions about Chief Valentin's, DC Esparza's or other police commander's

27   actions.

28          34.    On information and belief, ii is alleged the Valentin lied to Defendant
                                                   9

                                              COMPLAINT                                EXHIBIT C
                                                                                         Page 86
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 90 of 305 Page ID #:90




 1   Ridge and Defendant Motsick claiming that he had initiated an investigation of the

 2   discrimination when, in fact, he initiated an investigation of the female officers in order
 3   to silence them.

 4          35.    The Defendants did not hire an investigator to look into these issues of
 5   harassment and discrimination until April, 2021.

 6          36.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against the City

 7   of Santa Ana, Santa Ana Police Department, Defendant Valentin, and Deputy Chief

 8   Enriquez Esparaza related to the unlawful discrimination, harassment and investigation
 9   of the female officers.

10          37.    Defendant has summarily dismissed the complaints from the

11   SAPOA/Serrano regarding the discrimination against female officers as just part of
12   Serrano's desire to fix his pension issue.

13                              JAIL MANAGEMENT COMPLAINT

14          38.    On December 2, 2020, the SAPOA/Serrano sent an email to Defendant
15   Ridge and Defendant Valentin requesting an investigation of misconduct by jail

16   management/supervision wherein it was alleged that serious misconduct was being

17   covered up and/or not addressed, and that supervisors were being directed to falsify
18   reports and/or official documents.

19                        DISCLOSURE OF CONFIDENTIAL RECORDS

20          39.    On or about February 25, 2021, a purported reporter with the Voice of OC

21   (an online nonprofit media source) sent to Sonia Carvalho, the City Attorney for the City

22   of Santa Ana and Santa Ana Police Department, a Public Records Act (PRA) request

23   seeking, a spreadsheet or breakdown of how many employees at the Santa Ana Police

24   Department have been put on paid administrative leave between 01/01/2016 and

25   2/25/2021. The PRA request included a request for Ms. Carvalho to provide the

26   reasons for the employees being put on paid administrative leave and a breakdown of

27   total costs to the City of Santa Ana incurred by paid administrative leave for Santa Ana

28   Police Department employees between 01/01/2016 and /25/2021.
                                                  10

                                             COMPLAINT
                                                                                      EXHIBIT C
                                                                                        Page 87
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 91 of 305 Page ID #:91




 1          40.    On or about March 26, 2021, without prior notice to the involved

 2   employees or the SAPOA and/or without complying with Penal Code §§832.5-832.8

 3   and/or Evidence Code § 1043-1046, the City Attorney's office, the City of Santa Ana,

 4   under the supervision of Defendant Ridge and/or the Santa Ana Police Department,

 5   under the supervision of Defendant Valentin, intentionally and purposely produced

 6   confidential records from the involved officers' personnel files. It is believed that this

 7   disclosure included data that identified the individual officers involved which is a clear

 8   violation of Penal Code §832.7(d).

 9          41.    Defendants Carvalho, Valentin, Ridge, City of Santa Ana and/or the Santa

10   Ana Police Department are aware that peace officer personnel records are confidential

11   and exempt from disclosure.

12          42.    On or about April 21, 2021, Deputy Chief of Police Eric Paulson, on behalf

13   of Defendant Valentin, conceded in a letter to the Voice of OC that confidential peace

14   officer personnel had been produced to the Voice of OC, including, but not limited to

15   the names of the officers in connection with administrative investigations. Deputy Chief

16   Paulson requested that the confidential records be returned. Plaintiffs are informed and

17   believe, and thereupon allege that after the Voice of OC refused to return the

18   confidential records, Defendants failed to take any action to force the Voice of OC to

19   return the documents.

20          43.    On or about April 27, 2021, Defendants started notifying certain of the

21   impacted officers of the unlawful actions by Defendants. The Notification did not advise

22   the impacted employees of what specific information had been released and did not

23   notify them of any rights they may have. The notices also did not indicate if the

24   Defendants would be taking further action to enforce the employees' rights.

25          44.    Also on or about April 27, 2021, Deputy Chief Paulson informed the Santa

26   Ana Police Officers Association of the Defendants' unlawful disclosure of the

27   confidential peace officer information of members of the Santa Ana Police Officers

28   Association. The notification of Defendants' unlawful action did not identify to the POA
                                                   11

                                              COMPLAINT                                EXHIBIT C
                                                                                         Page 88
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 92 of 305 Page ID #:92




 1   the names of the impacted members/officers, but simply stated that the effected

 2   employees had been notified. As it turned out, when Deputy Chief Paulson claimed, on

 3   behalf and presumably at the directions of Defendants, that all affected employees had

 4   been notified, the statement was not true and appears to have been an intentional

 5   misrepresentation by Defendants to conceal the fact that the notifications to the
 6   effected employees had just begun.

 7          45.    The Santa Ana Police Officers Association filed a written complaint with
 8   the Defendant City Manager Kristine Ridge, and Human Resource Director Jason

 9   Motsick requesting that the matter be immediately investigated. Plaintiffs are informed

10   and believe, and thereupon allege that even though the Defendants were required to

11   investigate this matter, as a "citizen complaint" pursuant to Penal Code §§832.5-832.7,

12   Defendants did not investigate nor discipline those city employees responsible for the

13   violations of law.

14          46.    On or about April 28, 2021, a number of affected officers and the Santa

15   Ana Police Officers Association, which has a legal right to represent its members in any

16   and all matters related to their employment with the Santa Ana Police Department,

17   requested copies of any and all communications regarding PRA #21-289, including all

18   e-mails between representatives of the City, Police Department and/or Voice of OC and

19   also requested copies of all records that were produced to the Voice of OC and a list of

20   the impacted officers. Defendants, as part of an ongoing plan and scheme to

21   undermine and interfere with the POA's ability to represent its members, denied the

22   POA's request for copies of the produced records and list of names of impacted

23   employees. Defendants refused to provide copies of the unlawfully released information

24   and/or the list of names of the impacted employees.
25          4 7.   Also on April 28, 2021, Defendants Motsick, Valentin, Ridge and Carvalho

26   issued a letter wherein they indicated that City was terminating the SAPOA's long

27   standing ability to send emails to communications to all SAPOA members through the

28   City's email system.
                                                 12

                                            COMPLAINT                              EXHIBIT C
                                                                                     Page 89
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 93 of 305 Page ID #:93




 1          48.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against

 2   Defendants City of Santa Ana, Santa Ana Police Departm en! and Defendant Valentin

 3   regarding their unlawful disclosure of confidential peace officer records.

 4          49.    Defendant Ridge and Carvalho have summarily dismissed the complaints

 5   from the SAPOA/Serrano regarding the unlawful disclosure of records as just part of

 6   Serrano's desire to fix his pension issue.

 7                     FALSE INFORMATION TO CITY COUNCIL MEMBER

 8          50.    On or about May 12, 2021, the SAPOA/Serrano learned that Santa Ana

 9   City Councilmember Penaloza had complained to Defendant Valentin that officers from

10   Valentin's special unit (MET), which is supervised by Sgt. Lizardi, had shined the patrol

11   vehicle's ally lights at him while he was driving on multiple occasions. II was further

12   learned that Defendant Valentin tried to falsely blame the SAPOA and Serrano for the

13   officers' alleged actions.

14                                COMPLAINT AGAINST VALENTIN

15          51.    On or about May 13, 2021, the SAPOA/Serrano filed a complaint on

16   behalf of the members of the SAPOA against Defendant Valentin and his police

17   management similar to that made in November, 2020. SAPOA raised issues regarding

18   unaddressed gender discrimination; unaddressed cover-up of the Culichi Town incident;

19   allegations that Valentin committed perjury in at least one deposition; the inclusion of

20   false information in official personnel records; Jail Managers covering up alleged

21   misconduct by employees and/or falsifying records/reports related to the misconduct;

22   interference in a criminal investigation where a former City Council person was initially

23   listed as the suspect until the officer was directed to change his report; and interference

24   with Association activities and/or representation of members.

25          52.    In response to the May 13, 2021, complaint, Defendants either failed to

26   initiate an investigation, as required by Penal Code §§832.5-832.7 and/or failed to

27   report to the complainant the outcome of the investigation(s).

28   53.    Defendant Ridge and Carvalho have summarily dismissed the complaints from

                                                  13

                                             COMPLAINT                               EXHIBIT C
                                                                                       Page 90
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 94 of 305 Page ID #:94




 1   the SAPOA/Serrano as just part of Serrano's desire to fix his pension issue.

 2                          CITY MANAGER DISCIPLINARY ACTION

 3          54.    In order to try to silence the SAPOA/Serrano, on or about May 18, 2021,

 4   Defendant Ridge issued a disciplinary document entitled "Employee Conduct Warning

 5   Letter" to Serrano for acts he undertook as the "advocate and leader of the SAPOA"

 6   which Defendant Ridge argued violated the City Charter and police department policies.

 7   Under the provisions of Government Code §3300, et seq., this document constituted a

 8   written reprimand and punitive actions as that term is used under Government Code

 9   §§3303 and 3304.

10          55.    Under the City Charter Defendant Ridge does not have the ability to

11   discipline a police sergeant as she is not the appointing authority for the police

12   department. Therefore, Ridge's actions were outside her official capacity and

13   demonstrated that she was acting in excess of her authority in order to discriminate,

14   harass and retaliate against Serrano and the SAPOA.

15          56.    The May 18, 2021, Employee Conduct Warning Letter specifically initiated

16   punitive action against Serrano, as the President of the SAPOA, for communicating (via

17   text and e-mail) to elected officials raising issues with the management of the Police

18   Department. The Warning Letter also directed Serrano, as the President of the SAPOA

19   not to communicate regarding police management issues with the Santa Ana City

20   Council.

21          57.    Serrano, on May 20, 2021, invoked his rights under POBRA and

22   requested all documentation supporting Defendant Ridge's allegations of misconduct,

23   and all complaints giving rise to the punitive action. Serrano also invoked his right to an

24   administrative appeal under Government Code §3304. Defendants have failed and

25   refused to provide Serrano any documents supporting the allegations contained in

26   Ridge's letter and have refused to afford him any administrative appeal of the punitive

27   action imposed against him.

28                               INVESTIGATION OF SERRANO

                                                  14

                                             COMPLAINT                               EXHIBIT C
                                                                                       Page 91
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 95 of 305 Page ID #:95




 1          58.    On or about May 27, 2021, Defendant Valentin ordered an investigation of

 2   Serrano based on alleged comments Serrano made in his capacity as the current

 3   President of the SAPOA about a former SAPOA President in October, 2020. The

 4   investigation was opened even though legal counsel for the City of Santa Ana indicated,

 5   in writing that to the extent Serrano's statements were made as a POA President, Mr.

 6   Serrano was not speaking as a police sergeant of the City or the Santa Ana Police

 7   Department, and acknowledged that the City was not able to restrict the conduct of the

 8   POA and/or its President which relate to the administration of the POA as such action

 9   would be a violation of the Meyers-Milias Brown Act. (See Government Code section

10   3506.5(d).). Counsel for the City acknowledged, therefore, the City was not able to

11   direct Mr. Serrano to engage or not engage in conduct that is done in his capacity as

12   President of the POA in relation to the administration of the POA.

13          59.    Evidently, the City of Santa Ana had to pay the former POA President and

14   his wife approximately $350,000.00, as Defendants had allegedly retaliated against the

15   former POA President and Defendant Valentin sexually harassed the former POA

16   President's wife. Thereafter, the former POA President, in an effort to obtain more

17   money from the City, alleged that Serrano violated the settlement agreement even

18   though Serrano was not a party to the action or the agreement. On or about October

19   26, 2020 when the City would not pay any additional money, the former POA President

20   filed a written complaint against Serrano.

21          60.    It appeared that the City was not going to take action on the frivolous

22   complaint, but Defendant Valentin and possibly others, in order to further retaliate

23   against Serrano and the SAPOA, initiated the investigation nine months later. To this

24   date, Defendants have not notified Serrano of the outcome of the investigation and the

25   one year statute of limitations has expired.

26                          SEXUAL HARASSMENT ALLEGATIONS

27          61.    On June 16, 2021, Defendants Motsick and Carvalho scheduled a

28   meeting with Serrano without informing him of the nature of the meeting. Serrano
                                                    15

                                             COMPLAINT                              EXHIBIT C
                                                                                      Page 92
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 96 of 305 Page ID #:96




 1   appeared with legal counsel. After arriving Serrano was informed that Defendants

 2   Motsick and Carvalho were conducting "fact-finding" regarding allegations they had

 3   been made aware of by a third party. The allegation was that Defendant Ridge had

 4   sexually harassed Serrano. Being caught off guard, Serrano, on advice of counsel, did

 5   not make any statement. It was clear at that point that the City was not protecting
 6   Serrano from retaliation by the other Defendants.

 7          62.    Even though Serrano had not filed a complaint against Defendant Ridge,

 8   Defendants feared that Serrano had disclosed or might disclose information of unlawful
 9   activities by Defendant Ridge.

10          63.    As discussed below, it was later learned that approximately a month

11   earlier Ridge "self-reported" the harassment allegations to Defendant Carvalho and her

12   subordinate Defendant Motsick. In a letter to the City Council Ridge was careful in her

13   assertion, making allegations that Serrano had been untruthful and interfered in

14   investigations, but not specifically denying allegations that she sexual harassed

15   Serrano. In that same letter to the City Council Ridge violated state law by disclosing

16   closed session communications with the Council as well as disclosing confidential
17   personnel information about a peace officer to wit, Serrano.

18          64.    Ridge's disclosures to the City Council reveal that Carvahlo and Motsick

19   were not simply conducting a fact finding investigation, but were investigating Ridge's

20   allegations against Serrano who should have been afforded his rights under the Peace
21   Officers Procedural Bill of Rights.

22          65.    On July 7, 2021, Defendant Ridge, fearing the Serrano would report her

23   unlawful activities, directed Serrano to refrain from sending any e-mail communications

24   to her. In essence, Defendant Ridge gave direct orders to the President of the SAPOA
25   not to contact elected officials or herself with any issues or complaint.

26          66.    On July 9, 2021, Plaintiff filed a Notice of Claim (Gov'! Code §910, 910.4)
27   with Defendants.

28          67.    On or about July 16, 2021, the City of Santa Ana hired the law firm of

                                                  16

                                             COMPLAINT
                                                                                   EXHIBIT C
                                                                                     Page 93
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 97 of 305 Page ID #:97




 1   Barboza & Associates to assist Motsick in conducting a personnel investigation into
 2   Serrano's possible allegations of harassment even though Serrano had not made any

 3   such allegations. However, when Plaintiffs tried to determine who retained Barboza,

 4   and whether she was working independently or as an agent/attorney for the City, she

 5   refused to answer. Plaintiffs made the same inquiry of Defendant Motsick on July 21st,

 6   but never received a response.

 7          68.    It was later confirmed that Barboza and Associates was hired to provide

 8   legal advice to the City regarding the investigations thus creating an attorney-client

 9   relationship and a duty of Barboza and Associates to find in a manner to protect their

10   clients. The City specifically prohibited the firm to render any determination about

11   unlawful discrimination, harassment, violation of public policy or any other violations of

12   law or statute. Therefore, there was no reason for Serrano to participate in

13   investigations that could not result in a legal determination.
14          69.    On or about July 19, 2021, Defendant Ridge, trying to minimize her

15   misconduct and redirect attention from the allegations of misconduct against her, sent a

16   letter to the Mayor and City Council falsely claiming that all complaints and tort claims

17   coming from the SAPOA and its members were singularly focused on Serrano's

18   pension issues. In the letter to the Mayor and City Council Ridge revealed confidential

19   personnel file information of Serrano in violation of state law. Ridge also tried to defame

20   Serrano in order to diminish his credibility if he was to come forward with allegations of

21   sexual harassment.

22          70.    It became clear that Ridge's letter dated July 19, 2021, was meant to

23   tarnish Serrano and the SAPOA and to be produced to mass audiences. In fact, on

24   August 3, 2021, the Voice of OC contacted Serrano and advised him that it had been

25   given copies of the letter and the disciplinary letter which outline allegations against him

26   by the City Manager and City Attorney. According to the records they were provided the

27   Voice of OC indicated that both Kristine Ridge and Sonia Carvalho claimed Serrano

28   had caused harm to the city through his pursuit of higher compensation including filing
                                                  17

                                             COMPLAINT                               EXHIBIT C
                                                                                       Page 94
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 98 of 305 Page ID #:98




 1   unsubstantiated legal claims, threats to 'burn the place down' and 'make disclosures
 2   that will hurt people" and asking elected officials to put pressure on the city manager.

 3   Ridge and Carvahlo conspired to release confidential communications to the media in
 4   violation of Penal Code §§832.5- 832.8 and/or Evidence Code §§1043-1046 and/or the

 5   Brown Act.

 6          71.    Two days later, even though Ridge had ordered Serrano not to have

 7   contact with her, she attempted to contact Serrano on his personal phone. Serrano

 8   knew better and did not take the call.

 9          72.    On July 29, 2021, the City rejected the Government Tort Claim filed

1O related to the above issues. The City chose not to try to resolve the matter or conduct

11   investigations prior to issuing the rejection. It appears that the Defendants are intent on
12   forcing the parties to litigate the City's liability. The use of Ms. Barboza's services is just

13   to obtain statements in an effort to defend the anticipated lawsuit.

14          73.    The City is believed to have closed its "sexual harassment investigation"
15   of Defendant Ridge without conducting a single interview and without questioning

16   Defendant Ridge regarding her alleged illegal and/or harassing conduct.

17                    SAPOA ASSISTS MEMBERS IN FILING COMPLAINTS

18          74.    On July 20, 2021, the SAPOA supported the filing of a citizen complaint

19   by one of the Association's members against Defendant Valentin alleging retaliation

20   and creating a hostile working environment for the member that was known to support

21   the SAPOA/Serrano. The Defendants assigned the investigation to an outside

22   investigator, but failed to notify the complainant of the outcome of the investigation.

23          75.    On or about August 19, 2021, the SAPOA supported the filing of a citizen

24   complaint by one of the Association's members against Sgt. Oscar Lizardi for

25   allegations of engaging in intimidation and threats against a member who Lizardi

26   believed supported the SAPOA's vote of no confidence against Defendant Valentin.

27   The Defendants assigned the investigation to an outside investigator, but failed to notify

28   the complainant of the outcome of the investigation.
                                                   18

                                              COMPLAINT                                 EXHIBIT C
                                                                                          Page 95
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 99 of 305 Page ID #:99




 1          76.    On or about August 19, 2021, the SAPOA supported the filing of a citizen
 2   complaint by one of the Association members against Sgt. Oscar Lizardi for allegation

 3   of witness intimidation related to an internal affairs investigation that Defendant Valentin
 4   ordered against a supporter of the SAPONSerrano. The Defendants assigned the

 5   investigation to an outside investigator, but failed to notify the complainant of the
 6   outcome of the investigation.

 7                                   VOTE OF NO CONFIDENCE

 8          77.    On July 8, 2021, Plaintiffs notified Defendant Ridge and Motsick that the

 9   Board of Directors had unanimously voted to send out a Vote of No Confidence ballot
10   regarding Defendant Valentin.

11          78.    In August, 2021, the SAPOA Board of Directors issued a Memorandum

12   regarding the Vote and raised a number of issues for the membership to consider.

13          79.    On or about August 25, 2021, Charles Goldwasser, who serves as

14   General Counsel to the Santa Ana Police Officers Association, wrote Defendant

15   Valentin and Defendant Ridge regarding on-duty harassment and verbal pressure

16   against SAPOA members by Sergeant Lizardi. The conduct interfered with these

17   officers' ability to perform their duties. The Santa Ana Police Officers' Association

18   requested that the City of Santa Ana issue a reminder about this type of on-duty

19   conduct taking place at the Police Department. Plaintiff Serrano, as the President of the

20   SAPOA, followed-up Mr. Goldwasser's communication with an email to Defendant

21   Motsick acknowledging that his members were reporting their working conditions were

22   becoming unbearable and reminding the City that an unchecked hostile work

23   environment, especially where the employees are armed, could result in a bad

24   situations occurring.

25          80.    On August 26, 2021, during a time the SAPOA was considering a "Vote of

26   No Confidence" in Defendant Valentin, Valentin in coordination with Defendants

27   Carvalho, Ridge and Motsick, tried to silence SAPOA President Gerry Serrano by

28   placing him on administrative leave and restricting his access to, and use of, the
                                                  19

                                             COMPLAINT
                                                                                      EXHIBIT C
                                                                                        Page 96
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 100 of 305 Page ID #:100




 1   City/Police Department e-mail system. In order to place Serrano on administrative

 2   leave, Defendant Valentin, or his underlings, specifically ordered Commander Sorenson

 3   to leave the Notice of Administrative Leave/Fitness for Duty Exam at Serrano's

 4   residence where it was found by his son.

 5          81.    The order to undergo the Fitness for Duty Exam specifically references

 6   Mr. Serrano's August 26, 2021, 5:05 a.m ., email to Defendant Motsick as the sole basis

 7   for the exam. Therefore, because Mr. Serrano decided that it was necessary, as the

 8   SAPOA President, to reaffirm the seriousness of the issues, Defendants ordered

 9   Serrano to undergo a Fitness for Duty Examination.

10          82.    Serrano, via counsel, objected to the Fitness for Duty Examination as

11   being unlawful. He invoked his rights under Government Code §3300, et seq., including

12   Government Code §3305 and/or Government Code §3306.5 (requesting copies of

13   and/or access to any and all documents being used or have been used to determine

14   that officer's qualifications for employment, promotion, additional compensation, or

15   termination or other disciplinary action).

16          83.    In response to Plaintiff's assertion of rights and request for materials

17   Defendants intentionally falsified a letter to Serrano's attorney by including claims that

18   Serrano had not been ordered to sign any releases. Defendants denied the request for

19   materials.

20          84.    It was subsequently discovered that Defendants did not comply with their

21   own policy regarding Fitness for Duty and/or Fitness for Duty Examinations.

22          85.    Police Commander Sorrenson was ordered not to retrieve department

23   issued equipment from Mr. Serrano at the SAPOA officce, but instead to order him to

24   report to the police station. The applicable Memorandum of Understanding specifically

25   states: "The Association and the City of Santa Ana agree that the Association's

26   representative will not be required to carry out any peace officer's duties during such

27   time that the Association's representative is on such full-time release from duty. The

28   Association's representative will be required to comply with the Rules and Regulations
                                                  20
                                              COMPLAINT                              EXHIBIT C
                                                                                       Page 97
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 101 of 305 Page ID #:101




 1   of the Santa Ana Police Department as they apply to off-duty employees, except such

 2   representative ill not be required to report for duty for any purpose. Defendants

 3   breached of the MOU by ordering Mr. Serrano to appear for a FFDE and to report to the

 4   police station.

 5          86.     Moreover, the Police Department Fitness for Duty policy indicates that its

 6   purpose and scope is directly related to the exercise of peace officers powers, but the

 7   MOU releases Mr. Serrano from any such exercise. Furthermore, the Fitness for Duty

 8   policy governs on-duty conduct, not off-duty.

 9          87.     Plaintiff initiated a grievance, but that matter was futile as it was to be

10   heard by the City Manager that had ordered Serrano not to have contact with her.

11   Defendants then had Defendant Motsick conduct the grievance hearing even though he
12   was the one that initiated the FFDE by claiming Serrano's e-mail was threatening.

13          88.     On September 1, 2021, the SAPOA disclosed the results of the Vote of

14   No Confidence. More than a majority of the members that voted indicated that they had

15   no confidence in the Chief of Police. That same day Defendant Valentin responded to

16   the membership vote by targeting Serrano. Defendant Valentin falsely attributed the

17   SAPOA's actions as Serrano's personal pension dispute and not about the facts giving

18   rise to the Vote. Defendant Valentin accused Serrano of making false and frivolous

19   claims, and engaging in crimes and corruption when Defendant Valentin knew these

20   allegations against Serrano were false.

21          89.     With the grievance over the FFDE pending and unresolved, Defendants

22   ordered Serrano to appear for the exam and undergo hours of questioning by the

23   contract doctor. The Defendants did not pay Serrano for his time at the FFDE

24   examination.

25          90.     On September 14, 2021, Serrano was found to be fit for duty and

26   removed from administrative leave. After Serrano was found to be fit for duty Defendant

27   Motsick finally held a grievance meeting and later summarily rejected the grievance.

28   Finally, even though Plaintiffs raised issues of retaliation and hostile environment
                                                    21

                                               COMPLAINT                                EXHIBIT C
                                                                                          Page 98
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 102 of 305 Page ID #:102




  1   Defendants have not even attempted to investigate these claims. Therefore, Plaintiffs
 2    have exhausted all administrative remedies related to the FFDE.

 3           91.    Additionally, even though Serrano had been removed from Administrative
 4    Leave, the locker assigned to him by the Police Department was secured so Serrano

 5    could not access it. It was visible to any person that walked into the locker room that the
 6    locker was still being secured by the Department.

 7           92.    Plaintiffs request a jury trial on all non-mandamus relief.

 8           93.    Plaintiff has no plain, speedy or adequate remedy under the law.

 9    Pursuant to Government Code Section 3309.5, Plaintiff need not pursue any

10    administrative remedy in order to address this problem; thus, Plaintiff is excused from

11    or has exhausted his administrative remedies. This court is given initial jurisdiction over
12    this matter pursuant to Government Code §3309.5.

13           94.    To the extent facts, incidents and/or issues described above were learned

14    and/or occurred after Plaintiffs' filed their Government Tort Claim, Plaintiffs only seek

15    mandamus and/or injunctive relief to cure the violations and prevent future violations of

16    a similar nature. Once Plaintiffs has processed and/or the Defendants rejected any

17    such supplemental claim, Plaintiffs will amend this Complaint accordingly.

18                                  VENUE AND JURISDICTION

19    95.Venue is proper in the Superior Court of the State of California, for the County of

20    Orange in that the underlying acts, omissions, injuries and related facts and

21    circumstances giving rise to the present action occurred in the City of Santa Ana,

22    County of Orange, California. This Court has jurisdiction over the present matter

23    because, as delineated within this complaint, the nature of the claims and amount in

24    controversy meet the requirements of jurisdiction in the Superior Court. This Court is

25    empowered with initial jurisdiction to entertain suits brought pursuant to California

26    Government Code §3300, et seq., and for traditional mandamus action.

27                                   FIRST CAUSE OF ACTION

28                                     Against All Defendants
                                                  22
                                              COMPLAINT
                                                                                      EXHIBIT C
                                                                                        Page 99
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 103 of 305 Page ID #:103




  1                         Violation of Government Code §3500, et seq.

 2           96. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3    First Cause of Action against all Defendants for violations of Government Code §3500,

 4    et seq., re-allege paragraphs 1-95, above, and further allege as follows:

 5           97. Government Code §3502 provides, in pertinent part, public employees shall

 6    have the right to form, join, and participate in the activities of employee organizations of

 7    their own choosing for the purpose of representation on all matters of employer-

 8    employee relations.

 9           98. Government Code §3502.1 provides that "No public employee shall be

10    subject to punitive action or denied promotion, or threatened with any such treatment,

11    for the exercise of lawful action as an elected, appointed, or recognized representative

12    of any employee bargaining unit."

13           99. Government Code §3503 provides, in pertinent part, that "Recognized

14    employee organizations shall have the right to represent their members in their

15    employment relations with public agencies."

16           100. Government Code §3504 provides, in pertinent part, that the scope of

17    representation shall include all matters relating to employment conditions and

18    employer-employee relations, including, but not limited to, wages, hours, and other

19    terms and conditions of employment.

20           101. Government Code §3506 provides that "Public agencies and employee

21    organizations shall not interfere with, intimidate, restrain, coerce or discriminate against

22    public employees because of their exercise of their rights under Section 3502 ."

23           102. Government Code §3506.5 provides, in pertinent part, that a public agency

24    shall not do any of the following: (a) Impose or threaten to impose reprisals on

25    employees, to discriminate or threaten to discriminate against employees, or otherwise

26    to interfere with, restrain, or coerce employees because of their exercise of rights

27    guaranteed by this chapter; (b) deny to employee organizations the rights guaranteed to

28    them by this chapter; (d) dominate or interfere with the formation or administration of
                                                   23

                                              COMPLAINT                               EXHIBIT C
                                                                                       Page 100
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 104 of 305 Page ID #:104




 1   any employee organization, contribute financial or other support to any employee

 2   organization, or in any way encourage employees to join any organization in preference

 3   to another.

 4          103. Defendants, and each of them, in undertaking the acts and/or omissions

 5   listed above, violated the above provisions of the Meyers-Milias-Brown Act (MMBA),

 6   including, but not limited to interfering with, intimidating, restraining, coercing and/or

 7   discriminating against the SAPOA, Gerry Serrano and/or other public employees who

 8   are members of the SAPOA because of their exercise of their rights under this Act.

 9          104. Defendants, and each of them, have engaged in acts and/or omissions, as

10   alleged above, wherein they have 1) subjected Serrano to punitive actions and/or

11   threatened him with said actions; 2) imposed or threatened to impose reprisals on

12   Serrano, 3) discriminated or threatened to discriminated against him; 3) otherwise

13   interfered with, restrained, or coerced Serrano because of his exercise of rights

14   guaranteed by the MMBA, and/or for the exercise of lawful action as an elected,

15   appointed, or recognized representative of any employee bargaining unit..

16          105. The duty to obey the laws set forth in Government Code §3500, et seq., is

17   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth

18   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions

19   of defendants, set forth above, demonstrate that defendants' failure to comply with

20   Government Code §3500, et seq., was illegal as a matter of law under Government

21   Code section 1222, which makes a public officer's "willful omission to perform any duty

22   enjoined by law" a misdemeanor.

23          106. Each and every act listed above, individually or jointly, constitutes a

24   violation of Government Code §3500, et seq., and therefore this court should render

25   appropriate injunctive or other extraordinary relief to remedy the violation and to prevent

26   future violations of a like or similar nature, including, but not limited to, the granting of a

27   temporary restraining order, a preliminary injunction and a permanent injunction, or, in

28   the alternative, a Writ of Mandate prohibiting the Santa Ana Police Department from
                                                   24

                                               COMPLAINT                                EXHIBIT C
                                                                                         Page 101
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 105 of 305 Page ID #:105




  1   taking any punitive action against any public safety officer member of the SAPOA.
  2   Plaintiffs specifically seek a "make whole" remedy.

  3           107. The above articulated violations were proximately caused by City's
 4    deliberate indifference to its employee's violations of the Meyer-Milias Brown Act, and

  5   the failure to train and control its officers and representatives on the provisions of these

 6    Acts. The violations set forth above were proximity caused by the customs, practices,
 7    policies and decisions of the defendants.

 8           108. Unless this court issues a preliminary and permanent injunction enjoining
 9    and restraining defendants, and each of them, and their agents, employees and

10    servants, from ordering, requiring, commanding, or taking any other action that will

11    result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

12    rights, as afforded by Government Code §3500, et seq., will be violated without any
13    remedy being afforded.

14           109. Plaintiffs have attempted, without success, to exhaust any and all

15    administrative remedies afforded to them to deal with these issues, but such efforts are

16    futile as the named defendants are the ones that make the final decisions via any
17    complaints, grievances or other administrative actions.

18           110. Plaintiff requests this court to award damages and attorney fees pursuant
19    C.C.P. §1090 and 1095.

20           111. In bringing this action, Petitioners have sought enforcement of an important

21    right affecting the public interest which will result in the conferring of a significant benefit

22    upon a large class of persons, to wit, public employees, thereby entitling Petitioners to
23    an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

24           112. The actions of defendants, and each of them, were arbitrary and capricious
25    and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
26    Code §800.

27                                   SECOND CAUSE OF ACTION

28                                        Against All Defendants
                                                      25

                                                 COMPLAINT
                                                                                             EXHIBIT C
                                                                                              Page 102
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 106 of 305 Page ID #:106




 1                         Violation of Government Code §3300, et seq.

 2           113. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   Second Cause of Action against all Defendants for violations of Government Code

 4   §3300, et seq., relief re-alleges paragraphs 1-112, above, and further allege as follows:

 5           114. Government Code §3301 provides, in pertinent part, that "The Legislature

 6   hereby finds and declares that the rights and protections provided to peace officers

 7   under this chapter constitute a matter of statewide concern. The Legislature further

 8   finds and declares that effective law enforcement depends upon the maintenance of

 9   stable employer-employee relations, between public safety employees and their

10   employers. In order to assure that stable relations are continued throughout the state

11   and to further assure that effective services are provided to all people of the state, it is

12   necessary that this chapter be applicable to all public safety officers, as defined in this
13   section, wherever situated within the State of California."

14           115. Government Code §3302 provides, in pertinent part, that except as

15   otherwise provided by law, or whenever on duty or in uniform, no public safety officer

16   shall be prohibited from engaging, or be coerced or required to engage, in political

17   activity.

18           116. Government Code §3303 provides, in pertinent part, that when any public

19   safety officer is under investigation and subjected to interrogation by his or her

20   commanding officer, or any other member of the employing public safely department,

21   that could lead to punitive action, the interrogation shall be conducted under the

22   following conditions. For the purpose of this chapter, punitive action means any action

23   that may lead to dismissal, demotion, suspension, reduction in salary, written

24   reprimand, or transfer for purposes of punishment.

25                 (a) The interrogation shall be conducted at a reasonable hour, preferably

26                 at a time when the public safety officer is on duty, or during the normal

27                 working hours for the public safety officer, unless the seriousness of the

28                 investigation requires otherwise. If the interrogation does occur during off-
                                                   26

                                              COMPLAINT                                EXHIBIT C
                                                                                        Page 103
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 107 of 305 Page ID #:107




  1             duty time of the public safety officer being interrogated, the public safety
 2              officer shall be compensated for any off-duty time in accordance with

 3              regular department procedures, and the public safety officer shall not be

 4              released from employment for any work missed.

 5              (b) The public safety officer under investigation shall be informed prior to
 6              the interrogation of the rank, name, and command of the officer in charge
 7              of the interrogation, the interrogating officers, and all other persons to be
 8              present during the interrogation. All questions directed to the public safety

 9              officer under interrogation shall be asked by and through no more than

10             two interrogators at one time.

11             (c) The public safety officer under investigation shall be informed of the
12             nature of the investigation prior to any interrogation.

13             (e) The employer shall not cause the public safety officer under
14             interrogation to be subjected to visits by the press or news media without
15             his or her express consent nor shall his or her home address or
16             photograph be given to the press or news media without his or her

17             express consent.

18             (g) The complete interrogation of a public safety officer may be recorded.

19             If a tape recording is made of the interrogation, the public safety officer

20             shall have access to the tape if any further proceedings are contemplated
21             or prior to any further interrogation at a subsequent time. The public safety

22             officer shall be entitled to a transcribed copy of any notes made by a

23             stenographer or to any reports or complaints made by investigators or
24             other persons, except those which are deemed by the investigating

25             agency to be confidential. No notes or reports that are deemed to be

26             confidential may be entered in the officer's personnel file. The public
27             safety officer being interrogated shall have the right to bring his or her own

28             recording device and record any and all aspects of the interrogation.

                                              27
                                         COMPLAINT
                                                                                   EXHIBIT C
                                                                                    Page 104
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 108 of 305 Page ID #:108




 1          117. Government Code §3304(a) provides that "No public safety officer shall be

 2   subjected to punitive action, or denied promotion, or be threatened with any such

 3   treatment, because of the lawful exercise of the rights granted under this chapter, or the

 4   exercise of any rights under any existing administrative grievance procedure.

 5          118. Government Code §3304(b) provides, in pertinent part, "No punitive action,

 6   nor denial of promotion on grounds other than merit, shall be undertaken by any public

 7   agency against any public safety officer who has successfully completed the

 8   probationary period that may be required by his or her employing agency without

 9   providing the public safety officer with an opportunity for administrative appeal."

10          119. Government Code §3304(d) (1) reads "Except as provided in this

11   subdivision and subdivision (g), no punitive action, nor denial of promotion on grounds

12   other than merit, shall be undertaken for any act, omission, or other allegation of
13   misconduct if the investigation of the allegation is not completed within one year of the

14   public agency's discovery by a person authorized to initiate an investigation of the

15   allegation of an act, omission, or other misconduct. This one-year limitation period shall

16   apply only if the act, omission, or other misconduct occurred on or after January 1,

17   1998. In the event that the public agency determines that discipline may be taken, it

18   shall complete its investigation and notify the public safety officer of its proposed

19   discipline by a Letter of Intent or Notice of Adverse Action articulating the discipline that

20   year, except as provided in paragraph (2). The public agency shall not be required to

21   impose the discipline within that one-year period."

22          120. Government Code §3305 provides that no public safety officer shall have

23   any comment adverse to his interest entered in his personnel file, or any other file used

24   for any personnel purposes by his employer, without the public safety officer having first

25   read and signed the instrument containing the adverse comment indicating he is aware

26   of such comment, except that such entry may be made if after reading such instrument

27   the public safely officer refuses to sign it. Should a public safety officer refuse to sign,

28   that fact shall be noted on that document, and signed or initialed by such officer.
                                                   28

                                              COMPLAINT                                EXHIBIT C
                                                                                        Page 105
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 109 of 305 Page ID #:109




 1          121. Government Code §3306 reads "A public safety officer shall have 30 days

 2   within which to file a written response to any adverse comment entered in his personnel

 3   file. Such written response shall be attached to, and shall accompany, the adverse

 4   comment."

 5          122. Government Code §3306.5. provides, in pertinent part, that (a) Every

 6   employer shall, at reasonable times and at reasonable intervals, upon the request of a

 7   public safety officer, during usual business hours, with no loss of compensation to the

 8   officer, permit that officer to inspect personnel files that are used or have been used to

 9   determine that officer's qualifications for employment, promotion, additional

10   compensation, or termination or other disciplinary action; (b) Each employer shall keep

11   each public safety officer's personnel file or a true and correct copy thereof , and shall

12   make the file or copy thereof available within a reasonable period of time after a request

13   therefor by the officer."

14          123. Government Code §3309 provides that "No public safely officer shall have

15   his locker, or other space for storage that may be assigned to him searched except in

16   his presence, or with his consent, or unless a valid search warrant has been obtained or

17   where he has been notified that a search will be conducted. This section shall apply

18   only to lockers or other space for storage that are owned or leased by the employing

19   agency.

20          124. Government Code §3309.5(a) provides "It shall be unlawful for any public

21   safely department to deny or refuse to any public safety officer the rights and

22   protections guaranteed to him or her by this chapter."

23          125. Government Code §3309.5 further provides, in pertinent part, "(d) (1) In

24   any case where the superior court finds that a public safety department has violated

25   any of the provisions of this chapter, the court shall render appropriate injunctive or

26   other extraordinary relief to remedy the violation and to prevent future violations of a like

27   r similar nature, including, but not limited to, the granting of a temporary restraining

28   order, preliminary injunction, or permanent injunction prohibiting the public safety
                                                  29
                                              COMPLAINT                               EXHIBIT C
                                                                                       Page 106
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 110 of 305 Page ID #:110




 1   department from taking any punitive action against the public safety officer" and "(e) In

 2   addition to the extraordinary relief afforded by this chapter, upon a finding by a superior

 3   court that a public safety department, its employees, agents, or assigns, with respect to

 4   acts taken within the scope of employment, maliciously violated any provision of this

 5   chapter with the intent to injure the public safety officer, the public safety department

 6   shall, for each and every violation, be liable for a civil penalty not to exceed twenty-five

 7   thousand dollars ($25,000) to be awarded to the public safety officer whose right or

 8   protection was denied and for reasonable attorney's fees as may be determined by the

 9   court. If the court so finds, and there is sufficient evidence to establish actual damages

10   suffered by the officer whose right or protection was denied, the public safety

11   department shall also be liable for the amount of the actual damages."

12          126. As described above, Plaintiff Gerry Serrano was the subject of numerous

13   investigations that could result in punitive action. One investigation was conducted by

14   Defendants Carvalho and Motsick after Defendant Ridge complained that Serrano was

15   making false statements about her. Serrano was not told, prior to his interview, that

16   Carvalho would be present, was not informed of the nature of the investigation prior to

17   arriving, was not told, nor afforded the opportunity to record the interview.

18          127. In other administrative investigations conducted under the orders of

19   Defendant Valentin, Serrano was not compensated for his time in the interrogations.

20          128. Defendant Ridge issued punitive action against Serrano and when he

21   sought an administrative appeal and the documents purportedly supporting the punitive

22   action, both requests were denied.

23          129. Defendant Valentin has placed or caused to be placed in Serrano's

24   personnel file and/or files used for personnel purposes adverse comments without

25   affording Serrano the ability to review the documents containing the adverse comments.

26          130. Defendant Valentin has ordered administrative investigations to be

27   conducted well in excess of the one year statute of limitations, and has not provided

28   notice of the investigations or the outcome of the investigations to Serrano.
                                                  30

                                              COMPLAINT                               EXHIBIT C
                                                                                       Page 107
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 111 of 305 Page ID #:111




 1          131. Serrano has requested to review documents used for personnel purposes

 2   but has been denied the opportunity to do so.

 3          132. Serrano has information and believe that his department issued locker

 4   and/or other space for storage (including his department issued email storage system)

 5   has been searched outside of his presence and/or without his knowledge/consent or

 6   valid search warrant.

 7          133. Serrano, while acting as the President of the SAPOA, and while off-duly
 8   and out of uniform has been prohibited from engaging in political activity.

 9          134. Serrano has been threatened with punitive action because of the lawful

1O exercise of the rights granted by Government Code §3300, et seq., and/or exercising

11   rights under existing administrative grievance procedures.

12          135. The duty to obey the laws set forth in Government Code §3300, et seq., is

13   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth

14   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions

15   of defendants, set forth above, demonstrate that defendants' failure to comply with

16   Government Code §3300, et seq., was illegal as a matter of law under Government

17   Code section 1222, which makes a public officer's "willful omission to perform any duty

18   enjoined by law" a misdemeanor.

19          136. Each and every act listed above, individually or jointly, constitutes a

20   violation of Government Code §3300, et seq., and therefore this court should render all

21   available and proper relief under Government Code §3309.5 to remedy the violations

22   and to prevent future violations of a like or similar nature. Plaintiffs specifically seek a

23   "make whole" remedy.

24          137. For those acts identified in the already filed Government Tort Claim,

25   Plaintiffs further seek all relief afforded under Government Code §3309.5(e).

26          138. The above articulated violations were proximately caused by City's

27   indifference to its employee's violations of the Public Safety Officers Procedural Bill of

28   Rights Act, and the failure to train and control its officers and representatives on the
                                                   31

                                              COMPLAINT                                 EXHIBIT C
                                                                                         Page 108
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 112 of 305 Page ID #:112




  1   provisions of this Act. The violations set forth above were proximity caused by the
 2    customs, practices, policies and decisions of the defendants.
 3           139. Unless this court issues a preliminary and permanent injunction enjoining

 4    and restraining defendants, and each of them, and their agents, employees and

 5    servants, from ordering, requiring, commanding, or taking any other action that will

 6    result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

 7    rights, as afforded by Government Code §3300, et seq., will be violated without any
 8    remedy being afforded.

 9           140. Plaintiffs have attempted, without success, to exhaust any and all

10    administrative remedies afforded to them to deal with these issues, but such efforts are

11    futile as the named defendants are the ones that make the final decisions via any

12    complaints, grievances or other administrative actions. Moreover, pursuant to

13    Government Code §3309.5, Plaintiffs are not required to exhaust administrative
14    remedies.

15           141. Plaintiff requests this court to award damages and attorney fees pursuant
16    to C.C.P. §1090 and 1095.

17           142. In bringing this action, Petitioners have sought enforcement of an important

18    right affecting the public interest which will result in the conferring of a significant benefit

19    upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

20    an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

21           143. The actions of defendants, and each of them, were arbitrary and capricious

22    and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
23    Code §800.

24                                     THIRD CAUSE OF ACTION

25                                        Against All Defendants
26                      Violation of Constitutional Right to Freedom of Speech

27           144. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

28    Third Cause of Action against all Defendants for violations of Plaintiffs' right to freedom
                                                      32
                                                 COMPLAINT
                                                                                             EXHIBIT C
                                                                                              Page 109
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 113 of 305 Page ID #:113




 1   of speech and writing, freedom to instruct their representative, freedom to petition

 2   government for redress of grievances, and to consult for the common good, re-allege

 3   paragraphs 1-143, above, and further allege as follows:

 4          145. While the U.S. Constitution grants citizens protections for free speech

 5   under the First Amendment to the U.S. Constitution, which are enforced via 42 USC

 6   §1983, the California Constitution also protects this right. Article I, Section 2 of the

 7   California Constitution states that "[e]very person may freely speak, write and publish

 8   his or her sentiments on all subjects, being responsible for the abuse of this right. ... "

 9   Article I, Section 3 of the California Constitution states "[T]he people have the right to

10   instruct their representatives, petition government for redress of grievances, and

11   assemble freely to consult for the common good.

12          146. Defendants, and each of them, have engaged in acts and/or omissions to

13   violate Plaintiffs right to freedom to speak, write and publish their sentiments, and/or

14   their ability to petition government for redress of grievances, assemble and to consult

15   for the common good.

16          147. The duty to obey the laws set forth in state and federal laws is a ministerial

17   duty and is not discretionary. By acting, and failing to act, as set forth above,

18   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

19   defendants, set forth above, demonstrate that defendants' failure to comply with the

20   California Constitution wherein it enjoins certain acts; therefore, defendants actions

21   were illegal as a matter of law under Government Code section 1222, which makes a

22   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.

23          148. Each and every act listed above, individually or jointly, constitutes a

24   violation of Plaintiffs' speech rights and/or the California Constitution and therefore this

25   court should render all available and proper relief to remedy the violations and to

26   prevent future violations of a like or similar nature. Plaintiffs specifically seek a "make

27   whole" remedy.
28          149. For those acts identified in the already filed Government Tort Claim,

                                                   33

                                              COMPLAINT                                  EXHIBIT C
                                                                                          Page 110
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 114 of 305 Page ID #:114




 1   Plaintiffs further seek all available monetary damages and statutory penalties. For those

 2   acts not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs
 3   seek injunctive and/or mandamus remedies.

 4          150. The above articulated violations were proximately caused by City's

 5   deliberate indifference to its employees' violations law, and the failure to train and

 6   control its officers and representatives on the provisions of law referenced above. The

 7   violations set forth above were proximity caused by the customs, practices, policies and

 8   decisions of the defendants.

 9          151. Unless this court issues a preliminary and permanent injunction enjoining

10   and restraining defendants, and each of them, and their agents, employees and

11   servants, from ordering, requiring, commanding, or taking any other action that will

12   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his
13   rights will be violated without any remedy being afforded.

14          152. Plaintiffs have attempted, without success, to exhaust any and all

15   administrative remedies afforded to them to deal with these issues, but such efforts are

16   futile as the named defendants are the ones that make the final decisions via any

17   complaints, grievances or other administrative actions.

18          153. Plaintiffs request this court to award damages and attorney fees as

19   provided by law, including pursuant to C.C.P. §1090 and 1095.

20          154. In bringing this action, Petitioners have sought enforcement of an important

21   right affecting the public interest which will result in the conferring of a significant benefit

22   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

23   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

24          155. The actions of defendants, and each of them, were arbitrary and capricious

25   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

26   Code §800.
27                                   FOURTH CAUSE OF ACTION

28                                        Against All Defendants
                                                      34

                                                 COMPLAINT                                  EXHIBIT C
                                                                                             Page 111
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 115 of 305 Page ID #:115




 1                              Violation of Labor Code §1101-1102.5

 2          156. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   Fourth Cause of Action against all Defendants for violation of provisions of the Labor

 4   Code re-alleges paragraphs 1-95, above, and further allege as follows:

 5          157. Labor Code section 1101 provides, in pertinent part, that no employer shall

 6   make, adopt, or enforce any rule, regulation, or policy: (a) Forbidding or preventing

 7   employees from engaging or participating in politics ... (b) Controlling or directing, or
 8   tending to control or direct the political activities or affiliations of employees.

 9          158. Labor Code §1102 provides "No employer shall coerce or influence or

10   attempt to coerce or influence his employees through or by means of threat of

11   discharge or loss of employment to adopt or follow or refrain from adopting or following

12   any particular course or line of political action or political activity.

13          159. Labor Code §1102.5 provides that (a) An employer, or any person acting

14   on behalf of the employer, shall not make, adopt, or enforce any rule, regulation, or

15   policy preventing an employee from disclosing information to a government or law

16   enforcement agency, to a person with authority over the employee, or to another

17   employee who has authority to investigate, discover, or correct the violation or

18   noncompliance, or from providing information to, or testifying before, any public body

19   conducting an investigation, hearing, or inquiry, if the employee has reasonable cause

20   to believe that the information discloses a violation of state or federal statute, or a

21   violation of or noncompliance with a local, state, or federal rule or regulation, regardless

22   of whether disclosing the information is part of the employee's job duties. (b) An

23   employer, or any person acting on behalf of the employer, shall not retaliate against an

24   employee for disclosing information, or because the employer believes that the

25   employee disclosed or may disclose information, to a government or law enforcement

26   agency, to a person with authority over the employee or another employee who has the

27   authority to investigate, discover, or correct the violation or noncompliance, or for

28   providing information to, or testifying before, any public body conducting an
                                                     35

                                                COMPLAINT                                  EXHIBIT C
                                                                                            Page 112
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 116 of 305 Page ID #:116




 1   investigation, hearing, or inquiry, if the employee has reasonable cause to believe that

 2   the information discloses a violation of state or federal statute, or a violation of or

 3   noncompliance with a local, state, or federal rule or regulation, regardless of whether

 4   disclosing the information is part of the employee's job duties.

 5          160. Sections 1101 and 1102 protect "the fundamental right of employees in

 6   general to engage in political activity without interference by employers." (Gay Law

 7   Students Assn., 24 Cal.3d at 487 (quoting Fort v. Civil Service Commission (1964) 61

 8   Cal.2d 331, 335).)

 9          161. As shown by the facts pied above, Defendants, and each of them, have

10   engaged in acts and/or omissions that violated Labor Code §§1101 and/or 1102 to the

11   detriment of Plaintiff Serrano, Plaintiff SAPOA, and those members of the SAPOA that

12   support the SAPOA's actions.

13          162. Defendants, and each of them, have engaged in retaliation against both

14   Plaintiffs for disclosing information, or because the employer believed that the

15   employee disclosed or may disclose information, to a government or law enforcement

16   agency, to a person with authority over the employee or another employee who has the

17   authority to investigate, discover, or correct the violation or noncompliance, or for

18   providing information to, or testifying before, any public body conducting an

19   investigation, hearing, or inquiry, wherein the employee had reasonable cause to

20   believe that the information disclosed a violation of state or federal statute, or a violation

21   of or noncompliance with a local, state, or federal rule or regulation.

22          163. As a proximate result of Defendants willful, knowing and intentional

23   violations of the Labor Code sections referenced above, Plaintiff Serrano has suffered

24   and continues to suffer substantial losses in earnings and/or other employment

25   benefits. As a legal result of the conduct of Defendants, and each of them, Plaintiff has

26   suffered and will continue to suffer distress, suffering, anguish, fright, nervousness,

27   grief, anxiety, worry, shame, mortification, injured feelings, shock, humiliation and

28   indignity, as well as other unpleasant reactions, damages to reputation, and other non-
                                                   36

                                              COMPLAINT                                EXHIBIT C
                                                                                        Page 113
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 117 of 305 Page ID #:117




 1   economic damages, in a sum to be ascertained according to proof. Said damages are

 2   of the type that any person would suffer as result of the illegal and wrongful conduct of

 3   Defendants; Plaintiff does not claim that he has suffered any psychiatric illness as a

 4   result of the conduct of Defendants. Plaintiff Serrano further seeks to recover all wages

 5   and benefits that Plaintiff would have earned if not discriminated against, retaliated
 6   against, or unlawfully harmed in amount to be proven at trial.

 7          164. Plaintiff SAPOA has incurred damages in the form of attorney fees, costs

 8   and nominal damages because of Defendants' violations of the Labor Code section

 9   cited above.

10          165. The duty to obey the Labor Code sections set forth above is a ministerial

11   duly and is not discretionary. By acting, and failing to act, as set forth above,

12   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

13   defendants, set forth above, demonstrate that defendants' failure to comply with the

14   California Constitution wherein it enjoins certain acts; therefore, defendants actions

15   were illegal as a matter of law under Government Code section 1222, which makes a

16   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.

17          166. The acts listed above, individually or jointly, constitute a violation of

18   Plaintiffs' rights under the Labor Code and therefore this court should render all

19   available and proper relief to remedy the violations and to prevent future violations of a

20   like or similar nature. Plaintiffs specifically seek a "make whole" remedy.

21          167. For those acts identified in the already filed Government Tort Claim,

22   Plaintiffs seek all available monetary damages and statutory penalties. For those acts

23   not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs seek

24   injunctive and/or mandamus remedies. Plaintiffs are in the process of satisfying the

25   Government Tort Claim requirement for those acts or omissions that were learned of

26   and/or took place after the initial Tort Claim was filed and rejected; upon completion of

27   that process, Plaintiffs will seek leave to amend the complaint to seek damages and/or

28   civil penalties for the additional acts that recently occurred or were learned of.
                                                  37

                                             COMPLAINT
                                                                                         EXHIBIT C
                                                                                          Page 114
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 118 of 305 Page ID #:118




 1          168. The above articulated violations were proximately caused by City's

 2   deliberate indifference to its employees' violations law, and the failure to train and

 3   control its officers and representatives on the provisions of law referenced above. The

 4   violations set forth above were proximity caused by the customs, practices, policies and

 5   decisions of the defendants.

 6          169. Unless this court issues a preliminary and permanent injunction enjoining

 7   and restraining defendants, and each of them, and their agents, employees and

 8   servants, from ordering, requiring, commanding, or taking any other action that will

 9   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his
10   rights will be violated without any remedy being afforded.

11          170. Plaintiffs have attempted, without success, to exhaust any and all

12   administrative remedies afforded to them to deal with these issues, but such efforts are

13   futile as the named defendants are the ones that make the final decisions via any

14   complaints, grievances or other administrative actions.

15          171. Plaintiff requests this court to award damages and attorney fees as

16   provided by law, including pursuant to C.C.P. §1090 and 1095.

17          172. In bringing this action, Plaintiffs have sought enforcement of an important

18   right affecting the public interest which will result in the conferring of a significant benefit

19   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

20   an award of attorneys' fees pursuant to Code of Civil Procedure §1021 .5.

21          173. The actions of defendants, and each of them, were arbitrary and capricious

22   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

23   Code §800.

24                                     FIFTH CAUSE OF ACTION

25                 Against City, Police Department, Valentin, Ridge and Carvalho

26              Violation of Penal Code §§832.5-832.8/Evidence Code §1043-1046

27          174. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

28   Fifth Cause of Action against all Defendants for violations of Penal Code §§832.5-832.8
                                                      38

                                                 COMPLAINT                                  EXHIBIT C
                                                                                             Page 115
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 119 of 305 Page ID #:119




  1   and/or Evidence Code §§1043-1046 re-alleges paragraphs 1-95, above, and further

 2    allege as follows:

 3             175. Penal Code 832.5(a) (1) provides "Each department or agency in this state

 4    that employs peace officers shall establish a procedure to investigate complaints by

 5    members of the public against the personnel of these departments or agencies, and

 6    shall make a written description of the procedure available to the public."

 7    176.Penal Code §832.7(f} (1) mandates that "The department or agency shall provide

 8    written notification to the complaining party of the disposition of the complaint within 30

 9    days of the disposition."

10             177. The City of Santa Ana and Santa Ana Police Department have established

11    and published procedures for receiving and investigating complaints. The established

12    procedures state that complaints will investigated and the party submitting the

13    complaint will be notified of the results by mail.

14             178. The procedure for addressing citizen complaints that the department has

15    established and published obligated the department to conduct an investigation into the

16    allegations of the complaint that was sufficient to allow a decision-maker make one of

17    four possible findings, and the procedure obligated the Chief of Police to make one of

18    those findings with respect to each allegation of misconduct. Defendants did not comply

19    with these obligations and Plaintiffs are entitled to a writ of mandate compelling

20    defendants to perform their ministerial duty to satisfy the obligations imposed by the

21    department's published procedure. (See Ga/zjnski v. Somers, (2016) 2 Cal.App.5 th

22    1164).

23             179. Plaintiffs filed complaints and requests for investigations and Defendants

24    failed to either investigate the allegations of misconduct (which were also violations of

25    state law and possible misdemeanor offenses) and/or refused to notify Plaintiff SAPOA

26    of the outcome of the investigation.

27             180. Defendants had a ministerial duty to investigate the SAPOA's and/or

28    Serrano's citizen's complaint and to render a finding on that complaint in compliance
                                                    39

                                               COMPLAINT                              EXHIBIT C
                                                                                       Page 116
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 120 of 305 Page ID #:120




 1   with the complaint procedure the department established and made public pursuant to

 2   subdivision (a)(1) of Penal Code section 832.5. (See Gregory v. State Bd. of Control

 3   (1999) 73 Cal.App.4th 584 ('[a] public entity has a ministerial duty to comply with its

 4   own rules and regulations where they are valid and unambiguous); Pozar v. Department

 5   of Transportation (1983) 145 Cal.App.3d 269 (a writ of mandate may be issued to

 6   compel a public agency to follow its own internal procedures.).

 7          181. A writ of mandate may be issued by any court to any inferior tribunal,

 8   corporation, board, or person, to compel the performance of an act which the law

 9   specially enjoins, as a duty resulting from an office, trust, or station." (Code Civ. Proc., §

10   1085, subd. (a).) Indeed, "[t]he writ must be issued in all cases where there is not a

11   plain, speedy, and adequate remedy, in the ordinary course of lawupon the verified

12   petition of the party beneficially interested." (Id.,§ 1086.) In essence, "[m]andamus lies

13   to compel the performance of a clear, present, and ministerial duty where the petitioner

14   has a beneficial right to performance of that duty." (Carrancho v. California Air

15   Resources Board (2003) 111 Cal.App.4th 1255 1265) "A duty is ministerial when ii is

16   the doing of a thing unqualifiedly required." (Redwood Coast Watersheds Alliance v.

17   State Bd. of Forestry & Fire Protection (1999) 70 Cal.App.4th 962, 970).

18          182. Plaintiffs seek a writ of mandate commanding Defendants to investigate
19   Plaintiff's complaint regarding the release of the confidential information and to inform

20   Plaintiff of the outcome of that investigation. Plaintiff further seeks an order of the court

21   mandating that Defendants, and each of them, fully investigate any and all complaints

22   made to the City of Santa Ana/Santa Ana Police Department regarding the misconduct

23   of police department employees/officials.

24          183. Furthermore, Penal Code §832.5-832.8 requires Defendants to maintain as

25   confidential peace officer personnel files/information. The only manner in which the

26   information can be released to third parties is through compliance with Evidence Code

27   §§1043-1046.

28          184. Plaintiff Serrano was issued punitive action by Defendant Ridge, and then
                                                   40

                                              COMPLAINT                                EXHIBIT C
                                                                                        Page 117
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 121 of 305 Page ID #:121




  1   Defendant Ridge and/or Carvalho released copies of the punitive action to elected

  2   Council members and media sources without complying with the legal requirements set
  3   forth above.

  4           185. The duty to obey the laws set forth in Penal Code§ §832.5-832.8 and/or

  5   Evidence Code §§1043-1046, is a ministerial duty and is not discretionary. By acting,

  6   and failing to act, as set forth above, defendants have violated a ministerial duty.

  7   Moreover, the acts and/or omissions of defendants, set forth above, demonstrate that
  8   defendants' failure to comply with Penal Code §§832.5-832.8 and/or Evidence Code

  9   §1043-1046 was illegal as a matter of law under Government Code section 1222, which
10    makes a public officer's "willful omission to perform any duty enjoined by law" a

 11   misdemeanor.

12            186. As a result of Defendants' unlawful action, Plaintiff Serrano has suffered
13    and will continue to suffer distress, suffering, anguish, fright, nervousness, grief,

14    anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,

15    damages to reputation, and other non-economic damages, in a sum to be ascertained

16    according to proof. Said damages are of the type that any person would suffer as result

17    of the illegal and wrongful conduct of Defendants; Plaintiff does not claim that he has

18    suffered any psychiatric illness as a result of the conduct of Defendants.

19            187. Plaintiffs have no plain, speedy or adequate remedy under the law.

20    Plaintiffs have attempted to exhaust all administrative remedies to redress the violation

21    of their rights.

22            188. Plaintiffs request this court to award ancillary damages pursuant to C.C.P.

23    §1090 and 1095.

24            189. The actions of defendants, and each of them, were arbitrary and capricious

25    and, therefore, Plaintiffs are entitled to recover attorneys' fees pursuant to Government

26    Code §800.

27            190. The success of Plaintiffs in this action will result in the enforcement of an

28    important right affecting the public interest in that a significant benefit will be conferred

                                                    41

                                               COMPLAINT
                                                                                        EXHIBIT C
                                                                                         Page 118
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 122 of 305 Page ID #:122




  1   on a large class of persons, that is, public employees, and the necessity and financial
  2   burden of private enforcement of said benefit are such as to make appropriate the

  3   award of attorney fees pursuant to California Code of Civil Procedure §1021.5.

 4                                      SIXTH CAUSE OF ACTION

  5                   (Violation of FEHA (Government Code§ 12900, et seq.)
 6                          Retaliation for Engaging in Protected Activity
  7                   (Against City of Santa Ana/Santa Ana Police Department)
 8           191. The allegations set forth in paragraphs 1 through 190 are re-alleged and
 9    incorporated herein by reference.

10           192. Plaintiffs filed complaints with the City of Santa Ana, via Defendant Ridge

11    and/or Motsick regarding allegations of gender discrimination and/or harassment.

12    Furthermore, Defendants Ridge, Motsick and Carvalho believed that Plaintiffs had or

13    would file complaints against Ridge for allegations of sexual harassment. In retaliations

14    for Plaintiffs filing complaints, and/or the fear that additional complaints would be made,

15    defendants engaged in actions such as issuing punitive action, causing Plaintiff Serrano

16    to be subject to improper investigations, placed on administrative leave, and/or to

17    implement other adverse employment action against Plaintiff Serrano.

18           193. Plaintiffs complained to Defendants about the inappropriate actions

19    (discrimination, harassment and/or retaliation), but nothing was done and the retaliation

20    continued unabated. On the basis of the above, Plaintiffs believe and allege that

21    Defendants retaliated against them for their complaints of gender discrimination, sexual
22    harassment, and/or retaliation.

23           194. Plaintiffs reporting of unlawful actions were motivating factors in

24    Defendants' decision not to implement adverse employment actions against Plaintiff
25    Serrano.

26          195. Defendants' conduct, as alleged, violated the Fair Employment and

27    Housing Act, Government Code section 12900, et seq., and Defendants committed

28    unlawful employment practices.

                                                  42


                                                                                        EXHIBIT C
                                              COMPLAINT

                                                                                         Page 119
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 123 of 305 Page ID #:123




  1          196. As a proximate result of Defendants' willful, knowing, and intentional

 2    discrimination/harassment/retaliation against Plaintiff, Plaintiff has sustained and

 3    continues to sustain damages, humiliation, distress, pain and anguish, all to his
 4    damage in a sum according to proof.

 5           197. Plaintiffs have incurred and continues to incur legal expenses and

 6    attorneys' fees. Pursuant to Government Code section 12965(b ), plaintiffs are entitled

 7    to recover reasonable attorneys' fees and costs (including expert costs) in an amount
 8    according to proof.

 9           198. Plaintiffs further request that the Court render appropriate injunctive or

10    other extraordinary relief to remedy these violations and to prevent future violations of a

11    like or similar nature, including, but not limited to, the granting of a permanent injunction

12    requiring the Defendants, upon receiving notification of conduct which may violate the

13    California Department of Fair Employment and Housing regulations or California

14    whistleblower statutes, to promptly conduct a fair and thorough investigation into the

15    allegations and not allow retaliatory actions to be taken against the employees.

16           199. Plaintiff requests this court to award ancillary damages pursuant to C.C.P.
17    §1090 and 1095.

18           200. The actions of defendants, and each of them, were arbitrary and capricious

19    and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

20    Code §800.

21           201. The success of Plaintiff in this action will result in the enforcement of an

22    important right affecting the public interest in that a significant benefit will be conferred

23    on a large class of persons, that is, public employees, and the necessity and financial

24    burden of private enforcement of said benefit are such as to make appropriate the

25    award of attorney fees pursuant to California Code of Civil Procedure §1021.5

26           202. Plaintiff obtained a Right to Sue letter from the DFEH, and served the

27    same on defendants via the City Clerk's office.

28           WHEREFORE, Plaintiff prays for judgment against Defendants and each of them

                                                    43

                                               COMPLAINT
                                                                                         EXHIBIT C
                                                                                          Page 120
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 124 of 305 Page ID #:124




 1   as follows:

 2                                     FIRST CAUSE OF ACTION

 3             1. Any and all appropriate injunctive or other extraordinary relief afforded under

 4   Government Code §3500, et seq., to remedy the violation and to prevent future

 5   violations of a like or similar nature, including, but not limited to, the granting of a

 6   temporary restraining order, preliminary injunction, or permanent injunction prohibiting

 7   Defendants, and each of them, and their agents, representatives, employees, servants

 8   and/or investigators from violating Government Code §3500, et seq.

 9             2. For those matters already identified in Plaintiffs' Government Tort Claims,

10   any and all damages and/or civil penalties afforded under the law.

11                                   SECOND CAUSE OF ACTION

12             3. Any and all appropriate injunctive or other extraordinary relief afforded under

13   Government Code §3309.5(d) to remedy the violation and to prevent future violations of

14   a like or similar nature.

15             4. For those matters already identified in Plaintiffs' Government Tort Claims, any

16   and all damages and/or civil penalties afforded under the law.

17                                    THIRD CAUSE OF ACTION

18          5. Any and all appropriate injunctive or other extraordinary relief afforded under

19   the law to remedy the violation and to prevent future violations of a like or similar

20   nature.

21          6. For those matters already identified in Plaintiffs' Government Tort Claims, any

22   and all damages and/or civil penalties afforded under the law.

23                                   FOURTH CAUSE OF ACTION

24          7. Any and all appropriate injunctive or other extraordinary relief afforded under

25   the law to remedy the violation and to prevent future violations of a like or similar

26   nature.
27          8. For those matters already identified in Plaintiffs' Government Tort Claims, any

28   and all damages and/or civil penalties afforded under the law.
                                                    44

                                               COMPLAINT
                                                                                        EXHIBIT C
                                                                                         Page 121
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 125 of 305 Page ID #:125




  1                                     FIFTH CAUSE OF ACTION

 2              9. A declaration of the Court that the Defendants violated Penal Code §832.5-

 3    832.7 and/or Evidence Code §§1043-1046 and that Plaintiffs are entitled to the full

 4    relief afforded under Penal Code §832.5-832. 7 and/or Evidence Code §§1043-1046.

 5              10. Any and all appropriate injunctive or other extraordinary relief afforded under

 6    the law to remedy the violation and to prevent future violations of a like or similar
 7    nature.

 8              11. For those matters already identified in Plaintiffs' Government Tort Claims,

 9    any and all damages and/or civil penalties afforded under the law.

10                                     SIXTH CAUSE OF ACTION
11              12. Any and all appropriate injunctive or other extraordinary relief afforded under

12    the law to remedy the violation and to prevent future violations of a like or similar
13    nature.

14              13. For those matters already identified in Plaintiffs' Government Tort Claims,
15    any and all damages and/or civil penalties afforded under the law.

16                                      ALL CAUSES OF ACTION
17           14. An award ancillary damages pursuant to C.C.P. §1090 and 1095.
18           15. For all matters covered by Plaintiffs' Government Tort Claim(s), all damages
19    which the Plaintiffs have sustained as a result of Defendants' conduct, including general

20    damages for pain, suffering, distress, and special damages for lost compensation,

21    including back, front pay, job benefits that he would have received but for the

22    discriminatory practices of Defendants, damages for anguish, fright, nervousness, grief,

23    anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,

24    as well as other unpleasant physical, mental, and emotional reactions ordinarily to be

25    expected, damages to reputation, and other non-economic damages, to the extent

26    permitted by law and in a sum to be ascertained according to proof;

27           16. For all matters covered by Plaintiffs' Government Tort Claim(s), other actual,

28    consequential, and/or incidental damages, and/or statutory penalties in a sum to be
                                                    45

                                                COMPLAINT
                                                                                        EXHIBIT C
                                                                                         Page 122
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 126 of 305 Page ID #:126




 1   ascertained according to proof;

 2         17. Attorneys' fees pursuant to Government Code §800.

 3         18. Attorney fees pursuant to California Code of Civil Procedure §1021.5

 4         19. Attorney fees as provided by any other law and/or statutes

 5         20. That Defendants takes nothing by virtue of this action;

 6         21. For cost of suit and attorney's fees incurred herein; and

 7         22. For such other and further relief as the Court may deem just and proper/

 8

 9   DATED: November_, 2021                  COREY W. GLAVE, ATTORNEY AT LAW
10                                           By:._~-~~~--------
                                                    Corey W. Glave
11                                                  Attorneys for Plaintiffs

12

13

14
15

16
17

18

19

20

21

22

23
24
25

26
27

28
                                               46

                                           COMPLAINT
                                                                                EXHIBIT C
                                                                                 Page 123
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 127 of 305 Page ID #:127




  1                                          VERIFICATION

  2          The undersigned declares as follows:

  3

  4          I am the attorney of record for all plaintiffs in this action. I am verifying this

  5   Complaint on the basis that all named plaintiffs are absent from the county where I

  6   have my office. I have read the foregoing COMPLAINT, and know the contents thereof.

  7   The contents are true, except as to the matters which are therein stated on information

  8   or belief, and as to those matters I believe them to be true and Plaintiffs are acting in

  9   good faith in bringing forward such allegations.

 10          I declare under penalty of perjury under the laws of the State of California that

 11   the foregoing is true and correct.

 12                                        ISi    Corey Glave

 13
 14                                        COREY GLAVE

15
16
17

18
19
20
21

22

23
24
25
26
27
28
                                                    47
                                                 COMPLAINT
                                                                                         EXHIBIT C
                                                                                          Page 124
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 128 of 305 Page ID #:128




                    1                            CALIFORNIA STATE COURT PROOF OF SERVICE
                                               Santa Ana Police Officers Association v City of Santa Ana, et al.
                    2                      Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC

                    3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                    4          At the time of service, I was over 18 years of age and not a party to this action. My
                        business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
                    5
                            On December 10, 2021, I served true copies of the following document(s):
                    6 DECLARATION  OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-
                      APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE
                    7 OF SUMMONS
                    8
                            I served the documents on the following persons at the following addresses (including fax
                    9 numbers and e-mail addresses, if applicable):

                   10                                       SEE ATTACHED SERVICE LIST

                   11            The documents were served by the following means:

                   12           (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
                                 agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                   13            documents to be sent from e-mail address Lytonia.Sanders@lewisbrisbois.com to the
                                 persons at the e-mail addresses listed above. I did not receive, within a reasonable time
                   14            after the transmission, any electronic message or other indication that the transmission was
                                 unsuccessful.
                   15
                             I declare under penalty of perjury under the laws of the State of California that the
                   16 foregoing is true and correct.

                   17            Executed on December 10, 2021, at Los Angeles, California.

                   18
                   19
                                                                             Lytonia Sanders
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
                        4871-4025-2422.1                                    3
                         DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-APPEARING DEFENDANT CITY
& SMITH LLP
ATTORNEYS AT LAW                        OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONSEXHIBIT C
                                                                                                         Page 125
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 129 of 305 Page ID #:129




                    1                                  SERVICE LIST
                                Santa Ana Police Officers Association v City of Santa Ana, et al.
                    2        Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC
                    3
                    4 Corey W. Glave, Esq.         Attorneys for Plaintiffs SANTA ANA POLICE
                      Attorney at Law              OFFICERS ASSN and GERRY SERRANO
                    5 632 S. Gertruda Ave.
                      Redondo Beach, CA 90277
                    6 Telephone 323.547.0472 Facsimile
                      E-Mail: POaattorney@aol.com
                    7
                    8
                    9
                   10
                   11
                   12
                   13
                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
                        4871-4025-2422.1                        4
                         DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-APPEARING DEFENDANT CITY
& SMITH LLP
ATTORNEYS AT LAW                        OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONSEXHIBIT C
                                                                                          Page 126
                Electronically Filed by Superior Court of California, County of Orange, 12/15/2021 12:06:00 PM.
        Case 8:22-cv-00118-CJC-DFM
     30-2021-01230129-CU-OE-CJC      - ROA # 25Document
                                                 - DAVID H. 1    Filed 01/24/22
                                                             YAMASAKI,               Page
                                                                          Clerk of the Court130  of 305
                                                                                             By Julie     Page
                                                                                                      Carney,    ID #:130
                                                                                                              Deputy Clerk.




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      JEFFREY S. RANEN, SB# 224285                                          Exempt from filing fees per
                    2   E-Mail: Jeffrey.Ranen@lewisbrisbois.com                             Government Code § 6103
                      SOOJIN KANG, SB# 219738
                    3   E-Mail: Soojin.Kang@lewisbrisbois.com
                      ANDREA L. STEFFAN, SB# 332596
                    4   E-Mail: Andrea.Steffan@lewisbrisbois.com
                      633 West 5th Street, Suite 4000
                    5 Los Angeles, California 90071
                      Telephone: 213.250.1800
                    6 Facsimile: 213.250.7900

                    7 Attorneys for Defendant City of Santa Ana

                    8                          SUPERIOR COURT OF THE STATE OF CALIFORNIA

                    9                         FOR THE COUNTY OF ORANGE – CENTRAL DISTRICT

                   10

                   11 SANTA ANA POLICE OFFICERS                           Case No. 30-2021-01230129-CU-OE-CJC
                      ASSOCIATION; GERRY SERRANO,
                   12                                                     [Assigned to Honorable Lon Hurwitz Dept. 20]
                                    Plaintiffs,
                   13                                                     [PROPOSED] ORDER GRANTING EX
                            vs.                                           PARTE APPLICATION FOR AN ORDER
                   14                                                     TO ADVANCE THE HEARING ON
                      CITY OF SANTA ANA, a Municipal                      SPECIALLY-APPEARING DEFENDANT
                   15 Corporation; SANTA ANA POLICE                       CITY OF SANTA ANA’S MOTION TO
                      DEPARTMENT, a public safety department;             QUASH SERVICE OF SUMMONS OR,
                   16 DAVID VALENTIN, Chief of Police;                    ALTERNATIVELY, ORDER THAT THE
                      KRISTIN RIDGE, City Manager; SONIA                  HEARING MAY PROCEED ON APRIL
                   17 CARVALHO, City Attorney; JASON                      20, 2022
                      MOTSICK, Director of Human Resources;
                   18 DOES 1 – X, inclusive,                              Filed Concurrently with Ex Parte Application
                                                                          For An Order To Advance The Hearing On
                   19                      Defendants.                    Specially-Appearing Defendant City Of Santa
                                                                          Ana’s Motion To Quash Service Of Summons
                   20                                                     Or Alternatively Order That The Hearing May
                                                                          Proceed On April 20, 2022; Memorandum Of
                   21                                                     Points And Authorities; Declaration Of Andrea
                                                                          L. Steffan In Support Thereof
                   22
                                                                          Date:     December 16, 2021
                   23                                                     Time:     1:30 p.m.

                   24

                   25                                                     Action Filed:        11/08/2021
                                                                          Trial Date:             None Set
                   26
                   27
                        4881-9187-5590.1
                   28
LEWIS                      [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE
BRISBOIS                  HEARING ON SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH
BISGAARD
                        SERVICE OF SUMMONS OR, ALTERNATIVELY, ORDER THAT THE HEARING MAY PROCEED ON APRIL
& SMITH LLP
ATTORNEYS AT LAW                                              20, 2022                  EXHIBIT C
                                                                                                        Page 127
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 131 of 305 Page ID #:131




                    1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

                    2            PLEASE TAKE NOTICE that on December 16, 2021, at 1:30 p.m., this Court heard the Ex

                    3 Parte Application for An Order To Advance The Hearing on Specially-Appearing Defendant City

                    4 of Santa Ana’s (“City”) Motion To Quash Service of Summons or, Alternatively, Order That The

                    5 Hearing May Proceed On April 20, 2022. (“Application”).

                    6            Good cause shown, the Court hereby GRANTS said Application and ORDERS as follows:

                    7            The hearing on City’s Motion to Quash Service of Summons (“Motion”) is hereby advanced

                    8 to ___________________, 2021 at _______________.

                    9            [or]

                   10            The Court hereby rules that compliance with Code of Civil Procedure § 418.10(b) is excused

                   11 or otherwise not required for City’s Motion and the present hearing thereon may proceed on April

                   12 20, 2022.

                   13            IT IS SO ORDERED.

                   14
                        DATED: December ________, 2021
                   15

                   16

                   17                                                 Lon Hurwitz
                                                                      Judge of the Superior Court
                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26
                   27

                   28   4881-9187-5590.1                                 2
LEWIS                      [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE
BRISBOIS                  HEARING ON SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH
BISGAARD
                        SERVICE OF SUMMONS OR, ALTERNATIVELY, ORDER THAT THE HEARING MAY PROCEED ON APRIL
& SMITH LLP
ATTORNEYS AT LAW                                              20, 2022                  EXHIBIT C
                                                                                                       Page 128
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 132 of 305 Page ID #:132




                    1                            CALIFORNIA STATE COURT PROOF OF SERVICE
                                               Santa Ana Police Officers Association v City of Santa Ana, et al.
                    2                      Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC

                    3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                    4          At the time of service, I was over 18 years of age and not a party to this action. My
                        business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
                    5
                          On December 15, 2021, I served true copies of the following document(s): [PROPOSED]
                    6 ORDER GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE
                      HEARING ON SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S
                    7 MOTION TO QUASH SERVICE OF SUMMONS OR, ALTERNATIVELY, ORDER
                      THAT THE HEARING MAY PROCEED ON APRIL 20, 2022
                    8

                    9         I served the documents on the following persons at the following addresses (including fax
                        numbers and e-mail addresses, if applicable):
                   10
                                                            SEE ATTACHED SERVICE LIST
                   11
                                 The documents were served by the following means:
                   12
                                (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
                   13            agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                                 documents to be sent from e-mail address Andrea.Steffan@lewisbrisbois.com to the
                   14            persons at the e-mail addresses listed above. I did not receive, within a reasonable time
                                 after the transmission, any electronic message or other indication that the transmission was
                   15            unsuccessful.

                   16          I declare under penalty of perjury under the laws of the State of California that the
                        foregoing is true and correct.
                   17
                                 Executed on December 15, 2021, at Los Angeles, California.
                   18

                   19

                   20                                                        Andrea Steffan
                   21

                   22

                   23

                   24

                   25

                   26
                   27

                   28   4881-9187-5590.1                                    3
LEWIS                      [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE
BRISBOIS                  HEARING ON SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH
BISGAARD
                        SERVICE OF SUMMONS OR, ALTERNATIVELY, ORDER THAT THE HEARING MAY PROCEED ON APRIL
& SMITH LLP
ATTORNEYS AT LAW                                              20, 2022                  EXHIBIT C
                                                                                                         Page 129
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 133 of 305 Page ID #:133




                    1                                          SERVICE LIST
                                        Santa Ana Police Officers Association v City of Santa Ana, et al.
                    2                Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC

                    3

                    4 Corey W. Glave, Esq.                         Attorneys for Plaintiffs SANTA ANA POLICE
                      Attorney at Law                              OFFICERS ASSN and GERRY SERRANO
                    5 632 S. Gertruda Ave.
                      Redondo Beach, CA 90277
                    6 Telephone 323.547.0472 Facsimile
                      E-Mail: POaattorney@aol.com
                    7

                    8

                    9

                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26
                   27

                   28   4881-9187-5590.1                              4
LEWIS                      [PROPOSED] ORDER GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE
BRISBOIS                  HEARING ON SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH
BISGAARD
                        SERVICE OF SUMMONS OR, ALTERNATIVELY, ORDER THAT THE HEARING MAY PROCEED ON APRIL
& SMITH LLP
ATTORNEYS AT LAW                                              20, 2022                  EXHIBIT C
                                                                                                Page 130
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 134 of 305 Page ID #:134




                         EXHIBIT D
                 lectronically Filed by Superior Court of California, County of Orange, 12/ 15/2021 12:06:00 PM.
        Case 8:22-cv-00118-CJC-DFM
    30-2021-0123 129-CU-OE-CJC - ROA# 17 Document            1 Filed 01/24/22
                                               - DAVID H. YAMASAKI,      Clerk of thePage   135Brook
                                                                                     Court By    of 305   Page
                                                                                                     Romney,     ID #:135
                                                                                                              Deputy Clerk.




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                          JEFFREYS . RANEN, SB# 224285                                     Exemptfromfilingfees per
                      2     E-Mail: Jeffrey.Ranen@lewisbrisbois.com                        Government Code§ 6103
                          SOOJIN KANG, SB# 2 19738
                      3     E-Mail: Soojin.Kang@lewisbrisbois.com
                          ANDREA L. STEFFAN, SB# 332596
                      4     E-Mail: Andrea.Steffan@lewisbrisbois.com
                          633 West 5th Street, Suite 4000
                      5   Los Angeles, California 90071
                          Telephone: 213.250.1800
                      6   Facsimile: 213.250.7900

                      7 Attorneys for Specially-Appearing Defendant
                          City of Santa Ana
                      8
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9
                                                FOR THE COUNTY OF ORANGE - CENTRAL DISTRICT
                     10
                     11
                          SANTA ANA POLICE OFFICERS                       Case No. 30-2021 -01230129-CU-OE-CJC
                     12   ASSOCIATION; GERRY SERRANO,
                                                                          [Assigned to Honorable Lon Hmwitz Dept. 20]
                     13                      Plaintiffs,
                                                                          EX PARTE APPLICATION FORAN
                     14             VS .                                  ORDERTOADVANCE THE HEARING
                                                                          ON SPECIALLY-APPEARING
                     15   CITY OF SANTA ANA, a Municipal                  DEFENDANT CITY OF SANTA ANA'S
                          C01poration; SANTA ANA POLICE                   MOTION TO QUASH SERVICE OF
                     16   DEPARTMENT, a public safety depar tment;        SUMMONS OR ALTERNATIVELY
                          DAVID VALENTIN, Chief of Police;                ORDER THAT THE HEARING MAY
                     17   KRISTIN RIDGE, City Manager; SONIA              PROCEED ON APRIL 20, 2022;
                          CARVALHO, City Attorney; JASON                  MEMORANDUM OF POINTS AND
                     18   MOTSICK , Director of Human Resources;          AUTHORITIES; DECLARATION OF
                          DOES 1 - X, inclusive,                          ANDREA L. STEFFAN IN SUPPORT
                     19                                                   THEREOF
                                             Defendants.
                     20                                                   Filed ConcmTently with [Proposed] Order

                     21
                                                                         SPECIAL APPEARANCE CCP § 418.J0(d)
                     22
                     23                                                   Judge:    Hon. Lon Hmwitz, Dept. 20
                                                                          Date:     December 16, 2021
                     24                                                   Time:     l:30 p.m .

                     25
                     26                                                   Action Filed:        11/08/2021
                                                                          Trial Date:            None Set
                     27
LEWIS                28   4886-2453-9398.l
BRISBOIS                    EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
&lMIJ-tllP                        DEFENDANT CITY OF SANTA ANA' S MOTION TO QUASH SERVICE OF ~M~~h
ATTORNE"l'S AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON ~'Th','zdi2
                                                                                                        Page 131
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 136 of 305 Page ID #:136




                    1          TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                    2          PLEASE TAKE NOTICE that on December 16, 2021, at 1:30 p.m., in Department 20 of

                    3 the Orange County Superior Court, located at 700 Civic Center Drive, Santa Ana, CA 92701,
                    4 specially appearing defendant City of Santa Ana (“City”) will apply ex parte for an order to
                    5 advance the hearing on City’s Motion to Quash Service of Summons (“Motion”), from April 20,
                    6 2022 to January 7, 2022, or, alternatively, permit the hearing to move forward as scheduled on
                    7 April 20, 2022.
                    8          This application is made pursuant to Code of Civil Procedure section 187, and the Court’s

                    9 inherent authority over its own calendar, on the following grounds of good cause:
                   10          1.      On December 10, 2021, City reserved the first available hearing date of April 20,

                   11 2022 for its Motion to Quash Service of the Summons of Plaintiffs’ Complaint.
                   12          2.      The Motion was timely filed and electronically served on December 10, 2021.

                   13          3.      Code of Civil Procedure section 418.10(b) requires that a motion to quash service

                   14 of summons be noticed for “a date not more than 30 days after filing of the notice.”
                   15          4.      The 30-day requirement in section 418.10(b) is not jurisdictional. (Olinick v. BMG

                   16 Entertainment (2006) 138 Cal.App.4th 1286, 1296 [“we reject Olinick’s theory that a tardy
                   17 hearing date on a motion to stay or dismiss under section 418.10 deprives the trial court of
                   18 jurisdiction to consider the merits of the motion”].)
                   19          5.      If the Court requires compliance with the 30-day requirement of § 418.10(b), the

                   20 hearing should be advanced to January 7, 2022 (the only possible date within the 30-day
                   21 requirement that also complies with the notice requirement under Code of Civil Procedure §
                   22 1005(b).).
                   23          6.      Alternatively, if the Court is not inclined to advance the hearing, an order should

                   24 follow allowing the Motion to remain set for April 20, 2022.
                   25          7.      Ex parte relief is necessary because, absent granting the instant Ex Parte

                   26 Application, the hearing on City’s Motion will fall outside the 30-day requirement set forth in
                   27 section 418.10(b). (Cal. Rules of Court, rule 3.1202(c).) The Court should therefore specially set

LEWIS              28 4886-2453-9398.1
                      the Motion for January 7, 2022 or, alternatively, order that the hearing may proceed as scheduled
                                                                        2
BRISBOIS                 EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
                               DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONS OR
& SMITH LLP
ATTORNEYS AT LAW                ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON APRILEXHIBIT
                                                                                           20, 2022 D
                                                                                                        Page 132
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 137 of 305 Page ID #:137




                      1 on April 20, 2022 .
                      2 Pursuant to California Rule of Comi 3 .1202, the following paiiies and counsel are litigating this
                      3 case:
                      4 Corey W . Glave, Esq.                                Attorneys for Plaintiffs SANTA ANA POLICE
                        Attorney at Law                                      OFFICERS ASSOCIATION; GERRY SERRANO
                      5 632 S. Ge1i m da Ave.
                        Redondo Beach, CA 90277                              T: (619) 236-9363
                      6                                                      Email: POAattorney@aol.com

                      7
                      8 Jeffrey S. Ranen, Esq.                               Attorneys for Specially-Appearing Defendant
                        Soojin Kang, Esq.                                    CITY OF SANTA ANA
                      9 Andrea L. Steffan, Esq.
                        LEWIS BRISBOIS BISGAARD & SMITH                      T: (213) 250-1800
                     10 LLP                                                  F: (213) 250-7900
                        633 West Fifth Street, Suite 4000                    Email: J effrey.Ranen@lewisbrisbois.com
                     11 Los Angeles, California 90071                        Email: Sooj in.Kang@lewisbrisbois.com
                                                                             E-Mail: Andrea.Steffan@lewisbrisbois.com
                     12
                     13
                                    Pursuant to California Rule of Comi 3 .1202(b), City has not filed any previous requests for
                     14
                          the same relief requested in this Application .
                     15
                          Ill
                     16
                          Ill
                     17
                          Ill
                     18
                          Ill
                     19
                          Ill
                     20
                          Ill
                     21
                          Ill
                     22
                          Ill
                     23
                          Ill
                     24
                          Ill
                     25
                          Ill
                     26
                          Ill
                     27
                          Ill
LEWIS                28   4886-2453-9398. l                                  3
BRISBOIS                    EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
&lMIJ-tllP                        DEFENDANT CITY OF SANTA ANA'S MOTION TO QUASH SERVICE OF ~M~~h
ATTORNE"l'S AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON ~'2b',lzdi2
                                                                                                            Page 133
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 138 of 305 Page ID #:138




                    1                                                   NOTICE

                    2            Counsel for Specially-Appearing Defendant City emailed notice of the instant Ex Parte

                    3 Application on December 15, 2021 at 9:49 a.m. Plaintiffs’ counsel. (Declaration of Andrea L.
                    4 Steffan [“Steffan Decl.”], ¶ 7, Ex. C.) Counsel for City also spoke with Plaintiffs’ counsel via
                    5 phone at 9:56 a.m. and notified him of the ex parte application. Plaintiffs’ counsel did not know at
                    6 the time whether he would appear at the hearing or oppose the application. (Id.)
                    7            This Application is based upon this Notice, the attached Memorandum of Points and

                    8 Authorities, the attached Declaration of Andrea L. Steffan in support, and accompanying exhibits,
                    9 the pleadings and papers on file in this action, any matter upon which the Court may take judicial
                   10 notice, and upon such other oral and/or documentary evidence as may be presented at or before the
                   11 hearing on the Application.
                   12
                   13
                        DATED: December 15, 2021                  LEWIS BRISBOIS BISGAARD & SMITH LLP
                   14
                   15
                                                                  By:
                   16
                                                                        JEFFREY S. RANEN
                   17                                                   SOOJIN KANG
                                                                        ANDREA L. STEFFAN
                   18                                                   Attorneys for Specially-Appearing Defendant City
                                                                        of Santa Ana
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28   4886-2453-9398.1                                 4
BRISBOIS                  EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
                                DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONS OR
& SMITH LLP
ATTORNEYS AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON APRILEXHIBIT
                                                                                            20, 2022 D
                                                                                                      Page 134
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 139 of 305 Page ID #:139




                    1                       MEMORANDUM OF POINTS AND AUTHORITIES

                    2 I.       INTRODUCTION

                    3          On December 10, 2021, Specially-Appearing Defendant City of Santa Ana. (“City”) filed a

                    4 Motion to Quash Service of the Summons of Plaintiffs’ Complaint (“Motion”). No hearings on the
                    5 Motion were available within 30 days of the filing, as required by Code of Civil Procedure section
                    6 418.10, subdivision (b). Therefore, City was forced to set the Motion on the first available hearing
                    7 date of April 20, 2022.
                    8          To comply with the 30-day requirement under section 418.10(b), City seeks ex parte relief

                    9 to advance the Motion’s hearing to January 7, 2022 (the only possible date within the 30-day
                   10 requirement that also complies with the notice requirement under Code of Civil Procedure §
                   11 1005(b).). (Code Civ. Proc., §§ 1005(b), 1010.6(4)(B)).
                   12          In the alternative, City requests a ruling that compliance with the 30-day rule is excused or

                   13 otherwise not required, so that City may proceed with its Motion on the date noticed, April 20,
                   14 2022.
                   15          Ex parte relief is necessary because, absent granting the instant Ex Parte Application, the

                   16 hearing on City’s jurisdictional challenge will fall outside the 30-day requirement set forth in
                   17 section 418.10(b). (Cal. Rules of Court, rule 3.1202(c).) The Court therefore should specially set
                   18 the Motion for January 7, 2022 or, alternatively, order that the current hearing may go forward on
                   19 April 20, 2022.
                   20 II.      BACKGROUND

                   21          A.      Statement of Facts

                   22          Plaintiffs Santa Ana Police Officers Association (“SAPOA”) and Gerry Serrano (“Serrano”

                   23 collectively “Plaintiffs”) allege violation of the Meyers Milias Brown Act Gov. Code § 3500 et seq.;
                   24 violation of the Public Safety Officers Procedural Bill of Rights (“POBRA”), Gov. Code § 3300, et.
                   25 seq.; violation of Freedom of Speech; violation of Labor Code §§ 1102 and 1102.5; violation of
                   26 Penal Code §§ 832.5-832.8 and Evidence Code §§ 1-43-1046; and retaliation under the Fair
                   27 Employment and Housing Act against defendants City of Santa Ana (“City”); Santa Ana Police

LEWIS              28 4886-2453-9398.1
                      Department; David Valentin, Chief of Police; Kristin Ridge, City Manager; Sonia Carvalho, City
                                                                    5
BRISBOIS                 EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
                               DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONS OR
& SMITH LLP
ATTORNEYS AT LAW                ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON APRILEXHIBIT
                                                                                           20, 2022 D
                                                                                                        Page 135
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 140 of 305 Page ID #:140




                    1 Attorney; Jason Motsick, Director of Human Resources; and Does I-X (collectively “Defendants”).
                    2            B.        Relevant Procedural History

                    3            Plaintiffs filed their Complaint against the foregoing defendants on November 8, 2021.

                    4 (Steffan Decl., at ¶ 3). On November 10, 2021, Plaintiffs attempted to serve some or all of the
                    5 Defendants by delivering a patently defective summons, notice of case management conference,
                    6 civil case cover sheet, and complaint to the Santa Ana City Hall. (Id., at ¶ 3, Ex. A.) On
                    7 December 10, 2021, City reserved the first available hearing on its Motion – April 20, 2022. (Id.,
                    8 at ¶ 65) The Motion was timely filed and electronically served on December 10, 2021. (Id., at ¶ 6,
                    9 Ex. B.) Counsel for City emailed notice of the instant Ex Parte Application to Plaintiffs’ counsel
                   10 on December 15, 2021 at 9:49 a.m. (Id., at ¶ 7, Ex. C.) Counsel for City also spoke with
                   11 Plaintiffs’ counsel via phone at 9:56 a.m. and notified him of the ex parte application. Plaintiffs’
                   12 counsel did not know at the time whether he would appear at the hearing or oppose the
                   13 application. (Id.)
                   14 III.       GOOD CAUSE EXISTS TO ISSUE AN ORDER ADVANCING THE HEARING ON

                   15            CITY’S MOTION TO QUASH SERVICE OF THE SUMMONS.

                   16            It is well established that trial courts have the inherent power to control proceedings in the

                   17 litigation before it. As the California Supreme Court explained in Hayes v. Superior Court (1940)
                   18 16 Cal.2d 260, 264:
                   19                      There is nothing novel in the concept that a trial court has the power
                                           to exercise reasonable control over all proceedings connected with
                   20                      the litigation before it. Such power necessarily exists as one of the
                                           inherent powers of the court and such power should be exercised by
                   21                      the courts in order to insure the orderly administration of justice.

                   22            Code of Civil Procedure section 128 similarly provides:

                   23                      “Every court shall have the power to do all of the following . . . (5)
                                           to control in the furtherance of justice the conduct of its ministerial
                   24                      officers and of all other persons in any manner connected with the
                                           judicial proceeding before it, and every matter pertaining thereto.”
                   25
                   26            As to the timing for hearings on motions to quash service of a summons for lack of

                   27 personal jurisdiction, Code of Civil Procedure section 418.10 provides in relevant part:

LEWIS              28                      (a) A defendant, on or before the last day of his or her time to plead
                        4886-2453-9398.1                                      6
BRISBOIS                  EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
                                DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONS OR
& SMITH LLP
ATTORNEYS AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON APRILEXHIBIT
                                                                                            20, 2022 D
                                                                                                              Page 136
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 141 of 305 Page ID #:141




                    1                      or within any further time that the court may for good cause allow,
                                           may serve and file a notice of motion for one or more of the
                    2                      following purposes:

                    3                             (l) To quash service of summons on the ground of
                                                  lack of jurisdiction of the court over him or her.
                    4
                                           …
                    5
                                           (b) The notice shall designate, as the time for making the motion, a
                    6                      date not more than 30 days after filing of the notice.

                    7
                        (Code Civ. Proc., § 418.10.)
                    8
                                 In Olinick v. BMG Entertainment (2006) 138 Cal.App.4th 1286, the court held that this 30-
                    9
                        day requirement is not jurisdictional, thus permitting the court to consider a motion under section
                   10
                        418.10 even if noticed for hearing more than 30 days after filing the notice. (Id. at p. 1296 [“we
                   11
                        reject Olinick’s theory that a tardy hearing date on a motion to stay or dismiss under section
                   12
                        418.10 deprives the trial court of jurisdiction to consider the merits of the motion”].)
                   13
                                 At the time City reserved a hearing date, no hearings were available within 30 days after
                   14
                        filing the Motion on December 10, 2021. (Steffan Decl., ¶ 5.) Thirty days after December 10,
                   15
                        2021 is Sunday, January 9, 2022. The notice period on the Motion expires on January 7, 2022.
                   16
                        (See Code Civ. Proc., §§ 1005(b), 1010.6(4)(B) (providing that motions must be filed and served
                   17
                        at least 16 court days before the hearing and where served electronically, the notice period shall be
                   18
                        extended by 2 court days.)). Accordingly, pursuant to section 418.10(b), the only date to hear the
                   19
                        Motion is January 7, 2022. City therefore requests advancement of the hearing on its Motion to
                   20
                        January 7, 2022.
                   21
                                 Nevertheless, and in light of Olinick, should the Court rule that compliance with the 30-
                   22
                        day requirement in section 418.10(b) is excused or otherwise not required, City seeks an order in
                   23
                        the alternative that the Motion’s hearing may remain set for April 20, 2022.
                   24
                                 Absent granting the instant Application, the hearing on City’s jurisdictional challenge will
                   25
                        fall outside the 30-day requirement set forth in § 418.10(b). (Cal. R. Ct. 3.1202(c)). Therefore, the
                   26
                        hearing on the Motion should be advanced to January 7, 2022 or, alternatively, an order should
                   27
                        follow permitting the current hearing to remain set for April 20, 2022.
LEWIS              28   4886-2453-9398.1                                     7
BRISBOIS                  EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
                                DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONS OR
& SMITH LLP
ATTORNEYS AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON APRILEXHIBIT
                                                                                            20, 2022 D
                                                                                                           Page 137
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 142 of 305 Page ID #:142




                    1 IV.        CONCLUSION

                    2            Based on the foregoing, Specially-Appearing Defendant City of Santa Ana respectfully

                    3 requests that the Court issue an order on the form lodged herewith, advancing the hearing date on
                    4 City’s Motion to Quash Service of the Summons from April 20, 2022 to January 7, 2022 in
                    5 compliance with Code of Civil Procedure section 418.10(b). In the alternative, City requests that
                    6 the Court order that such compliance is excused or otherwise not required.
                    7 DATED: December 15, 2021                    LEWIS BRISBOIS BISGAARD & SMITH LLP

                    8
                    9                                             By:
                   10                                                   JEFFREY S. RANEN
                                                                        SOOJIN KANG
                   11                                                   ANDREA L. STEFFAN
                                                                        Attorneys for Specially-Appearing Defendant City
                   12                                                   of Santa Ana
                   13
                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28   4886-2453-9398.1                                8
BRISBOIS                  EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
                                DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONS OR
& SMITH LLP
ATTORNEYS AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON APRILEXHIBIT
                                                                                            20, 2022 D
                                                                                                     Page 138
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 143 of 305 Page ID #:143




                    1                            DECLARATION OF ANDREA L. STEFFAN

                    2          I, Andrea L. Steffan, declare as follows:

                    3          1.      I am an attorney duly admitted to practice in all of the courts of the State of

                    4 California and I am an associate with Lewis Brisbois Bisgaard & Smith LLP, attorneys of record
                    5 for Specially-Appearing Defendant City of Santa Ana (“City”) herein. The facts set forth herein
                    6 are of my own personal knowledge, except those matters stated on information and belief, which I
                    7 believe to be true, and if sworn I could and would competently testify thereto.
                    8          2.      I make this declaration in support of the instant Ex Parte Application for an Order

                    9 to Advance the Hearing on Specially-Appearing Defendant City of Santa Ana’s Motion to Quash
                   10 Service of the Summons of Plaintiffs’ Complaint or, Alternatively, Order That The Hearing May
                   11 Proceed on April 20, 2022. (“Application”).
                   12          2.      On November 8, 2021, Plaintiffs Santa Ana Police Officers Association

                   13 (“SAPOA”) and Gerry Serrano (“Serrano”) (collectively “Plaintiffs”) filed suit alleging several
                   14 claims against defendants City of Santa Ana (“City”); Santa Ana Police Department; David
                   15 Valentin, Chief of Police; Kristin Ridge, City Manager; Sonia Carvalho, City Attorney; Jason
                   16 Motsick, Director of Human Resources; and Does I-X (collectively “Defendants”).
                   17          3.      I am informed and believe that on November 10, 2021, Plaintiffs attempted to serve

                   18 some or all of the Defendants by delivering: a summons that is not signed by the clerk of the court,
                   19 a notice of case management conference, a civil case cover sheet, and the complaint to the Santa
                   20 Ana City Hall. A true and correct copy of the documents Plaintiffs attempted to serve on City
                   21 and/or Defendants is attached hereto as Exhibit A. The summons is on pages one and two. It is
                   22 not signed by the clerk and does not contain the seal of the court.
                   23          4.      The summons also does not have any boxes in the section titled NOTICE TO THE

                   24 PERSON SERVED checked and lists all named and Doe defendants in the NOTICE TO
                   25 DEFENDANT section making it impossible for Defendants to determine who was being served
                   26 and in what capacity. (Exhibit A at 1-2.)
                   27          5.      On December 10, 2021, City reserved the first available hearing date of April 20,

LEWIS              28 4886-2453-9398.1
                      2022 for its Motion to Quash Service of the Summons (“Motion”).
                                                                     9
BRISBOIS                 EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
                               DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF SUMMONS OR
& SMITH LLP
ATTORNEYS AT LAW                ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON APRILEXHIBIT
                                                                                           20, 2022 D
                                                                                                          Page 139
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 144 of 305 Page ID #:144




                      1             6.        City's Motion was timely filed and elech'onically served on December 10, 2021.

                      2 Attached hereto as Exhibit B and incorporated herein by this reference is a tm e an d co1Tect copy
                      3 of said M otion filed and served on December 10, 2021.

                      4             7.        I emailed notice of the instant Ex PaI1e Application Plaitniffs' counsel on

                      5 December 15, 2021 at 9:49 a.m. Attached hereto as Exhibit C an d inco1porated herein by this
                      6 reference is a hue an d co1Tect copy of said email. I also spoke with Plaintiffs' counsel Corey
                      7 Glave at 9:56 a.m. and notified him of the ex paite application via phone. Mr. Glave did not know
                      8 at the time whether he would appeai· at the heai·ing or oppose the application.

                      9             8.        Absent granting the instant Application, City's j urisdictional challenge will remain

                     1O in immediate danger because the heai·ing on its Motion will fall outside the 30-day requirement set
                     11   foith in Code of Civil Procedure§ 418.l0(b). (Cal. R. Ct. 3.1202(c)).

                     12             I declare under penalty of pe1j my under the laws of the State of California that the

                     13   foregoing is tm e and co1Tect and that this declaration was executed on December 10, 2021, at Los

                     14 Angeles, California.
                     15
                     16
                     17                                                         Andrea L. Steffan

                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
LEWIS                28   4886-2453-9398. l                                     10
BRISBOIS                    EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
&lM!HllP                          DEFENDANT CITY OF SANTA ANA'S MOTION TO QUASH SERVICE OF ~M~~h
ATTORNE"l'S AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON ~'2b',lzdi2
                                                                                                               Page 140
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 145 of 305 Page ID #:145




            EXHIBIT A
                                                                   EXHIBIT D
                                                                    Page 141
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 146 of 305 Page ID #:146
            Electronically Filed by Superior Court of Califomia, County of Orange, 11/ 08/2021 08:00;00 AM.
30-2021-01230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI, C lerk of ihe Court By jessica DLiarte, Deputystfr&100
                                           SUMMONS                                                                         FOR COURT USE OHLY
                                                                                                                       (SOLO PA~ USO DELA CORTE)
                                    (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (A VISO AL DE!dANDADOJ:
 CITY OF SANTA ANA, a Municipal Corporation;
 see additional parties attachment

 YOU ARE BEING SUED SY PLAINTIFF:
 (LO ESTA DEMANIJANDO EL DEMANDANTE):
 Santa Ana Police Officers Association and Gerry Serrano


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a 'M'ltten response at this court and have a copy
  served on lhe plaintiff, A letter or phone call will not protect you. Your written response must be in proper l egal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www,courtinfo.ca.govlselfhelp), your county law library, or (he courthouse nearest you. If you cannot pay the fl ling fee, ask
  the court clerk for a fee waiver form . If you do not file your response on time, you may lose the case by ,default, and your wages, money, and property
  may be taken without further warning from th e court.
     There are other legal requirements. You may want to call an attorney right away. II you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www:lawhefpcafifomia.o/'f/J, the Callfornia Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTIE: The court has a statutory lien for waived fees and
  costs on any se11Iement or arbitration award of S10,000 or more In a civil case. The court's lien must lbe paid before the court will dismiss the case.
  ;AV/SOI Lo han demandado. Si no responde dentro· de 30 dlas. le corte puede decidir en su contra sin escuchar s11 vef8i6n. Lea la lnformaci6n a
  contlnuac/6n.
     Tiene 30 DIAS De CALF:NDARIO despues de que le entreguen es/a cilacion y pape/es Jega/es .para presenter una respue.sta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefonica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correc-to si desea que procesen su caso en la carte. Es posible que haya un formulario que usted paeda usar para su respues/a.
  Puede encontrar estos formularfos de la corte y mas lnformaci6n en el Centro de Ayuda de las Cortes de Ca/lfom/a {www..sucorte.ca.gov), en /a
  bibliotece de /eyes de su condedo o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
  que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a fiempo, puede perder el caso por incumplimiento y la corte le
  podrd quitar su sue/do, dinero y bienes sin mas advertencia.
     Hay otros requisites /ega/es. Es recomendab/e que /Jame a un abagado inmediatamente. Sf no ,oonoce a un ebogado, puede 1/amar a un seN/c.io de
  remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisites para obtener seNicios legales gratuitos de un
  programa de seN/c/os /egafes sin fines de lucro. Puede encontrar estos grupas sin fines de lucro en el sitio web de Calilomia Legal SeNices,
  (www.lawhelpcalifomia .org) , en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con ta corte o el
  coleglo de abogados locales. A VJSO: Por ley; la corte tiene derecho a rec/amar las cuatas y /os costos exentos por imponer un gravamen sobre
  cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuetrio o una conces/6n cJe arb/traje en un caso de de.recho civil. Tiene que
  13aqar el c,ravamen de fa colte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                          (I/Omero del Caso):
(El nombre y direcci6n de fa carte es):
Orange County Superior Court
700 C1v1c Center Drive West, Santa Ana, CA 92701



The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de te/efono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Corey W. Glave Attorney at Law 632 s. Gertruda Ave, Redon.do Beach CA 90277 (323) 547-0472


DATE:                                                                          Clerk, by                                                                , Deputy
(Fecha)                                                                        (Secretario) - - - - - - - - - --                          - --          (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formulatio Proof of Service of Summons, (POS-010)).
 (SEALJ                               NOTICE TO THE PERSON SERVED: You are served
                                      1.     Das an individual defendant.
                                      2.     D as the person sued under the fictitious name of (specify):

                                      3.     D on behalf of (specify):
                                           under:  D CCP 4 16.10 (corporation)                                  D CCP 416.60 {minor)
                                                       D
                                                       CCP 416.20 (defunct corporation)                         D CCP 416.70 (conservatee)
                                                    D CCP 416.40 (association or partnership)                   D CCP 416.90 (authorized person)
                                                    D other (specify):
                                      4.    D by personal delivery on (date):
                                                                                                                                                           Pae1of1
 Form A~led ra, Mandatory llss                                                                                                    Code of Civil Procedure§§ 412.20. 465
   Judicial Council of California
                                                                       SUMMONS                          Ametican LogalNot. Inc.
                                                                                                                                                  www.covrtinto.ca.gov
                                                                                                        www.FormsWorldi'ow.com
   SUM-100 [Rev, J,~v 1, 2009)
                                                                                                                                     EXHIBIT D
                                                                                                                                      Page 142
  Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 147 of 305 Page ID #:147


                                                                                                                              SUM-20DlAl
    SHORT TITLE:                                                                                      CASE NUMBER:

    Santa Ana POA/Serrano v. City of Santa Ana, et al
-
                                                            INSTRUCTIONS FOR USE
    + This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    + If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
        Attachment fonn is attached."

    List additional parties (Check only one box. Use a separate page        for each   type of party.):

      D        Plaintlff         !ZI   Defendant    D   Cross-Complainant     D        Cross-Defendant
      SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
      of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
      Resources; DOES 1-X, inclusive




                                                                                                                     Page _ _ of _ _
                                                                                                                                        Page1of 1
 Fann Adapted fer Mandat01}' Use
   Judicial Council of Call!Dmla
                                                   ADDITIONAL PARTIES ATTACHMENT
SUM-2011(A) [Rav. January 1, 2007]                       Attachment to Summons                                           American Legal Net, Inc.
                                                                                                                         www.FormslMldcllcw.com
                                                                                                                     EXHIBIT D
                                                                                                                      Page 143
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 148 of 305 Page ID #:148

                                                                                               FOR·COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W, Civic Genier DRIVE
MAILING ADDRESS: 700 W. Civic Center Orlve
                                                                                                    FILED
                                                                                           SUPERJ.)R COURT OF CAl.lHV'INIA
CITY AND ZIP COO!i:: Santa Ana 92701                                                              (XIIJN,IY OJ= ORANGE
BRANCH NAME: Central J~stice Center
PLANTIFF: Santa Ana Police Officers Associa tion et.al.
                                                                                               Nov 8, 2021
DEFENDANT: City oi Santa Ana     etaI.
                                                                                                    Clgrk of !he Court
Short Title: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA                      9!''. J 8.SSIC3 t)U.'.1111!. IJ~put;


                                                                                    CASE NUMBER:
                            NOTICE Or HEARING                                       30-2021-0 1230129-CU-OE-CJC
                      CASE MANAGEMENT CONFERENCE



  Please take notice that a(n), Case Management Conference h.as been scheduled for hearing
  on 05/09/2022 at 0.9:00:00 AM in Department C20 of this court, located at Central Justice
  Center,

  Plalntiff(s)/Petitioner(s) to provide notice to all defendant(s)trespondent(s), Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.


    IMPORTANT: P1ior to your hearing date, please check the. Court's website for the most current instructions
    regarding how to appear for your bearing and access sen ices that are available to auswer your questions .
                                                                      1


    Civil Matters - https:1/www.occourts.orglmcdiiJ-rClatious/d vitWJJitl
    Prob.1 Le/Menta I Health - https /I w w w,occ otuis .org/mcdia•re fo l.ionsiprobule:-menlal-hea Ith.html


    IMPORTANTE: Antes de la fecha de su audiencia, visite el sitio web de kt Co1te para saber cualeti son las
    instmcciones mas actuales para participat· en la audiencia y tener acceso a los servicios disponibles para
    responder a s11S preg1mtas,
    Casos Civiles - https ://www.occo\lrts .org!media-relatio11sfcivithtml
    Casos de Probate y Saltul Menta l - bllps:ii,vww,occourts,org,1111cdia-relatio11s/probate-mc11111l-health, html


    QUAN TRONG: Tnr&c ngay phien toa cua quy vi, vui long kiem tra trang n~ng c\ia tern and€ bi€t nhimg
    lm&ug d~n 11161 nhit v~ each ra h~u phien toa cua qu51 ,i va ti€p c~n nhfrng djcb vi,1 hi~n cod~ gia.l dip uhftng
    th~c m~c c(1a quy vi.
    V~n D~ Dan Su - https://www.occow1s. org/media-relations/civi!.html
    Thlt Tue Di Chuc/Sue KJ1t'le Tinb Tu~u - https:/!www.occou1t s.org/media-relations/pmbate-mental-health.html




                                              Clerk of the Court, By:       <-/Jw,fjp-~                                              , Deputy
                                                                           ------- - - - - - - - - -


                                                                                                                                      Page: 1
                                                          NOTICE OF HEARING


                                                                                                              EXHIBIT D
                                                                                                               Page 144
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 149 of 305 Page ID #:149



    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
   Central Justice Center
   700 W. Civic Center DRIVE
   Santa Ana 92701


   SHORT TITLE: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA



                                                                                            CASE NUMBER:
            CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                    30-2021~01230129-CU-OE-CJC

     I certify that I am not a party to this cause. I certify that a true copy of the above Notice of Hearing has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with postage fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 11/08/2021 . Following standard court practice the mailing will occur at Sacramento, Galifornia on
     11/09/2021.




                                          Clerk of the Court, by: __
                                                                   ' _)'-~-
                                                                     /      - - - - - - - - -- - - , Deputy
    COREY W GLAVE
    632 S. GERTRUDA
    REDONDO BEACH, CA 90277




                                                                                                                               Page: 2
                                    CLERK'S CERTIFICATE OF SERVICE BY MAIL
V31013a{Jone 2004)                                                                                   Code of Civil Proceoore , § CCP1013(a}


                                                                                                     EXHIBIT D
                                                                                                      Page 145
  Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 150 of 305 Page ID #:150
"',,""., Mn")~i~~~~i?~l~ile~ b~ Supt:~or C~~~hof C~l~fornig, Cpu,pty of 9_r.anQ_e; 11108/2021 oa;oo·oo ~M . ., ~~010
                                               4
' °Arro'R°NEYQRPAIHY~~.1n~l.7;:u1,;fr:-1~lss,:tnMA~AK-i. -..Iv                                        •w • ...   ~      14-By-des_,· FORCOVRTVSEO'lil..v'I - -
-      Corey W. Glave (SBN164746)
       Attorney at Law
       632 s, Gertruda Ave.
       Redondo Beach, CA 90277
         i'ELEPl-iONE NO.: 323'-547-04 72                           FAX NO.:   n/a
    ATTORNEY l'ClR rN~meJ•        Plaintiffs   SAPOA/Serrano
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange
         STREET AooREss:          700 Civic Center Plaza
        MAILING Ai>DRESS:
        c ITYAN021Pcoos           Santa Ana, CA 92.701
              BRANCH NAME:        Central Justice
      CASE NAME: SAPOA/Serrano                     v. City of Santa Ana, et al

                                                                                                                        CASE M.IM BER:
            CIVIL CASE COVER SHEET                                      Complex Case Designation
            Unlim ited   O Limited                                  D      Counter         D      Joinder
            (Amount            (Amount                                                       JUDGE
            demanded           demanded is          Filed with first appearance by defendant
            exceeds $25,000)   $25,000 or less)         (Cal. Rules of Court. rule 3A02l      o.EP'r:
                                     Items 1-6 below must be comoleted (see instructions on oarre 2).
    1. Check one box below for the case type that best describes this case:
       Auto Tort                                                Contract                                         Provislonal ly Complex Civil Litigation
       D     Auto (22)                                          0       Breach of contract/warranty (06)         (£!11, Rules of Court, rules 3.400-3.403)
       D     Uninsured motorist (46)                            D       Rule 3.740 collections (09)              LJ    Antltrust/Trade regulation (03)
       Other Pl/PD/WO (Personal Injury/Property                 O       Other collections (09)                   D     Construction defect (10)
       Oamage/Wmngful Cleath) Tort                              D       Insurance coverage (18)                  D     Mass tort (40)
       D
       D
                Asbestos (04)                                   0       Other contract (37)
                                                                                                                 □     Securities litlgatk m (28)
                Product liability (24)                          Real Property                                    ID    Environmentalfif oxic tort (30}
       D    Medical malpractice (45)                            D       Eminent domain/Inverse                   ID    Insurance coverage claims arisi ng from the
       D    Other PIIPD,WD (23)                                         condemnation (14)                              above 1isted provisionally complex case
       Non-Pl/PD/WO (Other) Tort                                O       Wrongful eviction (33)                         types (41)
       D         Business tort/unfair business practice (07)    D Other real property (26)
                                                                                                                 Enforcement of Judgment
                                                                                                                 iD    Enforcement of judgment (20)
       D         Civil rights (08)                           Unlawful Detainer
       D         Defamation (13)                                D       C ommercial (31)                         Miscellaneous C'ivil Complaint

       D         Fraud (16}                                     D       Residential (32)
                                                                                                                 0    RICO (27)

       D         Intellectual property (19)                     D       Drugs (38)
                                                                                                                 D     Other complaint (not specified above) (42)
                                                                                                                 .Miscellaneous Civ,il Petition
       D    Professional negligence (25)                        Judicial Review
                                                                                                                 D
       D    Other non-Pl/PD/WO tort (35)                        D       Asset forfeiture (05)
                                                                                                                       Partnership and co.rporate govemance (21)
       Employment                                               D       Petition re: arbitration award (11)      D     Other petition (not specified above) (43)

       D         Wrongful termination (36)                      D       Writ of mandate (02)
       ~         Other employment (15)                          D       other judicial review (39)
2. This case                D is         IZI is not
                                            complex under rule 3.400 of the                   California Rules of Court. If the case is complex, mark the
       factors requiring exceptional judicial management:
       a. D Large number of separately represented parties            d. D                     Large number of w itnesses
       b,     D  Extensive motion practice raising difficult or novel e.               D       Coordination with related actions pending in one orimore courts
                 issues that will be time-consuming to resolve                                 in other counties, states, or countries, or in a federal court
       c. D Substantial amount of documentary evidence                f. D                     Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. ~ monetary b. [:8J nonrnonetary; declaratory or injunctive relief c. f2l punitive
4, Number of causes of action (specify): 6:MMBA; POBRA; Speech; Labor Code; Penal Code 832 .5-832,8; Retaliation
5, This case D is [:8J is not a class action suit.
6. If there are any known related oases, file and serve a notice of related case. (You may use form CM-015.)
Date: November7 , 2021
          Corey W. G lave                                                 ► /s/ Corey W Glave
                                      /TYPE OR PRINT NAMEl                                                    ISIIGNAT URE OF PARTY OR ATTORNEY FOR PARTYl

                                                                                     NOTICE
     • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
       under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
       in sanctions.
     • File this cover sheet in addition to any cover sheet re quired by local court ru le.
     • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cove; sheet on :all
       other parties to the action or proceeding,
     • Unless this is a collecti ons case under rule 3. 740 or a complex case, this cover sheet will be used for statistical purposes ornly.
                                                                                                                                                                             Pa11e 1 of 2

Fonn Adapted for Mandatory Use                                                                                               Cal. Rules of Court. rules 2.30, 3.220, :i.4oo-::'.l.403, 3.740;
     Judicial Council of Callrornla                             CIVIL CASE COVER SHEET                                               Cal. Slandards of Judicfal Adminlstrallon. std. 3.1 O
      CM-01 0 (Rov. July 1, 2007]
                                                                                                                                                    EX HIBli1'.~rro.,a.go•
                                                                                                                                                        Page 146
  Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 151 of 305 Page ID #:151

                                                                                                                                      CM-010
                                   INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffa and others FIiing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Caver Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you In completing the sheet, examples of the cases that belong under each case type In Item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not Include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes In Items 1 and 2. If a plalr:,tlff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder ln the
plaintiff's designation, a counter-designation that the case is not complex, or, If the plaintiff has made no designation, a designation that
the case is complex.
                                                          CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provlalonally Complex Clvll LltlgaOon (CaL
     Auto (22)-Per.;anal Injury/Property            Breach of Contract/Warranty (06)                Rules of Court Rules 3.4DD-3.403)
            Damage/Wrongful Death                        Breech of Rentalll..ease                        Antitrust/Trade Regulation (03)
     Uninsured Motorist (46) (If the                         Contract (not unlawful d&talner             Construction Defect (1 O)
            case Involves an uninsured                            or wrongful eviction)                  Claims Involving Mass Tort (4D)
            motorist claim subject to                   Contract/Warranty Breach-Seller                  Securities Litigation (28)
            arbitration, check this item                      Plaintiff (not fraud or negligence)        EnvironmentaVToxic Tort (30)
            instead of Auto)                            Negligent Breach of ContracU                     Insurance Coverage Claims
Other PIIPD/WD (Personal Injury/                              Warranty                                        (arisfng from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                     case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
     Asbestos (04)                                      book accounts) (09)                              Enforcement of Judgment (20)
           Asbestos Property Damage                     Collection Case-8eller Plaintiff                      Abstract of Judgment (Out of
          Asbestos Personal Injury/                     Other Promissory Note/Collecllons                          County)
                 Wrongful Death                              Case                                             Confession of Judgment (non-
      Product Liability (not asbestos or            Insurance Coverage (not provisionally                          domestic relations)
             toxic/environmental) (24)                  complex) (1 B)                                        Sister State Judgment
      Medical Malpractice (45)                          Auto Subrogation                                      Administrative Agency Award
           Medical Malpractice-                         Other Coverage                                             (not unpaid taxes)
                  Physicians & Surgeons             Other Contract (37)                                       Petition/Certification of Entry of
          Other Professlonal Health Care                Contractual Fraud                                          Judgment on Unpaid Taxes
                  Malpracllce                           Other Contract Dispute                                other Enforcement of Judgment
     other PI/PDIWD (23)                         Real Property                                                     Case
           Premises Liability (e.g., slip           Eminent Domain/Inverse                           Mlscallaneou& Civil Complaint
           and fall)                                    Condemnation (14)                                 RICO (27)
           lntentlonal Bodily Injury/PD/I/VD        Wrongful Eviction (33)                               Other Complaint (not specified
                  (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)              above) (42)
           Intentional Infliction of                    Writ of Possession of Real Property                   Declaratory Relief Only
                  Emotional Distress                    Mortgage Foreclosure                                  Injunctive Relief Only (non-
           Negligent Infliction of                      Quiet litle                                                harassment)
                  Emotional Distress                    Other Reel Property (not eminent                      Mechanics Lien
          Other PI/PDIWD                                domain, /end/ordltenant, or                           Other Commercial Complaint
Non-PIIPD/WD (Other) Tort                               foreclosure)                                               Case (non-tart/non-complex)
     Business Tori/Unfair Business              Unlawful Detainer                                             Other Civil Complaint
         Practice (07)                             Commercial (31)                                                 (non-tort/non-complex)
     Clvll Rights (e.g., discrimination,           Residential (32)                                  Miscellaneous Civil Petition
         false arrest) (not civil                  Drugs (38) (If the case Involves Illegal              Partner.ship end Corporate
         harassment) (08)                               d,vgs, check this item; otherwise,                     Governance (21)
     Defamation (e,g., slander, libel)                  report as Commercial or Residential)             Other Petition (not specified
         (13)                                   Judicial Review                                               above) (43)
     Fraud (16)                                    Asset Forfeiture (05)                                      Clvll Harassment
     lntelectual Property (19)                     Petition Re: Arbitration Award (11)                        Workplace Violence
     Professlonal Negligence (25)                  Writ of Mandate (02)                                       Elder/Dependent Adult
         Legal Malpractlce                             Writ-Administrative Mandamus                                Abuse
         Other Professional Malpractice                Writ-Mandamus on Limited Court                         Elecllon Contest
              (not medical or legal)                        Case Matter                                       Petition for Name Change
      Other Non-PIIPDJWD Tort (35)                     Writ-Other Limited Court Case                          Petition for Relief From Late
Employment                                                  Review                                                 Claim
     \'Vrongful Termination (36) Other             Other Judicial Review (39)                                 Other Clvll Petition
         Employment (15)                                Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                            Commissioner Appeals
CM--010 (Rev. J~ly 1, 2007]                        CIVIL CASE COVER SHEET                                                                   Pa11112or2

                                                                                                                              Amallcan LagalNet Inc.
                                                                                                                              www.FormsWorlolow.oom
                                                                                                                      EXHIBIT D
                                                                                                                       Page 147
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 152 of 305 Page ID #:152
            Electronically Filed by Supei"ior Court of California, County of Orange, 11i08/2021 08:00:00 AM.
30-202 -01230129-CU-OE-CJC - ROA# 2 - DAViD H. YAMASAKI, Clerk of the Court By Jessica Ouarte, Deputy Cl rk.




    1   COREY W. GLAVE (State Bar No. 164746)
        Attorney at Law
    2   632 S. Gertruda Ave
        Redondo Beach, CA 90277
    3   Phone: (323) 547-0472
        POAattornev@aol.com
    4

    5   Attorneys for Plaintiffs
        Santa Ana Police Officers Assn
    6   and Gerry Serrano

    7
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
    8
                              FOR THE COUNTY OF ORANGE-CENTRAL
    9

  10
        SANTA ANA POLICE OFFICERS                   )      Case
  11    ASSOCIATION; GERRY SERRANO                  )
                                                    }      CIVIL COMPLAINT
  12                Plaintiffs,                     }
        vs.                                         )      1.     VIOLATION OF GOVERNMENT
  13                                                }             CODE §3500, ET SEQ.
        CITY OF SANTA ANA, a Municipal              )      2.     VIOLATION OF THE PUBLIC
  14    Corporation; SANTA ANA POLICE               )             SAFETY OFFICERS
        DEPARTMENT, a public safety                 )             PROCEDURAL BILL OF
  15    department; DAVID VALENTIN, Chief           )             RIGHTS ACT, GOVERNMENT
        of Police; KRISTIN RIDGE, City              )             CODE SECTION 3300 ET. SEQ.
  16    Manager; SONIA CARVALHO, City               )      3.     VIOLATION OF FREEDOM OF
        Attorney; JASON MOTSICK, Director of        )             SPEECH
  17    Human Resources; DOES 1-X, inclusive        )      4.     VIOLATION OF LABOR CODE
                                                    )             §§1102, 1102, 1102.5
  18                Defendants.                     )      5.     V IOLATION OF PENAL CODE
                                                    )             §§832.5-832.8, EVIDENCE
  19                                                )             CODE §§'1043-1046
                                                    )      6.     RETALIATION UNDER
  20                                                )             GOVERNMENT CODE §12900,
                                                    )             ET SIEQ.
  21                        )
                            )
  22    _ _ __ __ _ _ _ _ _ )                              REQUESTFORJURYTR~L

  23

  24           COMES NOW PLAINTIFFS SANTA ANA POLICE OFFICERS ASSOCIATION

  25    and GERRY SERRANO and allege as follows:

  26           1.     Plaintiff Santa Ana Police Officers Association (SAPOA) is the recognized

  27    employee organization as defined under Government Code §3500, et seq., and/or

  28    Government Code §3501 (a). The SAPOA has as one of its primary purposes the



                                                 COMPLAINT
                                                                                           EXHIBIT
                                                                                            Page 148
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 153 of 305 Page ID #:153




 1   representation of sworn and non-sworn employees of the Santa Ana Police Department

 2   in their employment relations with the City of Santa Ana and/or Santa Ana Police

 3   Department. In the sworn ranks the SAPOA represents all sworn officers holding the

 4   ranks of Police Sergeant and below, as well as Correctional Supervisor and below.

 5          2.      Plaintiff Gerry Serrano has b~en since 2016, and now is, the President of
 6   the Santa Ana Police Officers Association and the recognized representative of the

 7   Santa Ana Police Officers Association as that term is used in Government Code

 8   §3502.1. He is also a sworn police officer, holding the rank of Police Sergeant with the

 9   Santa Ana Police Department.

10          3.      Defendant City of Santa Ana is a Municipal Corporation existing under the

11   Constitution and the laws of the State of California. The City of Santa Ana is a public

12   agency as that term is defined in Government Code §3501 (c). It is a municipal entity

13   employing public employees and thus, has a mandatory duty to comply with the

14   provisions of Government Code §3300, et seq., and Government Code §3500, et seq.

15          4.     Defendant Santa Ana Police Department is a department of the City of

16   Santa Ana and a public safety department, as that terms is used in Government Code
17   §3309.5. Defendant Santa Ana Police Department is also a public agency, as that term

18   is used in Government Code §3500, et seq.

19          5.     Defendant Kristine Ridge was and is the City Manager for the City of

20   Santa Ana, and the direct supervisor/appointing authority of the Chief of Police and

21   Human Resource Director. Ridge is the person responsible for the operations of the

22   city, including the overall management of the City. Plaintiffs have information and belief

23   that Ridge participated in, supervised and/or was actively involved in the incidents

24   giving rise to this action in both her individual and official capacities.

25          6.     Defendant David Valentin was and is the appointed Chief of Police for the

26   City of Santa Ana, Santa Ana Police Department. As such he is charged with the

27   supervision and management of personnel, including personnel investigations and

28   discipline of employees of the Santa Ana Police Department. Plaintiffs have information
                                                    2

                                               COMPLAINT                            EXHIBIT D
                                                                                     Page 149
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 154 of 305 Page ID #:154




 1   and belief that Valentin participated in, supervised and/or was actively involved in the
 2   incidents giving rise to this action in both his individual and official capacities.

 3          7.     Sonia Carvalho was and is a private attorney employed by the law firm of

 4   Best Best and Krieger LLP, and is the appointed and/or contracted City Attorney for the

 5   City of Santa Ana. Plaintiffs have information and belief that Carvalho participated in,

 6   supervised and/or was actively involved in the incidents giving rise to this action in both

 7   her individual and official capacities, and that she acted outside the scope of her duties
 8   as an attorney when engaging in acts described below.

 9          8.     Defendant Jason Motsick was and is the appointed Human Resource

1O Director for the City of Santa Ana and is charged with the supervision and management

11   of personnel, including personnel investigations and discipline of employees of the

12   Santa Ana Police Department. Plaintiffs have information and belief that Motsick

13   participated in, supervised and/or was actively involved in the incidents giving rise to

14   this action in both his individual and official capacities.

15          9. At all times herein mentioned, DOES 1-X, inclusive, were the agents, servants

16   and employees of Respondent, City of Santa Ana and/or Santa Ana Police Department,

17   and in doing the things hereinafter alleged, were acting within the scope of their

18   authority as such agents, servants and employees with the permission and consent of

19   Respondents. Claimant will amend the Complaint to allege true names and capacities

20   of DOES 1-X, inclusive when ascertained.

21                                        GENERAL FACTS
22          10.    Serrano became President of the SAPOA in 2016 and has served

23   continuously in the position.

24          11.    When seeking appointment as Chief of Police, Defendant Valentin sought

25   out and received the support of Serrano and the SAPOA. Later, when the SAPOA and

26   Serrano sought wages and benefits for the SAPOA membership and/or opposed

27   Valentin on matters of concerns to the Plaintiffs, Valentin's demeanor and working

28   relationship with Plaintiffs became adversarial.
                                                    3

                                               COMPLAINT                                EXHIBIT D
                                                                                         Page 150
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 155 of 305 Page ID #:155




 1          12.    In or about February 2019, the City Council for the City of Santa Ana

 2   passed a resolution adopting a Memorandum of Understanding that provided

 3   significant, and needed salary increases for members of the SAPOA. Two City

 4   Councilpersons and Defendant Valentin opposed the raises. Thereafter, the SAPOA

 5   led a successful recall effort to remove the City Councilperson, causing Valentin to
 6   become concerned with the SAPOA's and Serrano's political influence.

 7          13.    Later, when Valentin attempted to obtain approval from the City Council to
 8   create an additional captain position so he could promote one of his allies,

 9   SAPOA/Serrano opposed the creation of the position. The City Council sided with the

10   SAPOA/Serrano and did not create an additional captain position. Valentin became

11   emotionally upset and barked at Serrano that he needed to "ST AND DOWN." It was

12   clear Valentin's concern about the SAPOA having more influence with the City Council

13   than he did was growing.

14          14.   Similarly, Defendant Carvalho began expressing to others that she did not

15   like Serrano. Thereafter, she would purposely interfere and obstruct items pertaining to

16   the SAPOA or Serrano.
17          15.    It is believed that Defendants Valentin and Carvalho formed a conspiracy

18   to attack Serrano and the SAPOA. Defendant Valentin and members of his police

19   management team have admitted animosity against Serrano as the President of the

20   Santa Ana Police Officers Association. This animosity has caused Defendant Valentin

21   and the management team under his guidance to treat members of the SAPOA

22   adversely if the employee is believed to be associated with or sought the aid of SAPOA

23   and/or SAPOA President Serrano. Due to this relationship, Defendant Valentin

24   purposely and intentionally interferes with the SAPOA's ability to represent its

25   membership and acts contrary to state law. Conversely, Valentin gives special

26   treatment and turns a blind eye to allegations of misconduct by those he believes will

27   either give their loyalty to him and/or oppose the SAPOA/Serrano.

28
                                                 4

                                            COMPLAINT                               EXHIBIT D
                                                                                     Page 151
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 156 of 305 Page ID #:156




 1                                           SPYING

 2          16.    In January, 2020, Defendant Valentin began spying on Plaintiff Serrano

 3   and members of the Santa Ana City Council by redirecting copies of all eNmail

 4   communications sent by Serrano to City Councilmember Solorio, from June 2017

 5   forward, to his office. Defendant Valentin then had the City's IT department put a tracer

 6   on all of Serrano's emails so that they would automatically be copied to Defendant

 7   Valentin.

 8                                  OTHER INTERFERENCE

 9          17.   During the last year and continuing to the present, Defendants have

10   censored membership communications and/or denied the SAPOA the ability to send

11   membership communications via the City's eNmail system.

12          18.   Defendant Valentin has engaged in action to advocate for a change of

13   leadership in the SAPOA and has attempted to interfere with SAPOA elections. Said

14   action includes, but is not limited to, encouraging candidates to run against Serrano for

15   the position of Association President, and questioning members' support for Serrano

16   when they are seeking special assignments and promotions.
17                          COMPLAINTS AGAINST LIEUTENANTS

18          19.   In or about January, 2020, the SAPOA and Serrano were informed of

19   allegations of misconduct by SAPD Lieutenants/Commanders Jose Gonzalez and

20   Robert Rodriguez. It was alleged that the two were maliciously spreading rumors

21   regarding activities of Serrano and the SAPOA. Plaintiffs have information and belief,

22   and thereon allege, that said actions constitute violations of department policy and

23   negatively impact the morale of the police department as well as cause division in the

24   SAPOA. The Plaintiffs met with Defendant Valentin and informed him of the allegations

25   of misconduct. Valentin appeared dismissive. Since Valentin failed to initiate an

26   investigation as required by Penal Code §§832.5-832.7, the SAPOA/Serrano reported

27   the information to Defendant Ridge. Again, no investigation was initiated of the police

28   commanders nor of Defendant Valentin.
                                                 5

                                            COMPLAINT                              EXHIBIT D
                                                                                    Page 152
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 157 of 305 Page ID #:157




 1          20.    On or about June 8, 2021, Plaintiffs filed an official complaint regarding

 2   the commanders' actions and the failure to investigate the allegations with Defendant

 3   Motsick. Motsick also refused to initiate an investigation of the commanders and

 4   Defendant Valentin.

 5                                      PERB COMPLAINT

 6          21.    In or about February, 2020, the SAPOA filed an Unfair Practice Charge

 7   with the Public Employment Relations Board (PERB) alleging that the City of Santa Ana

 8   had interfered with, intimidated, attempted to restrain and coerce members of the

 9   Association and Gerry Serrano. The City informally resolved the matters, so the SAPOA

10   withdrew the charge.

11                                      CAMPAIGN SIGNS

12          22.    In April, 2020, Plaintiffs reported the theft of campaign signs related to a

13   recall of Santa Ana City Councilmember Iglesias. One of the identified suspects was

14   the City Council person herself. The SAPOA learned that a Police Commander directed

15   the investigating officer to alter his report so that the City Council person would not be

16   listed as the suspect. The Plaintiffs reported the Police Commander's actions to

17   Defendant Valentin.

18          23.    Instead of investigating the unlawful actions of the Police Commander,

19   Valentin ordered his Internal Affairs commander and investigators to conduct an

20   investigation of Serrano.

21          24.    When the Plaintiffs obtained a video recording showing the former City

22   Council person stealing the campaign signs, Defendant Valentin, Defendant Carvalho

23   and other private attorneys employed by her firm, directly and through Valentin's

24   supporters pressured the Orange County District Attorney's office to open a criminal

25   case against Serrano. When the District Attorney's office rejected Valentin's pressures

26   Valentin became upset. With the help of Defendant Carvalho and her private law firm,

27   he began a lengthy letter and meeting campaign in which he chastised the District

28   Attorney's decision and knowingly included false information in the communications

                                                  6

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 153
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 158 of 305 Page ID #:158




 1   with the District Attorney's office.

 2          25.      As part of the April, 2020, efforts to wrongfully bring a criminal case

 3   against Serrano, Defendants used department resources, including the Internal Affairs

 4   unit, to draft memoranda with adverse comments about Serrano. Serrano was never

 5   informed by Defendants of the internal investigation or memoranda, and Defendants

 6   failed to allow Serrano to review the adverse comments. It is further believed, to the

 7   extent that Defendants have initiated an Internal Affairs investigation, the investigation

 8   was not completed within one year of notice of the allegations of misconduct nor has

 9   Plaintiff Serrano been notified of any proposed discipline or outcome of the
10   investigation during that one year period. Defendants intentionally concealed the
11   information regarding this investigation and the related memoranda from Plaintiffs.

12                                   CULICHI TOWN COVER-UP

13          26.      On August, 2020, on-duty SAPD officers responded to a call for service at
14   the Culichi Town Restaurant. The call involved allegations that off-duty SAPD officers

15   had sexually battered two underage girls that were at the restaurant. The officers

16   response was caught on body worn cameras and the victim's family produced a video

17   of the incident that showed off-duty police sergeant Oscar Lizardi as being present and

18   possibly involved in the incident. A Police Commander reported the incident to then IA

19   Commander, and now Deputy Chief, Robert Rodriguez. Rodriguez is believed to be a

20   close friend of Lizard. He denied the Commander's request for the incident to be
21   investigated.

22          27.      On or about September 2, 2020, a request for public records was made

23   for information related to the call including the Incident Detail Report, copy of the 911

24   emergency calls and/or non-emergency line calls, and police dispatch radio traffic audio

25   files related to the incident (Incident No. 200805316). Def end ant Valentin, on

26   September 24, 2020, denied, in total, the PRA request in order to cover up the

27   misconduct of his IA Commander and one of his closest allies (Lizardi) asserting that

28   the records could not be released because they involved juveniles. This demonstrated

                                                    7

                                               COMPLAINT                               EXHIBIT D
                                                                                        Page 154
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 159 of 305 Page ID #:159




 1   that Valentin was aware of the incident and that it involved allegations of criminal

 2   conduct towards juveniles by offMduty SAPD officers.

 3            28.   SAPOA/Serrano complained to Defendants about Valentin's and

 4   Rodriguez's attempts to cover up alleged criminal conduct by officers who supported

 5   Defendant Valentin pointing out that this conduct amounted to conspiring to commit a

 6   criminal act. It is believed that it wasn't until June, 2021, after multiple complaints and

 7   requests for investigations by the SAPOA, that Defendants initiated an investigation of

 8   two of the three responding officers. The third responding officer was given a special

 9   assignment on Lizardi's specialized team. In July, 2021, the Department initiated an

10   Internal Affairs investigation of one of the offMduty officers, but not Lizardi, who was the

11   ranking officer amongst the off duty personnel involved in the incident.

12            29.   On information and belief, Plaintiffs allege that Defendants have refused

13   to initiate an investigation of Deputy Chief Rodriguez and/or Defendant Valentin.

14                                        PENSION ISSUE
15            30.   In October, 2020, the Defendants inquired of CalPERS as to the propriety

16   of including a premium pay, called "Confidential" received by Serrano while on paid

17   release time to serve as the SAPOA President in the calculation of his pension. It is

18   believed that the City had never inquired about this issue with any prior SAPOA

19   President. When it appeared that there might be a question regarding the inclusion of

20   the premium in the calculation of Serrano's pension, the City and SAPOA reached an

21   agreement acceptable to CalPERS. However, because Serrano continued to carry out

22   his duty to represent the Association and its members, activity that is clearly protected

23   under the law, Defendants failed and refused to take the necessary steps to resolve the

24   issue.

25                                       FPPC COMPLAINT
26            31.   In November, 2020, Sonia Carvalho, believed to be acting on her own

27   personal vendetta and without City Council approvalsent a request to the California Fair

28   Political Practices Commission seeking a finding that Serrano, as the SAPOA

                                                   8

                                              COMPLAINT                               EXHIBIT D
                                                                                       Page 155
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 160 of 305 Page ID #:160




 1   President, engaged in a conflict of interest by negotiating a side letter agreement

 2   related to the pension issue. As the City Council was scheduled to approve the

 3   resolution of the pension issue, Carvalho made multiple inquiries to the FPPC for an

 4   opinion letter finding Serrano was engaging in an unethical conflict of interest.

 5   Ultimately, the FPPC found that Serrano did not engage in any conflict of interest nor

 6   did his actions give rise to an unethical conflict of interest. It is believed that Carvalho

 7   was acting on her own and with the sole purpose of personally interfering with the

 8   SAPOA/Serrano and/or with intent to harm Serrano.

 9                          FEMALE DISCRIMINATION COMPLAINTS

10          32.    In or about November, 2020, SAPOA/Serrano informed Defendant Ridge

11   that there was ongoing discrimination against female employees in the Department.

12   Plaint_iffs described an incident involving female officers' attendance at a conference

13   regarding leadership issues for women in law enforcement and the Chief's behavior

14   towards those female employees. Defendant Ridge did not open an investigation into

15   the matter until months later when it was statutorily too late to take disciplinary action

16   against Defendant Valentin or his subordinates.

17          33.    After Plaintiffs informed Defendant Ridge of the discrimination and

18   harassment of the female officers, Defendant Valentin ordered a "preliminary

19   assessment" in order to cover up his and his staff's misconduct. The Human Resource

20   representative that appeared with him when he confronted the female officers

21   conducted the investigation. The female officers were ordered to appear for

22   interrogations. They were not provided any information as to the nature of the

23   investigation. When they appeared for interrogation, the HR Representative read from a

24   transcript, indicated that she was going to prepare a report that only went to Valentin,

25   and then questioned the females about the female's actions and did not have any

26   preset questions about Chief Valentin's, DC Esparza's or other police commander's

27   actions.

28          34.    On information and belief, it is alleged the Valentin lied to Defendant

                                                   9

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 156
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 161 of 305 Page ID #:161




 1   Ridge and Defendant Motsick claiming that he had initiated an investigation of the

 2   discrimination when, in fact, he initiated an investigation of the female officers in order

 3   to silence them.

 4          35.    The Defendants did not hire an investigator to look into these issues of

 5   harassment and discrimination until April, 2021.

 6          36.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against the City

 7   of Santa Ana, Santa Ana Police Department, Defendant Valentin, and Deputy Chief

 8   Enriquez Esparaza related to the unlawful discrimination, harassment and investigation

 9   of the female officers.

10          37.    Defendant has summarily dismissed the complaints from the

11   SAPOA/Serrano regarding the discrimination against female officers as just part of

12   Serrano's desire to fix his pension issue.

13                              JAIL MANAGEMENT COMPLAINT

14          38.    On December 2, 2020, the SAPOA/Serrano sent an email to Defendant

15   Ridge and Defendant Valentin requesting an investigation of misconduct by jail

16   management/supervision wherein it was alleged that serious misconduct was being

17   covered up and/or not addressed, and that supervisors were being directed to falsify

18   reports and/or official documents.

19                        DISCLOSURE OF CONFIDENTIAL RECORDS

20          39.    On or about February 25, 2021, a purported reporter with the Voice of OC

21   (an online nonprofit media source) sent to Sonia Carvalho, the City Attorney for the City

22   of Santa Ana and Santa Ana Police Department, a Public Records Act (PRA) request

23   seeking, a spreadsheet or breakdown of how many employees at the Santa Ana Police

24   Department have been put on paid administrative leave between 01/01/2016 and

25   2/25/2021. The PRA request included a request for Ms. Carvalho to provide the

26   reasons for the employees being put on paid administrative leave and a breakdown of

27   total costs to the City of Santa Ana incurred by paid administrative leave for Santa Ana

28   Police Department employees between 01/01/2016 and /25/2021.

                                                  10

                                             COMPLAINT
                                                                                      EXHIBIT D
                                                                                       Page 157
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 162 of 305 Page ID #:162




 1          40.    On or about March 26, 2021, without prior notice to the involved
 2   employees or the SAPOA and/or without complying with Penal Code §§832.5-832.8

 3   and/or Evidence Code §1043-1046, the City Attorney's office, the City of Santa Ana,
 4   under the supervision of Defendant Ridge and/or the Santa Ana Police Department,

 5   under the supervision of Defendant Valentin, intentionally and purposely produced
 6   confidential records from the involved officers' personnel files. It is believed that this

 7   disclosure included data that identified the individual officers involved which is a clear
 8   violation of Penal Code §832.7(d).

 9          41.    Defendants Carvalho, Valentin, Ridge, City of Santa Ana and/or the Santa
1O Ana Police Department are aware that peace officer personnel records are confidential

11   and exempt from disclosure.

12          42.    On or about April 21, 2021, Deputy Chief of Police Eric Paulson, on behalf
13   of Defendant Valentin, conceded in a letter to the Voice of OC that confidential peace

14   officer personnel had been produced to the Voice of OC, including, but not limited to
15   the names of the officers in connection with administrative investigations. Deputy Chief

16   Paulson requested that the confidential records be returned. Plaintiffs are informed and
17   believe, and thereupon allege that after the Voice of OC refused to return the

18   confidential records, Defendants failed to take any action to force the Voice of OC to
19   return the documents.

20          43.    On or about April 27, 2021, Defendants started notifying certain of the

21   impacted officers of the unlawful actions by Defendants. The Notification did not advise

22   the impacted employees of what specific information had been released and did not

23   notify them of any rights they may have. The notices also did not indicate if the

24   Defendants would be taking further action to enforce the employees' rights.
25          44.    Also on or about April 27, 2021, Deputy Chief Paulson informed the Santa

26   Ana Police Officers Association of the Defendants' unlawful disclosure of the

27   confidential peace officer information of members of the Santa Ana Police Officers

28   Association. The notification of Defendants' unlawful action did not identify to the POA
                                                   11

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 158
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 163 of 305 Page ID #:163




 1   the names of the impacted members/officers, but simply stated that the effected
 2   employees had been notified. As it turned out, when Deputy Chief Paulson claimed, on

 3   behalf and presumably at the directions of Defendants, that all affected employees had

 4   been notified, the statement was not true and appears to have been an intentional

 5   misrepresentation by Defendants to conceal the fact that the notifications to the
 6   effected employees had just begun.

 7          45.    The Santa Ana Police Officers Association filed a written complaint with
 8   the Defendant City Manager Kristine Ridge, and Human Resource Director Jason

 9   Motsick requesting that the matter be immediately investigated. Plaintiffs are informed

10   and believe, and thereupon allege that even though the Defendants were required to

11   investigate this matter, as a "citizen complaint" pursuant to Penal Code §§832.5-832.7,

12   Defendants did not investigate nor discipline those city employees responsible for the
13   violations of law.

14          46.    On or about April 28, 2021, a number of affected officers and the Santa
15   Ana Police Officers Association, which has a legal right to represent its members in any

16   and all matters related to their employment with the Santa Ana Police Department,
17   requested copies of any and all communications regarding PRA #21-289, including all

18   e-mails between representatives of the City, Police Department and/or Voice of OC and

19   also requested copies of all records that were produced to the Voice of OC and a list of

20   the impacted officers. Defendants, as part of an ongoing plan and scheme to
21   undermine and interfere with the POA's ability to represent its members, denied the

22   POA's request for copies of the produced records and list of names of impacted

23   employees. Defendants refused to provide copies of the unlawfully released information

24   and/or the list of names of the impacted employees.
25          47.    Also on April 28, 2021, Defendants Motsick, Valentin, Ridge and Carvalho

26   issued a letter wherein they indicated that City was terminating the SAPOA's long
27   standing ability to send emails to communications to all SAPOA members through the

28   City's email system.
                                                 12

                                            COMPLAINT                              EXHIBIT D
                                                                                    Page 159
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 164 of 305 Page ID #:164




 1          48.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against

 2   Defendants City of Santa Ana, Santa Ana Police Department and Defendant Valentin

 3   regarding their unlawful disclosure of confidential peace officer records.

 4          49.    Defendant Ridge and Carvalho have summarily dismissed the complaints

 5   from the SAPOA/Serrano regarding the unlawful disclosure of records as just part of

 6   Serrano's desire to fix his pension issue.

 7                     FALSE INFORMATION TO CITY COUNCIL MEMBER

 8          50.    On or about May 12, 2021, the SAPOA/Serrano learned that Santa Ana

 9   City Councilmember Penaloza had complained to Defendant Valentin that officers from

10   Valentin's special unit (MET), which is supervised by Sgt. Lizardi, had shined the patrol

11   vehicle's ally lights at him while he was driving on multiple occasions. It was further

12   learned that Defendant Valentin tried to falsely blame the SAPOA and Serrano for the

13   officers' alleged actions.

14                                COMPLAINT AGAINST VALENTIN

15          51.    On or about May 13, 2021, the SAPOA/Serrano filed a complaint on

16   behalf of the members of the SAPOA against Defendant Valentin and his police

17   management similar to that made in November, 2020. SAPOA raised issues regarding

18   unaddressed gender discrimination; unaddressed cover-up of the Culichi Town incident;

19   allegations that Valentin committed perjury in at least one deposition; the inclusion of

20   false information in official personnel records; Jail Managers covering up alleged

21   misconduct by employees and/or falsifying records/reports related to the misconduct;

22   interference in a criminal investigation where a former City Council person was initially

23   listed as the suspect until the officer was directed to change his report; and interference

24   with Association activities and/or representation of members.

25          52.    In response to the May 13, 2021, complaint, Defendants either failed to

26   initiate an investigation, as required by Penal Code §§832.5-832.7 and/or failed to

27   report to the complainant the outcome of the investigation(s).

28   53.    Defendant Ridge and Carvalho have summarily dismissed the complaints from

                                                  13

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 160
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 165 of 305 Page ID #:165




 1   the SAPOA/Serrano as just part of Serrano's desire to fix his pension issue.

 2                          CITY MANAGER DISCIPLINARY ACTION

 3          54.    In order to try to silence the SAPOA/Serrano 1 on or about May 18, 2021,

 4   Defendant Ridge issued a disciplinary document entitled "Employee Conduct Warning

 5   Letter" to Serrano for acts he undertook as the "advocate and leader of the SAPOA11

 6   which Defendant Ridge argued violated the City Charter and police department policies.

 7   Under the provisions of Government Code §3300, et seq. 1 this document constituted a

 8   written reprimand and punitive actions as that term is used under Government Code

 9   §§3303 and 3304.

10          55.    Under the City Charter Defendant Ridge does not have the ability to

11   discipline a police sergeant as she is not the appointing authority for the police

12   department. Therefore, Ridge's actions were outside her official capacity and

13   demonstrated that she was acting in excess of her authority in order to discriminate,

14   harass and retaliate against Serrano and the SAPOA.

15          56.    The May 18, 2021, Employee Conduct Warning Letter specifically initiated

16   punitive action against Serrano, as the President of the SAPOA, for communicating (via

17   text and e-mail) to elected officials raising issues with the management of the Police

18   Department. The Warning Letter also directed Serrano, as the President of the SAPOA

19   not to com-municate regarding police management issues with the Santa Ana City

20   Council.

21          57.    Serrano, on May 20, 2021, invoked his rights under POBRA and

22   requested all documentation supporting Defendant Ridge's allegations of misconduct,

23   and all complaints giving rise to the punitive action. Serrano also invoked his right to an

24   administrative appeal under Government Code §3304. Defendants have failed and

25   refused to provide Serrano any documents supporting the allegations contained in

26   Ridge's letter and have refused to afford him any administrative appeal of the punitive

27   action imposed against him.

28                               INVESTIGATION OF SERRANO

                                                  14

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 161
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 166 of 305 Page ID #:166




 1          58.    On or about May 27, 2021, Defendant Valentin ordered an investigation of

 2   Serrano based on alleged comments Serrano made in his capacity as the current

 3   President of the SAPOA about a former SAPOA President in October, 2020. The

 4   investigation was opened even though legal counsel for the City of Santa Ana indicated,

 5   in writing that to the extent Serrano's statements were made as a POA President, Mr.

 6   Serrano was not speaking as a police sergeant of the City or the Santa Ana Police

 7   Department, and acknowledged that the City was not able to restrict the conduct of the

 8   POA and/or its President which relate to the administration of the POA as such action

 9   would be a violation of the Meyers~Milias Brown Act. (See Government Code section

10   3506.5(d).). Counsel for the City acknowledged, therefore, the City was not able to

11   direct Mr. Serrano to engage or not engage in conduct that is done in his capacity as

12   President of the POA in relation to the administration of the POA.

13          59.    Evidently, the City of Santa Ana had to pay the former POA President and

14   his wife approximately $350,000.00, as Defendants had allegedly retaliated against the

15   former POA President and Defendant Valentin sexually harassed the former POA

16   President's wife. Thereafter, the former POA President, in an effort to obtain more

17   money from the City, alleged that Serrano violated the settlement agreement even

18   though Serrano was not a party to the action or the agreement. On or about October

19   26, 2020 when the City would not pay any additional money, the former POA President

20   filed a written complaint against Serrano.

21          60.    It appeared that the City was not going to take action on the frivolous

22   complaint, but Defendant Valentin and possibly others, in order to further retaliate

23   against Serrano and the SAPOA, initiated the investigation nine months later. To this

24   date, Defendants have not notified Serrano of the outcome of the investigation and the

25   one year statute of limitations has expired.

26                          SEXUAL HARASSMENT ALLEGATIONS

27          61.    On June 16, 2021, Defendants Motsick and Carvalho scheduled a

28   meeting with Serrano without informing him of the nature of the meeting. Serrano
                                                    15

                                             COMPLAINT                              EXHIBIT D
                                                                                     Page 162
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 167 of 305 Page ID #:167




 1   appeared with legal counsel. After arriving Serrano was informed that Defendants
 2   Motsick and Carvalho were conducting "fact-finding" regarding allegations they had

 3   been made aware of by a third party. The allegation was that Defendant Ridge had

 4   sexually harassed Serrano. Being caught off guard, Serrano, on advice of counsel, did
 5   not make any statement. It was clear at that point that the City was not protecting
 6   Serrano from retaliation by the other Defendants.

 7          62.    Even though Serrano had not filed a complaint against Defendant Ridge,
 8   Defendants feared that Serrano had disclosed or might disclose information of unlawful
 9   activities by Defendant Ridge.
10          63.    As discussed below, it was later learned that approximately a month
11   earlier Ridge "self-reported" the harassment allegations to Defendant Carvalho and her
12   subordinate Defendant Motsick. In a letter to the City Council Ridge was careful in her
13   assertion, making allegations that Serrano had been untruthful and interfered in
14   investigations, but not specifically denying allegations that she sexual harassed
15   Serrano. In that same letter to the City Council Ridge violated state law by disclosing

16   closed session communications with the Council as well as disclosing confidential
17   personnel information about a peace officer to wit, Serrano.

18          64.    Ridge's disclosures to the City Council reveal that Carvahlo and Motsick
19   were not simply conducting a fact finding investigation, but were investigating Ridge's
20   allegations against Serrano who should have been afforded his rights under the Peace
21   Officers Procedural Bill of Rights.

22          65.    On July 7, 2021, Defendant Ridge, fearing the Serrano would report her
23   unlawful activities, directed Serrano to refrain from sending any e-mail communications

24   to her. In essence, Defendant Ridge gave direct orders to the President of the SAPOA
25   not to contact elected officials or herself with any issues or complaint.
26          66.    On July 9, 2021, Plaintiff filed a Notice of Claim (Gov't Code §910, 910.4)
27   with Defendants.
28          67.    On or about July 16, 2021, the City of Santa Ana hired the law firm of

                                                  16
                                             COMPLAINT
                                                                                   EXHIBIT D
                                                                                    Page 163
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 168 of 305 Page ID #:168




 1   Barboza & Associates to assist Motsick in conducting a personnel investigation into

 2   Serrano's possible allegations of harassment even though Serrano had not made any

 3   such allegations. However, when Plaintiffs tried to determine who retained Barboza,

 4   and whether she was working independently or as an agent/attorney for the City, she

 5   refused to answer. Plaintiffs made the same inquiry of Defendant Motsick on July 21st,

 6   but never received a response.

 7          68.    It was later confirmed that Barboza and Associates was hired to provide

 8   legal advice to the City regarding the investigations thus creating an attorney-client

 9   relationship and a duty of Barboza and Associates to find in a manner to protect their

10   clients. The City specifically prohibited the firm to render any determination about

11   unlawful discrimination, harassment, violation of public policy or any other violations of

12   law or statute. Therefore, there was no reason for Serrano to participate in

13   investigations that could not result in a legal determination.

14          69.    On or about July 19, 2021, Defendant Ridge, trying to minimize her

15   misconduct and redirect attention from the allegations of misconduct against her, sent a

16   letter to the Mayor and City Council falsely claiming that all complaints and tort claims

17   coming from the SAPOA and its members were singular1y focused on Serrano's

18   pension issues. In the letter to the Mayor and City Council Ridge revealed confidential

19   personnel file information of Serrano in violation of state law. Ridge also tried to defame

20   Serrano in order to diminish his credibility if he was to come forward with allegations of

21   sexual harassment.
22          70.    It became clear that Ridge's letter dated July 19, 2021, was meant to

23   tarnish Serrano and the SAPOA and to be produced to mass audiences. In fact, on

24   August 3, 2021, the Voice of OC contacted Serrano and advised him that it had been

25   given copies of the letter and the disciplinary letter which outline allegations against him

26   by the City Manager and City Attorney. According to the records they were provided the

27   Voice of QC indicated that both Kristine Ridge and Sonia Carvalho claimed Serrano

28   had caused harm to the city through his pursuit of higher compensation including filing

                                                  17

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 164
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 169 of 305 Page ID #:169




 1   unsubstantiated legal claims, threats to 'burn the place down' and 'make disclosures

 2   that will hurt people" and asking elected officials to put pressure on the city manager.

 3   Ridge and Carvahlo conspired to release confidential communications to the media in

 4   violation of Penal Code §§832.5- 832.8 and/or Evidence Code §§1043-1046 and/or the

 5   Brown Act.

 6          71.    Two days later, even though Ridge had ordered Serrano not to have

 7   contact with her, she attempted to contact Serrano on his personal phone. Serrano

 8   knew better and did not take the call.

 9          72.    On July 29, 2021, the City rejected the Government Tort Claim filed

10   related to the above issues. The City chose not to try to resolve the matter or conduct

11   investigations prior to issuing the rejection. It appears that the Defendants are intent on

12   forcing the parties to litigate the City's liability. The use of Ms. Barboza's services is just

13   to obtain statements in an effort to defend the anticipated lawsuit.

14          73.    The City is believed to have closed its "sexual harassment investigation"

15   of Defendant Ridge without conducting a single interview and without questioning

16   Defendant Ridge regarding her alleged illegal and/or harassing conduct.

17                    SAPOA ASSISTS MEMBERS IN FILING COMPLAINTS

18          74.    On July 20, 2021, the SAPOA supported the filing of a citizen complaint

19   by one of the Association's members against Defendant Valentin alleging retaliation

20   and creating a hostile working environment for the member that was known to support

21   the SAPOA/Serrano. The Defendants assigned the investigation to an outside

22   investigator, but failed to notify the complainant of the outcome of the investigation.

23          75.    On or about August 19, 2021, the SAPOA supported the filing of a citizen

24   complaint by one of the Association's members against Sgt. Oscar Lizardi for

25   allegations of engaging in intimidation and threats against a member who Lizardi

26   believed supported the SAPOA's vote of no confidence against Defendant Valentin.

27   The Defendants assigned the investigation to an outside investigator, but failed to notify

28   the complainant of the outcome of the investigation.

                                                   18

                                              COMPLAINT                                 EXHIBIT D
                                                                                         Page 165
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 170 of 305 Page ID #:170




 1          76.    On or about August 19, 2021, the SAPOA supported the filing of a citizen

 2   complaint by one of the Association members against Sgt. Oscar Lizardi for allegation

 3   of witness intimidation related to an internal affairs investigation that Defendant Valentin

 4   ordered against a supporter of the SAPONSerrano. The Defendants assigned the

 5   investigation to an outside investigator, but failed to notify the complainant of the
 6   outcome of the investigation.

 7                                   VOTE OF NO CONFIDENCE

 8          77.    On July 8, 2021, Plaintiffs notified Defendant Ridge and Motsick that the

 9   Board of Directors had unanimously voted to send out a Vote of No Confidence ballot

1O regarding Defendant Valentin.

11          78.    In August, 2021, the SAPOA Board of Directors issued a Memorandum

12   regarding the Vote and raised a number of issues for the membership to consider.

13          79.    On or about August 25, 2021, Charles Goldwasser, who serves as

14   General Counsel to the Santa Ana Police Officers Association, wrote Defendant

15   Valentin and Defendant Ridge regarding on-duty harassment and verbal pressure

16   against SAPOA members by Sergeant Lizardi. The conduct interfered with these

17   officers' ability to perform their duties. The Santa Ana Police Officers' Association

18   requested that the City of Santa Ana issue a reminder about this type of on~duty

19   conduct taking place at the Police Department. Plaintiff Serrano, as the President of the

20   SAPOA, followed~up Mr. Goldwasser's communication with an email to Defendant

21   Motsick acknowledging that his members were reporting their working conditions were

22   becoming unbearable and reminding the City that an unchecked hostile work

23   environment, especially where the employees are armed, could result in a bad

24   situations occurring.

25          80.    On August 26, 2021, during a time the SAPOA was considering a "Vote of

26   No Confidence" in Defendant Valentin, Valentin in coordination with Defendants

27   Carvalho, Ridge and Motsick, tried to silence SAPOA President Gerry Serrano by

28   placing him on administrative leave and restricting his access to, and use of, the
                                                  19

                                             COMPLAINT                                EXHIBIT D
                                                                                       Page 166
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 171 of 305 Page ID #:171




 1   City/Police Department e-mail system. In order to place Serrano on administrative

 2   leave, Defendant Valentin, or his underlings, specifically ordered Commander Sorenson

 3   to leave the Notice of Administrative Leave/Fitness for Duty Exam at Serrano's

 4   residence where it was found by his son.

 5          81.    The order to undergo the Fitness for Duty Exam specifically references

 6   Mr. Serrano's August 26, 2021, 5:05 a.m., email to Defendant Motsick as the sole basis

 7   for the exam. Therefore, because Mr. Serrano decided that it was necessary, as the

 8   SAPOA President, to reaffirm the seriousness of the issues, Defendants ordered

 9   Serrano to undergo a Fitness for Duty Examination.

10          82.    Serrano, via counsel, objected to the Fitness for Duty Examination as

11   being unlawful. He invoked his rights under Government Code §3300, et seq., including

12   Government Code §3305 and/or Government Code §3306.5 (requesting copies of

13   and/or access to any and all documents being used or have been used to determine

14   that officer's qualifications for employment, promotion, additional compensation, or

15   termination or other disciplinary action).

16          83.    In response to Plaintiff's assertion of rights and request for materials

17   Defendants intentionally falsified a letter to Serrano's attorney by including claims that

18   Serrano had not been ordered to sign any releases. Defendants denied the request for

19   materials.

20          84.    It was subsequently discovered that Defendants did not comply with their

21   own policy regarding Fitness for Duty and/or Fitness for Duty Examinations.

22          85.    Police Commander Sorrenson was ordered not to retrieve department

23   issued equipment from Mr. Serrano at the SAPOA officce, but instead to order him to

24   report to the police station. The applicable Memorandum of Understanding specifically

25   states: "The Association and the City of Santa Ana agree that the Association's

26   representative will not be required to carry out any peace officer's duties during such

27   time that the Association's representative is on such full-time release from duty. The

28   Association's representative will be required to comply with the Rules and Regulations
                                                  20

                                              COMPLAINT                              EXHIBIT D
                                                                                      Page 167
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 172 of 305 Page ID #:172




 1   of the Santa Ana Police Department as they apply to off-duty employees, except such
 2   representative ill not be required to report for duty for any purpose. Defendants

 3   breached of the MOU by ordering Mr. Serrano to appear for a FFDE and to report to the
 4   police station.

 5          86.     Moreover, the Police Department Fitness for Duty policy indicates that its
 6   purpose and scope is directly related to the exercise of peace officers powers, but the

 7   MOU releases Mr. Serrano from any such exercise. Furthermore, the Fitness for Duty
 8   policy governs on-duty conduct, not off-duty.

 9          87.     Plaintiff initiated a grievance, but that matter was futile as it was to be

10   heard by the City Manager that had ordered Serrano not to have contact with her.

11   Defendants then had Defendant Motsick conduct the grievance hearing even though he
12   was the one that initiated the FFDE by claiming Serrano's e-mail was threatening.
13          88.     On September 1, 2021, the SAPOA disclosed the results of the Vote of

14   No Confidence. More than a majority of the members that voted indicated that they had
15   no confidence in the Chief of Police. That same day Defendant Valentin responded to

16   the membership vote by targeting Serrano. Defendant Valentin falsely attributed the
17   SAPOA's actions as Serrano's personal pension dispute and not about the facts giving

18   rise to the Vote. Defendant Valentin accused Serrano of making false and frivolous
19   claims, and engaging in crimes and corruption when Defendant Valentin knew these

20   allegations against Serrano were false.
21          89.     With the grievance over the FFDE pending and unresolved, Defendants

22   ordered Serrano to appear for the exam and undergo hours of questioning by the

23   contract doctor. The Defendants did not pay Serrano for his time at the FFDE

24   examination.
25          90.     On September 14, 2021, Serrano was found to be fit for duty and

26   removed from administrative leave. After Serrano was found to be fit for duty Defendant

27   Motsick finally held a grievance meeting and later summarily rejected the grievance.

28   Finally, even though Plaintiffs raised issues of retaliation and hostile environment
                                                    21

                                               COMPLAINT                                EXHIBIT D
                                                                                         Page 168
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 173 of 305 Page ID #:173




 1   Defendants have not even attempted to investigate these claims. Therefore, Plaintiffs
 2   have exhausted all administrative remedies related to the FFDE.

 3          91.    Additionally, even though Serrano had been removed from Administrative
 4   Leave, the locker assigned to him by the Police Department was secured so Serrano

 5   could not access it. It was visible to any person that walked into the locker room that the
 6   locker was still being secured by the Department.

 7          92.    Plaintiffs request a jury trial on all non-mandamus relief.
 8          93.    Plaintiff has no plain, speedy or adequate remedy under the law.
 9   Pursuant to Government Code Section 3309.5, Plaintiff need not pursue any
10   administrative remedy in order to address this problem; thus, Plaintiff is excused from

11   or has exhausted his administrative remedies. This court is given initial jurisdiction over
12   this matter pursuant to Government Code §3309.5.

13          94.    To the extent facts, incidents and/or issues described above were learned
14   and/or occurred after Plaintiffs' filed their Government Tort Claim, Plaintiffs only seek
15   mandamus and/or injunctive relief to cure the violations and prevent future violations of
16   a similar nature. Once Plaintiffs has processed and/or the Defendants rejected any
17   such supplemental claim, Plaintiffs will amend this Complaint accordingly.
18                                 VENUE AND JURISDICTION

19   95.Venue is proper in the Superior Court of the State of California, for the County of
20   Orange in that the underlying acts, omissions, injuries and related facts and
21   circumstances giving rise to the present action occurred in the City of Santa Ana,
22   County of Orange, California. This Court has jurisdiction over the present matter
23   because, as delineated within this complaint, the nature of the claims and amount in
24   controversy meet the requirements of jurisdiction in the Superior Court. This Court is
25   empowered with initial jurisdiction to entertain suits brought pursuant to California

26   Government Code §3300, et seq., and for traditional mandamus action.
27                                  FIRST CAUSE OF ACTION

28                                    Against All Defendants
                                                 22
                                             COMPLAINT
                                                                                     EXHIBIT D
                                                                                      Page 169
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 174 of 305 Page ID #:174




 1                         Violation of Government Code §3500, et seq.
 2          96. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   First Cause of Action against all Defendants for violations of Government Code §3500,

 4   et seq., re-allege paragraphs 1-95, above, and further allege as follows:

 5          97. Government Code §3502 provides, in pertinent part, public employees shall
 6   have the right to form, join, and participate in the activities of employee organizations of

 7   their own choosing for the purpose of representation on all matters of employer-
 8   employee relations.

 9          98. Government Code §3502.1 provides that "No public employee shall be

10   subject to punitive action or denied promotion, or threatened with any such treatment,
11   for the exercise of lawful action as an elected, appointed, or recognized representative
12   of any employee bargaining unit."

13          99. Government Code §3503 provides, in pertinent part, that "Recognized

14   employee organizations shall have the right to represent their members in their
15   employment relations with public agencies."

16          100. Government Code §3504 provides, in pertinent part, that the scope of

17   representation shall include all matters relating to employment conditions and
18   employer-employee relations, including, but not limited to, wages, hours, and other

19   terms and conditions of employment.

20          101. Government Code §3506 provides that "Public agencies and employee
21   organizations shall not interfere with, intimidate, restrain, coerce or discriminate against

22   public employees because of their exercise of their rights under Section 3502."

23          102. Government Code §3506.5 provides, in pertinent part, that a public agency

24   shall not do any of the following: (a) Impose or threaten to impose reprisals on
25   employees, to discriminate or threaten to discriminate against employees, or otherwise

26   to interfere with, restrain, or coerce employees because of their exercise of rights

27   guaranteed by this chapter; (b) deny to employee organizations the rights guaranteed to

28   them by this chapter; (d) dominate or interfere with the formation or administration of
                                                  23

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 170
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 175 of 305 Page ID #:175




 1   any employee organization, contribute financial or other support to any employee

 2   organization, or in any way encourage employees to join any organization in preference

 3   to another.

 4          103. Defendants, and each of them, in undertaking the acts and/or omissions

 5   listed above, violated the above provisions of the Meyers-Milias-Brown Act (MMBA),

 6   including, but not limited to interfering with, intimidating, restraining, coercing and/or

 7   discriminating against the SAPOA, Gerry Serrano and/or other public employees who

 8   are members of the SAPOA because of their exercise of their rights under this Act.

 9          104. Defendants, and each of them, have engaged in acts and/or omissions, as

10   alleged above, wherein they have 1) subjected Serrano to punitive actions and/or

11   threatened him with said actions; 2) imposed or threatened to impose reprisals on

12   Serrano, 3) discriminated or threatened to discriminated against him; 3) otherwise

13   interfered with, restrained, or coerced Serrano because of his exercise of rights

14   guaranteed by the MMBA, and/or for the exercise of lawful action as an elected,

15   appointed, or recognized representative of any employee bargaining unit..

16          105. The duty to obey the laws set forth in Government Code §3500, et seq., is

17   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth

18   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions

19   of defendants, set forth above, demonstrate that defendants' failure to comply with

20   Government Code §3500, et seq., was illegal as a matter of law under Government

21   Code section 1222, which makes a public officer's "willful omission to perform any duty

22   enjoined by law" a misdemeanor.

23          106. Each and every act listed above, individually or jointly, constitutes a

24   violation of Government Code §3500, et seq., and therefore this court should render

25   appropriate injunctive or other extraordinary relief to remedy the violation and to prevent

26   future violations of a like or similar nature, including, but not limited to, the granting of a

27   temporary restraining order, a preliminary injunction and a permanent injunction, or, in

28   the alternative, a Writ of Mandate prohibiting the Santa Ana Police Department from
                                                    24

                                               COMPLAINT                                EXHIBIT D
                                                                                         Page 171
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 176 of 305 Page ID #:176




 1   taking any punitive action against any public safety officer member of the SAPOA.
 2   Plaintiffs specifically seek a "make whole" remedy.

 3           107. The above articulated violations were proximately caused by City's
 4   deliberate indifference to its employee's violations of the Meyer-Milias Brown Act, and
 5   the failure to train and control its officers and representatives on the provisions of these
 6   Acts. The violations set forth above were proximity caused by the customs, practices,
 7   policies and decisions of the defendants.
 8          108. Unless this court issues a preliminary and permanent injunction enjoining
 9   and restraining defendants, and each of them, and their agents, employees and
10   servants, from ordering, requiring, commanding, or taking any other action that will
11   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his
12   rights, as afforded by Government Code §3500, et seq., will be violated without any
13   remedy being afforded.
14          109. Plaintiffs have attempted, without success, to exhaust any and all
15   administrative remedies afforded to them to deal with these issues, but such efforts are
16   futile as the named defendants are the ones that make the final decisions via any
17   complaints, grievances or other administrative actions.
18          110. Plaintiff requests this court to award damages and attorney fees pursuant
19   C.C.P. §1090 and 1095.
20          111. In bringing this action, Petitioners have sought enforcement of an important
21   right affecting the public interest which will result in the conferring of a significant benefit
22   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to
23   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.
24          112. The actions of defendants, and each of them, were arbitrary and capricious
25   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

26   Code §800.

27                                  SECOND CAUSE OF ACTION

28                                       Against All Defendants
                                                     25

                                                                                            EXHIBIT D
                                                COMPLAINT

                                                                                             Page 172
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 177 of 305 Page ID #:177




 1                         Violation of Government Code §3300, et seq.

 2           113. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   Second Cause of Action against all Defendants for violations of Government Code

 4   §3300, et seq., relief re-alleges paragraphs 1-112, above, and further allege as follows:

 5           114. Government Code §3301 provides, in pertinent part, that "The Legislature

 6   hereby finds and declares that the rights and protections provided to peace officers

 7   under this chapter constitute a matter of statewide concern. The Legislature further

 8   finds and declares that effective law enforcement depends upon the maintenance of

 9   stable employer-employee relations, between public safety employees and their

10   employers. In order to assure that stable relations are continued throughout the state

11   and to further assure that effective services are provided to all people of the state, it is

12   necessary that this chapter be applicable to all public safety officers, as defined in this
13   section, wherever situated within the State of California."

14           115. Government Code §3302 provides, in pertinent part, that except as

15   otherwise provided by law, or whenever on duty or in uniform, no public safety officer

16   shall be prohibited from engaging, or be coerced or required to engage, in political

17   activity.

18           116. Government Code §3303 provides, in pertinent part, that when any public

19   safety officer is under investigation and subjected to interrogation by his or her

20   commanding officer, or any other member of the employing public safety department,

21   that could lead to punitive action, the interrogation shall be conducted under the

22   following conditions. For the purpose of this chapter, punitive action means any action

23   that may lead to dismissal, demotion, suspension, reduction in salary, written

24   reprimand, or transfer for purposes of punishment.

25                 (a) The interrogation shall be conducted at a reasonable hour, preferably

26                 at a time when the public safety officer is on duty, or during the normal

27                 working hours for the public safety officer, unless the seriousness of the

28                 investigation requires otherwise. If the interrogation does occur during off-
                                                   26

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 173
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 178 of 305 Page ID #:178




 1              duty time of the public safety officer being interrogated, the public safety
 2              officer shall be compensated for any off-duty time in accordance with

 3              regular department procedures, and the public safety officer shall not be
 4              released from employment for any work missed.

 5              (b) The public safety officer under investigation shall be informed prior to
 6             the interrogation of the rank, name, and command of the officer in charge

 7             of the interrogation, the interrogating officers, and all other persons to be
 8             present during the interrogation. All questions directed to the public safety

 9             officer under interrogation shall be asked by and through no more than

10             two interrogators at one time.

11             (c) The public safety officer under investigation shall be informed of the

12             nature of the investigation prior to any interrogation.

13             (e) The employer shall not cause the public safety officer under

14             interrogation to be subjected to visits by the press or news media without
15             his or her express consent nor shall his or her home address or

16             photograph be given to the press or news media without his or her
17             express consent.

18             (g) The complete interrogation of a public safety officer may be recorded.

19             If a tape recording is made of the interrogation, the public safety officer

20             shall have access to the tape if any further proceedings are contemplated

21             or prior to any further interrogation at a subsequent time. The public safety

22             officer shall be entitled to a transcribed copy of any notes made by a

23             stenographer or to any reports or complaints made by investigators or

24             other persons, except those which are deemed by the investigating

25             agency to be confidential. No notes or reports that are deemed to be

26             confidential may be entered in the officer's personnel file. The public

27             safety officer being interrogated shall have the right to bring his or her own

28             recording device and record any and all aspects of the interrogation.

                                              27
                                         COMPLAINT
                                                                                  EXHIBIT D
                                                                                   Page 174
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 179 of 305 Page ID #:179




  1           117. Government Code §3304(a) provides that "No public safety officer shall be

  2    subjected to punitive action, or denied promotion, or be threatened with any such

  3    treatment, because of the lawful exercise of the rights granted under this chapter, or the

  4    exercise of any rights under any existing administrative grievance procedure.

  5           118. Government Code §3304(b) provides, in pertinent part, 11 No punitive action,

  6    nor denial of promotion on grounds other than merit, shall be undertaken by any public

  7    agency against any public safety officer who has successfully completed the

  8    probationary period that may be required by his or her employing agency without

  9    providing the public safety officer with an opportunity for administrative appeal."

 10           119. Government Code §3304(d) (1) reads "Except as provided in this

 11    subdivision and subdivision (g), no punitive action, nor denial of promotion on grounds

 12    other than merit, shall be undertaken for any act, omission, or other allegation of

 13    misconduct if the investigation of the allegation is not completed within one year of the

 14    public agency's discovery by a person authorized to initiate an investigation of the

 15    allegation of an act, omission, or other misconduct. This oneMyear limitation period shall

 16    apply only if the act, omission, or other misconduct occurred on or after January 1,

 17    1998. In the event that the public agency determines that discipline may be taken, it

 18    shall complete its investigation and notify the public safety officer of its proposed

 19    discipline by a Letter of Intent or Notice of Adverse Action articulating the discipline that

 20    year, except as provided in paragraph (2). The public agency shall not be required to

 21    impose the discipline within that oneMyear period."

 22           120. Government Code §3305 provides that no public safety officer shall have

 23    any comment adverse to his interest entered in his personnel file, or any other file used

 24    for any personnel purposes by his employer, without the public safety officer having first

 25    read and signed the instrument containing the adverse comment indicating he is aware

 26    of such comment, except that such entry may be made if after reading such instrument

 27    the public safety officer refuses to sign it. Should a public safety officer refuse to sign,

- 28   that fact shall be noted on that document, and signed or initialed by such officer.
                                                     28

                                                COMPLAINT                                EXHIBIT D
                                                                                          Page 175
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 180 of 305 Page ID #:180




 1          121. Government Code §3306 reads "A public safety officer shall have 30 days

 2   within which to file a written response to any adverse comment entered in his personnel

 3   file. Such written response shall be attached to, and shall accompany, the adverse

 4   comment."

 5          122. Government Code §3306.5. provides, in pertinent part, that (a) Every

 6   employer shall, at reasonable times and at reasonable intervals, upon the request of a

 7   public safety officer, during usual business hours, with no loss of compensation to the

 8   officer, permit that officer to inspect personnel files that are used or have been used to

 9   determine that officer's qualifications for employment, promotion, additional

10   compensation, or termination or other disciplinary action; (b) Each employer shall keep

11   each public safety officer's personnel file or a true and correct copy thereof , and shall

12   make the file or copy thereof available within a reasonable period of time after a request

13   therefor by the officer."

14          123. Government Code §3309 provides that "No public safety officer shall have

15   his locker, or other space for storage that may be assigned to him searched except in

16   his presence, or with his consent, or unless a valid search warrant has been obtained or

17   where he has been notified that a search will be conducted. This section shall apply

18   only to lockers or other space for storage that are owned or leased by the employing

19   agency.

20          124. Government Code §3309.5(a) provides "It shall be unlawful for any public

21   safety department to deny or refuse to any public safety officer the rights and

22   protections guaranteed to him or her by this chapter."

23          125. Government Code §3309.5 further provides, in pertinent part, "(d) (1) In

24   any case where the superior court finds that a public safety department has violated

25   any of the provisions of this chapter, the court shall render appropriate injunctive or

26   other extraordinary relief to remedy the violation and to prevent future violations of a like

27   r similar nature, including, but not limited to, the granting of a temporary restraining

28   order, preliminary injunction, or permanent injunction prohibiting the public safety
                                                  29

                                              COMPLAINT                               EXHIBIT D
                                                                                       Page 176
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 181 of 305 Page ID #:181




 1   department from taking any punitive action against the public safety officer" and "(e) In

 2   addition to the extraordinary relief afforded by this chapter, upon a finding by a superior

 3   court that a public safety department, its employees, agents, or assigns, with respect to

 4   acts taken within the scope of employment, maliciously violated any provision of this

 5   chapter with the intent to injure the public safety officer, the public safety department

 6   shall, for each and every violation, be liable for a civil penalty not to exceed twenty-five

 7   thousand dollars ($25,000) to be awarded to the public safety officer whose right or

 8   protection was denied and for reasonable attorney's fees as may be determined by the

 9   court. If the court so finds, and there is sufficient evidence to establish actual damages

10   suffered by the officer whose right or protection was denied, the public safety

11   department shall also be liable for the amount of the actual damages.''

12          126. As described above, Plaintiff Gerry Serrano was the subject of numerous

13   investigations that could result in punitive action. One investigation was conducted by

14   Defendants Carvalho and Motsick after Defendant Ridge complained that Serrano was

15   making false statements about her. Serrano was not told, prior to his interview, that

16   Carvalho would be present, was not informed of the nature of the investigation prior to

17   arriving, was not told, nor afforded the opportunity to record the interview.

18          127. In other administrative investigations conducted under the orders of

19   Defendant Valentin, Serrano was not compensated for his time in the interrogations.

20          128. Defendant Ridge issued punitive action against Serrano and when he

21   sought an administrative appeal and the documents purportedly supporting the punitive

22   action, both requests were denied.

23          129. Defendant Valentin has placed or caused to be placed in Serrano's

24   personnel file and/or files used for personnel purposes adverse comments without

25   affording Serrano the ability to review the documents containing the adverse comments.

26          130. Defendant Valentin has ordered administrative investigations to be

27   conducted well in excess of the one year statute of limitations, and has not provided

28   notice of the investigations or the outcome of the investigations to Serrano.
                                                  30

                                              COMPLAINT                               EXHIBIT D
                                                                                       Page 177
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 182 of 305 Page ID #:182




 1             131. Serrano has requested to review documents used for personnel purposes
 2   but has been denied the opportunity to do so.

 3             132. Serrano has information and believe that his department issued locker
 4   and/or other space for storage (including his department issued email storage system)
 5   has been searched outside of his presence and/or without his knowledge/consent or

 6   valid search warrant.
 7             133. Serrano, while acting as the President of the SAPOA, and while off-duty
 8   and out of uniform has been prohibited from engaging in political activity.
 9             134. Serrano has been threatened with punitive action because of the lawful
10   exercise of the rights granted by Government Code §3300, et seq., and/or exercising
11   rights under existing administrative grievance procedures.
12             135. The duty to obey the laws set forth in Government Code §3300, et seq., is
13   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth
14   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions
15   of defendants, set forth above, demonstrate that defendants' failure to comply with
16   Government Code §3300, et seq., was illegal as a matter of law under Government
17   Code section 1222, which makes a public officer's "willful omission to perform any duty
18   enjoined by law" a misdemeanor.
19             136. Each and every act listed above, individually or jointly, constitutes a
20   violation of Government Code §3300, et seq., and therefore this court should render all
21   available and proper relief under Government Code §3309.5 to remedy the violations
22   and to prevent future violations of a like or similar nature. Plaintiffs specifically seek a

23   11
          make whole" remedy.
24             137. For those acts identified in the already filed Government Tort Claim,

25   Plaintiffs further seek all relief afforded under Government Code §3309.5(e).
26             138. The above articulated violations were proximately caused by City's
27   indifference to its employee's violations of the Public Safety Officers Procedural Bill of
28   Rights Act, and the failure to train and control its officers and representatives on the
                                                    31
                                                COMPLAINT                              EXHIBIT D
                                                                                        Page 178
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 183 of 305 Page ID #:183




 1   provisions of this Act. The violations set forth above were proximity caused by the
 2   customs, practices, policies and decisions of the defendants.
 3           139. Unless this court issues a preliminary and permanent injunction enjoining
 4   and restraining defendants, and each of them, and their agents, employees and
 5   servants, from ordering, requiring, commanding, or taking any other action that will
 6   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his
 7   rights, as afforded by Government Code §3300, et seq., will be violated without any
 8   remedy being afforded.
 9          140. Plaintiffs have attempted, without success, to exhaust any and all
1O administrative remedies afforded to them to deal with these issues, but such efforts are

11   futile as the named defendants are the ones that make the final decisions via any
12   complaints, grievances or other administrative actions. Moreover, pursuant to
13   Government Code §3309.5, Plaintiffs are not required to exhaust administrative
14   remedies.
15          141. Plaintiff requests this court to award damages and attorney fees pursuant
16   to C.C.P. §1090 and 1095.
17          142. In bringing this action, Petitioners have sought enforcement of an important
18   right affecting the public interest which will result in the conferring of a significant benefit
19   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to
20   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.
21          143. The actions of defendants, and each of them, were arbitrary and capricious
22   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
23   Code §800.
24                                    THIRD CAUSE OF ACTION

25                                       Against All Defendants
26                     Violation of Constitutional Right to Freedom of Speech

27          144. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a
28   Third Cause of Action against all Defendants for violations of Plaintiffs' right to freedom

                                                     32

                                                                                            EXHIBIT D
                                                COMPLAINT

                                                                                             Page 179
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 184 of 305 Page ID #:184




 1   of speech and writing, freedom to instruct their representative, freedom to petition
 2   government for redress of grievances, and to consult for the common good, re-allege

 3   paragraphs 1-143, above, and further allege as follows:

 4          145. While the U.S. Constitution grants citizens protections for free speech

 5   under the First Amendment to the U.S. Constitution, which are enforced via 42 USC

 6   §1983, the California Constitution also protects this right. Article I, Section 2 of the
 7   California Constitution states that "[e]very person may freely speak, write and publish

 8   his or her sentiments on all subjects, being responsible for the abuse of this right. ... "

 9   Article I, Section 3 of the California Constitution states "[T]he people have the right to
10   instruct their representatives, petition government for redress of grievances, and
11   assemble freely to consult for the common good.

12          146. Defendants, and each of them, have engaged in acts and/or omissions to
13   violate Plaintiffs right to freedom to speak, write and publish their sentiments, and/or

14   their ability to petition government for redress of grievances, assemble and to consult

15   for the common good.

16          147. The duty to obey the laws set forth in state and federal laws is a ministerial

17   duty and is not discretionary. By acting, and failing to act, as set forth above,
18   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

19   defendants, set forth above, demonstrate that defendants' failure to comply with the

20   California Constitution wherein it enjoins certain acts; therefore, defendants actions

21   were illegal as a matter of law under Government Code section 1222, which makes a

22   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.
23          148. Each and every act listed above, individually or jointly, constitutes a

24   violation of Plaintiffs' speech rights and/or the California Constitution and therefore this

25   court should render all available and proper relief to remedy the violations and to

26   prevent future violations of a like or similar nature. Plaintiffs specifically seek a "make

27   whole" remedy.
28          149. For those acts identified in the already filed Government Tort Claim,
                                                   33

                                              COMPLAINT                                  EXHIBIT D
                                                                                          Page 180
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 185 of 305 Page ID #:185




 1   Plaintiffs further seek all available monetary damages and statutory penalties. For those
 2   acts not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs
 3   seek injunctive and/or mandamus remedies.

 4          150. The above articulated violations were proximately caused by City's

 5   deliberate indifference to its employees' violations law, and the failure to train and
 6   control its officers and representatives on the provisions of law referenced above. The

 7   violations set forth above were proximity caused by the customs, practices, policies and
 8   decisions of the defendants.

 9          151. Unless this court issues a preliminary and permanent injunction enjoining
10   and restraining defendants, and each of them, and their agents, employees and

11   servants, from ordering, requiring, commanding, or taking any other action that will
12   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his ·
13   rights will be violated without any remedy being afforded.

14          152. Plaintiffs have attempted, without success, to exhaust any and all

15   administrative remedies afforded to them to deal with these issues, but such efforts are

16   futile as the named defendants are the ones that make the final decisions via any
17   complaints, grievances or other administrative actions.

18          153. Plaintiffs request this court to award damages and attorney fees as

19   provided by law, including pursuantto C.C.P. §1090 and 1095.

20          154. In bringing this action, Petitioners have sought enforcement of an important

21   right affecting the public interest which will result in the conferring of a significant benefit

22   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

23   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

24          155. The actions of defendants, and each of them, were arbitrary and capricious

25   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

26   Code §800.

27                                   FOURTH CAUSE OF ACTION

28                                        Against All Defendants
                                                      34

                                                 COMPLAINT                                  EXHIBIT D
                                                                                             Page 181
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 186 of 305 Page ID #:186




 1                              Violation of Labor Code §1101-1102.5

 2          156. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   Fourth Cause of Action against all Defendants for violation of provisions of the Labor

 4   Code re-alleges paragraphs 1-95, above, and further allege as follows:

 5          157. Labor Code section 1101 provides, in pertinent part, that no employer shall

 6   make, adopt, or enforce any rule, regulation, or policy: (a) Forbidding or preventing

 7   employees from engaging or participating in politics ... (b) Controlling or directing, or

 8   tending to control or direct the political activities or affiliations of employees.

 9          158. Labor Code §1102 provides "No employer shall coerce or influence or

10   attempt to coerce or influence his employees through or by means of threat of

11   discharge or loss of employment to adopt or follow or refrain from adopting or following

12   any particular course or line of political action or political activity.

13          159. Labor Code §1102.5 provides that (a) An employer, or any person acting

14   on behalf of the employer, shall not make, adopt, or enforce any rule, regulation, or

15   policy preventing an employee from disclosing information to a government or law

16   enforcement agency, to a person with authority over the employee, or to another

17   employee who has authority to investigate, discover, or correct the violation or

18   noncompliance, or from providing information to, or testifying before, any public body

19   conducting an investigation, hearing, or inquiry, if the employee has reasonable cause

20   to believe that the information discloses a violation of state or federal statute, or a

21   violation of or noncompliance with a local, state, or federal rule or regulation, regardless

22   of whether disclosing the information is part of the employee's job duties. (b) An

23   employer, or any person acting on behalf of the employer, shall not retaliate against an

24   employee for disclosing information, or because the employer believes that the

25   employee disclosed or may disclose information, to a government or law enforcement

26   agency, to a person with authority over the employee or another employee who has the

27   authority to investigate, discover, or correct the violation or noncompliance, or for

28   providing information to, or testifying before, any public body conducting an
                                                     35

                                                COMPLAINT                                  EXHIBIT D
                                                                                            Page 182
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 187 of 305 Page ID #:187




 1   investigation, hearing, or inquiry, if the employee has reasonable cause to believe that

 2   the information discloses a violation of state or federal statute, or a violation of or

 3   noncompliance with a local, state, or federal rule or regulation, regardless of whether

 4   disclosing the information is part of the employee's job duties.

 5          160. Sections 1101 and 1102 protect "the fundamental right of employees in

 6   general to engage in political activity without interference by employers." (Gay Law

 7   Students Assn., 24 Cal.3d at 487 (quoting Fort v. Civil Service Commission (1964) 61

 8   Cal.2d 331, 335).)

 9          161. As shown by the facts pied above, Defendants, and each of them, have

10   engaged in acts and/or omissions that violated Labor Code §§1101 and/or 1102 to the

11   detriment of Plaintiff Serrano, Plaintiff SAPOA, and those members of the SAPOA that

12   support the SAPOA's actions.

13          162. Defendants, and each of them, have engaged in retaliation against both

14   Plaintiffs for disclosing information, or because the employer believed that the

15   employee disclosed or may disclose information, to a government or law enforcement

16   agency, to a person with authority over the employee or another employee who has the

17   authority to investigate, discover, or correct the violation or noncompliance, or for

18   providing information to, or testifying before, any public body conducting an

19   investigation, hearing, or inquiry, wherein the employee had reasonable cause to

20   believe that the information disclosed a violation of state or federal statute, or a violation

21   of or noncompliance with a local, state, or federal rule or regulation.

22          163. As a proximate result of Defendants willful, knowing and intentional

23   violations of the Labor Code sections referenced above, Plaintiff Serrano has suffered

24   and continues to suffer substantial losses in earnings and/or other employment

25   benefits. As a legal result of the conduct of Defendants, and each of them, Plaintiff has

26   suffered and will continue to suffer distress, suffering, anguish, fright, nervousness,

27   grief, anxiety, worry, shame, mortification, injured feelings, shock, humiliation and

28   indignity, as well as other unpleasant reactions, damages to reputation, and other non-
                                                   36
                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 183
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 188 of 305 Page ID #:188




 1   economic damages, in a sum to be ascertained according to proof. Said damages are

 2   of the type that any person would suffer as result of the illegal and wrongful conduct of

 3   Defendants; Plaintiff does not claim that he has suffered any psychiatric illness as a

 4   result of the conduct of Defendants. Plaintiff Serrano further seeks to recover all wages

 5   and benefits that Plaintiff would have earned if not discriminated against, retaliated

 6   against, or unlawfully harmed in amount to be proven at trial.

 7          164. Plaintiff SAPOA has incurred damages in the form of attorney fees, costs
 8   and nominal damages because of Defendants' violations of the Labor Code section

 9   cited above.

10          165. The duty to obey the Labor Code sections set forth above is a ministerial
11   duty and is not discretionary. By acting, and failing to act, as set forth above,

12   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

13   defendants, set forth above, demonstrate that defendants' failure to comply with the

14   California Constitution wherein it enjoins certain acts; therefore, defendants actions

15   were illegal as a matter of law under Government Code section 1222, which makes a

16   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.

17          166. The acts listed above, individually or jointly, constitute a violation of
18   Plaintiffs' rights under the Labor Code and therefore this court should render all

19   available and proper relief to remedy the violations and to prevent future violations of a

20   like or similar nature. Plaintiffs specifically seek a 11 make whole" remedy.

21          167. For those acts identified in the already filed Government Tort Claim,
22   Plaintiffs seek all available monetary damages and statutory penalties. For those acts

23   not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs seek

24   injunctive and/or mandamus remedies. Plaintiffs are in the process of satisfying the

25   Government Tort Claim requirement for those acts or omissions that were learned of

26   and/or took place after the initial Tort Claim was filed and rejected; upon completion of

27   that process, Plaintiffs will seek leave to amend the complaint to seek damages and/or

28   civil penalties for the additional acts that recently occurred or were learned of.

                                                   37

                                              COMPLAINT                                  EXHIBIT D
                                                                                          Page 184
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 189 of 305 Page ID #:189




 1          168. The above articulated violations were proximately caused by City's
 2   deliberate indifference to its employees' violations law, and the failure to train and

 3   control its officers and representatives on the provisions of law referenced above. The

 4   violations set forth above were proximity caused by the customs, practices, policies and
 5   decisions of the defendants.
 6          169. Unless this court issues a preliminary and permanent injunction enjoining
 7   and restraining defendants, and each of them, and their agents, employees and

 8   servants, from ordering, requiring, commanding, or taking any other action that will

 9   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his
10   rights will be violated without any remedy being afforded.

11          170. Plaintiffs have attempted, without success, to exhaust any and all

12   administrative remedies afforded to them to deal with these issues, but such efforts are

13   futile as the named defendants are the ones that make the final decisions via any
14   complaints, grievances or other administrative actions.

15          171. Plaintiff requests this court to award damages and attorney fees as
16   provided by law, including pursuant to C.C.P. §1090 and 1095.

17          172. In bringing this action, Plaintiffs have sought enforcement of an important

18   right affecting the public interest which will result in the conferring of a significant benefit
19   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

20   an award of attorneys' fees pursuant to Code of Civil Procedure §1021 .5.

21          173. The actions of defendants, and each of them, were arbitrary and capricious

22   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

23   Code §800.

24                                     FIFTH CAUSE OF ACTION

25                 Against City, Police Department. Valentin, Ridge and Carvalho

26              Violation of Penal Code §§832.5-832.8/Evidence Code §1043-1046

27          174. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

28   Fifth Cause of Action against all Defendants for violations of Penal Code §§832.5-832.8
                                                      38

                                                 COMPLAINT                                  EXHIBIT D
                                                                                             Page 185
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 190 of 305 Page ID #:190




 1    and/or Evidence Code §§1043-1046 re-alleges paragraphs 1-95, above, and further
 2    allege as follows:

 3             175. Penal Code 832.5(a} (1} provides "Each department or agency in this state

 4    that employs peace officers shall establish a procedure to investigate complaints by

 5    members of the public against the personnel of these departments or agencies, and
 6    shall make a written description of the procedure available to the public."

 7    176.Penal Code §832.7(f} (1} mandates that "The department or agency shall provide
 8    written notification to the complaining party of the disposition of the complaint within 30

 9    days of the disposition."
10             177. The City of Santa Ana and Santa Ana Police Department have established

11    and published procedures for receiving and investigating complaints. The established
12    procedures state that complaints will investigated and the party submitting the

13    complaint will be notified of the results by mail.

14             178. The procedure for addressing citizen complaints that the department has
15    established and published obligated the department to conduct an investigation into the

16    allegations of the complaint that was sufficient to allow a decision-maker make one of
17    four possible findings, and the procedure obligated the Chief of Police to make one of

18    those findings with respect to each allegation of misconduct. Defendants did not comply
·19   with these obligations and Plaintiffs are entitled to a writ of mandate compelling

20    defendants to perform their ministerial duty to satisfy the obligations imposed by the

21    department's published procedure. (See Galzinski v. Somers, (2016} 2 Cal.App.5 th

22    1164).

23             179. Plaintiffs filed complaints and requests for investigations and Defendants

24    failed to either investigate the allegations of misconduct (which were also violations of

25    state law and possible misdemeanor offenses} and/or refused to notify Plaintiff SAPOA

26    of the outcome of the investigation.
27             180. Defendants had a ministerial duty to investigate the SAPOA's and/or

28    Serrano's citizen's complaint and to render a finding on that complaint in compliance
                                                    39

                                               COMPLAINT                              EXHIBIT D
                                                                                       Page 186
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 191 of 305 Page ID #:191




 1   with the complaint procedure the department established and made public pursuant to

 2   subdivision (a)(1) of Penal Code section 832.5. (See Gregory v. State Bd. of Control

 3   (1999) 73 Cal.App.4th 584 ('[a] public entity has a ministerial duty to comply with its

 4   own rules and regulations where they are valid and unambiguous); Pozar v. Department

 5   of Transportation (1983) 145 Cal.App.3d 269 (a writ of mandate may be issued to

 6   compel a public agency to follow its own internal procedures.).

 7          181. A writ of mandate may be issued by any court to any inferior tribunal,

 8   corporation, board, or person, to compel the performance of an act which the law

 9   specially enjoins, as a duty resulting from an office, trust, or station." (Code Civ. Proc.,§

10   1085, subd. (a).) Indeed, "[t]he writ must be issued in all cases where there is not a

11   plain, speedy, and adequate remedy, in the ordinary course of lawupon the verified

12   petition of the party beneficially interested." (Id. , § 1086.) In essence, "[m]andamus lies

13   to compel the performance of a clear, present, and ministerial duty where the petitioner

14   has a beneficial rig~t to performance of that duty." (Carrancho v. California Air

15   Resources Board (2003) 111 Cal.App.4th 1255 1265) "A duty is ministerial when it is

16   the doing of a thing unqualifiedly required." (Redwood Coast Watersheds Alliance v.

17   State Bd. of Forestry & Fire Protection (1999) 70 Cal.App.4th 962, 970).

18          182. Plaintiffs seek a writ of mandate commanding Defendants to investigate

19   Plaintiffs complaint regarding the release of the confidential information and to inform

20   Plaintiff of the outcome of that investigation. Plaintiff further seeks an order of the court

21   mandating that Defendants, and each of them, fully investigate any and all complaints

22   made to the City of Santa Ana/Santa Ana Police Department regarding the misconduct

23   of police department employees/officials.

24          183. Furthermore, Penal Code §832.5-832.8 requires Defendants to maintain as

25   confidential peace officer personnel files/information. The only manner in which the

26   information can be released to third parties is through compliance with Evidence Code

27   §§1043-1046.

28          184. Plaintiff Serrano was issued punitive action by Defendant Ridge, and then
                                                   40

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 187
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 192 of 305 Page ID #:192




 1   Defendant Ridge and/or Carvalho released copies of the punitive action to elected

 2   Council members and media sources without complying with the legal requirements set
 3   forth above.

 4           185. The duty to obey the laws set forth in Penal Code§ §832.5-832.8 and/or
 5   Evidence Code §§1043-1046, is a ministerial duty and is not discretionary. By acting,

 6   and failing to act, as set forth above, defendants have violated a ministerial duty.

 7   Moreover, the acts and/or omissions of defendants, set forth above, demonstrate that
 8   defendants' failure to comply with Penal Code §§832.5-832.8 and/or Evidence Code

 9   §1043-1046 was illegal as a matter of law under Government Code section 1222, which
10   makes a public officer's "willful omission to perform any duty enjoined by law" a

11   misdemeanor.
12           186. As a result of Defendants' unlawful action, Plaintiff Serrano has suffered
13   and will continue to suffer distress, suffering, anguish, fright, nervousness, grief,

14   anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,
15   damages to reputation, and other non-economic damages, in a sum to be ascertained

16   according to proof. Said damages are of the type that any person would suffer as result
17   of the illegal and wrongful conduct of Defendants; Plaintiff does not daim that he has

18   suffered any psychiatric illness as a result of the conduct of Defendants.
19           187. Plaintiffs have no plain, speedy or adequate remedy under the law.
20   Plaintiffs have attempted to exhaust all administrative remedies to redress the violation

21   of their rights.
22           188. Plaintiffs request this court to award ancillary damages pursuant to C.C.P.

23   §1090 and 1095.
24           189. The actions of defendants, and each of them, were arbitrary and capricious
25   and, therefore, Plaintiffs are entitled to recover attorneys' fees pursuant to Government

26   Code §800.
27           190. The success of Plaintiffs in this action will result in the enforcement of an

28   important right affecting the public interest in that a significant benefit will be conferred

                                                   41

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 188
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 193 of 305 Page ID #:193




 1   on a large class of persons, that is, public employees, and the necessity and financial
 2   burden of private enforcement of said benefit are such as to make appropriate the

 3   award of attorney fees pursuant to California Code of Civil Procedure §1021.5.
 4                                     SIXTH CAUSE OF ACTION

 5                   (Violation of FEHA (Government Code§ 12900, et seq.)
 6                         Retaliation for Engaging in Protected Activity
 7                   (Against City of Santa Ana/Santa Ana Police Department)
 8          191. The allegations set forth in paragraphs 1 through 190 are re-alleged and
 9   incorporated herein by reference.
10          192. Plaintiffs filed complaints with the City of Santa Ana, via Defendant Ridge
11   and/or Motsick regarding allegations of gender discrimination and/or harassment.
12   Furthermore, Defendants Ridge, Motsick and Carvalho believed that Plaintiffs had or
13   would file complaints against Ridge for allegations of sexual harassment. In retaliations
14   for Plaintiffs filing complaints, and/or the fear that additional complaints would be made,
15   defendants engaged in actions such as issuing punitive action, causing Plaintiff Serrano
16   to be subject to improper investigations, placed on administrative leave, and/or to
17   implement other adverse employment action against Plaintiff Serrano.
18          193. Plaintiffs complained to Defendants about the inappropriate actions
19   (discrimination, harassment and/or retaliation), but nothing was done and the retaliation
20   continued unabated. On the basis of the above, Plaintiffs believe and allege that
21   Defendants retaliated against them for their complaints of gender discrimination, sexual

22   harassment, and/or retaliation.
23          194. Plaintiffs reporting of unlawful actions were motivating factors in
24   Defendants' decision not to implement adverse employment actions against Plaintiff

25   Serrano.
26         195. Defendants' conduct, as alleged, violated the Fair Employment and
27   Housing Act, Government Code section 12900, et seq., and Defendants committed

28   unlawful employment practices.

                                                 42
                                             COMPLAINT
                                                                                       EXHIBIT D
                                                                                        Page 189
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 194 of 305 Page ID #:194




 1          196. As a proximate result of Defendants' willful, knowing, and intentional
 2   discrimination/harassment/retaliation against Plaintiff, Plaintiff has sustained and

 3   continues to sustain damages, humiliation, distress, pain and anguish, all to his
 4   damage in a sum according to proof.

 5          197. Plaintiffs have incurred and continues to incur legal expenses and
 6   attorneys' fees. Pursuant to Government Code section 12965(b ), plaintiffs are entitled

 7   to recover reasonable attorneys' fees and costs (including expert costs) in an amount
 8   according to proof.

 9          198. Plaintiffs further request that the Court render appropriate injunctive or
10   other extraordinary relief to remedy these violations and to prevent future violations of a

11   like or similar nature, including, but not limited to, the granting of a permanent injunction
12   requiring the Defendants, upon receiving notification of conduct which may violate the
13   California Department of Fair Employment and Housing regulations or California

14   whistleblower statutes, to promptly conduct a fair and thorough investigation into the
15   allegations and not allow retaliatory actions to be taken against the employees.

16          199. Plaintiff requests this court to award ancillary damages pursuant to C.C.P.
17   §1090 and 1095.

18          200. The actions of defendants, and each of them, were arbitrary and capricious
19   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

20   Code §800.

21          201. The success of Plaintiff in this action will result in the enforcement of an

22   important right affecting the public interest in that a significant benefit will be conferred
23   on a large class of persons, that is, public employees, and the necessity and financial

24   burden of private enforcement of said benefit are such as to make appropriate the

25   award of attorney fees pursuant to California Code of Civil Procedure §1021.5

26          202. Plaintiff obtained a Right to Sue letter from the DFEH, and served the

27   same on defendants via the City Clerk's office.

28          WHEREFORE, Plaintiff prays for judgment against Defendants and each of them

                                                   43

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 190
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 195 of 305 Page ID #:195




 1   as follows:
 2                                     FIRST CAUSE OF ACTION
 3             1. Any and all appropriate injunctive or other extraordinary relief afforded under
 4   Government Code §3500, et seq., to remedy the violation and to prevent future
 5   violations of a like or similar nature, including, but not limited to, the granting of a
 6   temporary restraining order, preliminary injunction, or permanent injunction prohibiting
 7   Defendants, and each of them, and their agents, representatives, employees, servants
 8   and/or investigators from violating Government Code §3500, et seq.
 9             2. For those matters already identified in Plaintiffs' Government Tort Claims,
10   any and all damages and/or civil penalties afforded under the law.
11                                   SECOND CAUSE OF ACTION
12             3. Any and all appropriate injunctive or other extraordinary relief afforded under
13   Government Code §3309.5(d) to remedy the violation and to prevent future violations of
14   a like or similar nature.
15          4. For those matters already identified in Plaintiffs' Government Tort Claims, any
16   and all damages and/or civil penalties afforded under the law.
17                                    THIRD CAUSE OF ACTION
18          5. Any and all appropriate injunctive or other extraordinary relief afforded under
19   the law to remedy the violation and to prevent future violations of a like or similar
20   nature.
21          6. For those matters already identified in Plaintiffs' Government Tort Claims, any
22   and all damages and/or civil penalties afforded under the law.
23                                   FOURTH CAUSE OF ACTION

24          7. Any and all appropriate injunctive or other extraordinary relief afforded under
25   the law to remedy the violation and to prevent future violations of a like or similar

26   nature.
27          8. For those matters already identified in Plaintiffs' Government Tort Claims, any
28   and all damages and/or civil penalties afforded under the law.
                                                    44

                                               COMPLAINT                                EXHIBIT D
                                                                                         Page 191
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 196 of 305 Page ID #:196




 1                                     FIFTH CAUSE OF ACTION
 2             9. A declaration of the Court that the Defendants violated Penal Code §832.5-
 3   832.7 and/or Evidence Code §§1043-1046 and that Plaintiffs are entitled to the full
 4   relief afforded under Penal Code §832.5-832. 7 and/or Evidence Code §§1043-1046.

 5             10. Any and all appropriate injunctive or other extraordinary relief afforded under
 6   the law to remedy the violation and to prevent future violations of a like or similar
 7   nature.

 8             11. For those matters already identified in Plaintiffs' Government Tort Claims,
 9   any and all damages and/or civil penalties afforded under the law.
10                                    SIXTH CAUSE OF ACTION
11             12. Any and all appropriate injunctive or other extraordinary relief afforded under
12   the law to remedy the violation and to prevent future violations of a like or similar
13   nature.
14          13. For those matters already identified in Plaintiffs' Government Tort Claims,
15   any and all damages and/or civil penalties afforded under the law.
16                                     ALL CAUSES OF ACTION
17          14. An award ancillary damages pursuant to C.C.P. §1090 and 1095.

18          15. For all matters covered by Plaintiffs' Government Tort Claim(s), all damages
19   which the Plaintiffs have sustained as a result of Defendants' conduct, including general
20   damages for pain, suffering, distress, and special damages for lost compensation,
21   including back, front pay, job benefits that he would have received but for the

22   discriminatory practices of Defendants, damages for anguish, fright, nervousness, grief,
23   anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,
24   as well as other unpleasant physical, mental, and emotional reactions ordinarily to be
25   expected, damages to reputation, and other non-economic damages, to the extent
26   permitted by law and in a sum to be ascertained according to proof;
27          16. For all matters covered by Plaintiffs' Government Tort Claim(s), other actual,
28   consequential, and/or incidental damages, and/or statutory penalties in a sum to be

                                                   45
                                               COMPLAINT
                                                                                      EXHIBIT D
                                                                                       Page 192
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 197 of 305 Page ID #:197




 1   ascertained according to proof;

 2         17. Attorneys' fees pursuant to Government Code §800.

 3         18. Attorney fees pursuant to California Code of Civil Procedure § 1021.5

 4         19. Attorney fees as provided by any other law and/or statutes

 5         20. That Defendants takes nothing by virtue of this action;

 6         21. For cost of suit and attorney's fees incurred herein; and

 7         22. For such other and further relief as the Court may deem just and proper/

 8

 9   DATED: November_, 2021                  COREYW. GLAVE, ATTORNEY AT LAW
10                                           By: _ _ _~ - - - - - - - - - -
                                                   Corey W. Glave
11                                                 Attorneys for Plaintiffs
12

13

14
15

16
17

18

19

20

21

22

23
24
25

26
27
28
                                               46

                                           COMPLAINT                            EXHIBIT D
                                                                                 Page 193
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 198 of 305 Page ID #:198




 1                                          VERIFICATION

 2          The undersigned declares as follows:

 3

 4          I am the attorney of record for all plaintiffs in this action. I am verifying this

 5   Complaint on the basis that all named plaintiffs are absent from the county where I

 6   have my office. I have read the foregoing COMPLAINT, and know the contents thereof.

 7   The contents are true, except as to the matters which are therein stated on information

 8   or belief, and as to those matters I believe them to be true and Plaintiffs are acting in

 9   good faith in bringing forward such allegations.

10          I declare under penalty of perjury under the laws of the State of California that
11   the foregoing is true and correct.

12                                        ISi    Corey Glave
13
14                                        COREY GLAVE

15
16
17

18
19
20
21

22
23
24

25
26
27
28
                                                   47
                                                COMPLAINT                               EXHIBIT D
                                                                                         Page 194
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 199 of 305 Page ID #:199




            EXHIBIT B
                                                                   EXHIBIT D
                                                                    Page 195
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 200 of 305 Page ID #:200


    From:             Sanders. Lytonia
    To:               POaattorney@aol.com
    Cc:               Ranen. Jeffrey: Kang. Soojin: Stephens. Sawyer; Steffan. Andrea
    Subject:          Santa Ana Police Officers v City of Santa Ana, et al. - Our Billing Ref No. 51601-02 - See attached Specially
                      Appearing Notice of Motion and Motion to Quash Service of Summons & Supporting Docs. Attached
    Date:             Friday, December 10, 2021 4 :56:21 PM
    Attachments:      SAPOA - Declaration of Andrea L. Steffan ISO City of Santa Ana"s Motion to Quash Service of Summons.pdf
                      SAPQA Serrano v Qty of Santa Ana - City of Santa Ana"s Specially-Appearing Notice of Motion and Motion to
                      Quash Service of Summons.pdf
                      SAPOA - Proposed Order Granting City of Santa Ana"s Motion to Quash Service of Summons.pdf




    Dear Counsel :


    Attached please find the Specially Appearing Notice of Mot ion and Motion to Quash Service of
    Summons and Supporting Documents which we are filing today with Orange County Superior Court
    for your review/records. Please mark your calendar accordingly. If you have any questions, please
    do not hesitate to contact th is office.


    Sincerely,

                               Lytonia Sanders
                               Litigation Assistant
                               Assistant to Sara Poggi, Partner,
                               Andrea Steffan & Heather Hom
                               LEWIS BRISBOIS BISGAARD & SMITH LLP
                               633 West 5th Street, Suite 4000
                               Los Angeles, California 90071
                               Direct Dial: (213) 580-7906
                               Lytonia.Sanders@lewisb1isbois.com




                                                                                                                      EX HIBIT D
                                                                                                                       Page 196
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 201 of 305 Page ID #:201




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                          JEFFREYS . RANEN, SB# 224285                                          Exemptfromfilingfees per
                      2     E-Mail: Jeffrey.Ranen@lewisbrisbois.com                             Government Code§ 6103
                          SOOJIN KANG, SB# 219738
                      3     E-Mail: Soojin.Kang@lewisbrisbois.com
                          ANDREA L. STEFFAN, SB# 332596
                      4     E-Mail: Andrea.Steffan@lewisbrisbois.com
                          633 West 5th Street, Suite 4000
                      5   Los Angeles, California 90071
                          Telephone: 213.250.1800
                      6   Facsimile: 213.250.7900

                      7 Attorneys for Specially-Appearing Defendant
                          City of Santa Ana
                      8
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9
                                                FOR THE COUNTY OF ORANGE - CENTRAL DISTRICT
                     10
                     11
                          SANTA ANA POLICE OFFICERS                             Case No. 30-2021 -01230129-CU-OE-CJC
                     12   ASSOCIATION; GERRY SERRANO,
                                                                                [Assigned to Honorable Lon Hmwitz Dept. 20]
                     13                      Plaintiffs,
                                                                                SPECIALLY-APPEARING DEFENDANT
                     14             VS.                                         CITY OF SANTA ANA'S NOTICE OF
                                                                                MOTION AND MOTION TO QUASH
                     15   CITY OF SANTA ANA, a Municipal                        SERVICE OF SUMMONS;
                          C01poration; SANTA ANA POLICE                         MEMORANDUM OF POINTS AND
                     16   DEPARTMENT, a public safety depar tment;              AUTHORITIES
                          DAVID VALENTIN, Chief of Police;
                     17   KRISTIN RIDGE, City Manager; SONIA                    [Filed concmTently with Declaration of Andrea
                          CARVALHO, City Attorney; JASON                        L. Steffan and Exhibit Attached Thereto;
                     18   MOTSICK, Director of Human Resources;                 [Proposed] Order]
                          DOES 1 - X, inclusive,
                     19
                                             Defendants.                        Date:    April 20, 2022
                     20                                                         Time:    1:30 p.m.
                                                                                Dept:    20
                     21
                                                                                Rese1vation No.: 73661593
                     22
                     23                                                         Action Filed:      11/08/2021
                                                                                Trial Date:          None Set
                     24
                     25             TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

                     26                      PLEASE TAKE NOTICE that on April 20, 2022 at 1:30 p.m., or as soon thereafter

                     27   as the matter may be heard in Department 20 of the above-referenced Court, located at 700 W

                     28   Civic Center Dr, Santa Ana, CA 92701, Specially-Appearing Defendant City of Santa Ana
LEWIS
BRISBOIS                  4891-3647-7190.l                                  1
BISGAARD
&lMIJ-tllP                 SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA'S NOTICE OF MOT~ ~ ~  ~ O N TO
ATTORNE"l'S AT LAW                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTiftfIUfilS u
                                                                                                            Page 197
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 202 of 305 Page ID #:202




                    1 (“City”) will, and hereby does, move to quash service of summons upon it. This Motion is made
                    2 pursuant to Code of Civil Procedure section 418.10, subdivision (a)(1) on the ground that the
                    3 Court lacks personal jurisdiction over City. City does not consent to the jurisdiction of the Court
                    4 by its special appearance to contest personal jurisdiction. (Code Civ. Proc., § 418.10, subd. (d).)
                    5            This Motion is based upon the Notice of Motion, the attached Memorandum of Points and

                    6 Authorities, the Declaration of Andrea L. Steffan and attached exhibit, the pleadings and records
                    7 on file herein, and such other matter, oral or documentary, as the Court may consider at the time it
                    8 rules upon this Motion.
                    9 DATED: December 10, 2021                    Respectfully Submitted,

                   10                                             LEWIS BRISBOIS BISGAARD & SMITH LLP
                   11
                   12
                                                                  By:
                   13                                                   JEFFREY S. RANEN
                                                                        SOOJIN KANG
                   14                                                   ANDREA L. STEFFAN
                   15                                                   Attorneys for Specially-Appearing Defendant City
                                                                        of Santa Ana
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
                        4891-3647-7190.1                                 2
                         SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                        EXHIBIT D
                                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                       Page 198
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 203 of 305 Page ID #:203




                    1                       MEMORANDUM OF POINTS AND AUTHORITIES
                    2 I.         INTRODUCTION

                    3            On November 8, 2021, Plaintiffs Santa Ana Police Officers Association (“SAPOA”) and

                    4 Gerry Serrano (“Serrano” collectively “Plaintiffs”) filed an action alleging violation of the Meyers
                    5 Milias Brown Act Gov. Code § 3500 et seq.; violation of the Public Safety Officers Procedural
                    6 Bill of Rights (“POBRA”), Gov. Code § 3300, et. seq.; violation of Freedom of Speech; violation
                    7 of Labor Code §§ 1102 and 1102.5; violation of Penal Code §§ 832.5-832.8 and Evidence Code
                    8 §§ 1-43-1046; and retaliation under the Fair Employment and Housing Act against defendants
                    9 City of Santa Ana (“City”); Santa Ana Police Department; David Valentin, Chief of Police;
                   10 Kristin Ridge, City Manager; Sonia Carvalho, City Attorney; Jason Motsick, Director of Human
                   11 Resources; and Does I-X (collectively “Defendants”). On November 10, 2021, Plaintiffs
                   12 attempted to serve some or all of the Defendants by delivering a patently defective summons,
                   13 notice of case management conference, civil case cover sheet, and complaint to the Santa Ana City
                   14 Hall.
                   15            Specially-appearing defendant City brings this Motion to Quash pursuant to Code of Civil

                   16 Procedure section 418.10(a)(1) on the ground that this Court lacks personal jurisdiction over City
                   17 because City has not been served with a summons as required by Code of Civil Procedure section
                   18 410.50. The summons served upon Defendants is patently defective as it was not signed by the
                   19 clerk of the court as required by Code of Civil Procedure section 412.20(a). (See Declaration of
                   20 Andrea L. Steffan (“Steffan Decl.”), ¶3, Ex. A at p. 1 (summons and other documents purportedly
                   21 served upon City and/or Defendants). The summons is further defective because it does not
                   22 indicate who was served or by what method. (Steffan Decl., ¶4; Ex. A at p. 1-2.) Because the
                   23 summons is patently defective, City has not been served with a summons and this Court does not
                   24 have personal jurisdiction over it. Consequently, City specially appears and respectfully requests
                   25 that this Court quash service of the defective summons.
                   26 / / /
                   27 / / /

LEWIS              28 / / /
BRISBOIS
BISGAARD
                        4891-3647-7190.1                                 3
                         SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                        EXHIBIT D
                                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                       Page 199
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 204 of 305 Page ID #:204




                    1 II.        THIS COURT DOES NOT HAVE PERSONAL JURISDICTION OVER CITY OF
                                 SANTA ANA
                    2
                                 “Personal jurisdiction is conferred only where the statutory requirements for service of
                    3
                        process are fulfilled.” (Stancil v. Superior Court (2021) 11 Cal. 5th 381, 397 (citing MJS
                    4
                        Enterprises, Inc. v. Superior Court (1984) 153 Cal.App.3d 555, 557).) Under the Code, “the court
                    5
                        in which an action is pending has jurisdiction over a party from the time summons is served on
                    6
                        him as provided by Chapter 4 (commencing with Section 413.10).” (Code Civ. Proc., § 410.50.)
                    7
                        A summons “shall be directed to the defendant, signed by the clerk and issued under the seal of
                    8
                        the court in which the action is pending.” (Code Civ. Proc., § 412.20.) Because a summons is the
                    9
                        process by which a court acquires personal jurisdiction over a party “a defendant has an absolute
                   10
                        right to demand that process be issued against him in a manner prescribed by law.” (Mannesmann
                   11
                        Demag v. Superior Court (1985) 172 Cal. App. 3d 1118, 1122-23.) Importantly, “[s]ervice of a
                   12
                        substantially defective summons does not confer jurisdiction over a party.” (MJS Enterprises, Inc.
                   13
                        v. Superior Court (1984) 153 Cal.App.3d 555, 557.) Here, the summons Plaintiffs attempted to
                   14
                        serve upon City is not signed by the clerk of the court or issued under seal of this Court making it
                   15
                        patently defective under Code of Civil Procedure section 412.20. (Steffan Decl., ¶3, Ex. A at p.
                   16
                        1.)
                   17
                                 In addition to Plaintiffs’ failure to comply with Code of Civil Procedure section 412.20,
                   18
                        the summons served is further defective in that it fails to confer notice on any party it has been
                   19
                        served. Notice of a claim against them is given to a defendant in a civil action “by service of a
                   20
                        summons on the person.” (Renoir v. Redstar Corp. (2004) 123 Cal.App.4th 1145, 1152.) In MJS
                   21
                        Enterprises an employee of the defendant was served with a summons on which the “Notice to the
                   22
                        Person Served” section stated he was being served as an individual, but Plaintiff filed a proof of
                   23
                        service indicating that service had been on MJS Enterprises. (MJS Enterprises at 557.) The court
                   24
                        found that although MJS Enterprises had actual notice of the litigation the court did not have
                   25
                        personal jurisdiction over MJS Enterprises because “[n]otice of the litigation does not confer
                   26
                        personal jurisdiction absent substantial compliance with the statutory requirements for service of
                   27
                        summons.” (Id.) The summons was “fatally defective” because (1) it did not contain the
LEWIS              28
BRISBOIS
BISGAARD
                        4891-3647-7190.1                                  4
                         SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                        EXHIBIT D
                                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                         Page 200
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 205 of 305 Page ID #:205




                    1 mandatory notice under Code of Civil Procedure section 412.30 that a corporation was being
                    2 served (the box in the “Notice to the Person Served” section was not checked and no corporate
                    3 name was listed) and (2) it did “not otherwise in any manner indicate an attempt to assert judicial
                    4 power over defendant.” (Id. at 558.)
                    5            Similarly, in Mannesmann Demag none of the checkboxes in the “Notice to the Person

                    6 Served” section were checked and the court found “the summons was so incomplete on its face as
                    7 to render it ineffective to impart notice to its recipient.” (Mannesmann Demag at 1122, 1124.)
                    8 Here the summons served lists every named and Doe defendant and as in Mannesmann Demag,
                    9 none of the boxes in the section titled “Notice to the Person Served” are checked. (Steffan Decl.,
                   10 ¶4, Ex. A at p. 1.) This is insufficient to impart notice on the City, or any other defendant, that it
                   11 has been served and the City’s actual knowledge of the suit is insufficient to confer personal
                   12 jurisdiction over the City. (MJS Enterprises at 557.)
                   13            Plaintiffs have not complied with the statutory requirements to effectively serve City – or

                   14 any of the Defendants - with a summons signed by the clerk of the court under Code of Civil
                   15 Procedure section 412.20. Further, the summons served is fatally defective on its face and failed
                   16 to give the required notice to City. This Court has no personal jurisdiction over City and City does
                   17 not consent to personal jurisdiction by this Court.
                   18 / / /
                   19 / / /
                   20 / / /
                   21 / / /
                   22 / / /
                   23 / / /
                   24 / / /
                   25 / / /
                   26 / / /
                   27 / / /

LEWIS              28 / / /
BRISBOIS
BISGAARD
                        4891-3647-7190.1                                   5
                         SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                        EXHIBIT D
                                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                         Page 201
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 206 of 305 Page ID #:206




                    1 III.       CONCLUSION

                    2            For the foregoing reasons, Specially Appearing Defendant City of Santa Ana requests that

                    3 its Motion to Quash Service of Summons be granted, that it be dismissed from this action pursuant
                    4 to Code of Civil Procedure section 581(h), and that it be granted any further relief that this Court
                    5 deems just and necessary.
                    6 DATED: December 10, 2021                    Respectfully Submitted,

                    7                                             LEWIS BRISBOIS BISGAARD & SMITH LLP
                    8
                    9
                                                                  By:
                   10                                                   JEFFREY S. RANEN
                                                                        SOOJIN KANG
                   11                                                   ANDREA L. STEFFAN
                   12                                                   Attorneys for Specially-Appearing Defendant City
                                                                        of Santa Ana
                   13
                   14
                   15
                   16
                   17
                   18
                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
                        4891-3647-7190.1                                 6
                         SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S NOTICE OF MOTION AND MOTION TO
& SMITH LLP
ATTORNEYS AT LAW
                                                                                        EXHIBIT D
                                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTHORITIES
                                                                                                       Page 202
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 207 of 305 Page ID #:207




                      1                            CALIFORNIA STATE COURT PROOF OF SERVICE
                                                 Santa Ana Police Officers Association v City of Santa Ana, et al.
                      2                      Orange County Superior Comi Case No. 30-2021 -01230129-CU-OE-CJC

                      3   STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                      4          At the time of service, I was over 18 years of age and not a paiiy to this action. My
                          business address is 633 West 5th Sti·eet, Suite 4000, Los Angeles, CA 90071.
                      5
                               On December 10, 2021, I served ti11e copies of the following document(s): SPECIALLY-
                      6   APPEARING DEFENDANT CITY OF SANTA ANA'S NOTICE OF MOTION AND
                          MOTION TO QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND
                      7   AUTHORITIES

                      8         I served th e documents on the following persons at the following addresses (including fax
                          numbers and e-mail addresses, if applicable):
                      9
                                                              SEE ATTACHED SERVICE LIST
                     10
                                    The documents were served by the following means:
                     11
                          ~         (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a comi order or an
                     12             agreement of the parties to accept service by e-mail or electi·onic ti·ansmission, I caused the
                                    documents to be sent from e-mail address Lytonia.Sanders@lewisbrisbois.com to the
                     13             persons at th e e-mail addresses listed above. I did not receive, within a reasonable time
                                    after the h'ansmission, any electi·onic message or other indication that the transmission was
                     14             unsuccessful.

                     15          I declai·e under penalty of pe1j my under th e laws of the State of California that the
                          foregoing is tm e and con ect.
                     16
                                    Executed on December 10, 2021 , at Los Angeles, California.
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
LEWIS                28
BRISBOIS                  4891-3647-7190.l                                     7
BISGAARD
&lMIJ-tllP                 SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA'S NOTICE OF MOT~~&'m MOifi.ON TO
ATTORNE"l'S AT LAW                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTiftfIUfilS u
                                                                                                              Page 203
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 208 of 305 Page ID #:208




                      1                                  SERVICE LIST
                                  Santa Ana Police Officers Association v Cicy of Santa Ana et al.
                      2        Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC
                      3
                      4 Corey W. Glave, Esq.          Attom e_ys for Plaintiffs SANTA ANA POLICE
                        Attorney at Law               OFFICERS ASSN and GERRY SERRANO
                      5 632 S. Gertruda Ave.
                        Redondo Beach, CA 90277
                      6 Te_lephone 323.547.0472 Facsimile
                        E-Mail: POaattorney@aol.com
                      7
                      8
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS                  4891-3647-7190.l                        8
BISGAARD
&lMIJ-tllP                 SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA'S NOTICE OF MOT~~&'m MOifi.ON TO
ATTORNE"l'S AT LAW                 QUASH SERVICE OF SUMMONS; MEMORANDUM OF POINTS AND AUTiftfIUfilS u
                                                                                           Page 204
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 209 of 305 Page ID #:209




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                          JEFFREYS . RANEN, SB# 224285                                             Exemptfromfilingfees per
                      2     E-Mail: Jeffrey.Ranen@lewisbrisbois.com                                Government Code§ 6103
                          SOOJIN KANG, SB# 219738
                      3     E-Mail: Soojin.Kang@lewisbrisbois.com
                          ANDREA L. STEFFAN, SB# 332596
                      4     E-Mail: Andrea.Steffan@lewisbrisbois.com
                          633 West 5th Street, Suite 4000
                      5   Los Angeles, California 90071
                          Telephone: 213.250.1800
                      6   Facsimile: 213.250.7900

                      7 Attorneys for Specially-Appearing Defendant
                          City of Santa Ana
                      8
                                                  SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9
                                                FOR THE COUNTY OF ORANGE - CENTRAL DISTRICT
                     10
                     11
                          SANTA ANA POLICE OFFICERS                              Case No. 30-2021 -01230129-CU-OE-CJC
                     12   ASSOCIATION; GERRY SERRANO,
                                                                                 [Assigned to Honorable Lon Hmwitz Dept. 20]
                     13                      Plaintiffs,
                                                                                 DECLARATION OF ANDREA L.
                     14             VS.                                          STEFFAN IN SUPPORT OF SPECIALLY-
                                                                                 APPEARING DEFENDANT CITY OF
                     15   CITY OF SANTA ANA, a Municipal                         SANTA ANA'S MOTION TO QUASH
                          C01poration; SANTA ANA POLICE                          SERVICE OF SUMMONS
                     16   DEPARTMENT, a public safety depar tment;
                          DAVID VALENTIN, Chief of Police;                       Filed ConcmTently with Specially-Appearing
                     17   KRISTIN RIDGE, City Manager; SONIA                     Defendant City of Santa Ana's Notice of
                          CARVALHO, City Attorney; JASON                         Motion and Motion to Quash Service of
                     18   MOTSICK, Director of Human Resources;                  Summons; [Proposed] Order
                          DOES 1 - X, inclusive,
                     19                                                          Date:     April 20, 2022
                                             Defendants.                         Time:     1 :30 p.m .
                     20
                                                                                 Rese1vation No.: 73661593
                     21
                     22
                     23                                                          Action Filed:        11/08/2021
                                                                                 Trial Date:            None Set
                     24
                     25             I, Andrea L. Steffan, declare as follows:

                     26             1.       I am an attorney duly admitted to practice in all of the comis of the State of

                     27   California an d I am an associate with Lewis Brisbois Bisgaard & Smith LLP, attorneys ofrecord

                     28   for Specially-Appearing Defendant City of Santa Ana ("City") herein. The facts set fo1ih herein
LEWIS
BRISBOIS                  4871-4025-2422.l
BISGAARD
&lMIJ-tllP                 DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-A P P E A ~~                        ~     CITY
ATTORNE"l'S AT LAW                        OF SANTA ANA' S MOTION TO QUASH SERVICE OF SUMMOmf"n 1
                                                                                                               Page 205
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 210 of 305 Page ID #:210




                      1 are of my own personal knowledge, except those matters stated on info1mation and belief, which I
                      2 believe to be tiue, and if sworn I could and would competently testify thereto.

                      3             2.       On November 8, 2021 , Plaintiffs Santa Ana Police Officers Association

                      4 ("SAPOA") and Geny Se1Tano ("Serrano") (collectively "Plaintiffs") filed suit alleging several
                      5 claims against defendants City of Santa Ana ("City"); Santa Ana Police Department; David
                      6 Valentin, Chief of Police; Kristin Ridge, City Manager; Sonia Carvalho, City Attorney; Jason
                      7 Motsick, Director of Human Resources; and Does I-X (collectively "Defendants").

                      8             3.       I am infonned and believe that on November 10, 2021 , Plaintiffs attempted to se1ve

                      9 some or all of the Defendants by delivering: a summons that is not signed by the clerk of the comi,
                     1O   a notice of case management conference, a civil case cover sheet, and the complaint to the Santa

                     11 Ana City Hall. A tiue and co1Tect copy of the documents Plaintiffs attempted to se1ve on City
                     12 and/or Defendants is attached hereto as Exhibit A. The sUilllllons is on pages one and two. It is
                     13 not signed by the clerk and does not contain the seal of the comi .

                     14             4.       The sUilllllons also does not have any boxes in the section titled NOTICE TO THE

                     15 PERSON SERVED checked and lists all named and Doe defendants in the NOTICE TO
                     16 DEFENDANT section making it impossible for Defendants to dete1mine who was being se1ved
                     17 and in what capacity. (Exhibit A at 1-2.)

                     18             I declare under penalty of pe1jmy under the laws of the State of California that the

                     19 foregoing is tme and correct and that this declaration was executed on December 10, 2021, at Los
                     20 Angeles, California.

                     21
                     22
                     23                                                       Andrea L. Steffan

                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS                  4871-4025-2422.l                                    2
BISGAARD
&lMIJ-tllP                 DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-A P P E A ~~ ~ CITY
ATTORNE"l'S AT LAW                        OF SANTA ANA' S MOTION TO QUASH SERVICE OF SUMMOmf"n 1
                                                                                                             Page 206
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 211 of 305 Page ID #:211




             Exhibit “A”
                                                                   EXHIBIT D
                                                                    Page 207
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 212 of 305 Page ID #:212
            Electronically Filed by Superior Court of Califomia, County of Orange, 11108/2021 08:00:00 AM.
30-2021-01230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI, Clerk of ihl:l Court By Jessica Duarte , Deputy ~100
                                           SUMMONS                                                                          FOR COURT USE ONLY
                                                                                                                       /S'OLO PAAA USO DEL.A CORTE)
                                    (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AVISO AL DEMANDADOJ:
 CITY OF SANTA ANA, a Municipal Corporation;
 see additional parties attachment

 YOU A~I: BEING SlJEO BY PLAINTIFF:
 (1..0 ESTA DEMAN/JAN/JO EL DEMANDANTE);
 Santa Ana Police Officers Association and Gerry Serrano


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons ana iegal papers are served on you to file a written response at this court and have a copy
  served on lhe plaintiff, A letter or phone call will not protect you. Your written response must be in proper l egal fotm lf you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more irnformation at the California Courts
  Online Self-Help Center (www.courtinfo.ca.govtse/fhelp), your county law library, or the courthouse nearest you. lf you cannot pay the fl ling fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by ,default, and your wages , money, and property
  may be taken without further warning from th e court.
     There are other legal requirements. You may want lo call an attorney right away. II you do not know an attorney, you may want to cali an attorney
  referral service. if you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services progr,am. You can locate
  these nonprofit groups at the California Legal services Web site (www:lawhelpcafifomia. orrf), the Callt'ornia Courts Online Se1f-l-ilelp Center
  (WV1W.courtlnfo.ca.govtseffhelp), or by contacting your local court or county bar assocla tlon, NOT1E: The court has a statutory lien for walved fees and
  costs on any settlement or arbitration award of $10,000 or more In a civil case, The court's lien must lbe pald before the court will dismiss the case.
  ;AVISOI Lo han demandado. Si no responde dentro· de 30 d/as, la carte puede deckJir en su contra sin esc;uchar :w version. Lea la lnformaci6n a
  contlnuac/6n.
     Tiene 30 DIAS De CALl:NDAR/O despues de que le entreguen esta citacion y papeles lega/es para presentar una respuesta por escrito en esta
  cort& y hacer que se entr&gu& una copia al demandante. Una carta o una 1/amada telefonica no lo protegen. Su respuesta por escrifo tiene que estar
  en formato legal corracto si desea que procesen su caso en la corte. l:s posib/e que: haya un formulario que usted pveda usar para su respuesta.
  Puede encontrar estos formu/arfos de la corte y mas lnformac/6n en el Centro de Ayuda de las Cortes de Cal/fomia (www.sucorte.ca.go11), en ta
  biblioteca de /eyes de su condado o en la corte que la quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
  que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
  podrtl quitar su sue/do, dinero y bienes sin mas advertencia.
     Hay otros requisltos legates. Es recomendab/e que /lame a un abogado inmediatamente. Si no ,conoce a un abogado, puede 1/amar a un seN/cio de
  remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener serviclos legales gratuitos de un
  program a de servlc/os /ega/es sin fines de /ucro. Puede encontrar estos grupos sin fines de lucre en el sitio web de California Legal Services,
  (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de Califomla, (www.sucorte.ca .gov) o poniendose en contacto con /a corte o el
  colegio de abogados locales. AVISO: Parley, la carte tiene derecho a reclamar las cuotas y /os costos exentos por imponer un gravamen sobre
  cualquier recuperacion de $10,000 6 mas de valor recibide mediante un acuerdo o una concesl6n de arbltraje en un c·aso de de.recho civil. Ttene -que
  par:,ar el gravamen de la carte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                     CASE NUMBER:
                                                                                                          /NOmero de/ Caso):
(El nombre y direcci6n de la corte es):
Orange County Superior Court
700 C1vIc Center Drive West, Santa Ana, CA 92701



The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
(El nombre, la direcci6n y el numero de te/efono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Corey W. Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472


DATE:                                                                          Clerk, by                                                                 , Deputy
(Fecha)                                                                        (Secretario) - - - --             - - - - - --                  -    -    (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citati6n use el formu/ario Proof of Service of Summons, (POS-010)).
 (SEALJ                               NOTICE TO THE PERSON SERVED: You are served
                                      1. Das an individual defendant.
                                      2.  D as the person sued under the fictitious name of (specify):

                                      3.     0 on behalf of (specify):
                                           under:  D CCP 416.10 (corporation)                                   D CCP 416.60 {minor)
                                                    0 CCP 416.20 (defunct corporation)                          D CCP 416.70 (conservatee)
                                                    D CCP 416.40 (association or partnership)                   D CCP 416.90 (authorlzed person)
                                                   0 other (specify):
                                     4.     D by personal delivery on (date):
                                                                                                                                                            Pa e 1 of1
 Form Adopled ro; Mandatory Uss                                                                                                    Code of Civil Procedure§§ 412.20, 465
   Judicial Council of California
                                                                       SUMMONS                          Amerlc811 LogaiNet. Inc.
                                                                                                                                                   www.covrfinto.ca.gov
                                                                                                        www.FormsWondiow.com
   SUM-100 [Rev. July 1, 2009)
                                                                                                                                      EXHIBIT D
                                                                                                                                       Page 208
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 213 of 305 Page ID #:213


                                                                                                                             SUM-200/Al
    SHORT TITLE:                                                                               CASE NUMBER:

    Santa Ana POA/Serrano v. City of Santa Ana, et al
~




                                                            INSTRUCTIONS FOR USE
   + This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
   + If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

   List additional parties (Check only one box. Use a separate page for each type of patty.):

     D         Plaintiff        1:81   Defendant    D   Cross-Complainant   D    Cross-Defendant
     SANTA ANA POLICE DEPARTMENT, a public safely department; DAVID VALENTIN, Chief
     of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
     Resources; DOES 1-X, inclusive




                                                                                                                  Page _ _ of _ _

                                                                                                                                       Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of California
                                                   ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                        Attachment to Summons                                          American LegalNet, Inc.
                                                                                                                        www.FormsWorlctlow.com

                                                                                                                  EXHIBIT D
                                                                                                                   Page 209
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 214 of 305 Page ID #:214

                                                                                                  FOR ·C OURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
STREET ADDRESS: 700 W. Civic Genier DRIVE
MAILING ADDRESS: 700 W, Ci\/ic Center Drive
                                                                                                     FILED
                                                                                             SUPffiJ:IR COtJR r O'FCAJ..IFl~f,(IA
CITY AND ZlP COD!;: Santa Ana 92701                                                                (X)IJNtY OFORAN6E
BRANCH NAME: Ceniral Jusli~e Center
PLANTIFF: Sania Ana Police Officers Associalion e t.a l.
                                                                                                  Nov 8, 2021
OEF~N DANT: City oi Santa Ana etaI.
                                                                                                     Cltrk Of the Coull
Short Title: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA                        ay: Joss1ca liunril!.01!PW



                                                                                      CASE NUMBER:
                             NOTICE OF HEARING                                        30-2021 -0 1230129-CU-OE-CJC
                       CASE MANAGEMENT CONFERENCE



  Please take notice that a(n), Case Management Conference has been scheduled for hearing
  on 05/09/2022 at 09:00:00 AM in Department C20 of this couirt, located at Central Justice
  Center.

  Plaintiff(s)/Petitioner(s) to provide notice to all defendant(s)/respondent(s). Parties who file pleadings
  that add new parties to the proceeding must provide notice of the Case Management Conference to the
  newly added parties.


    IMPORTANT: Prior to ymu· hearing date, please check the Court's web,ite for the most current insh1.1ctious
    regarding bow to appear for your hearing and access services that are available to auswer your questions .
    Civil Matters - httpsi /www.occourl~.org/01cditJ -rclatious/dvil.html
               e ntal Hea!U1 - hltps//www.occmu·ts.org/mcdia-rclalionsiprobak;-menlal-heahh.hlml
    Prob."lte/M~


    IMPORTANTE: Antes de la fecha de su audiencia, visite el sitio web de In Corte para sc1ber cu.ales son las
    instrucciones mas actuales para partic ipar e11 la audiencia y teuer acceso a los servicios disponibles para
    responder a sus preguntas.
    Casas Civiles - https://www.occourts.org!media-relationsfcivil.html
    Casos de Probate y Salud Mental - hllps :.'/ vvww.occourts.org,1media-relations/proba1e-me111.al-health. html


    QUAN TRONG: Tnroc ngay pl:rien toa cua quy vi, vui long ki~m tra trang m~mg cita toa and€ bi~t nhmig
    lm&ng cl~n 11161 nh~t v~ each ra h~u phien toa ctta quy viva tiJp c~n nhfrng djch v\1 hi~n cod~ gial dip uhftng
    th~c m~c cua quy vi.
    V~n D~ Dan Su - https://,~:i.r,v.occomts.orwmedia-relations/civil.html
    111\1 Tue Di CMc/Suc Kht'>e Tinh Tl~n - https:/1w,vw.occou1ts.org/media-rela1ions/probate-mental-health.html




                                               Clerk of the Court, By:      '-/J1vrf:P----
                                                                           ------- - -- - - - - - -
                                                                                                                             , Deputy

                                                                                                                               Page: 1
                                                           NOTICE OF HEARING


                                                                                                             EXHIBIT D
                                                                                                              Page 210
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 215 of 305 Page ID #:215



    SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE
    Central Justice Center
    700 W, Civic Center DRIVE
    Santa Ana 92701

   SHORT TITLE: SANTA ANA POLICE OFFICERS ASSOCIATION VS. CITY OF SANTA ANA



                                                                                            CASE NUIMBER:
            CLERK'S CERTIFICATE OF SERVICE BY MAIL
                                                                                    30-2021-01230129-C U-OE-CJC


     I certify that I am not a party to this cause. I certify that a true copy of the above Noilce of Hearing has been
     placed for collection and mailing so as to cause it to be mailed in a sealed envelope with posta9e fully prepaid
     pursuant to standard court practices and addressed as indicated below. The certification occurred at Santa Ana,
     California, on 11/08/2021. Following standard court practice the mailing will occur at Sacramento, California on
     11/09/2021.

                                                                       .
                                                                    '/)'YY1P---
                                          Clerk of the Court, by: _ _ _ _ _ _ _ _ _ _ _ _ ____ , Deputy

     COREY W GLAVE
     632 S. GERTRUDA
     REDONDO BEACH, CA 90277




                                                                                                                              Page: 2
                                    CLERK'S CERTIFICATE OF SERVICE BY MAIL
V31013a (June 2004)                                                                                  Code of CMI Procedure , § CCP1013(a}


                                                                                                     EXHIBIT D
                                                                                                      Page 211
  Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 216 of 305 Page ID #:216
                    Electronica_lly ~ile9 by Superjor Cou_rt of CaHfomi§l,                  Cou_nty of Qrang_e; 11108/2021               08:00:00 AM.
                                           ·. _                           -     .       -   -.     ~   ·         ·                   st~ierte D~ty                              010
 ATT RNEY OR PARTY WT HOUT ATTORNE (Nome, Stare Barnum             r. iJnd addressr                                       ·               · M COVRT OSE
                                                                                                                                          F                  OY
    Corey W. Glave (SBN164746)
    Attorney at Law
    632 S. Gertruda Ave.
    Redondo Beach, CA 90277
           fELEPHCNE. NO.:   323-547-0472                           FAX NO.:   rila
                   Plaintiffs SAPOA/Serrano
 ATtoRNEY l'ol'! (N&rneJ,
SUPERIOR COURT OF CALIFORNIA, eOUNTT OF Orange
    STREET ADDREss 700 Civic Center Plaza
       MAILING ADDRESS:
                 Santa Ana, CA 92.701
       c Irv AN021P cooe:
                 Cent ral Justice
            BRANCH NAME:
   CASE NAME: SAPOA/Serrano v. City of Santa Ana, et al

                                                                                                                     CASE 1-iA.!M BER:
           CIVIL CASE COVER SHEET                                        Complex Case Oesi•gnation
 IZI       Unlimited         Limited D                   Counter    D         Joinder       D
           (Amount           (Amount
                                                                                                  JUDGE:
           demanded          demanded is          Ffled with first appearance by defendant
           exceeds $25,000   $2.5 000 or less          Cal. Rules of Court, ru le 3A02             DEPT:

                                    Items 1-6 below must be com lefed see instructions on a e 2.
1. Check one box below for the case type 1hat best describes this case:
   Auto Tort                                    Contract                                Provislonally Complex Civil Litigation
       D Auto (22)                                              D
                                                      Breach of contract/warranty (06)  !£iii. Rules of Court, rules 3.400-3.403)
   D Uninsured motorist (46)                    D Rule 3.740 collections (09)           [J ArntltrustfTrade regulation (03)
   Other PI/PD/WD (Personal Injury/Property                     O
                                                      Other collections (09)           0 Construction tiefect (10)
   Damage/Wrongful Death) Tort                                  O
                                                      Insurance coverage (18)                               D
                                                                                               Mass tort (40)
   D Asbestos (04)                              0 Other contract (37)                  ID Securities lltigatlon (28)
   D Product liability (24)                     Real Property                          ID Environmental/Toxic tort (30)
   D Medical malpractice (45)                   0 Eminent domain/Inverse               ID Insurance coverage claims arising from the
   0 Other PI/PDIWD (23)                              condemnation (14)                         above 1isted provisionally complex case
   Non-Pl/PD/WO (Other) Tort                                    O
                                                      Wrongful eviction (33)                    types (41)
    D       Business tort/unfair business practice (07)         D
                                                              Other real property (26)                      Enforcement of Judgment
    0       Civil rights (08)                           Unlawful Detainer                                   ID   Enforcement of judgment (20)
    0       Defamation (13)                                     D
                                                              Commercial (31)                               Miscellaneous CMI Complaint
    D       Fraud (16)                                          D
                                                              Residential (32)                              D    RICO (27)
       D    Intellectual property (19)                          D
                                                              Drugs (38)
                                                                                                            D    Other complaint (not specified above) (42)
                                                                                                            Miscellaneous Civjl Petition
       D    Professional negligence (25)                Judicial Review
                                                                                                            D    Partnership and corporate govemance (21)
       0    Other non-Pl/PD/WO tort (35)                        D
                                                              Asset forfeiture (05)
       Employment                                               D
                                                              Petition re: arbitration award (11)           0 Other petition (not specified above) (43)
    D       Wrongful termination (36)                           D
                                                              Writ of mandate (02)
       ~ Other employment (15)                                  D
                                                              other Judicial review (39)
2. This case            Dis   ~ is not complex under rule 3.400 of the                       California Rules of Court If the c ase is complex, mark the
       factors requiring exceptional Judicial management:
       a.   D    Large number of separately represented parties       d.                0      Large number of w itnesses
       b.   D    Extensive motion practice raising difficult or novel e .               D      Coordination with related actions pending in one orrmore courts
                 issues that will be time-consum ing to resolve                                in other counties, states. or countries, or in a federal court
       c.   D    Substantial amount of documentary evidence           f.                D      Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. ~ monetary b. r:81 nonmonetary; declaratory or injunctive relief c. r:81 punitive
4. Number of causes of action (specify): 6:MMBA; POBRA; Speech; Labor Code; Penal Code 832 .5-832.8; Retaliation
5. This case          D      is     r:81    is not   a class action suit.
6. If there are any Known related cases, file and serve a notice of related case. (You may use fo,m CM-015.)
Date: November?, 2021
          Corey W. G lave                                                 ► Isl Corey W. Glave
                                   /TYPE OR PRINT NAMEl                                                    ISIIGNATURE OF PARTY OR ATTORNEY FOR P/\RTYl

                                                                                      NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
    under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
    in sanctions.
  • File this cover sheet in addition to any cover sheet required by local court ru le.
  • If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on a111
    other parties to the action or proceeding.
  • Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                           Paa• 1 ol 2

Fonn Adopted for Mandatory Use                                                                                                Cal. Rules ol Court. rules 2.30, 3.220, 3.4~ .403, 3.740;
  Judicial Council cf Calltornla                                 CIVIL CASE COVER SHEET                                               Cal. Slandards of Judicfal Administration. std. 3.1O
   CM-01 0 [Rov. July 1, 2007]
                                                                                                                                                   EX HIBli1'.rlb.ca.gov
                                                                                                                                                       Page 212
  Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 217 of 305 Page ID #:217

                                                                                                                                      CM-010
                                    INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others FIiing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties In Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3. 740 collections case on this form means that it will be exempt from the general
lime-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3. 740.
To Parties In Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaiotiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.
                                                           CASE TYPES AND EXAMPLES
Auto Tort                                        Contract                                           Provlslonally Complex Civil Litigation (Cal.
       Auto (22)-Personal lnjwy/Property            Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
             Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (If the                       Contract (not unlawful detainer             Construction Defect (10)
             case involves an uninsured                           or wrongful eviction)                  Claims Involving Mass Tort (40)
             motorist clai'm subject to                 ContracVWarranty Breach-Seller                   Secuntles Litigation (28)
             arbitration, check this item                     Plaintiff (not fraud or negligence)       EnvironmentalfToxic Tort (30)
         instead of Auto)                               Negligent Breach of ContracU                    Insurance Coverage Claims
Other PI/PD/WD (Personal Injury/                             Warranty                                       (arising from provisionally complex
Property Damage/Wrongful Death)                         Other Breach of Contract/Warranty                   case type listed above) (41)
Tort                                                Collections (e.g., money owed, open              Enforcement of Judgment
       Asbestos (04)                                     book accounts) (09)                             Enforcement of Judgment (20)
            Asbestos Property Damage                     Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
            Asbestos Personal Injury/                    Other Promissory Note/Collections                       County)
                   Wrongful Death                            Case                                            Confession of Judgment (non-
       Product Liability (not asbestos or            Insurance Coverage (not provisionally                       domestic relations)
           toxic/environmental) (24)                     complex) (18)                                       Sister State Judgment
       Medical Malpractice (45)                          Auto Subrogation                                    Administrative Agency Award
            Medical Malpractice-                         Other Coverage                                          (not unpaid taxes)
                Physicians & Surgeons                Other Contract (37)                                     Petition/Certification of Entiy of
            Other Professional Health Care              Contractual Fraud                                        Judgment on Unpaid Taxes
                Malpractlce                             other Contract Dispute                               other Enforcement of Judgment
       Other PI/PD/WD (23)                       Real Property                                                   Case
            Premises Liability (e.g., slip          Eminent Domain/Inverse                           Mlscellaneous Civil Complaint
            and fall)                                   Condemnation (14)                                 RICO (27)
            Intentional Bodily lnjury/PD/WD          Wrongful Eviction (33)                              Other Complaint (not specified
                 (e.g., assault, vandalism)          Other Real Property (e.g., quiet tltle) (26)            above) (42)
            Intentional Infliction of                  Writ of Possession of Real Property                   Declaratoiy Relief Only
                 Emotional Distress                     Mortgage Foreclosure                                 Injunctive Relief Only (non-
            Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                     Other Real Property (not eminent                     Mechanics Lien
            Other PI/PD/WD                              domain, landlord/tenant, or                          Other Commercial Complaint
Non-PI/PD/WD (Otherl Tort                               foreclosure)                                             Case (non-tort/non-complex)
   Business TorVUnfair Business                  Unlawful Detainer                                           Other Civil Complaint
       Practice (07)                                Commercial (31)                                              (non-tort/non-complex)
   Clvll Rights (e.g., discrimination,               Residential (32)                                Miscellaneous Civil Petition
      false arrest) (not civil                      Drugs (38) (if the case involves illegal             Partnership and Corporate
          harassment) (08)                               drugs, check this item; otherwise,                  Governance (21)
       Defamation (e.g., slander, libel)                 report as Commercial or Residential)            Other Petition (not specified
          (13)                                   Judicial Review                                             above) (43)
       Fraud (16)                                    Asset Forfeiture (05)                                   Civil Harassment
       Intellectual Property (19)                    Petition Re: Arbitration Award (11)                     Workplace Violence
       Professional Negligence (25)                  Writ of Mandate (02)                                    Elder/Dependent Adult
          Legal Malpractice                             Writ-Administrative Mandamus                              Abuse
          other Professional Malpractice                Writ-Mandamus on Limited Court                       Electlon Contest
             (not medical or legal)                          Case Matter                                     Petition for Name Change
       Other Non-PI/PD/WD Tort (35)                     Writ-other Limited Court Case                        Petition for Relief From Late
Employment                                                   Review                                               Claim
   Wrongful Termination (36) Other                   Other Judicial Review (39)                              Other Civil Petition
           Employment (15)                              Review of Health Officer Order
                                                        Notice of Appeal-Labor
                                                             Commissioner A eals

CM--010 [Rev. July 1, 2007]                        CIVIL CASE COVER SHEET                                                                    Pege2of2

                                                                                                                              American LegalNel, Inc.
                                                                                                                              www.FormsWorldlow.com

                                                                                                                       EXHIBIT D
                                                                                                                        Page 213
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 218 of 305 Page ID #:218
          . Electronicall)" Filed by Superior Court of California. County of Orange, 11/08/2021 08:00:00 AM.
30-202 -01230129-CU-OEGCJC - ROA# 2 - DAVID H. YAMASAKI, Clerk of the Court By Jessica D uarte, Deputy Cl rk.




    1   COREY W. GLAVE (State Bar No. 164746)
        Attorney at Law
    2   632 S. Gertruda Ave
        Redondo Beach, CA 90277
    3   Phone: (323) 547-0472
        POAattotney@aol.com
    4

    5   Attorneys for Plaintiffs
        Santa Ana Police Officers Assn
    6   and Gerry Serrano

    7
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
    8
                               FOR THE COUNTY OF ORANGE-CENfRAL
    9

  10
        SANTA ANA POLICE OFFICERS            )              Case
  11    ASSOC IATION; GERRY SERRANO          )
                                             )              CIVIL COMPLAINT
  12                Plaintiffs,              )
        vs.                                  )              1.     VIOLATION OF GOVERNMENT
  13                                         )                     CODE §3500, ET SEQ.
        CITY OF SANTA ANA, a Municipal       )              2.     VIOLATION OF THE PUBLIC
  14    Corporation; SANTA ANA POLICE        )                     SAFETY OFFICERS
        DEPARTMENT, a public safety          )                     PROCEDURAL BILL OF
  15    department; DAVID VALENTIN, Ch ief )                       RIGHTS ACT, GOVERNMENT
        of Police; KRISTIN RIDGE, City       )                     CODE SECTION 3300 ET. SEQ.
  16    Manager; SONIA CARVALHO, City        )              3.     VIOLATION OF FREEDOM OF
        Attorney; JASON MOTSICK, Director of )                     SPEECH
  17    Human Resources; DOES 1-X, inclusive )              4.     VIOLATION OF LABOR CODE
                                             )                     §§1102 , 1102, 1102.5
  18                Defendants.              )              5.     VIOLATION OF PENAL CODE
                                                    )              §§832 .5-832.8, EVIDENCE
  19                                                )              CODE §§1043-1046
                                                    )       6.     RETALIATION UNDER
  20                                                )              GOVERNMENT CODE §12900,
                                                    )              ET SEQ.
  21                                                )
                                                    )
  22 _ _ __ _ _ _ _ _ _ _ )                                 REQUEST FOR JURY TRIAL

  23

  24           COMES NOW PLAINTIFFS SANTA ANA POLICE OFFICERS ASSOCIATION

  25    and GERRY SERRANO and allege as follows:

  26           1.     Plaintiff Santa Ana Police Officers Association (SAPOA) is the recognized

  27    employee organization as defined under Government Code §3500, et seq., and/or

  28    Government Code §3501 (a). The SAPOA has as one of its primary purposes the



                                                  COMPLAINT
                                                                                            EXHIBIT
                                                                                             Page 214
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 219 of 305 Page ID #:219




 1   representation of sworn and non-sworn employees of the Santa Ana Police Department
 2   in their employment relations with the City of Santa Ana and/or Santa Ana Police

 3   Department. In the sworn ranks the SAPOA represents all sworn officers holding the
 4   ranks of Police Sergeant and below, as well as Correctional Supervisor and below.

 5          2.      Plaintiff Gerry Serrano has been since 2016, and now is, the President of
 6   the Santa Ana Police Officers Association and the recognized representative of the

 7   Santa Ana Police Officers Association as that term is used in Government Code

 8   §3502.1. He is also a sworn police officer, holding the rank of Police Sergeant with the

 9   Santa Ana Police Department.

10          3.      Defendant City of Santa Ana is a Municipal Corporation existing under the

11   Constitution and the laws of the State of California. The City of Santa Ana is a public

12   agency as that term is defined in Government Code §3501 (c). It is a municipal entity

13   employing public employees and thus, has a mandatory duty to comply with the

14   provisions of Government Code §3300, et seq., and Government Code §3500, et seq.

15          4.     Defendant Santa Ana Police Department is a department of the City of

16   Santa Ana and a public safety department, as that terms is used in Government Code
17   §3309.5. Defendant Santa Ana Police Department is also a public agency, as that term

18   is used in Government Code §3500, et seq.

19          5.     Defendant Kristine Ridge was and is the City Manager for the City of

20   Santa Ana, and the direct supervisor/appointing authority of the Chief of Police and

21   Human Resource Director. Ridge is the person responsible for the operations of the

22   city, including the overall management of the City. Plaintiffs have information and belief

23   that Ridge participated in, supervised and/or was actively involved in the incidents

24   giving rise to this action in both her individual and official capacities.

25          6.     Defendant David Valentin was and is the appointed Chief of Police for the

26   City of Santa Ana, Santa Ana Police Department. As such he is charged with the

27   supervision and management of personnel, including personnel investigations and

28   discipline of employees of the Santa Ana Police Department. Plaintiffs have information
                                                    2

                                               COMPLAINT                            EXHIBIT D
                                                                                     Page 215
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 220 of 305 Page ID #:220




 1   and belief that Valentin participated in, supervised and/or was actively involved in the
 2   incidents giving rise to this action in both his individual and official capacities.

 3          7.     Sonia Carvalho was and is a private attorney employed by the law firm of

 4   Best Best and Krieger LLP, and is the appointed and/or contracted City Attorney for the

 5   City of Santa Ana. Plaintiffs have information and belief that Carvalho participated in,

 6   supervised and/or was actively involved in the incidents giving rise to this action in both

 7   her individual and official capacities, and that she acted outside the scope of her duties
 8   as an attorney when engaging in acts described below.

 9          8.     Defendant Jason Motsick was and is the appointed Human Resource

10   Director for the City of Santa Ana and is charged with the supervision and management

11   of personnel, including personnel investigations and discipline of employees of the

12   Santa Ana Police Department. Plaintiffs have information and belief that Motsick

13   participated in, supervised and/or was actively involved in the incidents giving rise to

14   this action in both his individual and official capacities.

15          9. At all times herein mentioned, DOES 1-X, inclusive, were the agents, servants

16   and employees of Respondent, City of Santa Ana and/or Santa Ana Police Department,

17   and in doing the things hereinafter alleged, were acting within the scope of their

18   authority as such agents, servants and employees with the permission and consent of

19   Respondents. Claimant will amend the Complaint to allege true names and capacities

20   of DOES 1-X, inclusive when ascertained.

21                                        GENERAL FACTS
22          10.    Serrano became President of the SAPOA in 2016 and has served

23   continuously in the position.

24          11.    When seeking appointment as Chief of Police, Defendant Valentin sought

25   out and received the support of Serrano and the SAPOA. Later, when the SAPOA and

26   Serrano sought wages and benefits for the SAPOA membership and/or opposed

27   Valentin on matters of concerns to the Plaintiffs, Valentin's demeanor and working

28   relationship with Plaintiffs became adversarial.
                                                    3

                                               COMPLAINT                                    EXHIBIT D
                                                                                             Page 216
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 221 of 305 Page ID #:221




 1          12.    In or about February 2019, the City Council for the City of Santa Ana

 2   passed a resolution adopting a Memorandum of Understanding that provided

 3   significant, and needed salary increases for members of the SAPOA. Two City

 4   Councilpersons and Defendant Valentin opposed the raises. Thereafter, the SAPOA

 5   led a successful recall effort to remove the City Councilperson, causing Valentin to
 6   become concerned with the SAPOA's and Serrano's political influence.

 7          13.    Later, when Valentin attempted to obtain approval from the City Council to
 8   create an additional captain position so he could promote one of his allies,

 9   SAPOA/Serrano opposed the creation of the position. The City Council sided with the

10   SAPOA/Serrano and did not create an additional captain position. Valentin became

11   emotionally upset and barked at Serrano that he needed to "ST AND DOWN." It was

12   clear Valentin's concern about the SAPOA having more influence with the City Council

13   than he did was growing.

14          14.   Similarly, Defendant Carvalho began expressing to others that she did not

15   like Serrano. Thereafter, she would purposely interfere and obstruct items pertaining to

16   the SAPOA or Serrano.

17          15.    It is believed that Defendants Valentin and Carvalho formed a conspiracy

18   to attack Serrano and the SAPOA. Defendant Valentin and members of his police

19   management team have admitted animosity against Serrano as the President of the

20   Santa Ana Police Officers Association. This animosity has caused Defendant Valentin

21   and the management team under his guidance to treat members of the SAPOA

22   adversely if the employee is believed to be associated with or sought the aid of SAPOA

23   and/or SAPOA President Serrano. Due to this relationship, Defendant Valentin

24   purposely and intentionally interferes with the SAPOA's ability to represent its

25   membership and acts contrary to state law. Conversely, Valentin gives special

26   treatment and turns a blind eye to allegations of misconduct by those he believes will

27   either give their loyalty to him and/or oppose the SAPOA/Serrano.

28
                                                 4

                                            COMPLAINT                               EXHIBIT D
                                                                                     Page 217
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 222 of 305 Page ID #:222




 1                                           SPYING

 2          16.    In January, 2020, Defendant Valentin began spying on Plaintiff Serrano

 3   and members of the Santa Ana City Council by redirecting copies of all e-mail

 4   communications sent by Serrano to City Councilmember Solorio, from June 2017

 5   forward, to his office. Defendant Valentin then had the City's IT department put a tracer

 6   on all of Serrano's emails so that they would automatically be copied to Defendant

 7   Valentin.

 8                                  OTHER INTERFERENCE

 9          17.   During the last year and continuing to the present, Defendants have

10   censored membership communications and/or denied the SAPOA the ability to send

11   membership communications via the City's e-mail system.

12          18.   Defendant Valentin has engaged in action to advocate for a change of

13   leadership in the SAPOA and has attempted to interfere with SAPOA elections. Said

14   action includes, but is not limited to, encouraging candidates to run against Serrano for

15   the position of Association President, and questioning members' support for Serrano

16   when they are seeking special assignments and promotions.

17                          COMPLAINTS AGAINST LIEUTENANTS

18          19.   In or about January, 2020, the SAPOA and Serrano were informed of

19   allegations of misconduct by SAPD Lieutenants/Commanders Jose Gonzalez and

20   Robert Rodriguez. It was alleged that the two were maliciously spreading rumors

21   regarding activities of Serrano and the SAPOA. Plaintiffs have information and belief,

22   and thereon allege, that said actions constitute violations of department policy and

23   negatively impact the morale of the police department as well as cause division in the

24   SAPOA. The Plaintiffs met with Defendant Valentin and informed him of the allegations

25   of misconduct. Valentin appeared dismissive. Since Valentin failed to initiate an

26   investigation as required by Penal Code §§832.5-832.7, the SAPOA/Serrano reported

27   the information to Defendant Ridge. Again, no investigation was initiated of the police

28   commanders nor of Defendant Valentin.
                                                 5

                                            COMPLAINT                              EXHIBIT D
                                                                                    Page 218
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 223 of 305 Page ID #:223




 1          20.    On or about June 8, 2021, Plaintiffs filed an official complaint regarding

 2   the commanders' actions and the failure to investigate the allegations with Defendant

 3   Motsick. Motsick also refused to initiate an investigation of the commanders and

 4   Defendant Valentin.

 5                                      PERB COMPLAINT

 6          21.    In or about February, 2020, the SAPOA filed an Unfair Practice Charge

 7   with the Public Employment Relations Board (PERB) alleging that the City of Santa Ana

 8   had interfered with, intimidated, attempted to restrain and coerce members of the

 9   Association and Gerry Serrano. The City informally resolved the matters, so the SAPOA

10   withdrew the charge.

11                                      CAMPAIGN SIGNS

12          22.    In April, 2020, Plaintiffs reported the theft of campaign signs related to a

13   recall of Santa Ana City Councilmember Iglesias. One of the identified suspects was

14   the City Council person herself. The SAPOA learned that a Police Commander directed

15   the investigating officer to alter his report so that the City Council person would not be

16   listed as the suspect. The Plaintiffs reported the Police Commander's actions to

17   Defendant Valentin.

18          23.    Instead of investigating the unlawful actions of the Police Commander,

19   Valentin ordered his Internal Affairs commander and investigators to conduct an

20   investigation of Serrano.
21          24.    When the Plaintiffs obtained a video recording showing the former City

22   Council person stealing the campaign signs, Defendant Valentin, Defendant Carvalho

23   and other private attorneys employed by her firm, directly and through Valentin's

24   supporters pressured the Orange County District Attorney's office to open a criminal

25   case against Serrano. When the District Attorney's office rejected Valentin's pressures

26   Valentin became upset. With the help of Defendant Carvalho and her private law firm,

27   he began a lengthy letter and meeting campaign in which he chastised the District

28   Attorney's decision and knowingly included false information in the communications

                                                  6

                                             COMPLAINT
                                                                                     EXHIBIT D
                                                                                      Page 219
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 224 of 305 Page ID #:224




 1   with the District Attorney's office.

 2          25.      As part of the April, 2020, efforts to wrongfully bring a criminal case

 3   against Serrano, Defendants used department resources, including the Internal Affairs

 4   unit, to draft memoranda with adverse comments about Serrano. Serrano was never

 5   informed by Defendants of the internal investigation or memoranda, and Defendants

 6   failed to allow Serrano to review the adverse comments. It is further believed, to the

 7   extent that Defendants have initiated an Internal Affairs investigation, the investigation

 8   was not completed within one year of notice of the allegations of misconduct nor has

 9   Plaintiff Serrano been notified of any proposed discipline or outcome of the

10   investigation during that one year period. Defendants intentionally concealed the

11   information regarding this investigation and the related memoranda from Plaintiffs.

12                                   CULICHI TOWN COVER-UP

13          26.      On August, 2020, on-duty SAPD officers responded to a call for service at

14   the Culichi Town Restaurant. The call involved allegations that off-duty SAPD officers

15   had sexually battered two underage girls that were at the restaurant. The officers

16   response was caught on body worn cameras and the victim's family produced a video

17   of the incident that showed off-duty police sergeant Oscar Lizardi as being present and

18   possibly involved in the incident. A Police Commander reported the incident to then IA

19   Commander, and now Deputy Chief, Robert Rodriguez. Rodriguez is believed to be a

20   close friend of Lizard. He denied the Commander's request for the incident to be
21   investigated.

22          27.      On or about September 2, 2020, a request for public records was made

23   for information related to the call including the Incident Detail Report, copy of the 911

24   emergency calls and/or non-emergency line calls, and police dispatch radio traffic audio

25   files related to the incident (Incident No. 200805316). Def end ant Valentin, on

26   September 24, 2020, denied, in total, the PRA request in order to cover up the

27   misconduct of his IA Commander and one of his closest allies (Lizardi) asserting that

28   the records could not be released because they involved juveniles. This demonstrated
                                                    7


                                                                                        EXHIBIT D
                                               COMPLAINT

                                                                                         Page 220
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 225 of 305 Page ID #:225




 1   that Valentin was aware of the incident and that ii involved allegations of criminal

 2   conduct towards juveniles by off-duty SAPD officers.

 3            28.   SAPOA/Serrano complained to Defendants about Valentin's and

 4   Rodriguez's attempts to cover up alleged criminal conduct by officers who supported

 5   Defendant Valentin pointing out that this conduct amounted to conspiring to commit a

 6   criminal act. II is believed that it wasn't until June, 2021, after multiple complaints and

 7   requests for investigations by the SAPOA, that Defendants initiated an investigation of

 8   two of the three responding officers. The third responding officer was given a special

 9   assignment on Lizardi's specialized team. In July, 2021, the Department initiated an

10   Internal Affairs investigation of one of the off-duty officers, but not Lizardi, who was the

11   ranking officer amongst the off duty personnel involved in the incident.

12            29.   On information and belief, Plaintiffs allege that Defendants have refused
13   to initiate an investigation of Deputy Chief Rodriguez and/or Defendant Valentin.

14                                        PENSION ISSUE

15            30.   In October, 2020, the Defendants inquired of CalPERS as to the propriety

16   of including a premium pay, called "Confidential" received by Serrano while on paid

17   release time to serve as the SAPOA President in the calculation of his pension. It is

18   believed that the City had never inquired about this issue with any prior SAPOA

19   President. When ii appeared that there might be a question regarding the inclusion of

20   the premium in the calculation of Serrano's pension, the City and SAPOA reached an

21   agreement acceptable to CalPERS. However, because Serrano continued to carry out

22   his duty to represent the Association and its members, activity that is clearly protected

23   under the law, Defendants failed and refused to take the necessary steps to resolve the

24   issue.

25                                       FPPC COMPLAINT

26            31.   In November, 2020, Sonia Carvalho, believed to be acting on her own

27   personal vendetta and without City Council approvalsent a request to the California Fair

28   Political Practices Commission seeking a finding that Serrano, as the SAPOA
                                                   8

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 221
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 226 of 305 Page ID #:226




 1   President, engaged in a conflict of interest by negotiating a side letter agreement
 2   related to the pension issue. As the City Council was scheduled to approve the

 3   resolution of the pension issue, Carvalho made multiple inquiries to the FPPC for an
 4   opinion letter finding Serrano was engaging in an unethical conflict of interest.

 5   Ultimately, the FPPC found that Serrano did not engage in any conflict of interest nor

 6   did his actions give rise to an unethical conflict of interest. It is believed that Carvalho

 7   was acting on her own and with the sole purpose of personally interfering with the

 8   SAPOA/Serrano and/or with intent to harm Serrano.

 9                          FEMALE DISCRIMINATION COMPLAINTS

10          32.    In or about November, 2020, SAPOA/Serrano informed Defendant Ridge

11   that there was ongoing discrimination against female employees in the Department.

12   Plaintiffs described an incident involving female officers' attendance at a conference

13   regarding leadership issues for women in law enforcement and the Chief's behavior

14   towards those female employees. Defendant Ridge did not open an investigation into

15   the matter until months later when it was statutorily too late to take disciplinary action

16   against Defendant Valentin or his subordinates.

17          33.    After Plaintiffs informed Defendant Ridge of the discrimination and

18   harassment of the female officers, Defendant Valentin ordered a "preliminary

19   assessment" in order to cover up his and his staff's misconduct. The Human Resource

20   representative that appeared with him when he confronted the female officers

21   conducted the investigation. The female officers were ordered to appear for

22   interrogations. They were not provided any information as to the nature of the

23   investigation. When they appeared for interrogation, the HR Representative read from a

24   transcript, indicated that she was going to prepare a report that only went to Valentin,

25   and then questioned the females about the female's actions and did not have any

26   preset questions about Chief Valentin's, DC Esparza's or other police commander's

27   actions.

28          34.    On information and belief, ii is alleged the Valentin lied to Defendant
                                                   9

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 222
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 227 of 305 Page ID #:227




 1   Ridge and Defendant Motsick claiming that he had initiated an investigation of the

 2   discrimination when, in fact, he initiated an investigation of the female officers in order
 3   to silence them.

 4          35.    The Defendants did not hire an investigator to look into these issues of
 5   harassment and discrimination until April, 2021.

 6          36.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against the City

 7   of Santa Ana, Santa Ana Police Department, Defendant Valentin, and Deputy Chief

 8   Enriquez Esparaza related to the unlawful discrimination, harassment and investigation
 9   of the female officers.

10          37.    Defendant has summarily dismissed the complaints from the

11   SAPOA/Serrano regarding the discrimination against female officers as just part of
12   Serrano's desire to fix his pension issue.

13                              JAIL MANAGEMENT COMPLAINT

14          38.    On December 2, 2020, the SAPOA/Serrano sent an email to Defendant
15   Ridge and Defendant Valentin requesting an investigation of misconduct by jail

16   management/supervision wherein it was alleged that serious misconduct was being

17   covered up and/or not addressed, and that supervisors were being directed to falsify
18   reports and/or official documents.

19                        DISCLOSURE OF CONFIDENTIAL RECORDS

20          39.    On or about February 25, 2021, a purported reporter with the Voice of OC

21   (an online nonprofit media source) sent to Sonia Carvalho, the City Attorney for the City

22   of Santa Ana and Santa Ana Police Department, a Public Records Act (PRA) request

23   seeking, a spreadsheet or breakdown of how many employees at the Santa Ana Police

24   Department have been put on paid administrative leave between 01/01/2016 and

25   2/25/2021. The PRA request included a request for Ms. Carvalho to provide the

26   reasons for the employees being put on paid administrative leave and a breakdown of

27   total costs to the City of Santa Ana incurred by paid administrative leave for Santa Ana

28   Police Department employees between 01/01/2016 and /25/2021.
                                                  10

                                             COMPLAINT
                                                                                      EXHIBIT D
                                                                                       Page 223
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 228 of 305 Page ID #:228




 1          40.    On or about March 26, 2021, without prior notice to the involved

 2   employees or the SAPOA and/or without complying with Penal Code §§832.5-832.8

 3   and/or Evidence Code § 1043-1046, the City Attorney's office, the City of Santa Ana,

 4   under the supervision of Defendant Ridge and/or the Santa Ana Police Department,

 5   under the supervision of Defendant Valentin, intentionally and purposely produced

 6   confidential records from the involved officers' personnel files. It is believed that this

 7   disclosure included data that identified the individual officers involved which is a clear

 8   violation of Penal Code §832.7(d).

 9          41.    Defendants Carvalho, Valentin, Ridge, City of Santa Ana and/or the Santa

10   Ana Police Department are aware that peace officer personnel records are confidential

11   and exempt from disclosure.

12          42.    On or about April 21, 2021, Deputy Chief of Police Eric Paulson, on behalf

13   of Defendant Valentin, conceded in a letter to the Voice of OC that confidential peace

14   officer personnel had been produced to the Voice of OC, including, but not limited to

15   the names of the officers in connection with administrative investigations. Deputy Chief

16   Paulson requested that the confidential records be returned. Plaintiffs are informed and

17   believe, and thereupon allege that after the Voice of OC refused to return the

18   confidential records, Defendants failed to take any action to force the Voice of OC to

19   return the documents.

20          43.    On or about April 27, 2021, Defendants started notifying certain of the

21   impacted officers of the unlawful actions by Defendants. The Notification did not advise

22   the impacted employees of what specific information had been released and did not

23   notify them of any rights they may have. The notices also did not indicate if the

24   Defendants would be taking further action to enforce the employees' rights.

25          44.    Also on or about April 27, 2021, Deputy Chief Paulson informed the Santa

26   Ana Police Officers Association of the Defendants' unlawful disclosure of the

27   confidential peace officer information of members of the Santa Ana Police Officers

28   Association. The notification of Defendants' unlawful action did not identify to the POA
                                                   11

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 224
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 229 of 305 Page ID #:229




 1   the names of the impacted members/officers, but simply stated that the effected

 2   employees had been notified. As it turned out, when Deputy Chief Paulson claimed, on

 3   behalf and presumably at the directions of Defendants, that all affected employees had

 4   been notified, the statement was not true and appears to have been an intentional

 5   misrepresentation by Defendants to conceal the fact that the notifications to the
 6   effected employees had just begun.

 7          45.    The Santa Ana Police Officers Association filed a written complaint with
 8   the Defendant City Manager Kristine Ridge, and Human Resource Director Jason

 9   Motsick requesting that the matter be immediately investigated. Plaintiffs are informed

10   and believe, and thereupon allege that even though the Defendants were required to

11   investigate this matter, as a "citizen complaint" pursuant to Penal Code §§832.5-832.7,

12   Defendants did not investigate nor discipline those city employees responsible for the

13   violations of law.

14          46.    On or about April 28, 2021, a number of affected officers and the Santa

15   Ana Police Officers Association, which has a legal right to represent its members in any

16   and all matters related to their employment with the Santa Ana Police Department,

17   requested copies of any and all communications regarding PRA #21-289, including all

18   e-mails between representatives of the City, Police Department and/or Voice of OC and

19   also requested copies of all records that were produced to the Voice of OC and a list of

20   the impacted officers. Defendants, as part of an ongoing plan and scheme to

21   undermine and interfere with the POA's ability to represent its members, denied the

22   POA's request for copies of the produced records and list of names of impacted

23   employees. Defendants refused to provide copies of the unlawfully released information

24   and/or the list of names of the impacted employees.
25          4 7.   Also on April 28, 2021, Defendants Motsick, Valentin, Ridge and Carvalho

26   issued a letter wherein they indicated that City was terminating the SAPOA's long

27   standing ability to send emails to communications to all SAPOA members through the

28   City's email system.
                                                 12

                                            COMPLAINT                              EXHIBIT D
                                                                                    Page 225
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 230 of 305 Page ID #:230




 1          48.    On or about May 3, 2021, Plaintiffs filed a Notice of Claim against

 2   Defendants City of Santa Ana, Santa Ana Police Departm en! and Defendant Valentin

 3   regarding their unlawful disclosure of confidential peace officer records.

 4          49.    Defendant Ridge and Carvalho have summarily dismissed the complaints

 5   from the SAPOA/Serrano regarding the unlawful disclosure of records as just part of

 6   Serrano's desire to fix his pension issue.

 7                     FALSE INFORMATION TO CITY COUNCIL MEMBER

 8          50.    On or about May 12, 2021, the SAPOA/Serrano learned that Santa Ana

 9   City Councilmember Penaloza had complained to Defendant Valentin that officers from

10   Valentin's special unit (MET), which is supervised by Sgt. Lizardi, had shined the patrol

11   vehicle's ally lights at him while he was driving on multiple occasions. II was further

12   learned that Defendant Valentin tried to falsely blame the SAPOA and Serrano for the

13   officers' alleged actions.

14                                COMPLAINT AGAINST VALENTIN

15          51.    On or about May 13, 2021, the SAPOA/Serrano filed a complaint on

16   behalf of the members of the SAPOA against Defendant Valentin and his police

17   management similar to that made in November, 2020. SAPOA raised issues regarding

18   unaddressed gender discrimination; unaddressed cover-up of the Culichi Town incident;

19   allegations that Valentin committed perjury in at least one deposition; the inclusion of

20   false information in official personnel records; Jail Managers covering up alleged

21   misconduct by employees and/or falsifying records/reports related to the misconduct;

22   interference in a criminal investigation where a former City Council person was initially

23   listed as the suspect until the officer was directed to change his report; and interference

24   with Association activities and/or representation of members.

25          52.    In response to the May 13, 2021, complaint, Defendants either failed to

26   initiate an investigation, as required by Penal Code §§832.5-832.7 and/or failed to

27   report to the complainant the outcome of the investigation(s).

28   53.    Defendant Ridge and Carvalho have summarily dismissed the complaints from

                                                  13

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 226
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 231 of 305 Page ID #:231




 1   the SAPOA/Serrano as just part of Serrano's desire to fix his pension issue.

 2                          CITY MANAGER DISCIPLINARY ACTION

 3          54.    In order to try to silence the SAPOA/Serrano, on or about May 18, 2021,

 4   Defendant Ridge issued a disciplinary document entitled "Employee Conduct Warning

 5   Letter" to Serrano for acts he undertook as the "advocate and leader of the SAPOA"

 6   which Defendant Ridge argued violated the City Charter and police department policies.

 7   Under the provisions of Government Code §3300, et seq., this document constituted a

 8   written reprimand and punitive actions as that term is used under Government Code

 9   §§3303 and 3304.

10          55.    Under the City Charter Defendant Ridge does not have the ability to

11   discipline a police sergeant as she is not the appointing authority for the police

12   department. Therefore, Ridge's actions were outside her official capacity and

13   demonstrated that she was acting in excess of her authority in order to discriminate,

14   harass and retaliate against Serrano and the SAPOA.

15          56.    The May 18, 2021, Employee Conduct Warning Letter specifically initiated

16   punitive action against Serrano, as the President of the SAPOA, for communicating (via

17   text and e-mail) to elected officials raising issues with the management of the Police

18   Department. The Warning Letter also directed Serrano, as the President of the SAPOA

19   not to communicate regarding police management issues with the Santa Ana City

20   Council.

21          57.    Serrano, on May 20, 2021, invoked his rights under POBRA and

22   requested all documentation supporting Defendant Ridge's allegations of misconduct,

23   and all complaints giving rise to the punitive action. Serrano also invoked his right to an

24   administrative appeal under Government Code §3304. Defendants have failed and

25   refused to provide Serrano any documents supporting the allegations contained in

26   Ridge's letter and have refused to afford him any administrative appeal of the punitive

27   action imposed against him.

28                               INVESTIGATION OF SERRANO

                                                  14

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 227
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 232 of 305 Page ID #:232




 1          58.    On or about May 27, 2021, Defendant Valentin ordered an investigation of

 2   Serrano based on alleged comments Serrano made in his capacity as the current

 3   President of the SAPOA about a former SAPOA President in October, 2020. The

 4   investigation was opened even though legal counsel for the City of Santa Ana indicated,

 5   in writing that to the extent Serrano's statements were made as a POA President, Mr.

 6   Serrano was not speaking as a police sergeant of the City or the Santa Ana Police

 7   Department, and acknowledged that the City was not able to restrict the conduct of the

 8   POA and/or its President which relate to the administration of the POA as such action

 9   would be a violation of the Meyers-Milias Brown Act. (See Government Code section

10   3506.5(d).). Counsel for the City acknowledged, therefore, the City was not able to

11   direct Mr. Serrano to engage or not engage in conduct that is done in his capacity as

12   President of the POA in relation to the administration of the POA.

13          59.    Evidently, the City of Santa Ana had to pay the former POA President and

14   his wife approximately $350,000.00, as Defendants had allegedly retaliated against the

15   former POA President and Defendant Valentin sexually harassed the former POA

16   President's wife. Thereafter, the former POA President, in an effort to obtain more

17   money from the City, alleged that Serrano violated the settlement agreement even

18   though Serrano was not a party to the action or the agreement. On or about October

19   26, 2020 when the City would not pay any additional money, the former POA President

20   filed a written complaint against Serrano.

21          60.    It appeared that the City was not going to take action on the frivolous

22   complaint, but Defendant Valentin and possibly others, in order to further retaliate

23   against Serrano and the SAPOA, initiated the investigation nine months later. To this

24   date, Defendants have not notified Serrano of the outcome of the investigation and the

25   one year statute of limitations has expired.

26                          SEXUAL HARASSMENT ALLEGATIONS

27          61.    On June 16, 2021, Defendants Motsick and Carvalho scheduled a

28   meeting with Serrano without informing him of the nature of the meeting. Serrano
                                                    15

                                             COMPLAINT                              EXHIBIT D
                                                                                     Page 228
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 233 of 305 Page ID #:233




  1   appeared with legal counsel. After arriving Serrano was informed that Defendants

  2   Motsick and Carvalho were conducting "fact-finding" regarding allegations they had

  3   been made aware of by a third party. The allegation was that Defendant Ridge had

 4    sexually harassed Serrano. Being caught off guard, Serrano, on advice of counsel, did

  5   not make any statement. It was clear at that point that the City was not protecting
 6    Serrano from retaliation by the other Defendants.

 7           62.    Even though Serrano had not filed a complaint against Defendant Ridge,

 8    Defendants feared that Serrano had disclosed or might disclose information of unlawful
 9    activities by Defendant Ridge.

10           63.    As discussed below, it was later learned that approximately a month

11    earlier Ridge "self-reported" the harassment allegations to Defendant Carvalho and her

12    subordinate Defendant Motsick. In a letter to the City Council Ridge was careful in her

13    assertion, making allegations that Serrano had been untruthful and interfered in

14    investigations, but not specifically denying allegations that she sexual harassed

15    Serrano. In that same letter to the City Council Ridge violated state law by disclosing

16    closed session communications with the Council as well as disclosing confidential
17    personnel information about a peace officer to wit, Serrano.

18           64.    Ridge's disclosures to the City Council reveal that Carvahlo and Motsick

19    were not simply conducting a fact finding investigation, but were investigating Ridge's

20    allegations against Serrano who should have been afforded his rights under the Peace
21    Officers Procedural Bill of Rights.

22           65.    On July 7, 2021, Defendant Ridge, fearing the Serrano would report her

23    unlawful activities, directed Serrano to refrain from sending any e-mail communications

24    to her. In essence, Defendant Ridge gave direct orders to the President of the SAPOA
25    not to contact elected officials or herself with any issues or complaint.

26           66.    On July 9, 2021, Plaintiff filed a Notice of Claim (Gov'! Code §910, 910.4)
27    with Defendants.

28           67.    On or about July 16, 2021, the City of Santa Ana hired the law firm of

                                                   16

                                              COMPLAINT
                                                                                    EXHIBIT D
                                                                                     Page 229
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 234 of 305 Page ID #:234




 1   Barboza & Associates to assist Motsick in conducting a personnel investigation into
 2   Serrano's possible allegations of harassment even though Serrano had not made any

 3   such allegations. However, when Plaintiffs tried to determine who retained Barboza,

 4   and whether she was working independently or as an agent/attorney for the City, she

 5   refused to answer. Plaintiffs made the same inquiry of Defendant Motsick on July 21st,

 6   but never received a response.

 7          68.    It was later confirmed that Barboza and Associates was hired to provide

 8   legal advice to the City regarding the investigations thus creating an attorney-client

 9   relationship and a duty of Barboza and Associates to find in a manner to protect their

10   clients. The City specifically prohibited the firm to render any determination about

11   unlawful discrimination, harassment, violation of public policy or any other violations of

12   law or statute. Therefore, there was no reason for Serrano to participate in

13   investigations that could not result in a legal determination.
14          69.    On or about July 19, 2021, Defendant Ridge, trying to minimize her

15   misconduct and redirect attention from the allegations of misconduct against her, sent a

16   letter to the Mayor and City Council falsely claiming that all complaints and tort claims

17   coming from the SAPOA and its members were singularly focused on Serrano's

18   pension issues. In the letter to the Mayor and City Council Ridge revealed confidential

19   personnel file information of Serrano in violation of state law. Ridge also tried to defame

20   Serrano in order to diminish his credibility if he was to come forward with allegations of

21   sexual harassment.

22          70.    It became clear that Ridge's letter dated July 19, 2021, was meant to

23   tarnish Serrano and the SAPOA and to be produced to mass audiences. In fact, on

24   August 3, 2021, the Voice of OC contacted Serrano and advised him that it had been

25   given copies of the letter and the disciplinary letter which outline allegations against him

26   by the City Manager and City Attorney. According to the records they were provided the

27   Voice of OC indicated that both Kristine Ridge and Sonia Carvalho claimed Serrano

28   had caused harm to the city through his pursuit of higher compensation including filing
                                                  17

                                             COMPLAINT                               EXHIBIT D
                                                                                      Page 230
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 235 of 305 Page ID #:235




 1   unsubstantiated legal claims, threats to 'burn the place down' and 'make disclosures
 2   that will hurt people" and asking elected officials to put pressure on the city manager.

 3   Ridge and Carvahlo conspired to release confidential communications to the media in
 4   violation of Penal Code §§832.5- 832.8 and/or Evidence Code §§1043-1046 and/or the

 5   Brown Act.

 6          71.    Two days later, even though Ridge had ordered Serrano not to have

 7   contact with her, she attempted to contact Serrano on his personal phone. Serrano

 8   knew better and did not take the call.

 9          72.    On July 29, 2021, the City rejected the Government Tort Claim filed

1O related to the above issues. The City chose not to try to resolve the matter or conduct

11   investigations prior to issuing the rejection. It appears that the Defendants are intent on
12   forcing the parties to litigate the City's liability. The use of Ms. Barboza's services is just

13   to obtain statements in an effort to defend the anticipated lawsuit.

14          73.    The City is believed to have closed its "sexual harassment investigation"
15   of Defendant Ridge without conducting a single interview and without questioning

16   Defendant Ridge regarding her alleged illegal and/or harassing conduct.

17                    SAPOA ASSISTS MEMBERS IN FILING COMPLAINTS

18          74.    On July 20, 2021, the SAPOA supported the filing of a citizen complaint

19   by one of the Association's members against Defendant Valentin alleging retaliation

20   and creating a hostile working environment for the member that was known to support

21   the SAPOA/Serrano. The Defendants assigned the investigation to an outside

22   investigator, but failed to notify the complainant of the outcome of the investigation.

23          75.    On or about August 19, 2021, the SAPOA supported the filing of a citizen

24   complaint by one of the Association's members against Sgt. Oscar Lizardi for

25   allegations of engaging in intimidation and threats against a member who Lizardi

26   believed supported the SAPOA's vote of no confidence against Defendant Valentin.

27   The Defendants assigned the investigation to an outside investigator, but failed to notify

28   the complainant of the outcome of the investigation.
                                                   18

                                              COMPLAINT                                 EXHIBIT D
                                                                                         Page 231
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 236 of 305 Page ID #:236




  1          76.    On or about August 19, 2021, the SAPOA supported the filing of a citizen
  2   complaint by one of the Association members against Sgt. Oscar Lizardi for allegation

  3   of witness intimidation related to an internal affairs investigation that Defendant Valentin
 4    ordered against a supporter of the SAPONSerrano. The Defendants assigned the

  5   investigation to an outside investigator, but failed to notify the complainant of the
 6    outcome of the investigation.

  7                                   VOTE OF NO CONFIDENCE

 8           77.    On July 8, 2021, Plaintiffs notified Defendant Ridge and Motsick that the

 9    Board of Directors had unanimously voted to send out a Vote of No Confidence ballot
10    regarding Defendant Valentin.

11           78.    In August, 2021, the SAPOA Board of Directors issued a Memorandum

12    regarding the Vote and raised a number of issues for the membership to consider.

13           79.    On or about August 25, 2021, Charles Goldwasser, who serves as

14    General Counsel to the Santa Ana Police Officers Association, wrote Defendant

15    Valentin and Defendant Ridge regarding on-duty harassment and verbal pressure

16    against SAPOA members by Sergeant Lizardi. The conduct interfered with these

17    officers' ability to perform their duties. The Santa Ana Police Officers' Association

18    requested that the City of Santa Ana issue a reminder about this type of on-duty

19    conduct taking place at the Police Department. Plaintiff Serrano, as the President of the

20    SAPOA, followed-up Mr. Goldwasser's communication with an email to Defendant

21    Motsick acknowledging that his members were reporting their working conditions were

22    becoming unbearable and reminding the City that an unchecked hostile work

23    environment, especially where the employees are armed, could result in a bad

24    situations occurring.

25           80.    On August 26, 2021, during a time the SAPOA was considering a "Vote of

26    No Confidence" in Defendant Valentin, Valentin in coordination with Defendants

27    Carvalho, Ridge and Motsick, tried to silence SAPOA President Gerry Serrano by

28    placing him on administrative leave and restricting his access to, and use of, the
                                                   19

                                              COMPLAINT
                                                                                       EXHIBIT D
                                                                                        Page 232
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 237 of 305 Page ID #:237




 1   City/Police Department e-mail system. In order to place Serrano on administrative

 2   leave, Defendant Valentin, or his underlings, specifically ordered Commander Sorenson

 3   to leave the Notice of Administrative Leave/Fitness for Duty Exam at Serrano's

 4   residence where it was found by his son.

 5          81.    The order to undergo the Fitness for Duty Exam specifically references

 6   Mr. Serrano's August 26, 2021, 5:05 a.m ., email to Defendant Motsick as the sole basis

 7   for the exam. Therefore, because Mr. Serrano decided that it was necessary, as the

 8   SAPOA President, to reaffirm the seriousness of the issues, Defendants ordered

 9   Serrano to undergo a Fitness for Duty Examination.

10          82.    Serrano, via counsel, objected to the Fitness for Duty Examination as

11   being unlawful. He invoked his rights under Government Code §3300, et seq., including

12   Government Code §3305 and/or Government Code §3306.5 (requesting copies of

13   and/or access to any and all documents being used or have been used to determine

14   that officer's qualifications for employment, promotion, additional compensation, or

15   termination or other disciplinary action).

16          83.    In response to Plaintiff's assertion of rights and request for materials

17   Defendants intentionally falsified a letter to Serrano's attorney by including claims that

18   Serrano had not been ordered to sign any releases. Defendants denied the request for

19   materials.

20          84.    It was subsequently discovered that Defendants did not comply with their

21   own policy regarding Fitness for Duty and/or Fitness for Duty Examinations.

22          85.    Police Commander Sorrenson was ordered not to retrieve department

23   issued equipment from Mr. Serrano at the SAPOA officce, but instead to order him to

24   report to the police station. The applicable Memorandum of Understanding specifically

25   states: "The Association and the City of Santa Ana agree that the Association's

26   representative will not be required to carry out any peace officer's duties during such

27   time that the Association's representative is on such full-time release from duty. The

28   Association's representative will be required to comply with the Rules and Regulations
                                                  20
                                              COMPLAINT                              EXHIBIT D
                                                                                      Page 233
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 238 of 305 Page ID #:238




 1   of the Santa Ana Police Department as they apply to off-duty employees, except such

 2   representative ill not be required to report for duty for any purpose. Defendants

 3   breached of the MOU by ordering Mr. Serrano to appear for a FFDE and to report to the

 4   police station.

 5          86.     Moreover, the Police Department Fitness for Duty policy indicates that its

 6   purpose and scope is directly related to the exercise of peace officers powers, but the

 7   MOU releases Mr. Serrano from any such exercise. Furthermore, the Fitness for Duty

 8   policy governs on-duty conduct, not off-duty.

 9          87.     Plaintiff initiated a grievance, but that matter was futile as it was to be

10   heard by the City Manager that had ordered Serrano not to have contact with her.

11   Defendants then had Defendant Motsick conduct the grievance hearing even though he
12   was the one that initiated the FFDE by claiming Serrano's e-mail was threatening.

13          88.     On September 1, 2021, the SAPOA disclosed the results of the Vote of

14   No Confidence. More than a majority of the members that voted indicated that they had

15   no confidence in the Chief of Police. That same day Defendant Valentin responded to

16   the membership vote by targeting Serrano. Defendant Valentin falsely attributed the

17   SAPOA's actions as Serrano's personal pension dispute and not about the facts giving

18   rise to the Vote. Defendant Valentin accused Serrano of making false and frivolous

19   claims, and engaging in crimes and corruption when Defendant Valentin knew these

20   allegations against Serrano were false.

21          89.     With the grievance over the FFDE pending and unresolved, Defendants

22   ordered Serrano to appear for the exam and undergo hours of questioning by the

23   contract doctor. The Defendants did not pay Serrano for his time at the FFDE

24   examination.

25          90.     On September 14, 2021, Serrano was found to be fit for duty and

26   removed from administrative leave. After Serrano was found to be fit for duty Defendant

27   Motsick finally held a grievance meeting and later summarily rejected the grievance.

28   Finally, even though Plaintiffs raised issues of retaliation and hostile environment
                                                    21

                                               COMPLAINT                                EXHIBIT D
                                                                                         Page 234
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 239 of 305 Page ID #:239




  1   Defendants have not even attempted to investigate these claims. Therefore, Plaintiffs
 2    have exhausted all administrative remedies related to the FFDE.

 3           91.    Additionally, even though Serrano had been removed from Administrative
 4    Leave, the locker assigned to him by the Police Department was secured so Serrano

 5    could not access it. It was visible to any person that walked into the locker room that the
 6    locker was still being secured by the Department.

 7           92.    Plaintiffs request a jury trial on all non-mandamus relief.

 8           93.    Plaintiff has no plain, speedy or adequate remedy under the law.

 9    Pursuant to Government Code Section 3309.5, Plaintiff need not pursue any

10    administrative remedy in order to address this problem; thus, Plaintiff is excused from

11    or has exhausted his administrative remedies. This court is given initial jurisdiction over
12    this matter pursuant to Government Code §3309.5.

13           94.    To the extent facts, incidents and/or issues described above were learned

14    and/or occurred after Plaintiffs' filed their Government Tort Claim, Plaintiffs only seek

15    mandamus and/or injunctive relief to cure the violations and prevent future violations of

16    a similar nature. Once Plaintiffs has processed and/or the Defendants rejected any

17    such supplemental claim, Plaintiffs will amend this Complaint accordingly.

18                                  VENUE AND JURISDICTION

19    95.Venue is proper in the Superior Court of the State of California, for the County of

20    Orange in that the underlying acts, omissions, injuries and related facts and

21    circumstances giving rise to the present action occurred in the City of Santa Ana,

22    County of Orange, California. This Court has jurisdiction over the present matter

23    because, as delineated within this complaint, the nature of the claims and amount in

24    controversy meet the requirements of jurisdiction in the Superior Court. This Court is

25    empowered with initial jurisdiction to entertain suits brought pursuant to California

26    Government Code §3300, et seq., and for traditional mandamus action.

27                                   FIRST CAUSE OF ACTION

28                                     Against All Defendants
                                                  22
                                              COMPLAINT
                                                                                      EXHIBIT D
                                                                                       Page 235
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 240 of 305 Page ID #:240




  1                         Violation of Government Code §3500, et seq.

 2           96. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3    First Cause of Action against all Defendants for violations of Government Code §3500,

 4    et seq., re-allege paragraphs 1-95, above, and further allege as follows:

 5           97. Government Code §3502 provides, in pertinent part, public employees shall

 6    have the right to form, join, and participate in the activities of employee organizations of

 7    their own choosing for the purpose of representation on all matters of employer-

 8    employee relations.

 9           98. Government Code §3502.1 provides that "No public employee shall be

10    subject to punitive action or denied promotion, or threatened with any such treatment,

11    for the exercise of lawful action as an elected, appointed, or recognized representative

12    of any employee bargaining unit."

13           99. Government Code §3503 provides, in pertinent part, that "Recognized

14    employee organizations shall have the right to represent their members in their

15    employment relations with public agencies."

16           100. Government Code §3504 provides, in pertinent part, that the scope of

17    representation shall include all matters relating to employment conditions and

18    employer-employee relations, including, but not limited to, wages, hours, and other

19    terms and conditions of employment.

20           101. Government Code §3506 provides that "Public agencies and employee

21    organizations shall not interfere with, intimidate, restrain, coerce or discriminate against

22    public employees because of their exercise of their rights under Section 3502 ."

23           102. Government Code §3506.5 provides, in pertinent part, that a public agency

24    shall not do any of the following: (a) Impose or threaten to impose reprisals on

25    employees, to discriminate or threaten to discriminate against employees, or otherwise

26    to interfere with, restrain, or coerce employees because of their exercise of rights

27    guaranteed by this chapter; (b) deny to employee organizations the rights guaranteed to

28    them by this chapter; (d) dominate or interfere with the formation or administration of
                                                   23

                                              COMPLAINT                               EXHIBIT D
                                                                                       Page 236
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 241 of 305 Page ID #:241




 1   any employee organization, contribute financial or other support to any employee

 2   organization, or in any way encourage employees to join any organization in preference

 3   to another.

 4          103. Defendants, and each of them, in undertaking the acts and/or omissions

 5   listed above, violated the above provisions of the Meyers-Milias-Brown Act (MMBA),

 6   including, but not limited to interfering with, intimidating, restraining, coercing and/or

 7   discriminating against the SAPOA, Gerry Serrano and/or other public employees who

 8   are members of the SAPOA because of their exercise of their rights under this Act.

 9          104. Defendants, and each of them, have engaged in acts and/or omissions, as

10   alleged above, wherein they have 1) subjected Serrano to punitive actions and/or

11   threatened him with said actions; 2) imposed or threatened to impose reprisals on

12   Serrano, 3) discriminated or threatened to discriminated against him; 3) otherwise

13   interfered with, restrained, or coerced Serrano because of his exercise of rights

14   guaranteed by the MMBA, and/or for the exercise of lawful action as an elected,

15   appointed, or recognized representative of any employee bargaining unit..

16          105. The duty to obey the laws set forth in Government Code §3500, et seq., is

17   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth

18   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions

19   of defendants, set forth above, demonstrate that defendants' failure to comply with

20   Government Code §3500, et seq., was illegal as a matter of law under Government

21   Code section 1222, which makes a public officer's "willful omission to perform any duty

22   enjoined by law" a misdemeanor.

23          106. Each and every act listed above, individually or jointly, constitutes a

24   violation of Government Code §3500, et seq., and therefore this court should render

25   appropriate injunctive or other extraordinary relief to remedy the violation and to prevent

26   future violations of a like or similar nature, including, but not limited to, the granting of a

27   temporary restraining order, a preliminary injunction and a permanent injunction, or, in

28   the alternative, a Writ of Mandate prohibiting the Santa Ana Police Department from
                                                   24

                                               COMPLAINT                                EXHIBIT D
                                                                                         Page 237
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 242 of 305 Page ID #:242




  1   taking any punitive action against any public safety officer member of the SAPOA.
  2   Plaintiffs specifically seek a "make whole" remedy.

  3           107. The above articulated violations were proximately caused by City's
 4    deliberate indifference to its employee's violations of the Meyer-Milias Brown Act, and

  5   the failure to train and control its officers and representatives on the provisions of these

 6    Acts. The violations set forth above were proximity caused by the customs, practices,
 7    policies and decisions of the defendants.

 8           108. Unless this court issues a preliminary and permanent injunction enjoining
 9    and restraining defendants, and each of them, and their agents, employees and

10    servants, from ordering, requiring, commanding, or taking any other action that will

11    result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

12    rights, as afforded by Government Code §3500, et seq., will be violated without any
13    remedy being afforded.

14           109. Plaintiffs have attempted, without success, to exhaust any and all

15    administrative remedies afforded to them to deal with these issues, but such efforts are

16    futile as the named defendants are the ones that make the final decisions via any
17    complaints, grievances or other administrative actions.

18           110. Plaintiff requests this court to award damages and attorney fees pursuant
19    C.C.P. §1090 and 1095.

20           111. In bringing this action, Petitioners have sought enforcement of an important

21    right affecting the public interest which will result in the conferring of a significant benefit

22    upon a large class of persons, to wit, public employees, thereby entitling Petitioners to
23    an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

24           112. The actions of defendants, and each of them, were arbitrary and capricious
25    and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
26    Code §800.

27                                   SECOND CAUSE OF ACTION

28                                        Against All Defendants
                                                      25

                                                 COMPLAINT
                                                                                             EXHIBIT D
                                                                                              Page 238
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 243 of 305 Page ID #:243




 1                         Violation of Government Code §3300, et seq.

 2           113. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   Second Cause of Action against all Defendants for violations of Government Code

 4   §3300, et seq., relief re-alleges paragraphs 1-112, above, and further allege as follows:

 5           114. Government Code §3301 provides, in pertinent part, that "The Legislature

 6   hereby finds and declares that the rights and protections provided to peace officers

 7   under this chapter constitute a matter of statewide concern. The Legislature further

 8   finds and declares that effective law enforcement depends upon the maintenance of

 9   stable employer-employee relations, between public safety employees and their

10   employers. In order to assure that stable relations are continued throughout the state

11   and to further assure that effective services are provided to all people of the state, it is

12   necessary that this chapter be applicable to all public safety officers, as defined in this
13   section, wherever situated within the State of California."

14           115. Government Code §3302 provides, in pertinent part, that except as

15   otherwise provided by law, or whenever on duty or in uniform, no public safety officer

16   shall be prohibited from engaging, or be coerced or required to engage, in political

17   activity.

18           116. Government Code §3303 provides, in pertinent part, that when any public

19   safety officer is under investigation and subjected to interrogation by his or her

20   commanding officer, or any other member of the employing public safely department,

21   that could lead to punitive action, the interrogation shall be conducted under the

22   following conditions. For the purpose of this chapter, punitive action means any action

23   that may lead to dismissal, demotion, suspension, reduction in salary, written

24   reprimand, or transfer for purposes of punishment.

25                 (a) The interrogation shall be conducted at a reasonable hour, preferably

26                 at a time when the public safety officer is on duty, or during the normal

27                 working hours for the public safety officer, unless the seriousness of the

28                 investigation requires otherwise. If the interrogation does occur during off-
                                                   26

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 239
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 244 of 305 Page ID #:244




  1             duty time of the public safety officer being interrogated, the public safety
 2              officer shall be compensated for any off-duty time in accordance with

 3              regular department procedures, and the public safety officer shall not be

 4              released from employment for any work missed.

 5              (b) The public safety officer under investigation shall be informed prior to
 6              the interrogation of the rank, name, and command of the officer in charge
 7              of the interrogation, the interrogating officers, and all other persons to be
 8              present during the interrogation. All questions directed to the public safety

 9              officer under interrogation shall be asked by and through no more than

10             two interrogators at one time.

11             (c) The public safety officer under investigation shall be informed of the
12             nature of the investigation prior to any interrogation.

13             (e) The employer shall not cause the public safety officer under
14             interrogation to be subjected to visits by the press or news media without
15             his or her express consent nor shall his or her home address or
16             photograph be given to the press or news media without his or her

17             express consent.

18             (g) The complete interrogation of a public safety officer may be recorded.

19             If a tape recording is made of the interrogation, the public safety officer

20             shall have access to the tape if any further proceedings are contemplated
21             or prior to any further interrogation at a subsequent time. The public safety

22             officer shall be entitled to a transcribed copy of any notes made by a

23             stenographer or to any reports or complaints made by investigators or
24             other persons, except those which are deemed by the investigating

25             agency to be confidential. No notes or reports that are deemed to be

26             confidential may be entered in the officer's personnel file. The public
27             safety officer being interrogated shall have the right to bring his or her own

28             recording device and record any and all aspects of the interrogation.

                                              27
                                         COMPLAINT
                                                                                   EXHIBIT D
                                                                                    Page 240
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 245 of 305 Page ID #:245




 1          117. Government Code §3304(a) provides that "No public safety officer shall be

 2   subjected to punitive action, or denied promotion, or be threatened with any such

 3   treatment, because of the lawful exercise of the rights granted under this chapter, or the

 4   exercise of any rights under any existing administrative grievance procedure.

 5          118. Government Code §3304(b) provides, in pertinent part, "No punitive action,

 6   nor denial of promotion on grounds other than merit, shall be undertaken by any public

 7   agency against any public safety officer who has successfully completed the

 8   probationary period that may be required by his or her employing agency without

 9   providing the public safety officer with an opportunity for administrative appeal."

10          119. Government Code §3304(d) (1) reads "Except as provided in this

11   subdivision and subdivision (g), no punitive action, nor denial of promotion on grounds

12   other than merit, shall be undertaken for any act, omission, or other allegation of
13   misconduct if the investigation of the allegation is not completed within one year of the

14   public agency's discovery by a person authorized to initiate an investigation of the

15   allegation of an act, omission, or other misconduct. This one-year limitation period shall

16   apply only if the act, omission, or other misconduct occurred on or after January 1,

17   1998. In the event that the public agency determines that discipline may be taken, it

18   shall complete its investigation and notify the public safety officer of its proposed

19   discipline by a Letter of Intent or Notice of Adverse Action articulating the discipline that

20   year, except as provided in paragraph (2). The public agency shall not be required to

21   impose the discipline within that one-year period."

22          120. Government Code §3305 provides that no public safety officer shall have

23   any comment adverse to his interest entered in his personnel file, or any other file used

24   for any personnel purposes by his employer, without the public safety officer having first

25   read and signed the instrument containing the adverse comment indicating he is aware

26   of such comment, except that such entry may be made if after reading such instrument

27   the public safely officer refuses to sign it. Should a public safety officer refuse to sign,

28   that fact shall be noted on that document, and signed or initialed by such officer.
                                                   28

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 241
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 246 of 305 Page ID #:246




 1          121. Government Code §3306 reads "A public safety officer shall have 30 days

 2   within which to file a written response to any adverse comment entered in his personnel

 3   file. Such written response shall be attached to, and shall accompany, the adverse

 4   comment."

 5          122. Government Code §3306.5. provides, in pertinent part, that (a) Every

 6   employer shall, at reasonable times and at reasonable intervals, upon the request of a

 7   public safety officer, during usual business hours, with no loss of compensation to the

 8   officer, permit that officer to inspect personnel files that are used or have been used to

 9   determine that officer's qualifications for employment, promotion, additional

10   compensation, or termination or other disciplinary action; (b) Each employer shall keep

11   each public safety officer's personnel file or a true and correct copy thereof , and shall

12   make the file or copy thereof available within a reasonable period of time after a request

13   therefor by the officer."

14          123. Government Code §3309 provides that "No public safely officer shall have

15   his locker, or other space for storage that may be assigned to him searched except in

16   his presence, or with his consent, or unless a valid search warrant has been obtained or

17   where he has been notified that a search will be conducted. This section shall apply

18   only to lockers or other space for storage that are owned or leased by the employing

19   agency.

20          124. Government Code §3309.5(a) provides "It shall be unlawful for any public

21   safely department to deny or refuse to any public safety officer the rights and

22   protections guaranteed to him or her by this chapter."

23          125. Government Code §3309.5 further provides, in pertinent part, "(d) (1) In

24   any case where the superior court finds that a public safety department has violated

25   any of the provisions of this chapter, the court shall render appropriate injunctive or

26   other extraordinary relief to remedy the violation and to prevent future violations of a like

27   r similar nature, including, but not limited to, the granting of a temporary restraining

28   order, preliminary injunction, or permanent injunction prohibiting the public safety
                                                  29
                                              COMPLAINT                               EXHIBIT D
                                                                                       Page 242
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 247 of 305 Page ID #:247




 1   department from taking any punitive action against the public safety officer" and "(e) In

 2   addition to the extraordinary relief afforded by this chapter, upon a finding by a superior

 3   court that a public safety department, its employees, agents, or assigns, with respect to

 4   acts taken within the scope of employment, maliciously violated any provision of this

 5   chapter with the intent to injure the public safety officer, the public safety department

 6   shall, for each and every violation, be liable for a civil penalty not to exceed twenty-five

 7   thousand dollars ($25,000) to be awarded to the public safety officer whose right or

 8   protection was denied and for reasonable attorney's fees as may be determined by the

 9   court. If the court so finds, and there is sufficient evidence to establish actual damages

10   suffered by the officer whose right or protection was denied, the public safety

11   department shall also be liable for the amount of the actual damages."

12          126. As described above, Plaintiff Gerry Serrano was the subject of numerous

13   investigations that could result in punitive action. One investigation was conducted by

14   Defendants Carvalho and Motsick after Defendant Ridge complained that Serrano was

15   making false statements about her. Serrano was not told, prior to his interview, that

16   Carvalho would be present, was not informed of the nature of the investigation prior to

17   arriving, was not told, nor afforded the opportunity to record the interview.

18          127. In other administrative investigations conducted under the orders of

19   Defendant Valentin, Serrano was not compensated for his time in the interrogations.

20          128. Defendant Ridge issued punitive action against Serrano and when he

21   sought an administrative appeal and the documents purportedly supporting the punitive

22   action, both requests were denied.

23          129. Defendant Valentin has placed or caused to be placed in Serrano's

24   personnel file and/or files used for personnel purposes adverse comments without

25   affording Serrano the ability to review the documents containing the adverse comments.

26          130. Defendant Valentin has ordered administrative investigations to be

27   conducted well in excess of the one year statute of limitations, and has not provided

28   notice of the investigations or the outcome of the investigations to Serrano.
                                                  30

                                              COMPLAINT                               EXHIBIT D
                                                                                       Page 243
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 248 of 305 Page ID #:248




 1          131. Serrano has requested to review documents used for personnel purposes

 2   but has been denied the opportunity to do so.

 3          132. Serrano has information and believe that his department issued locker

 4   and/or other space for storage (including his department issued email storage system)

 5   has been searched outside of his presence and/or without his knowledge/consent or

 6   valid search warrant.

 7          133. Serrano, while acting as the President of the SAPOA, and while off-duly
 8   and out of uniform has been prohibited from engaging in political activity.

 9          134. Serrano has been threatened with punitive action because of the lawful

1O exercise of the rights granted by Government Code §3300, et seq., and/or exercising

11   rights under existing administrative grievance procedures.

12          135. The duty to obey the laws set forth in Government Code §3300, et seq., is

13   a ministerial duty and is not discretionary. By acting, and failing to act, as set forth

14   above, defendants have violated a ministerial duty. Moreover, the acts and/or omissions

15   of defendants, set forth above, demonstrate that defendants' failure to comply with

16   Government Code §3300, et seq., was illegal as a matter of law under Government

17   Code section 1222, which makes a public officer's "willful omission to perform any duty

18   enjoined by law" a misdemeanor.

19          136. Each and every act listed above, individually or jointly, constitutes a

20   violation of Government Code §3300, et seq., and therefore this court should render all

21   available and proper relief under Government Code §3309.5 to remedy the violations

22   and to prevent future violations of a like or similar nature. Plaintiffs specifically seek a

23   "make whole" remedy.

24          137. For those acts identified in the already filed Government Tort Claim,

25   Plaintiffs further seek all relief afforded under Government Code §3309.5(e).

26          138. The above articulated violations were proximately caused by City's

27   indifference to its employee's violations of the Public Safety Officers Procedural Bill of

28   Rights Act, and the failure to train and control its officers and representatives on the
                                                   31

                                              COMPLAINT                                 EXHIBIT D
                                                                                         Page 244
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 249 of 305 Page ID #:249




  1   provisions of this Act. The violations set forth above were proximity caused by the
 2    customs, practices, policies and decisions of the defendants.
 3           139. Unless this court issues a preliminary and permanent injunction enjoining

 4    and restraining defendants, and each of them, and their agents, employees and

 5    servants, from ordering, requiring, commanding, or taking any other action that will

 6    result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his

 7    rights, as afforded by Government Code §3300, et seq., will be violated without any
 8    remedy being afforded.

 9           140. Plaintiffs have attempted, without success, to exhaust any and all

10    administrative remedies afforded to them to deal with these issues, but such efforts are

11    futile as the named defendants are the ones that make the final decisions via any

12    complaints, grievances or other administrative actions. Moreover, pursuant to

13    Government Code §3309.5, Plaintiffs are not required to exhaust administrative
14    remedies.

15           141. Plaintiff requests this court to award damages and attorney fees pursuant
16    to C.C.P. §1090 and 1095.

17           142. In bringing this action, Petitioners have sought enforcement of an important

18    right affecting the public interest which will result in the conferring of a significant benefit

19    upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

20    an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

21           143. The actions of defendants, and each of them, were arbitrary and capricious

22    and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government
23    Code §800.

24                                     THIRD CAUSE OF ACTION

25                                        Against All Defendants
26                      Violation of Constitutional Right to Freedom of Speech

27           144. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

28    Third Cause of Action against all Defendants for violations of Plaintiffs' right to freedom
                                                      32
                                                 COMPLAINT
                                                                                             EXHIBIT D
                                                                                              Page 245
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 250 of 305 Page ID #:250




 1   of speech and writing, freedom to instruct their representative, freedom to petition

 2   government for redress of grievances, and to consult for the common good, re-allege

 3   paragraphs 1-143, above, and further allege as follows:

 4          145. While the U.S. Constitution grants citizens protections for free speech

 5   under the First Amendment to the U.S. Constitution, which are enforced via 42 USC

 6   §1983, the California Constitution also protects this right. Article I, Section 2 of the

 7   California Constitution states that "[e]very person may freely speak, write and publish

 8   his or her sentiments on all subjects, being responsible for the abuse of this right. ... "

 9   Article I, Section 3 of the California Constitution states "[T]he people have the right to

10   instruct their representatives, petition government for redress of grievances, and

11   assemble freely to consult for the common good.

12          146. Defendants, and each of them, have engaged in acts and/or omissions to

13   violate Plaintiffs right to freedom to speak, write and publish their sentiments, and/or

14   their ability to petition government for redress of grievances, assemble and to consult

15   for the common good.

16          147. The duty to obey the laws set forth in state and federal laws is a ministerial

17   duty and is not discretionary. By acting, and failing to act, as set forth above,

18   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

19   defendants, set forth above, demonstrate that defendants' failure to comply with the

20   California Constitution wherein it enjoins certain acts; therefore, defendants actions

21   were illegal as a matter of law under Government Code section 1222, which makes a

22   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.

23          148. Each and every act listed above, individually or jointly, constitutes a

24   violation of Plaintiffs' speech rights and/or the California Constitution and therefore this

25   court should render all available and proper relief to remedy the violations and to

26   prevent future violations of a like or similar nature. Plaintiffs specifically seek a "make

27   whole" remedy.
28          149. For those acts identified in the already filed Government Tort Claim,

                                                   33

                                              COMPLAINT                                  EXHIBIT D
                                                                                          Page 246
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 251 of 305 Page ID #:251




 1   Plaintiffs further seek all available monetary damages and statutory penalties. For those

 2   acts not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs
 3   seek injunctive and/or mandamus remedies.

 4          150. The above articulated violations were proximately caused by City's

 5   deliberate indifference to its employees' violations law, and the failure to train and

 6   control its officers and representatives on the provisions of law referenced above. The

 7   violations set forth above were proximity caused by the customs, practices, policies and

 8   decisions of the defendants.

 9          151. Unless this court issues a preliminary and permanent injunction enjoining

10   and restraining defendants, and each of them, and their agents, employees and

11   servants, from ordering, requiring, commanding, or taking any other action that will

12   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his
13   rights will be violated without any remedy being afforded.

14          152. Plaintiffs have attempted, without success, to exhaust any and all

15   administrative remedies afforded to them to deal with these issues, but such efforts are

16   futile as the named defendants are the ones that make the final decisions via any

17   complaints, grievances or other administrative actions.

18          153. Plaintiffs request this court to award damages and attorney fees as

19   provided by law, including pursuant to C.C.P. §1090 and 1095.

20          154. In bringing this action, Petitioners have sought enforcement of an important

21   right affecting the public interest which will result in the conferring of a significant benefit

22   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

23   an award of attorneys' fees pursuant to Code of Civil Procedure §1021.5.

24          155. The actions of defendants, and each of them, were arbitrary and capricious

25   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

26   Code §800.
27                                   FOURTH CAUSE OF ACTION

28                                        Against All Defendants
                                                      34

                                                 COMPLAINT                                  EXHIBIT D
                                                                                             Page 247
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 252 of 305 Page ID #:252




 1                              Violation of Labor Code §1101-1102.5

 2          156. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

 3   Fourth Cause of Action against all Defendants for violation of provisions of the Labor

 4   Code re-alleges paragraphs 1-95, above, and further allege as follows:

 5          157. Labor Code section 1101 provides, in pertinent part, that no employer shall

 6   make, adopt, or enforce any rule, regulation, or policy: (a) Forbidding or preventing

 7   employees from engaging or participating in politics ... (b) Controlling or directing, or
 8   tending to control or direct the political activities or affiliations of employees.

 9          158. Labor Code §1102 provides "No employer shall coerce or influence or

10   attempt to coerce or influence his employees through or by means of threat of

11   discharge or loss of employment to adopt or follow or refrain from adopting or following

12   any particular course or line of political action or political activity.

13          159. Labor Code §1102.5 provides that (a) An employer, or any person acting

14   on behalf of the employer, shall not make, adopt, or enforce any rule, regulation, or

15   policy preventing an employee from disclosing information to a government or law

16   enforcement agency, to a person with authority over the employee, or to another

17   employee who has authority to investigate, discover, or correct the violation or

18   noncompliance, or from providing information to, or testifying before, any public body

19   conducting an investigation, hearing, or inquiry, if the employee has reasonable cause

20   to believe that the information discloses a violation of state or federal statute, or a

21   violation of or noncompliance with a local, state, or federal rule or regulation, regardless

22   of whether disclosing the information is part of the employee's job duties. (b) An

23   employer, or any person acting on behalf of the employer, shall not retaliate against an

24   employee for disclosing information, or because the employer believes that the

25   employee disclosed or may disclose information, to a government or law enforcement

26   agency, to a person with authority over the employee or another employee who has the

27   authority to investigate, discover, or correct the violation or noncompliance, or for

28   providing information to, or testifying before, any public body conducting an
                                                     35

                                                COMPLAINT                                  EXHIBIT D
                                                                                            Page 248
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 253 of 305 Page ID #:253




 1   investigation, hearing, or inquiry, if the employee has reasonable cause to believe that

 2   the information discloses a violation of state or federal statute, or a violation of or

 3   noncompliance with a local, state, or federal rule or regulation, regardless of whether

 4   disclosing the information is part of the employee's job duties.

 5          160. Sections 1101 and 1102 protect "the fundamental right of employees in

 6   general to engage in political activity without interference by employers." (Gay Law

 7   Students Assn., 24 Cal.3d at 487 (quoting Fort v. Civil Service Commission (1964) 61

 8   Cal.2d 331, 335).)

 9          161. As shown by the facts pied above, Defendants, and each of them, have

10   engaged in acts and/or omissions that violated Labor Code §§1101 and/or 1102 to the

11   detriment of Plaintiff Serrano, Plaintiff SAPOA, and those members of the SAPOA that

12   support the SAPOA's actions.

13          162. Defendants, and each of them, have engaged in retaliation against both

14   Plaintiffs for disclosing information, or because the employer believed that the

15   employee disclosed or may disclose information, to a government or law enforcement

16   agency, to a person with authority over the employee or another employee who has the

17   authority to investigate, discover, or correct the violation or noncompliance, or for

18   providing information to, or testifying before, any public body conducting an

19   investigation, hearing, or inquiry, wherein the employee had reasonable cause to

20   believe that the information disclosed a violation of state or federal statute, or a violation

21   of or noncompliance with a local, state, or federal rule or regulation.

22          163. As a proximate result of Defendants willful, knowing and intentional

23   violations of the Labor Code sections referenced above, Plaintiff Serrano has suffered

24   and continues to suffer substantial losses in earnings and/or other employment

25   benefits. As a legal result of the conduct of Defendants, and each of them, Plaintiff has

26   suffered and will continue to suffer distress, suffering, anguish, fright, nervousness,

27   grief, anxiety, worry, shame, mortification, injured feelings, shock, humiliation and

28   indignity, as well as other unpleasant reactions, damages to reputation, and other non-
                                                   36

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 249
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 254 of 305 Page ID #:254




 1   economic damages, in a sum to be ascertained according to proof. Said damages are

 2   of the type that any person would suffer as result of the illegal and wrongful conduct of

 3   Defendants; Plaintiff does not claim that he has suffered any psychiatric illness as a

 4   result of the conduct of Defendants. Plaintiff Serrano further seeks to recover all wages

 5   and benefits that Plaintiff would have earned if not discriminated against, retaliated
 6   against, or unlawfully harmed in amount to be proven at trial.

 7          164. Plaintiff SAPOA has incurred damages in the form of attorney fees, costs

 8   and nominal damages because of Defendants' violations of the Labor Code section

 9   cited above.

10          165. The duty to obey the Labor Code sections set forth above is a ministerial

11   duly and is not discretionary. By acting, and failing to act, as set forth above,

12   defendants have violated a ministerial duty. Moreover, the acts and/or omissions of

13   defendants, set forth above, demonstrate that defendants' failure to comply with the

14   California Constitution wherein it enjoins certain acts; therefore, defendants actions

15   were illegal as a matter of law under Government Code section 1222, which makes a

16   public officer's "willful omission to perform any duty enjoined by law" a misdemeanor.

17          166. The acts listed above, individually or jointly, constitute a violation of

18   Plaintiffs' rights under the Labor Code and therefore this court should render all

19   available and proper relief to remedy the violations and to prevent future violations of a

20   like or similar nature. Plaintiffs specifically seek a "make whole" remedy.

21          167. For those acts identified in the already filed Government Tort Claim,

22   Plaintiffs seek all available monetary damages and statutory penalties. For those acts

23   not yet included in a filed and/or acted upon Government Tort Claim, Plaintiffs seek

24   injunctive and/or mandamus remedies. Plaintiffs are in the process of satisfying the

25   Government Tort Claim requirement for those acts or omissions that were learned of

26   and/or took place after the initial Tort Claim was filed and rejected; upon completion of

27   that process, Plaintiffs will seek leave to amend the complaint to seek damages and/or

28   civil penalties for the additional acts that recently occurred or were learned of.
                                                  37

                                             COMPLAINT
                                                                                         EXHIBIT D
                                                                                          Page 250
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 255 of 305 Page ID #:255




 1          168. The above articulated violations were proximately caused by City's

 2   deliberate indifference to its employees' violations law, and the failure to train and

 3   control its officers and representatives on the provisions of law referenced above. The

 4   violations set forth above were proximity caused by the customs, practices, policies and

 5   decisions of the defendants.

 6          169. Unless this court issues a preliminary and permanent injunction enjoining

 7   and restraining defendants, and each of them, and their agents, employees and

 8   servants, from ordering, requiring, commanding, or taking any other action that will

 9   result in violations of Plaintiffs' rights, Plaintiffs will suffer irreparable harm in that its/his
10   rights will be violated without any remedy being afforded.

11          170. Plaintiffs have attempted, without success, to exhaust any and all

12   administrative remedies afforded to them to deal with these issues, but such efforts are

13   futile as the named defendants are the ones that make the final decisions via any

14   complaints, grievances or other administrative actions.

15          171. Plaintiff requests this court to award damages and attorney fees as

16   provided by law, including pursuant to C.C.P. §1090 and 1095.

17          172. In bringing this action, Plaintiffs have sought enforcement of an important

18   right affecting the public interest which will result in the conferring of a significant benefit

19   upon a large class of persons, to wit, public employees, thereby entitling Petitioners to

20   an award of attorneys' fees pursuant to Code of Civil Procedure §1021 .5.

21          173. The actions of defendants, and each of them, were arbitrary and capricious

22   and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

23   Code §800.

24                                     FIFTH CAUSE OF ACTION

25                 Against City, Police Department, Valentin, Ridge and Carvalho

26              Violation of Penal Code §§832.5-832.8/Evidence Code §1043-1046

27          174. Plaintiffs Santa Ana Police Officers Association and Gerry Serrano for a

28   Fifth Cause of Action against all Defendants for violations of Penal Code §§832.5-832.8
                                                      38

                                                 COMPLAINT                                  EXHIBIT D
                                                                                             Page 251
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 256 of 305 Page ID #:256




  1   and/or Evidence Code §§1043-1046 re-alleges paragraphs 1-95, above, and further

 2    allege as follows:

 3             175. Penal Code 832.5(a) (1) provides "Each department or agency in this state

 4    that employs peace officers shall establish a procedure to investigate complaints by

 5    members of the public against the personnel of these departments or agencies, and

 6    shall make a written description of the procedure available to the public."

 7    176.Penal Code §832.7(f} (1) mandates that "The department or agency shall provide

 8    written notification to the complaining party of the disposition of the complaint within 30

 9    days of the disposition."

10             177. The City of Santa Ana and Santa Ana Police Department have established

11    and published procedures for receiving and investigating complaints. The established

12    procedures state that complaints will investigated and the party submitting the

13    complaint will be notified of the results by mail.

14             178. The procedure for addressing citizen complaints that the department has

15    established and published obligated the department to conduct an investigation into the

16    allegations of the complaint that was sufficient to allow a decision-maker make one of

17    four possible findings, and the procedure obligated the Chief of Police to make one of

18    those findings with respect to each allegation of misconduct. Defendants did not comply

19    with these obligations and Plaintiffs are entitled to a writ of mandate compelling

20    defendants to perform their ministerial duty to satisfy the obligations imposed by the

21    department's published procedure. (See Ga/zjnski v. Somers, (2016) 2 Cal.App.5 th

22    1164).

23             179. Plaintiffs filed complaints and requests for investigations and Defendants

24    failed to either investigate the allegations of misconduct (which were also violations of

25    state law and possible misdemeanor offenses) and/or refused to notify Plaintiff SAPOA

26    of the outcome of the investigation.

27             180. Defendants had a ministerial duty to investigate the SAPOA's and/or

28    Serrano's citizen's complaint and to render a finding on that complaint in compliance
                                                    39

                                               COMPLAINT                              EXHIBIT D
                                                                                       Page 252
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 257 of 305 Page ID #:257




 1   with the complaint procedure the department established and made public pursuant to

 2   subdivision (a)(1) of Penal Code section 832.5. (See Gregory v. State Bd. of Control

 3   (1999) 73 Cal.App.4th 584 ('[a] public entity has a ministerial duty to comply with its

 4   own rules and regulations where they are valid and unambiguous); Pozar v. Department

 5   of Transportation (1983) 145 Cal.App.3d 269 (a writ of mandate may be issued to

 6   compel a public agency to follow its own internal procedures.).

 7          181. A writ of mandate may be issued by any court to any inferior tribunal,

 8   corporation, board, or person, to compel the performance of an act which the law

 9   specially enjoins, as a duty resulting from an office, trust, or station." (Code Civ. Proc., §

10   1085, subd. (a).) Indeed, "[t]he writ must be issued in all cases where there is not a

11   plain, speedy, and adequate remedy, in the ordinary course of lawupon the verified

12   petition of the party beneficially interested." (Id.,§ 1086.) In essence, "[m]andamus lies

13   to compel the performance of a clear, present, and ministerial duty where the petitioner

14   has a beneficial right to performance of that duty." (Carrancho v. California Air

15   Resources Board (2003) 111 Cal.App.4th 1255 1265) "A duty is ministerial when ii is

16   the doing of a thing unqualifiedly required." (Redwood Coast Watersheds Alliance v.

17   State Bd. of Forestry & Fire Protection (1999) 70 Cal.App.4th 962, 970).

18          182. Plaintiffs seek a writ of mandate commanding Defendants to investigate
19   Plaintiff's complaint regarding the release of the confidential information and to inform

20   Plaintiff of the outcome of that investigation. Plaintiff further seeks an order of the court

21   mandating that Defendants, and each of them, fully investigate any and all complaints

22   made to the City of Santa Ana/Santa Ana Police Department regarding the misconduct

23   of police department employees/officials.

24          183. Furthermore, Penal Code §832.5-832.8 requires Defendants to maintain as

25   confidential peace officer personnel files/information. The only manner in which the

26   information can be released to third parties is through compliance with Evidence Code

27   §§1043-1046.

28          184. Plaintiff Serrano was issued punitive action by Defendant Ridge, and then
                                                   40

                                              COMPLAINT                                EXHIBIT D
                                                                                        Page 253
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 258 of 305 Page ID #:258




  1   Defendant Ridge and/or Carvalho released copies of the punitive action to elected

  2   Council members and media sources without complying with the legal requirements set
  3   forth above.

  4           185. The duty to obey the laws set forth in Penal Code§ §832.5-832.8 and/or

  5   Evidence Code §§1043-1046, is a ministerial duty and is not discretionary. By acting,

  6   and failing to act, as set forth above, defendants have violated a ministerial duty.

  7   Moreover, the acts and/or omissions of defendants, set forth above, demonstrate that
  8   defendants' failure to comply with Penal Code §§832.5-832.8 and/or Evidence Code

  9   §1043-1046 was illegal as a matter of law under Government Code section 1222, which
10    makes a public officer's "willful omission to perform any duty enjoined by law" a

 11   misdemeanor.

12            186. As a result of Defendants' unlawful action, Plaintiff Serrano has suffered
13    and will continue to suffer distress, suffering, anguish, fright, nervousness, grief,

14    anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,

15    damages to reputation, and other non-economic damages, in a sum to be ascertained

16    according to proof. Said damages are of the type that any person would suffer as result

17    of the illegal and wrongful conduct of Defendants; Plaintiff does not claim that he has

18    suffered any psychiatric illness as a result of the conduct of Defendants.

19            187. Plaintiffs have no plain, speedy or adequate remedy under the law.

20    Plaintiffs have attempted to exhaust all administrative remedies to redress the violation

21    of their rights.

22            188. Plaintiffs request this court to award ancillary damages pursuant to C.C.P.

23    §1090 and 1095.

24            189. The actions of defendants, and each of them, were arbitrary and capricious

25    and, therefore, Plaintiffs are entitled to recover attorneys' fees pursuant to Government

26    Code §800.

27            190. The success of Plaintiffs in this action will result in the enforcement of an

28    important right affecting the public interest in that a significant benefit will be conferred

                                                    41

                                               COMPLAINT
                                                                                        EXHIBIT D
                                                                                         Page 254
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 259 of 305 Page ID #:259




  1   on a large class of persons, that is, public employees, and the necessity and financial
  2   burden of private enforcement of said benefit are such as to make appropriate the

  3   award of attorney fees pursuant to California Code of Civil Procedure §1021.5.

 4                                      SIXTH CAUSE OF ACTION

  5                   (Violation of FEHA (Government Code§ 12900, et seq.)
 6                          Retaliation for Engaging in Protected Activity
  7                   (Against City of Santa Ana/Santa Ana Police Department)
 8           191. The allegations set forth in paragraphs 1 through 190 are re-alleged and
 9    incorporated herein by reference.

10           192. Plaintiffs filed complaints with the City of Santa Ana, via Defendant Ridge

11    and/or Motsick regarding allegations of gender discrimination and/or harassment.

12    Furthermore, Defendants Ridge, Motsick and Carvalho believed that Plaintiffs had or

13    would file complaints against Ridge for allegations of sexual harassment. In retaliations

14    for Plaintiffs filing complaints, and/or the fear that additional complaints would be made,

15    defendants engaged in actions such as issuing punitive action, causing Plaintiff Serrano

16    to be subject to improper investigations, placed on administrative leave, and/or to

17    implement other adverse employment action against Plaintiff Serrano.

18           193. Plaintiffs complained to Defendants about the inappropriate actions

19    (discrimination, harassment and/or retaliation), but nothing was done and the retaliation

20    continued unabated. On the basis of the above, Plaintiffs believe and allege that

21    Defendants retaliated against them for their complaints of gender discrimination, sexual
22    harassment, and/or retaliation.

23           194. Plaintiffs reporting of unlawful actions were motivating factors in

24    Defendants' decision not to implement adverse employment actions against Plaintiff
25    Serrano.

26          195. Defendants' conduct, as alleged, violated the Fair Employment and

27    Housing Act, Government Code section 12900, et seq., and Defendants committed

28    unlawful employment practices.

                                                  42


                                                                                        EXHIBIT D
                                              COMPLAINT

                                                                                         Page 255
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 260 of 305 Page ID #:260




  1          196. As a proximate result of Defendants' willful, knowing, and intentional

 2    discrimination/harassment/retaliation against Plaintiff, Plaintiff has sustained and

 3    continues to sustain damages, humiliation, distress, pain and anguish, all to his
 4    damage in a sum according to proof.

 5           197. Plaintiffs have incurred and continues to incur legal expenses and

 6    attorneys' fees. Pursuant to Government Code section 12965(b ), plaintiffs are entitled

 7    to recover reasonable attorneys' fees and costs (including expert costs) in an amount
 8    according to proof.

 9           198. Plaintiffs further request that the Court render appropriate injunctive or

10    other extraordinary relief to remedy these violations and to prevent future violations of a

11    like or similar nature, including, but not limited to, the granting of a permanent injunction

12    requiring the Defendants, upon receiving notification of conduct which may violate the

13    California Department of Fair Employment and Housing regulations or California

14    whistleblower statutes, to promptly conduct a fair and thorough investigation into the

15    allegations and not allow retaliatory actions to be taken against the employees.

16           199. Plaintiff requests this court to award ancillary damages pursuant to C.C.P.
17    §1090 and 1095.

18           200. The actions of defendants, and each of them, were arbitrary and capricious

19    and, therefore, Plaintiff is entitled to recover attorneys' fees pursuant to Government

20    Code §800.

21           201. The success of Plaintiff in this action will result in the enforcement of an

22    important right affecting the public interest in that a significant benefit will be conferred

23    on a large class of persons, that is, public employees, and the necessity and financial

24    burden of private enforcement of said benefit are such as to make appropriate the

25    award of attorney fees pursuant to California Code of Civil Procedure §1021.5

26           202. Plaintiff obtained a Right to Sue letter from the DFEH, and served the

27    same on defendants via the City Clerk's office.

28           WHEREFORE, Plaintiff prays for judgment against Defendants and each of them

                                                    43

                                               COMPLAINT
                                                                                         EXHIBIT D
                                                                                          Page 256
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 261 of 305 Page ID #:261




 1   as follows:

 2                                     FIRST CAUSE OF ACTION

 3             1. Any and all appropriate injunctive or other extraordinary relief afforded under

 4   Government Code §3500, et seq., to remedy the violation and to prevent future

 5   violations of a like or similar nature, including, but not limited to, the granting of a

 6   temporary restraining order, preliminary injunction, or permanent injunction prohibiting

 7   Defendants, and each of them, and their agents, representatives, employees, servants

 8   and/or investigators from violating Government Code §3500, et seq.

 9             2. For those matters already identified in Plaintiffs' Government Tort Claims,

10   any and all damages and/or civil penalties afforded under the law.

11                                   SECOND CAUSE OF ACTION

12             3. Any and all appropriate injunctive or other extraordinary relief afforded under

13   Government Code §3309.5(d) to remedy the violation and to prevent future violations of

14   a like or similar nature.

15             4. For those matters already identified in Plaintiffs' Government Tort Claims, any

16   and all damages and/or civil penalties afforded under the law.

17                                    THIRD CAUSE OF ACTION

18          5. Any and all appropriate injunctive or other extraordinary relief afforded under

19   the law to remedy the violation and to prevent future violations of a like or similar

20   nature.

21          6. For those matters already identified in Plaintiffs' Government Tort Claims, any

22   and all damages and/or civil penalties afforded under the law.

23                                   FOURTH CAUSE OF ACTION

24          7. Any and all appropriate injunctive or other extraordinary relief afforded under

25   the law to remedy the violation and to prevent future violations of a like or similar

26   nature.
27          8. For those matters already identified in Plaintiffs' Government Tort Claims, any

28   and all damages and/or civil penalties afforded under the law.
                                                    44

                                               COMPLAINT
                                                                                        EXHIBIT D
                                                                                         Page 257
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 262 of 305 Page ID #:262




  1                                     FIFTH CAUSE OF ACTION

 2              9. A declaration of the Court that the Defendants violated Penal Code §832.5-

 3    832.7 and/or Evidence Code §§1043-1046 and that Plaintiffs are entitled to the full

 4    relief afforded under Penal Code §832.5-832. 7 and/or Evidence Code §§1043-1046.

 5              10. Any and all appropriate injunctive or other extraordinary relief afforded under

 6    the law to remedy the violation and to prevent future violations of a like or similar
 7    nature.

 8              11. For those matters already identified in Plaintiffs' Government Tort Claims,

 9    any and all damages and/or civil penalties afforded under the law.

10                                     SIXTH CAUSE OF ACTION
11              12. Any and all appropriate injunctive or other extraordinary relief afforded under

12    the law to remedy the violation and to prevent future violations of a like or similar
13    nature.

14              13. For those matters already identified in Plaintiffs' Government Tort Claims,
15    any and all damages and/or civil penalties afforded under the law.

16                                      ALL CAUSES OF ACTION
17           14. An award ancillary damages pursuant to C.C.P. §1090 and 1095.
18           15. For all matters covered by Plaintiffs' Government Tort Claim(s), all damages
19    which the Plaintiffs have sustained as a result of Defendants' conduct, including general

20    damages for pain, suffering, distress, and special damages for lost compensation,

21    including back, front pay, job benefits that he would have received but for the

22    discriminatory practices of Defendants, damages for anguish, fright, nervousness, grief,

23    anxiety, worry, shame, mortification, injured feelings, shock, humiliation and indignity,

24    as well as other unpleasant physical, mental, and emotional reactions ordinarily to be

25    expected, damages to reputation, and other non-economic damages, to the extent

26    permitted by law and in a sum to be ascertained according to proof;

27           16. For all matters covered by Plaintiffs' Government Tort Claim(s), other actual,

28    consequential, and/or incidental damages, and/or statutory penalties in a sum to be
                                                    45

                                                COMPLAINT
                                                                                        EXHIBIT D
                                                                                         Page 258
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 263 of 305 Page ID #:263




 1   ascertained according to proof;

 2         17. Attorneys' fees pursuant to Government Code §800.

 3         18. Attorney fees pursuant to California Code of Civil Procedure §1021.5

 4         19. Attorney fees as provided by any other law and/or statutes

 5         20. That Defendants takes nothing by virtue of this action;

 6         21. For cost of suit and attorney's fees incurred herein; and

 7         22. For such other and further relief as the Court may deem just and proper/

 8

 9   DATED: November_, 2021                  COREY W. GLAVE, ATTORNEY AT LAW
10                                           By:._~-~~~--------
                                                    Corey W. Glave
11                                                  Attorneys for Plaintiffs

12

13

14
15

16
17

18

19

20

21

22

23
24
25

26
27

28
                                               46

                                           COMPLAINT
                                                                                EXHIBIT D
                                                                                 Page 259
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 264 of 305 Page ID #:264




  1                                          VERIFICATION

  2          The undersigned declares as follows:

  3

  4          I am the attorney of record for all plaintiffs in this action. I am verifying this

  5   Complaint on the basis that all named plaintiffs are absent from the county where I

  6   have my office. I have read the foregoing COMPLAINT, and know the contents thereof.

  7   The contents are true, except as to the matters which are therein stated on information

  8   or belief, and as to those matters I believe them to be true and Plaintiffs are acting in

  9   good faith in bringing forward such allegations.

 10          I declare under penalty of perjury under the laws of the State of California that

 11   the foregoing is true and correct.

 12                                        ISi    Corey Glave

 13
 14                                        COREY GLAVE

15
16
17

18
19
20
21

22

23
24
25
26
27
28
                                                    47
                                                 COMPLAINT
                                                                                         EXHIBIT D
                                                                                          Page 260
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 265 of 305 Page ID #:265




                      1                            CALIFORNIA STATE COURT PROOF OF SERVICE
                                                 Santa Ana Police Officers Association v City of Santa Ana, et al.
                      2                      Orange County Superior Comi Case No. 30-2021 -01230129-CU-OE-CJC

                      3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                      4          At the time of service, I was over 18 years of age and not a paiiy to this action. My
                          business address is 633 West 5th Sti·eet, Suite 4000, Los Angeles, CA 90071.
                      5
                                       On December 10, 2021 , I served hue copies of the following document(s):
                      6 DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-
                        APPEARING DEFENDANT CITY OF SANTA ANA'S MOTION TO QUASH SERVICE
                      7 OFSUMMONS

                      8
                                    I served the documents on the following persons at the following addresses (including fax
                      9 numbers and e-mail addresses, if applicable):

                     10                                       SEE ATTACHED SERVICE LIST

                     11             The documents were served by the following means:

                     12   ~         (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a comi order or an
                                    agreement of the parties to accept service by e-mail or electi·onic ti·ansmission, I caused the
                     13             documents to be sent from e-mail address Lytonia.Sanders@lewisbrisbois.com to the
                                    persons at th e e-mail addresses listed above. I did not receive, within a reasonable time
                     14             after the u-ansmission, any electi·onic message or other indication that the transmission was
                                    unsuccessful.
                     15
                                 I declai·e under penalty of pe1jmy under th e laws of the State of California that th e
                     16   foregoing is tme and conect.

                     17             Executed on December 10, 2021 , at Los Angeles, California.

                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
LEWIS                28
BRISBOIS                  4871-4025-2422.l                                     3
BISGAARD
&lMIJ-tllP                 DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-A P P E A ~~ ~ CITY
ATTORNE"l'S AT LAW                        OF SANTA ANA' S MOTION TO QUASH SERVICE OF SUMMOmf"n 1
                                                                                                              Page 261
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 266 of 305 Page ID #:266




                      1                                  SERVICE LIST
                                  Santa Ana Police Officers Association v Cicy of Santa Ana et al.
                      2        Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC
                      3
                      4 Corey W. Glave, Esq.          Attom e_ys for Plaintiffs SANTA ANA POLICE
                        Attorney at Law               OFFICERS ASSN and GERRY SERRANO
                      5 632 S. Gertruda Ave.
                        Redondo Beach, CA 90277
                      6 Te_lephone 323.547.0472 Facsimile
                        E-Mail: POaattorney@aol.com
                      7
                      8
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS                  4871-4025-2422.l                      4
BISGAARD
&lMIJ-tllP                 DECLARATION OF ANDREA L. STEFFAN IN SUPPORT OF SPECIALLY-A P P E A ~ ~ ~ CITY
ATTORNE"l'S AT LAW                        OF SANTA ANA' S MOTION TO QUASH SERVICE OF SUMMOmf"n 1
                                                                                        Page 262
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 267 of 305 Page ID #:267




                      1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                          JEFFREYS . RANEN, SB# 224285                                   Exemptfromfilingfees per
                      2     E-Mail: Jeffrey.Ranen@lewisbrisbois.com                      Government Code§ 6103
                          SOOJIN KANG, SB# 219738
                      3     E-Mail: Soojin.Kang@lewisbrisbois.com
                          ANDREA L. STEFFAN, SB# 332596
                      4     E-Mail: Andrea.Steffan@lewisbrisbois.com
                          633 West 5th Street, Suite 4000
                      5   Los Angeles, California 90071
                          Telephone: 213.250.1800
                      6   Facsimile: 213.250.7900

                      7 Attorneys for Specially-Appearing Defendant
                        City of Santa Ana
                      8
                                                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
                      9
                                                  FOR THE COUNTY OF ORANGE - CENTRAL DISTRICT
                     10

                     11
                          SANTA ANA POLICE OFFICERS                      Case No. 30-2021 -01 230129-CU-OE-CJC
                     12 ASSOCIATION; GERRY SERRANO,
                                                                         [Assigned to Honorable Lon Hmwitz Dept. 20]
                     13                        Plaintiffs,
                                                                         [PROPOSED] ORDER GRANTING
                     14              VS.                                 SPECIALLY-APPEARING DEFENDANT
                                                                         CITY OF SANTA ANA'S MOTION TO
                     15 CITY OF SANTA ANA, a Municipal                   QUASH SERVICE OF SUMMONS
                          C01poration; SANTA ANA POLICE
                     16 DEPARTMENT, a public safety depar tment;         Filed ConcmTently with Specially-Appearing
                        DAVID VALENTIN, Chief of Police;                 Defendant City of Santa Ana's Notice of
                     17 KRISTIN RIDGE, City Manager; SONIA               Motion and Motion to Quash Service of
                        CARVALHO, City Attorney; JASON                   Summons; Declaration of Andrea L. Steffan
                     18 MOTSICK, Director of Human Resources;
                        DOES 1 - X, inclusive,                           Date:    April 20, 2022
                     19                                                  Time:    1 :30 p.m .
                                               Defendants.
                     20                                                  Rese1vation No.: 73661593

                     21
                     22                                                  Action Filed:     11/08/2021
                                                                         Trial Date:         None Set
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS                  4868-7339- 1878. l
BISGAARD
&lMIJ-tllP                      [PROPOSED] ORDER GRANTING SPECIALLY-APPEARING DEFENDANT CITY~ ~ t ~A' S
ATTORNE"l'S AT LAW
                                                    MOTION TO QUASH SERVICE OF SUMMONS
                                                                                                     Page 263
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 268 of 305 Page ID #:268




                    1            The motion of specially appearing defendant City of Santa Ana for an order quashing

                    2 service of the summons upon it, came on regularly for hearing by the Court on April 20, 2022 at
                    3 1:30 p.m. in Department 20 of the above captioned Court, the Honorable Lon Hurwitz presiding.
                    4 Counsel from the law firm of Corey W. Glave Attorney at Law appeared on behalf of plaintiffs,
                    5 and counsel from the law firm of Lewis, Brisbois, Bisgaard & Smith, LLP appeared on behalf of
                    6 moving party specially-appearing defendant City of Santa Ana.
                    7            After reviewing all of the documents submitted in this action, and after oral argument

                    8 presented by the parties, this Court finds plaintiffs failed to serve the City of Santa Ana with a
                    9 summons as required by the Code of Civil Procedure and this Court has no personal jurisdiction
                   10 over the City of Santa Ana.
                   11            IT IS HEREBY ORDERED that the motion is granted and that the service of the summons

                   12 on the City of Santa Ana is quashed.
                   13            City of Santa Ana is entitled to recover its costs.

                   14
                   15
                        DATED: ________________________
                   16
                   17
                   18                                                    Hon. Lon Hurwitz

                   19
                   20
                   21
                   22
                   23
                   24
                   25
                   26
                   27

LEWIS              28
BRISBOIS
BISGAARD
                        4868-7339-1878.1                                    2
                             [PROPOSED] ORDER GRANTING SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S
& SMITH LLP
ATTORNEYS AT LAW                                 MOTION TO QUASH SERVICE OF SUMMONS      EXHIBIT D
                                                                                                        Page 264
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 269 of 305 Page ID #:269




                      1                              CALIFORNIA STATE COURT PROOF OF SERVICE
                                                   Santa Ana Police Officers Association v City of Santa Ana, et al.
                      2                        Orange County Superior Comi Case No. 30-2021 -01230129-CU-OE-CJC

                      3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                      4          At the time of service, I was over 18 years of age and not a paiiy to this action. My
                          business address is 633 West 5th Sti·eet, Suite 4000, Los Angeles, CA 90071.
                      5
                            On December 10, 2021 , I served ti11e copies of the following document(s): [PROPOSED]
                      6 ORDER GRANTING SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA'S
                        MOTION TO QUASH SERVICE OF SUMMONS
                      7
                                     I served the documents on the following persons at the following addresses (including fax
                      8 numbers and e-mail addresses, if applicable):

                      9                                         SEE ATTACHED SERVICE LIST

                     10              The documents were served by the following means:

                     11   ~          (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a comi order or an
                                     agreement of the parties to accept service by e-mail or electi·onic ti·ansmission, I caused the
                     12              documents to be sent from e-mail address Lytonia.Sanders@lewisbrisbois.com to the
                                     persons at th e e-mail addresses listed above. I did not receive, within a reasonable time
                     13              after the u-ansmission, any electi·onic message or other indication that the transmission was
                                     unsuccessful.
                     14
                                 I declai·e under penalty of pe1j my under th e laws of the State of California that the
                     15   foregoing is tm e and con ect.

                     16              Executed on December 10, 2021 , at Los Angeles, California.

                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27
LEWIS                28
BRISBOIS                  4868-7339- 1878. l                                    3
BISGAARD
&lMIJ-tllP                      [PROPOSED] ORDER GRANTING SPECIALLY-APPEARING DEFENDANT CITY~ ~ t~A' S
ATTORNE"l'S AT LAW
                                                    MOTION TO QUASH SERVICE OF SUMMONS
                                                                                                               Page 265
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 270 of 305 Page ID #:270




                      1                                   SERVICE LIST
                                   Santa Ana Police Officers Association v Cicy of Santa Ana et al.
                      2         Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC
                      3
                      4 Corey W. Glave, Esq.          Attom e_ys for Plaintiffs SANTA ANA POLICE
                        Attorney at Law               OFFICERS ASSN and GERRY SERRANO
                      5 632 S. Gertruda Ave.
                        Redondo Beach, CA 90277
                      6 Te_lephone 323.547.0472 Facsimile
                        E-Mail: POaattorney@aol.com
                      7
                      8
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28
BRISBOIS                  4868-7339- 1878. l                      4
BISGAARD
&lMIJ-tllP                      [PROPOSED] ORDER GRANTING SPECIALLY-APPEARING DEFENDANT CITY~ ~ t ~A' S
ATTORNE"l'S AT LAW
                                                    MOTION TO QUASH SERVICE OF SUMMONS
                                                                                          Page 266
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 271 of 305 Page ID #:271




                      1                  CALIFORNIA STATE COURT PROOF OF SERVICE
                                       Santa Ana Police Officers Association v City of Santa Ana, et al.
                      2            Orange County Superior Court Case No. 30-2021 -01230129-CU-OE-CJC
                      3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES
                      4        At the time of service, I was over 18 years of age and not a party to this
                        action. My business address is 633 West 5th Street, Suite 4000, Los Angeles, CA
                      5 90071.
                      6     On December 15, 2021 , I served true_cgmes of the following_ document(s):
                        EXPARTE APPLICATION FOR AN ORDER TO ADVANCE THE
                      7 HEARING ON SPECIALLY-APPEARING DEFENDANT CITY OF SANTA
                        ANA'S MOTION TO QUASH SERVICE OF SUMMONS OR
                      8 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON
                        APRIL 20, 2022_,iTMEMORANDUM OF POINTS AND AUTHORITIES__;.
                      9 DECLARATIO1~ OF ANDREA L. STEFFAN IN SUPPORT THEREO.r
                     1O         I served the documents on the following persons at the following addresses
                          (including fax numbers and e-mail addresses, if applicable):
                     11
                                                     SEE ATTACHED SERVICE LIST
                     12
                                    The documents were served by the following means:
                     13
                                    (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order
                     14             or an agreement of the parties to accept service by e-mail or electronic
                                    transmission I caused tbe documents to be sent from e-mail address
                     15             Andrea.Steffan lewisbrisbois.com to the persons at the e-mail addresses
                                     iste a ove.    i not receive, wit in a reasonable time after the
                     16             transmission, any electronic message or other indication that the transmission
                                    was unsuccessful.
                     17
                               I declar(: un~er penalty of perjury under the laws of the State of California
                     18 that the foregomg is true and correct.
                     19             Executed on December 15, 2021 , at Los Angeles, California.
                     20
                     21
                                                                        Andrea Steffan
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28   4886-2453-9398. l                            11
BRISBOIS                    EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
&lM!HllP                          DEFENDANT CITY OF SANTA ANA'S MOTION TO QUASH SERVICE OF ~M~~h
ATTORNE"l'S AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON ~'2b',lzdi2
                                                                                                  Page 267
              Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 272 of 305 Page ID #:272




                      1                                  SERVICE LIST
                                  Santa Ana Police Officers Association v Cicy of Santa Ana et al.
                      2        Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC
                      3
                      4 Corey W. Glave, Esq.                              Attorneys for Plaintiffs SANTA ANA
                        POLICE
                      5 Attorney at Law                        OFFICERS ASSN and GERRY SERRANO
                        632 S. Gertruda Ave.
                      6 Redondo Beach, CA 90277
                        Te_lephone 323.547.0472 Facsimile
                      7 E-Mail: POaattorney@aol.com
                      8
                      9
                     10
                     11
                     12
                     13
                     14
                     15
                     16
                     17
                     18
                     19
                     20
                     21
                     22
                     23
                     24
                     25
                     26
                     27

LEWIS                28   4886-2453-9398. l                       }   2
BRISBOIS                    EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON SPECIALLY-APPEARING
BISGAARD
&lMIJ-tllP                        DEFENDANT CITY OF SANTA ANA' S MOTION TO QUASH SERVICE OF ~M~~h
ATTORNE"l'S AT LAW                 ALTERNATIVELY ORDER THAT THE HEARING MAY PROCEED ON ~'2b',lzdi2
                                                                                              Page 268
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 273 of 305 Page ID #:273




                          EXHIBITE
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 274 of 305 Page ID #:274




 1   COREY W. GLAVE (State Bar No. 164746)
     Attorn~y at Law
 2   632 s. :Gertruda Ave
     Redonao Beach, CA 90277
 3   Phonej (323) 547-0472
     POAattorney@aol .com
 4
               I

 5   Attorneys for Plaintiffs
     Santa Ana Police Officers Assn
 6   and G$rry Serrano
               I




 7
                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
 8
                                 FOR THE COUNTY OF ORANGE-CENTRAL
 9

10
     SANTA ANA POLICE OFFICERS                      )       Case No. 30-2021-1230129-CU-OE-
11   ASSO~IATION; GERRY SERRANO                     )       CJC
                                                    )       Assigned to Hon. Judge Lon Hurwitz
12                 Plaintiffs,            )
     vs.                                  )                 PLAINTIFFS' OPPOSITION TO
13                                        )                 DEFENDANT CITY OF SANTA ANA'S
     CITY QF SANTA ANA, a Municipal       )                 EX PARTE APPLICATION TO
14   Corporation; SANTA ANA POLICE        )                 ADVANCE HEARING OR BE
     DEPARTMENT, a public safety          )                 RELIEVED OF MANDATORY
15   department; DAVID VALENTIN, Chief )                    PROVISION OF CODE OF CIVIL
     of Poli¢e; KRISTIN RIDGE, City       )                 PROCEDURE.
16   Manager; SONIA CARVALHO, City        )
     Attorney; JASON MOTSICK, Director of )                 Date: December 16, 2021
17   Human Resources; DOES I-X, inclusive )                 Time: 1:30 p.m.
                                                    )       Dept. C-20
18
     ______________Defendants.                      )
                                                    )
19
20
           ;COMES NOW PLAINTIFFS SANTA ANA POLICE OFFICERS ASSOCIATION
21
     and GERRY SERRANO and opposes Defendant City of Santa Ana's ex parte
22
     application to advance hearing on motion to quash, or be relieved of the mandatory
23
     duty srt forth in Code of Civil Procedure §418.1 0(b ).
24         I


           !Plaintiff's counsel is attempting to move his schedule around for this ex parte
25   applicbtion, but may not be able to appear at the time of the hearing because of the
26         I
     short ~otice. It should be noted, defense counsel's declaration was signed on
27         I

     Decerl,ber 10th , but ex parte notice was not given until the last possible notice. This
28         I

           I                                                                          EXHIBIT E
                                       Opposition to Ex Parte Application
                                                                                       Page 269
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 275 of 305 Page ID #:275




 1   tactical; decision provides further evidence that defense counsel is playing a tactical

 2   game.

 3

 4   I.          INTRODUCTION

 5               bn or about November 10, 2021, Defendant City of Santa Ana was served with

 6   the Summons, Complaint and other initiating pleadings in this matter. This fact is
                 '
 7 undispµted as the City Clerk time stamped the summons and complaint when it was
                 i
 8   receivErd in their office. (See Exhibit A to defense counsel's declaration in support of

 9   Motion 1to Quash). Thirty days later, on December 10, 2021, when the Answer was due,

10   Defenqant filed a Motion to Quash. Now, Defendant seek, on an ex parte basis, to

11   either be relieved of the mandatory language in Code of Civil Procedure §418.1 0(b ), or

12   to adv9nce the hearing date so that their untimely motion can be heard within the

13   statutory period. Defendant fails to explain why it waited thirty days to bring the Motion

14   to Quash within the statutory period for hearing.
             '
15           ;Plaintiff opposes this motion as 1) there is no emergency that requires the

16   motion. to be brought on an ex parte basis, 2) there is no good cause for the relief, and

17   3) the Issue is moot because this ex parte application constitutes a general appearance

18   by def~ndant.

19
20   II.     'ARGUMENT

21           iA.       No Showing of Good Cause

22           iDefendants argue that there is good cause for this relief, but there is no good

23   cause nor harmed established if the ex parte application is not granted. Defense
             1




24   couns$1's declaration is not based on facts, but on information and belief. More over,

25   defen~e counsel's "beliefs" are inaccurate; Plaintiffs have not tried to serve all

26   defendants, they only served the City of Santa Ana.

27               Defendant's ex parte application also does not include a proper showing of harm

28   in either the moving papers or the declaration of defense counsel. For example,
                                                       2

                                       Opposition to Ex Parte Application
                                                                                    EXHIBIT E
                                                                                     Page 270
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 276 of 305 Page ID #:276




 1   defense counsel does not explain why Defendant City of Santa Ana waited until the last

 2   mome~t to file their motion to quash, nor do they assert that if the motion had been

 3   brought in a more timely fashion that there would have been any issue with the hearing

 4   date. Without a showing of actual harm or exigent circumstances, it is improper to

 5   proceed on an ex parte basis. (See Marken v. Santa Monica-Malibu Unified Sch Distr

 6   (2012)f202 Cal.App.4th 1250, 1258).

 7
 8             B.   Defendants Do Not Justify Relief

 9          Defendant asserts that they selected the first available motion date; this may be

10   a misrepresentation of facts. Plaintiff's counsel, upon receiving the ex parte application
               i



11   went or, the court's reservation system and was able to determine, as of the date of this

12   filing, there was at least one hearing date available in February 2022.     It is unclear why

13   defendant would not be able to obtain the same dates, or earlier dates, when they filed

14   them n;iotion a week ago.

15          pefendant seeks to be relieved of mandatory language under C.C.P. 418.10;

16   which the court cannot grant. Subsection (b) mandates that the notice shall designate,

17   as the time for making the motion, a date not more than 30 days after filing of the

18   notice.! Here, Defendant failed to comply.

19
20         'C.      This Ex Parte Constitutes a General Appearance

21         1The motion to quash is now moot as Defendant City of Santa Ana has made a

22   general appearance. As the Court is aware, a general appearance occurs when the

23   respo1ding party takes part in the action or in some manner which recognizes the

24   authority of the court to proceed. Such participation operates as consent to the court's
           I


25   exercite of jurisdiction in the proceeding and waives all objections based on lack of
           I

26   perso~al jurisdiction, defective process, or service of process. Because this ex parte is

27   not to ~uash, but seeks other relief that only a party could seek, Defendant City waived

28   its cha;llenge to jurisdiction. Any relief could also include a request for a continuance. It
           !
           I                                        3

                                    Opposition to Ex Parte Application
                                                                                      EXHIBIT E
                                                                                       Page 271
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 277 of 305 Page ID #:277
                  I



 1   has to       le
                  I.
                       very clear that it is a special appearance.

 2                ]"Whether an appearance is general or special is determined by the character of

 3   the relri f sought and not by the intention of the party that it shall or shall not operate as
                  1




 4   a gene al or special appearance. The statement of a defendant or party that he is

 5   makin . a special appearance Js not necessarily conclusive .... "' (Judson v. Superior
                  I
 6   Court (11942) 21 Cal. 2d 11, 13 [overruled on other grounds Goodwine v. Superior Court

 7 (1965ils3 Cal. 2d 481, 484-485. See also Milstein v. Ogden (1948) 84 Cal. App. 2d
 8   229, 2~2). Therefore, the defense counsel's statement that defendant does not intend
                  i
 9   to app$ar in the action is not determinative of whether it in fact did so.
                  I
10                ~ere, Defendant appears and asks for ex parte relief which could be given only

11          ' in a pending case, or which itself would be a regular proceeding in the case, it
     to a pa:rty

12   is a ge~eral appearance regardless of how adroitly, carefully or directly the appearance
              I
13   may b~ denominated or characterized as special. (Judson v. Superior Court; supra, 21
              i                                                                                .
14   Cal.2dlat p. 13. See Greene v. Committee of Bar Examiners (1971) 4 Cal. 3d 189,200;
                  I



15   Davenport v. Superior Court (1920) 183 Cal. 506, 511 ).

16            ~he purpose of a special appearance is easily stated. It is a motion by a
              I
17   defen~ant seeking a ruling that the court lacks jurisdiction over his person sufficient to
              I

18   enablJ the court to render a ''personal judgment" against him. This is to be

19
              I
     distingµished from a general appearance which is, by its effect, a submission by the
20   defendant personally to the jurisdiction of the court, such as an ex parte application

21   seekin~ relief from the court or other court orders. (See California Pine Box and Lumber

22   Co. v. ~uperior Court, (1910) 13 CalApp. 65 (stipulation extending time to answer is
              I
23   genercll appearance); Merner Lumber Co. v. Silvey, (1938) 29 Cal.App.2d 426 (seeking
              \

24   to extdnding time to plead); Roth          Ii. Superior Court, (1905). 147 Cal. 604).

25            :in this case, Defendant City is not simply appearing at an ex parte hearing
26   sched~led by Plaintiff, but is making the ex parte application, submitting evidence and
              ;
              !
27   declarations seeking relief from the court.

28            ;As such, the issue with service, which was proper to start with, is moot, and no
                                                            4

                                            Opposition to Ex Parte Application
                                                                                             EXHIBIT E
                                                                                              Page272
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 278 of 305 Page ID #:278




 1   ex parte relief is required.

 2
 3   DATE[j): December 16, 2021                  COREY W. GLAVE, ATTORNEY AT LAW

 4                                                       /s/ Corey W. Glave
                                                 By: _ _ _ _ _ _ _ _ _ _ _ __
 5                                                       Corey W. Glave
                                                         Attorneys for Plaintiffs
 6

 7
 8

 9

10

11

12

13

14

15

16

17
18

19
20

21

22
23
24
25
26
27
28
                                                    5

                                    Opposition to Ex Parte Application
                                                                                    EXHIBIT E
                                                                                     Page 273
 Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 279 of 305 Page ID #:279




 1                                    PROOF OF SERVICE

 2   STATEI OF CALIFORNIA, COUNTY OF LOS ANGELES:

 3          I; am employed in the County of Los Angeles, State of California. I am over the
     age of ~8 and not a party to the within action; my business address is 632 S. Gertruda
 4   Ave, R~dondo Beach, CA 90277.

 5         On December 16, 2021 I served the foregoing document described as

 6         C1)pposition to Ex Parte Application to Advance Hearing on Motion to Quash

 7 on the parties in this action by electronic service on:
 8
     LEWISl BRISBOIS BISGAARD & SMITH LLP                       Attorneys for Defendant
 9   ANDRltA L. STEFFAN, SB# 332596                             City of Santa Ana
     Andrea:.steffan@lewisbrisbois.com
10   633 W$st 5th Street, Suite 4000
     Los Angeles, California 90071
11
            I

12         I filed the documents with the Court's electronic filing system.   Per said system,
     all indi~iduals registered with the Court to receive notice of electronically filed
13   documents will be served via electronic mail to the e-mail address they have on file with
     the Court. I checked the box for electronic service on said system for the above listed
14   attorney.

15         !;:xecuted on December 16, 2021, at Redondo Beach, California.

16   X     STATE         I declare under penalty of perjury under the laws of the State of
                         California that the above is true and correct.
17

18                                                      Isl Corey W. Glave

19                                              Corey W. Glave

20

21

22

23

24

25

26
27
28
                                                   6

                                   Opposition to Ex Parte Application
                                                                                    EXHIBIT E
                                                                                     Page 274
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 280 of 305 Page ID #:280




 1                                           VERIFICATION

 2         [fhe undersigned declares as follows:

 3
 4          ;I am the attorney of record for all plaintiffs in this action. I am verifying this

 5   Complaint on the basis that all named plaintiffs are absent from the county where I

 6   have n1ly office. I have read the foregoing COMPLAINT, and know the contents thereof.
           '
 7   The c~mtents are true, except as to the matters which are therein stated on information
 8   or beli$f, and as to those matters I believe them to be true and Plaintiffs are acting in

 9   good faith in bringing forward such allegations.

10         11   declare under penalty of perjury under the laws of the State of California that

11   the for~going is true and correct.

12                                         ISi     Corey Glave

13
14                                         COREY GLAVE

15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                      7

                                      Opposition to Ex Parte Application
                                                                                        EXHIBIT E
                                                                                          Page 275
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 281 of 305 Page ID #:281




                          EXHIBIT F
                  Electronically Filed by Superior Court of California, County of Orange, 12/17/2021 04:35:00 PM.
          Case 8:22-cv-00118-CJC-DFM
        30-2021-01230129-CU-OE-CJC               Document
                                        - ROA # 27  - DAVID H.1YAMASAKI,
                                                                   Filed 01/24/22       Page
                                                                              Clerk of the    282
                                                                                           Court By of  305 Page
                                                                                                    efilinguser,     IDClerk.
                                                                                                                 Deputy #:282




                    1 LEWIS BRISBOIS BISGAARD & SMITH LLP
                      JEFFREY S. RANEN, SB# 224285                                            Exempt from filing fees per
                    2   E-Mail: Jeffrey.Ranen@lewisbrisbois.com                               Government Code § 6103
                      SOOJIN KANG, SB# 219738
                    3   E-Mail: Soojin.Kang@lewisbrisbois.com
                      ANDREA L. STEFFAN, SB# 332596
                    4   E-Mail: Andrea.Steffan@lewisbrisbois.com
                      633 West 5th Street, Suite 4000
                    5 Los Angeles, California 90071
                      Telephone: 213.250.1800
                    6 Facsimile: 213.250.7900

                    7 Attorneys for Specially-Appearing Defendant
                      City of Santa Ana
                    8
                                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                        FOR THE COUNTY OF ORANGE – CENTRAL DISTRICT
                   10

                   11
                      SANTA ANA POLICE OFFICERS                             Case No. 30-2021-01230129-CU-OE-CJC
                   12 ASSOCIATION; GERRY SERRANO,
                                                                            [Assigned to Honorable Lon Hurwitz Dept. 20]
                   13                      Plaintiffs,
                                                                            NOTICE OF GRANTING EX PARTE
                   14             vs.                                       APPLICATION FOR AN ORDER TO
                                                                            ADVANCE THE HEARING ON
                   15 CITY OF SANTA ANA, a Municipal                        SPECIALLY-APPEARING DEFENDANT
                      Corporation; SANTA ANA POLICE                         CITY OF SANTA ANA’S MOTION TO
                   16 DEPARTMENT, a public safety department;               QUASH SERVICE OF SUMMONS
                      DAVID VALENTIN, Chief of Police;
                   17 KRISTIN RIDGE, City Manager; SONIA                    Date:     December 16, 2021
                      CARVALHO, City Attorney; JASON                        Time:     1:30 p.m.
                   18 MOTSICK, Director of Human Resources;
                      DOES 1 – X, inclusive,
                   19
                                    Defendants.
                   20                                                       Action Filed:        11/08/2021
                                                                            Trial Date:             None Set
                   21

                   22            TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:

                   23            PLEASE TAKE NOTICE that on December 16, 2021, at 1:30 p.m., in Department 20 of

                   24 the Orange County Superior Court, located at 700 Civic Center Drive, Santa Ana, CA 92701,

                   25 Specially-Appearing Defendant City of Santa Ana’s (“City”) Ex Parte Application for an Order to

                   26 Advance the Hearing Date For City’s Motion to Quash Service of Summons (“Motion”), from

                   27 April 20, 2022 to January 7, 2022, or, alternatively, permit the hearing to move forward as

                   28 scheduled on April 20, 2022 was heard. Andrea Steffan appeared on behalf of moving Specially-
LEWIS                   4871-3656-1415.2
BRISBOIS                  NOTICE OF GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON
BISGAARD
                           SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF
& SMITH LLP
ATTORNEYS AT LAW                                             SUMMONS                    EXHIBIT F
                                                                                                          Page 276
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 283 of 305 Page ID #:283




                    1 Appearing Defendant City of Santa Ana. Plaintiffs’ counsel, after submitting a written opposition,

                    2 did not appear for the hearing. After consideration of the moving and opposing papers,

                    3 declarations, supporting evidence, and oral argument, the Court GRANTED the Application and

                    4 ruled as follows:

                    5                 1. The hearing on Specially-Appearing Defendant City of Santa Ana’s Motion to

                    6                      Quash Service of Summons currently set for hearing on April 20, 2022 is hereby

                    7                      advanced to January 7, 2022, at 10:00 a.m. in Department 20 via Zoom.

                    8                 2. Moving party to give notice.

                    9 DATED: December 17, 2021                       LEWIS BRISBOIS BISGAARD & SMITH LLP
                   10

                   11
                                                                     By:
                   12                                                      JEFFREY S. RANEN
                                                                           SOOJIN KANG
                   13                                                      ANDREA L. STEFFAN
                                                                           Attorneys for Specially-Appearing Defendant City
                   14
                                                                           of Santa Ana
                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
LEWIS                   4871-3656-1415.2                                   2
BRISBOIS                  NOTICE OF GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON
BISGAARD
                           SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF
& SMITH LLP
ATTORNEYS AT LAW                                             SUMMONS                    EXHIBIT F
                                                                                                        Page 277
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 284 of 305 Page ID #:284




                    1                            CALIFORNIA STATE COURT PROOF OF SERVICE
                                               Santa Ana Police Officers Association v City of Santa Ana, et al.
                    2                      Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC

                    3 STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

                    4          At the time of service, I was over 18 years of age and not a party to this action. My
                        business address is 633 West 5th Street, Suite 4000, Los Angeles, CA 90071.
                    5
                          On December 17, 2021, I served true copies of the following document(s): NOTICE OF
                    6 GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE
                      HEARING ON SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S
                    7 MOTION TO QUASH SERVICE OF SUMMONS

                    8         I served the documents on the following persons at the following addresses (including fax
                        numbers and e-mail addresses, if applicable):
                    9
                                                            SEE ATTACHED SERVICE LIST
                   10
                                 The documents were served by the following means:
                   11
                                (BY E-MAIL OR ELECTRONIC TRANSMISSION) Based on a court order or an
                   12            agreement of the parties to accept service by e-mail or electronic transmission, I caused the
                                 documents to be sent from e-mail address Lytonia.Sanders@lewisbrisbois.com to the
                   13            persons at the e-mail addresses listed above. I did not receive, within a reasonable time
                                 after the transmission, any electronic message or other indication that the transmission was
                   14            unsuccessful.

                   15          I declare under penalty of perjury under the laws of the State of California that the
                        foregoing is true and correct.
                   16
                                 Executed on December 17, 2021, at Los Angeles, California.
                   17

                   18

                   19                                                        Lytonia Sanders
                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
LEWIS                   4871-3656-1415.2                                    3
BRISBOIS                    NOTICE OF GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON
BISGAARD
                             SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF
& SMITH LLP
ATTORNEYS AT LAW                                               SUMMONS                    EXHIBIT F
                                                                                                         Page 278
             Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 285 of 305 Page ID #:285




                    1                                          SERVICE LIST
                                        Santa Ana Police Officers Association v City of Santa Ana, et al.
                    2                Orange County Superior Court Case No. 30-2021-01230129-CU-OE-CJC

                    3

                    4 Corey W. Glave, Esq.                         Attorneys for Plaintiffs SANTA ANA POLICE
                      Attorney at Law                              OFFICERS ASSN and GERRY SERRANO
                    5 632 S. Gertruda Ave.
                      Redondo Beach, CA 90277
                    6 Telephone 323.547.0472 Facsimile
                      E-Mail: POAattorney@aol.com
                    7

                    8

                    9
                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
LEWIS                   4871-3656-1415.2                              4
BRISBOIS                  NOTICE OF GRANTING EX PARTE APPLICATION FOR AN ORDER TO ADVANCE THE HEARING ON
BISGAARD
                           SPECIALLY-APPEARING DEFENDANT CITY OF SANTA ANA’S MOTION TO QUASH SERVICE OF
& SMITH LLP
ATTORNEYS AT LAW                                             SUMMONS                    EXHIBIT F
                                                                                                Page 279
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 286 of 305 Page ID #:286




                         EXHIBIT G
 Case 8:22-cv-00118-CJC-DFM                Document
             Electronically Filed by Superior            1 Filed
                                              Court of California,   01/24/22
                                                                   County         Page
                                                                          of Orange,      287 of08:00:00
                                                                                     11 /08/2021 305 PageAM . ID #:287
30-2021-0 1230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI. Clerk of the Court By Jessica Duarte, Deputy SUM,..100
                                             SUMMONS                                                                         FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO OE LA CORTE)

                                    (CJTACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AV/SO AL DEMANDADO):
 CITY OF SANTA ANA, a Municipal Corporation;
 see additional parties attachment

 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 Santa Ana Police Officers Association and Gerry Serrano


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/se/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
   jAV/SO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
   continuaci6n.
      Tiene 30 DiAS DE CALENDAR/0 despues de que le entreguen es/a citaci6n y papeles legales para presentar una respuesta por escrito en esta
   corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no Jo protegen. Su respuesta por escrito tiene que estar
   en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
   Puede encontrar estos formu/arios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
   biblioteca de /eyes de su condado o en fa corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
   que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
   podra quitar su sue/do, dinero y bienes sin mas advertencia.
      Hay otros requisitos /egales. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
   remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con /os requisitos para obtener servicios lega/es gratuitos de un
   programa de servicios /egales sin fines de /ucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
   (www.lawhelpcalifornia.orgJ, en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la corte o e/
   co/egio de abogados locales. AV/SO: Par fey, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
   cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
   pagar el gravamen de la corte antes de que la carte pueda desechar el caso.
 The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                             (Numero de/ Caso):
  (El nombre y direcci6n de la carte es):
                                                                                                                                  30-2021 -01230129 -CU-OE -C)C
 Orange County Superior Court
 700 Civic Center Drive West, Santa Ana, CA 92701                                                                                     Judge Lon F. Hul"lvit:z



  The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:
  (El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
  Corey W. Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472

                                                                                                       cJ) JwQ-:;_                              Jessica Duarte
             11/08/2021                                                        Clerk, by                /J '
                                                                                                                1 1
                                                                                                                       ~          -                               Deputy
  DATE:
  (Fecha)                DAVID H. YAMASAKI, Clerk of the Court                 (Secretario) - - --             - - -- -- - - - - - (Adjunto)

  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
   !SEAL!        ----                    NOTICE TO THE PERSON SERVED: You are served
                                         1.     0   as an individual defendant.
                                         2.     D as the person sued under the fictitious name of (specify):
                                         3.     ~  on behalf of (specify)C,\.l,,_  ,,4   ~~
                                              under:    D CCP416.10(corporation)                                      D CCP 416.60 (minor)
                                                        D CCP 416.20 (defunct corporation)                            D CCP 416.70 (conservatee)
                                                        D CCP 416.40 (association or partnership)                     D CCP 416.90 (authorized person)
                                                       ~ other (specify): c.c.lP    t.\\l•.
                                                                                     51'
                                        4.     D by personal delivery on (date):     (z._{z..:,(ct,:,Z...{
                                                                                                                                                                  Pa e 1 of 1
  Form Adopted for Mandatory Use
    Judicial Council of Calrfomia                                      SUMMONS                         American LegalNet, Inc.
                                                                                                                                        Code ;; Civil Procedure §§ 412.20. 465
    SUM-100 (Rev. July 1, 20091                                                                        www.FormsWorkflow.com                             www.courtinto.ca.gov




                                                                                                                                        EXHIBIT G
                                                                                                                                         Page 280
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 288 of 305 Page ID #:288

                                                                                                                              SUM-200/AI
                                                                                                 CASE NUMBER:
  SHORT TITLE:
  Santa Ana POA/Serrano v. City of Santa Ana, et al                                                   30-2021-01230129-CU-OE·CJC
~




                                                           INSTRUCTIONS FOR USE
  -+   This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  -+   If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

     D       Plaintiff  ~ Defendant     D Cross-Complainant D Cross-Defendant
       SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
       of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
       Resources; DOES 1-X, inclusive




                                                                                                                     Page _ _ of _ _

                                                                                                                                         Page 1 of1
 Form Adopted ror Mandatory Use
   Judicial Council of California
                                             ADDITIONAL PARTIES ATTACHMENT
SUM-2D0(A) [Rev. January 1, 2007]                     Attachment to Summons                                                American LegalNet, Inc.
                                                                                                                           www.FormsWorldlow.com




                                                                                                                   EXHIBIT G
                                                                                                                    Page 281
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 289 of 305 Page ID #:289




                         EXHIBIT H
  Case 8:22-cv-00118-CJC-DFM                 Document
               Electronically Filed by Superior            1 Filed
                                                Court of California,   01/24/22
                                                                     County         Page
                                                                            of Orange,      290 of08:00:00
                                                                                       11 /08/2021 305 PageAM . ID #:290
.\0-202 1-0 1230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI, Clerk of the Court By Jessica Duarte, Deputy S'UM.-.100

                                             SUMMONS                                                                           FOR COURT USE ONLY
                                                                                                                           (SOLO PARA USO OE LA CORTE)

                                     (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AV/SO AL DEMANDAD O):
 C ITY OF SAN TA ANA, a Municipal Corporation;
 see additional parties attachme nt


 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 Santa Ana Police Officer s Association and Gerry Serrano



  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requi rements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  ;AV/SO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la infonnaci6n a
  continuaci6n.
     Tiene 30 DiAS DE CALENDARIO despues de que le entreguen esta citaci6n y pape/es Jegales para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia al demandante. Una carta o una Jlamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
  en fonnato legal correcto sidesea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la corte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
  biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
   que le de un fonnulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
   podra quitar su sue/do, dinero y bienes sin mas advertencia.
     Hay otros requisitos Jegales. Es recomendable que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
   remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios Jegales gratuitos de un
   programa de servicios legales sin fines de Jucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
   (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la corte o el
   co/egio de abogados locales. AV/SO: Por ley, la corte tiene derecho a rec/amar las cuotas y los costos exentos por imponer un gravamen sobre
   cua/quier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
   pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
 The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                              (Numero def Caso):
 (El nombre y direcci6n de la carte es):
                                                                                                                                   30 -2021-01230129-CU-OE-CJC
 Orange County Superior Court
 700 Civic Center Drive West, Santa Ana, CA 92701                                                                                   Judge   Lon F.      Hu rl•\litz


  The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
  (El nombre, la direcci6n y el numero de telefono def abogado de/ demandante, o def demandante que no tiene abogado, es):
  Corey     W.   G lave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472

                                                                                                          c...fr\ J~                           Jessica Duarte
             11/08/2021
  DATE:                                                                        Clerk, by         /J '                              Deputy
  (Fecha)               DAVID H. YAMASAKI, Clerk of the Court                  (Secretario) - - - -- - - - - - - - - - - ( A d j u n t o )

  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
   ISEALI        .--~                   NOTICE TO THE PERSON SERVED: You are served
                                        1.     0   as an individual d efendant.
                                        2.     D as the person sued under the fictitious name of (specify):
                                        3.     ~ on behalf of (specify)°OcwiJ. tJJ.J-- 1 ~...(_ c,(                                \?O\,u...
                                             under:    D CCP 416.10 (corporation)                                      D   l:::cP 416.60 (minor)
                                                       D CCP 4 16.20 (defunct corporation)                             D   CCP 416.70 (conservatee)
                                                        DCCP 416.40 (association or partnership)                       D   CCP 416.90 (authorized person)
                                                       ~ other (specify): c..L.,f' a-\.\ 1.-S 0
                                       4.     D by personal delivery on (date):       t_'Z.... ~   z..3(<'.Oc f
                                                                                                                                                                Pa e 1 of 1
  Form Adopted for Mandatory Use
    Judicial Council of California                                     SUMMONS                            American LegalNet, Inc.
                                                                                                                                      Code d. Civil Procedure §§ 412. 20, 465
   SUM-100 {Rev. July 1. 2009]                                                                            www.Fom,sWorkf1ow.com                         www.courtinfo.ca.gov




                                                                                                                                      EXHIBIT H
                                                                                                                                       Page 282
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 291 of 305 Page ID #:291

                                                                                                                                SUM-2001AI
    SHORT TITLE:                                                                                    CASE NUMBER:

    Santa Ana PONSerrano v. City of Santa Ana, et al                                                     30-2021-01230129-CU-OE-CJC
-


                                                             INSTRUCTIONS FOR USE
    -+   This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
    -+   If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
          Attachment form is attached."

    List additional parties (Check only one box. Use      a separate page for each type   of party.):

     D         Plaintiff  [2] Defendant D Cross-Complainant D Cross-Defendant
         SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
         of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
         Resources; DOES 1-X, inclusive




                                                                                                                      Page _ _ of _ _

                                                                                                                                          Page1 of1
 Form Adopted for Mandatory Use
   Judicial Council of California             ADDITIONAL PARTIES ATTACHMENT
SUM-2D0(A) [Rev. January 1, 2007]                       Attachment to Summons                                               American LegalNel, Inc.
                                                                                                                            www.FormsWorkfiow.com




                                                                                                                    EXHIBIT H
                                                                                                                     Page 283
 Case 8:22-cv-00118-CJC-DFM               Document
             Electronically Filed by Superior            1 Filed
                                              Court of California,   01/24/22
                                                                   County        Page
                                                                          of Orange       292 of08:00:00
                                                                                    , 11/08/2021 305 PageAM . ID #:292
30-2021 -01230 129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI , Clerk of the Court By Jessica Duarte , Deputy S'UM-.100
                                            SUMMONS                                                                      FOR COURT USE ONLY
                                                                                                                     (SOLO PARA USO OE LA CORTE)

                                     (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AV/SO AL DEMANDADO):
 CITY OF SANTA ANA, a Municipal Corporation;
 see additional parties attachment

 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 Santa Ana Police Officers Association and Gerry Serrano


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default. and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. Y ou can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/se/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. T he court's lien must be paid before the court will dismiss the case.
   jAVISO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
   continuaci6n.
      Tiene 30 DiAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta por escrito en esta
   carte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta par escrito tiene que estar
   en formato legal correcto si desea que procesen su caso en la carte. Es posib/e que haya un formu/ario que usted pueda usar para su respuesta.
   Puede encontrar estos formularios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
   biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
   que le de un formu/ario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la corte le
   podra quitar su sue/do, dinero y bienes sin mas advertencia.
      Hay otros requisitos tega/es. Es recomendable que /Jame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
   remisi6n a abogados. Si no puede pagar a un abogado, es posible que cump/a con las requisitos para obtener servicios legates gratuitos de un
   programa de servicios legates sin fines de tucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
   (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la carte o el
   colegio de abogados locales. AV/SO: Por ley, la carte tiene derecho a rec/amar las cuotas y las costos exentos par imponer un gravamen sobre
   cua/quier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
    pagar el gravamen de la carte antes de que la carte pueda desechar el caso.
 The name and address of the court is:                                                                    CASE NUMBER:
                                                                                                          (Numero def Caso):
 (El nombre y direcci6n de la corte es):
                                                                                                                               30 -20 21-01230129-CU-OE-CJC
  Orange County Superior Court
  700 Civic Center Drive West, Santa Ana, CA 92701                                                                              Judge Lon F. Hurvvit:z



  The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
  (El nombre, la direcci6n y el numero de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
  Corey W. Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472

                                                                                                       c..frl1 ~                            Jessica Duarte
             11/08/2021                                                                                    1
  DATE:                                                                         Clerk, by         /}                       , Deputy
  (Fecha)               DAVID H. YAMASAKI. Clerk of the Court                   (Secretario) - - - - - - - - - - - - - - - (Adjunto)

  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
   1sEALJ       ----                    NOTICE TO THE PERSON SERVED: You are served
                                        1.     D    as an individual defendant.
                                        2.     0    as the person sued under the fictitious name of (specify):

                                        3.     IN on behalf of (specify).   ~~
                                                                            6\1\ \li\oW,t.-            ~       'D'-.r.t.   t-1,.,. ~ \ ~                      £Ao~
                                             under:   D CCP 416.10 (corporation)                                D    CCP 416.60 (m inor)
                                                      D CCP 416.20 (defunct corporation)                        D    CCP 416.70 (conservatee)
                                                      0 CCP 416.40 (association or partnership)                 D    CCP 416.90 (authorized person)
                                                      ~ther (specify): ('.l--f a..(.\ C.. - SO
                                       4.     D by personal delivery on (date): \.7... \ 73\'2U -z., (
                                                                                                                                                              Pa e 1 or1
  Form Adopted for Mandatory Use
    Judicial Council of California                                     SUMMONS                         American Lega!Net, Inc.     Code ;;/ Civil Procedure §§ 412.20, 465
    SUM-100 !Rev. July 1. 2009]                                                                        www.FormsWorkffow.com                          www.courtinfo. ca.gov




                                                                                                                                  EXHIBIT H
                                                                                                                                   Page 284
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 293 of 305 Page ID #:293

                                                                                                                           SUM-200/AI
                                                                                               CASE NUMBER:
    SHORT TITLE:
    Santa Ana POA/Serrano v. City of Santa Ana, et al                                               30-2021·01230129-CU-OE-CJC
~




                                                       INSTRUCTIONS FOR USE
  + This form may be used as an attachment to any summons if space does not penmit the listing of all parties on the summons.
  + If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
      Attachment fonm is attached."

    List additional parties (Check only one box. Use   a separate page for each type of party.):
     D     Plaintiff  ~ Defendant     D Cross-Complainant D Cross-Defendant
     SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
     of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
     Resources; DOES 1-X, inclusive




                                                                                                                  Page _ _ of _ _

                                                                                                                                       Page 1 of1
 Form Adopted for Mandatory Use
   Judicial Council of California          ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                   Attachment to Summons                                               American LegalNet, Inc.
                                                                                                                        www.FormsWorldlow.com




                                                                                                               EXHIBIT H
                                                                                                                Page 285
 Case 8:22-cv-00118-CJC-DFM             Document
          Electronically Filed by Superior            1 Filed
                                           Court of California     01/24/22
                                                               , County         Page
                                                                        of Orange,     294 of08:00:00
                                                                                   11/08/2021 305 PageAM. ID #:294
~L ~021-01 230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI , Clerk of the Court By Jessica Duarte, Deputy S'UM;..100
                                              SUMMONS                                                                     FOR COURT USE ONLY
                                                                                                                      (SOLO PARA USO OE LA CORTE)

                                     (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AV/SO AL DEMANDADO):
 CITY OF SANTA ANA, a Municipal Corporation;
 see additional parties attachment

 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 Santa Ana Police Officers Association and Gerry Serrano


  NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
  below.
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
  served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
  case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
  Online Self-Help Center (www.courtinfo.ca .gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
  the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
  may be taken without further warning from the court.
     There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org) , the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
  ;AV/SO! Lo han demandado. Si no responde dentro de 30 dias, la carte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
  continuaci6n.
      Tiene 30 DiAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y pape/es legates para presentar una respuesta por escrito en esta
  carte y hacer que se entregue una copia al demandante. Una carta o una Hamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal correcto si desea que procesen su caso en la carte. Es posible que haya un formulario que usted pueda usar para su respuesta.
   Puede encontrar estos formularios de la carte y mas informaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
   biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
   que le de un formulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la carte le
   podra quitar su sue/do, dinero y bienes sin mas advertencia.
      Hay otros requisitos legates. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
   remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
   programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
   (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
   colegio de abogados locales. AV/SO: Por fey, la carte tiene derecho a rec/amar las cuotas y los costos exentos por imponer un gravamen sabre
   cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
   pagar el gravamen de la carte antes de que la carte pueda desechar el caso.
 The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                            /Numero de/ Caso):
  (El nombre y direcci6n de la carte es):                                                                                        30 -202 1-0 1230129-CU-OE-CJC
  Orange County Superior Court
  700 Civic Center Drive West, Santa Ana, CA 92701                                                                                Judge Lo n F. Hurwit:2



  T he name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is :
  (El nombre, la direcci6n y el numero de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
  Corey W. Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472

             11/08/2021
                                                                                                        c..frl1
                                                                                                             1
                                                                                                               ~                             Jessica Duarte
  DATE:                                                                         Clerk, by          /J                                                        ,   Deputy
  (Fecha)               DAVID H. YAMAS,.:..KI. Clerk of the Court                (Secretario) - - - - - --                - - - - - - - - (Adjunto)

  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
   !SEALJ                                 NOTICE TO THE PERSON SERVED: You are served
                                          1.     D   as a n ind ividual defendant.
                                          2.     D as the person sued under the fictitious name of (specify) :
                                          3.     (&pn behalf o f (specify).·   \c~       u,w_    tz.J..~L , c...,.L..\ ~~
                                               under:     D CCP 416.10 (corporation)                              D CCP 416.60 (minor)
                                                          D   CCP 416.20 (defunct corporation)                    D    CCP       416.70 (conservatee)
                                                          D   CCP 416.40 (association or partnership)             D CCP 41 6.90 (authorized person)
                                                          ~   other (specify): 1-\_\(,.. SD ~
                                         4.     D    by personal delivery on (date):   \ 2- C"2:-31\-z:.oc. (
                                                                                                                                                                 Pa e 1 of 1
  Form Adopted for Mandatory Use
    Judicial Council of California                                       SUMMONS                         American LegalNet. Inc.     Code vi Civil Procedure §§ 412.20, 465
   SUM -1 00 (Rev. Jul y 1, 2009]                                                                        www.FomisWorld1ow.com                         www.court;nfo.ca.gov




                                                                                                                                    EXHIBIT H
                                                                                                                                     Page 286
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 295 of 305 Page ID #:295

                                                                                                                             SUM-200{Al
                                                                                                 CASE NUMBER:
  SHORT TITLE:
  Santa Ana PONSerrano v. City of Santa Ana, et al                                                    30-2021-01230 129-CU-O E-CJC
~




                                                           INSTRUCTIONS FOR USE
  -t   This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  -t   If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached."

    List additional parties (Check only one box. Use a separate page for each type of party.):

     D       Plaintiff  18] Defendant D Cross-Complainant D Cross-Defendant
       SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
       of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
       Resources; DOES 1-X, inclusive




                                                                                                                    Page _ _ of _ _

                                                                                                                                        Page 1 of 1
 Form Adopted for Mandatory Use
   Judicial Council of Califomia            ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]                     Attachment to Summons                                               American LegalNet, Inc.
                                                                                                                          www.FormsWorkf/ow.com




                                                                                                                  EXHIBIT H
                                                                                                                   Page 287
   Case 8:22-cv-00118-CJC-DFM                 Document
                Electronically Filed by Superior            1 Filed
                                                 Court of California,   01/24/22
                                                                      County         Page
                                                                             of Orange,     296 of08:00:00
                                                                                        11/08/2021 305 PageAM. ID #:296
' 30-202'1-0 1230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI, Clerk of the Court By Jessica Duarte, Deputy S'IJM...100
                                               SUMMONS                                                                     FDR COURT USE DNLY
                                                                                                                       (SOLD PARA USO DE LA CORTE)

                                      (CITACION JUDICIAL)
  NOTICE TO DEFENDANT:
  (A V/SO AL DEMANDADO) :
  CITY OF SANTA ANA, a Municipal Corporation;
  see additional parties attachment

  YOU ARE BEING SUED BY PLAINTIFF:
  (LO ESTA DEMANDANDO EL DEMANDANTE):
  Santa Ana Police Officers Association and Gerry Serrano


    NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
    below.
       You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
    served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
    case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
    Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
    the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
    may be taken without further warning from the court.
       There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
    referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
    these nonprofit groups at the California Legal Services Web site (www.Jawhelpcalifornia.org), the California Courts Online Self-Help Center
    (www.courtinfo.ca.gov/se/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
    costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
    ;AV/SO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la infonnaci6n a
    continuaci6n.
        Tiene 30 DiAS DE CALENDAR/0 despues de que /e entreguen es/a citaci6n y pape/es /ega/es para presentar una respuesta por escrito en es/a
    corte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
     en formato legal correcto si desea que procesen su caso en la carte. Es posib/e que haya un formulario que usted pueda usar para su respuesta.
     Puede encontrar estos formularios de la carte y mas infonnaci6n en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
     biblioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la carte
     que le de un fonnulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
     podra quitar su sue/do, dinero y bienes sin mas advertencia.
        Hay otros requisitos legates. Es recomendable que /Jame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un seNicio de
     remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener seNicios legales gratuitos de un
     programa de seNicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal SeNices,
     (www.lawhelpcalifornia.org), en e/ Centro de Ayuda de /as Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la corte o el
     colegio de abogados locales. AV/SO: Por fey, la carte tiene derecho a reclamar /as cuotas y /os costos exentos por imponer un gravamen sabre
     cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
     pagar el gravamen de la carte antes de que la carte pueda desechar el caso.
   The name and address of the court is:                                                                       CASE NUMBER:
                                                                                                            (Numero de/ Caso):
   (El nornbre y direcci6n de la carte es):
                                                                                                                                   30 -2021 -0 1230129-CU -OE-CJC
   Orange County Superior Court
   700 Civic Center Drive West, Santa Ana, CA 92701                                                                                 Ju dge Lon F. Hurwitz



   The name, add ress, and tele phone number of plaintiffs attorney, or p laintiff without an attorney, is:
   (El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
   Corey W. Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472

                                                                                                         c.frii~                               Jess ic a Duarte
               11/08/ 202 1
   DATE:                                                                         Clerk, by               6'                                                    , Deputy
   (Fecha)               D.O.VID H. YAMASAKI , Clerk of the Court                (Secretario) - --        - - - -- - - --                         - --         (Adjunto)

   (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
   (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
    ISEALJ                                NOTICE TO THE PERSON SERVED: You are served
                                          1.     0   as an individual defendant.
                                          2.     D as the person sued under the fictitious name of (specify):
                                          3.     0  on behalf of (specify): ~ ~ ~                   tlo \,u. 0~..l-.
                                               under:     DCCP 416.10 (corporation)                               LJ CCP 416.60 (minor)
                                                          D CCP 416.20 (defunct corporation)                      D CCP 416.70 (conservatee)
                                                          DCCP 416.40 (association or partnership)                0    CCP 416.90 (authorized person)
                                                          00
                                                           other (specify): <!.Lf "\\le. SV
                                         4.     0    by personal del ivery on (date):   Ve. ( L- ~ ( ZO 2 f
                                                                                                                                                                Pa e 1 of 1
    Form Adopted for Mandatory Use
      Judicial Council of Calrfomia                                      SUMMONS                         American LegalNet. Inc.       Code of Civil Procedure §§ 412.20, 465
     SUM- 100 (Rev. July 1, 2009]                                                                        www.FormsWorkffow.com                           www.courtinfo.ca.gov




                                                                                                                                      EXHIBIT H
                                                                                                                                       Page 288
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 297 of 305 Page ID #:297

                                                                                                                                 SUM-200(A\
                                                                                                    CASE NUMBER:
     SHORT TITLE:
     Santa Ana POA/Serrano v. City of Santa Ana, et al                                                   30-2021-01290129-CU-OE-C)C
-


                                                              INSTRUCTIONS FOR USE
     -+   This form may be used as an attachment to any summons if space does not pennit the listing of all parties on the summons.
     -+   If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
          Attachment form is attached."

      List additional parties (Check only one box. Use a separate page for each type of party.):

        0       Plaintiff  IS) Defendant   O Cross-Complainant O Cross-Defendant
          SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
          of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
          Resources; DOES 1-X, inclusive




                                                                                                                        Page _ _ of _ _

                                                                                                                                             Page 1 of1
     Fonn Adopted for Mandatory Use
       Judicial Council of California           ADDITIONAL PARTIES ATTACHMENT
    SUM-200(A) {Rev, January 1, 2007]                    Attachment to Summons                                                American LegalNet, Inc.
                                                                                                                              WWW. FormsWorkflow. com




                                                                                                                     EXHIBIT H
                                                                                                                      Page 289
 Case 8:22-cv-00118-CJC-DFM               Document
            Electronically Filed by Superior            1 Filed
                                             Court of California,   01/24/22
                                                                  County         Page
                                                                         of Orange,     298 of08:00:00
                                                                                    11/08/2021 305 PageAM . ID #:298
30-2021-01230129-CU-OE-CJC - ROA# 4 - DAVID H. YAMASAKI , Clerk of the Court By Jessica Duarte, Deputy SU1~M 00
                                                                                                                            FOR COURT USE ONLY
                                              SUMMONS                                                                   (SOLO PARA USO DE LA CORTE)

                                      (CITACION JUDICIAL)
 NOTICE TO DEFENDANT:
 (AV/SO AL DEMANDADO):
 CITY OF SANTA ANA, a Municipal Corporation;
 see additional parties attachment

 YOU ARE BEING SUED BY PLAINTIFF:
 (LO ESTA DEMANDANDO EL DEMANDANTE):
 Santa Ana Police Officers Association and Gerry Serrano


   NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
   below.
      You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
   served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
   Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
   the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
   may be taken without further warning from the court.
      There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
   referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program . You can locate
   these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
   (www.courtinfo.ca.gov/se/fhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
   costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
   iAV/SO! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la infonnaci6n a
   continuaci6n.
      Tiene 30 DiAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta por escrito en esta
   carte y hacer que se entregue una copia al demandante. Una carta o una 1/amada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
    en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
    Puede encontrar estos fonnutarios de la corte y mas infonnaci6n en e/ Centro de Ayuda de las Cortes de California (www.sucorte.ca.govJ, en la
    biblioteca de /eyes de su condado o en la corte que le quede mas cerca. Si no puede pagar la cuota de presentaci6n, pida al secretario de la corte
    que le de un fonnulario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le
    podra quitar su sue/do, dinero y bienes sin mas advertencia.
       Hay otros requisitos /ega/es. Es recomendab/e que /lame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
    remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
    programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
    (www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.govJ o poniendose en contacto con la corte o el
    colegio de abogados locales. AV/SO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
    cua/quier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
    pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
  T he name and add ress of the court is:                                                                     CASE NUMBER:
                                                                                                              (Numero de/ Caso):
  (El nombre y direcci6n de la carte es):                                                                                          30-2021-01230 129-CU-O E-CJC
  Orange County Superior Court
  700 Civic Center Drive West, Santa Anal CA 92701                                                                                  judge Lon F. Hurwitz



  T he name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
  (El nombre, la direcci6n y el numero de telefono def abogado def demandante, o def demandante que no tiene abogado, es):
  Corey W Glave Attorney at Law 632 S. Gertruda Ave, Redondo Beach CA 90277 (323) 547-0472

                                                                                                        c...fr\ 1~                              Jessica Duarte
              11/08/2021                                                         Clerk, by               /J
                                                                                                              1
                                                                                                                                                               ,   Deputy
  DATE:
  (Fecha)                DAVID H. YAMASAKI, Cl erk of the Court                  (Secretario) - - - - - - - - --                         -    - - - - (Adjunto)

  (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
  (Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
   ISEALJ                                 NOTICE TO THE PERSON SERVED: You are served
                                          1.     D    as an individual defen d ant.
                                         2.      D as the person sued under the fictitious name of (specify):
                                         3.      00                       So-'6- U'l A.\W) l.,..,~ ~\ . ~
                                                    on behalf of (specify) .·
                                               under:      D
                                                           CCP 416.10 (corporation)                 ' 0 CCP 416.60 (m inor)
                                                           D CCP 416.20 (defunct corporation)         D CCP 416.70 (conservatee)
                                                           D CCP 416.40 (association or partnership) D CCP 416.90 (auth orized person )
                                                           [S4 oth e r (specify): ~f' '-\_\~-~ D
                                         4.     D by personal delivery on (date): \. z._ ( z > (?v 2... f
                                                                                                                                                                   Pae1ot1
   Form Adopted for Mandatory Use
     Judicial Council of California
                                                                          SUMMONS                        American LegalNet, Inc.
                                                                                                                                       Code JI Civil Procedure §§ 412.20. 465
                                                                                                         www.Form sWorktfow.com                          w ww.courtinfo.ca.gov
     SUM-100 (Rev. July 1, 2009j




                                                                                                                                      EXHIBIT H
                                                                                                                                       Page 290
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 299 of 305 Page ID #:299

                                                                                                                              SUM-200/AI
                                                                                                 CASE NUMBER:
  SHORT TITLE:
  Santa Ana POA/Serrano v. City of Santa Ana, et al                                                   30-2021-01230129-CU-OE-CJC
~




                                                           INSTRUCTIONS FOR USE
  -t   This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
  -t   If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
       Attachment form is attached. 11

    List additional parties {Check only one box. Use a separate page for each type of party.):

     D       Plaintiff  i:,;;J Defendant D Cross-Complainant D Cross-Defendant
       SANTA ANA POLICE DEPARTMENT, a public safety department; DAVID VALENTIN, Chief
       of Police; KRISTIN RIDGE, City Manager; SONIA CARVALHO, City Attorney; JASON MOTSICK, Director of Human
       Resources; DOES 1-X, inclusive




                                                                                                                     Page _ _ of _ _

                                                                                                                                          Page 1 of 1
 Form Adop!ed for Mandatory Use
   Judicial Council of California
                                             ADDITIONAL PARTIES ATTACHMENT
SUM~200(A) [Rev. January 1, 2007]                     Attachment to Summons                                                American LegalNat, Inc.
                                                                                                                           www.FormsWoricflow.com




                                                                                                                  EXHIBIT H
                                                                                                                   Page 291
Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 300 of 305 Page ID #:300




                          EXHIBIT I
       Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 301 of 305 Page ID #:301
                              SUPERIOR COURT OF CALIFORNIA,
                                  COUNTY OF ORANGE
                                CENTRAL JUSTICE CENTER
                                           MINUTE ORDER
DATE: 01/07/2022                    TIME: 10:00:00 AM            DEPT: C20
JUDICIAL OFFICER PRESIDING: Lon F. Hurwitz
CLERK: Julie Howard
REPORTER/ERM: None
BAILIFF/COURT ATTENDANT: Jocelyne Abarca

CASE NO: 30-2021-01230129-CU-OE-CJC CASE INIT.DATE: 11/08/2021
CASE TITLE: Santa Ana Police Officers Association vs. City of Santa Ana
CASE CATEGORY: Civil - Unlimited    CASE TYPE: Other employment

EVENT ID/DOCUMENT ID: 73665048
EVENT TYPE: Motion to Quash Service of Summons
MOVING PARTY: City of Santa Ana
CAUSAL DOCUMENT/DATE FILED: Motion to Quash, 12/10/2021

APPEARANCES
Corey W. Glave, counsel, present for Plaintiff(s) remotely.
No tentative ruling posted.

Appearance as noted above.

Counsel for Plaintiff informs the Court that the summons and complaint were re-served on Defendant,
City of Santa Ana on 12/23/2021, and that a proof of service will be filed soon.

The Court orders the Motion to Quash Service of Summons filed by Defendant City of Santa Ana off
calendar.




DATE: 01/07/2022                                MINUTE ORDER                              Page 1
DEPT: C20                                                                             Calendar No.
                                                                              EXHIBIT I
                                                                               Page 292
        Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 302 of 305 Page ID #:302
                                                  UNITED STATES DISTRICT.COUfJT, CENTRAL DISTRICT OF CALIFORNIA
                                                                        CIVIL COVER SHEET
I. (a) PLAINTIFFS· { Check. PC!l! if you are r~presenting yours~)f                        O ):                 DEFENDANTS                    ( Ch~c~ b9J! if you are representing you rs elf              D}
    5.ANT.J\ ANA POLICE OFFICE~5 ASSOCIATION; GER!!YSERRANO
                                                                                                               ci'rv OF SANTA ANA; non~jural entity SANTAANAPOLIC(DEPARTMENr;·DAVlD
                                                                                                               VALENTIN; KRISTIN!, RIDGErSQNIA.CARVAlHO; JASON MOTSJC~

'<bJ CountyofHesidence of First U~tt:!.c! Plaintiff Orang!;!
(EXCEPT IN U.S. Pl:li/NTIFF CASESi
                                                                         --~-----• County of Residence qfFfr~t Listed Defendant
                                                                                                               (IN U.S. PLAINTIFF CASES ONtYf
                                                                                                                                                                                        __ _____
                                                                                                                                                                                        Ora·nge
                                                                                                                                                                                             ...._


(c) Attorneys (Firm Name;Addressand Telephone Number) If you are                                             Attorneys (Firm Name,Address and Telephone Number) If you are•
repres,;!ntingyourself, provide the same information. .                                                      representing yourself, provide the same information. .
 Corey W. Glave Attorney at Law                                                                               Lewis Bii~boisBisgaard.& Smith; L~P
.632 S. Gertruda Ave.                                                                                        .533 We51 5th 5\reet, .Sufte 40b0
    Redondo Beach, CA 90277                                                                                   Los Angeles, CA 90071
    (3i3) 547-0472 .   .                                                                                       (213) 250-1800

II.   SASISOF JURISDICTION (Place an X inpne IJOxonly.)                                            lll;C!TIZENSHIP OF PRINCIPAL PARTIES-Forrnversity Cases O.niy
                                                                                                           (Place an X in one box for pl.aintiff and o:nef9rdefendant)
D 1. US Government
       Plaintiff
                                          IEJ 3.Federal Question (U.S:
                                                 Gov.ernmentNota Party)
                                                                                                   qtiz!!n pfThis State             .   ef   l    ~F ~ .1.nfi:Borµ_prate1 ()hr ~riri~ipal Place·
                                                                                                                                                        o. usmess·1n:t is.State
                                                                                                                                                                                                      0       4 ljF 4

                                                                                                   Ci.ti~ii Qf AnotherState             Q. 2      Q i. Jncorporat!id and Prln~ipal P.lace·            0       S   O   5
                                                                                                                                                        of Business i11 Another St ate
Q      2. U5; Government                  0 4.Diversity (Indicate Citizenship                      Citizen or SubJ,;ct ofa
                                                                                                                                        0. 3      □ .3     Foreign Nation                             [16.05
       Defendant                                 •Of Parties in Item Ill)                          Foiei g11 Country

IV. 0~ IGIN (Pl ace an X in one box .only :J                                                                                                                       6.MultidJstrlct
□ 1,0riglnal
.
                       0· 2.Remove.dfrom
                        ~
          Proceeqirig · ..      State•C.01,1rt
                                                         ··o 3.Rema.ndeMr.om
                                                               Appellate. Court
                                                                                      □ 4:.Reinstatedor
                                                                                      .   . Reop~·ned
                                                                                                                   O    5,TransferredfromA. nether □·
                                                                                                                          District: (Specify)
                                                                                                                                                                     Lltl 9.a ti on -
                                                                                                                                                                     Tr;insf¢r
                                                                                                                                                                                          .
                                                                                                                                                                                             D
                                                                                                                                                                                                 8. Multidistrict
                                                                                                                                                                                                    Litigation -
                                                                                                                                                                                                    Dirett.Jlle

V. REQUESTED IN COMPLAINT: JU.8.V' DEMAND: (!]                                        Yes       □ No             (Check "Ye$" only if demanded in complaint.)
CLASS ACTION unde:t F.R.C.v.P. 23!                           □ Yes      E] No·                             0    MONEY DEMANDED. IN COMPLAINT: $
VI. ·<;:A.USE OF ACTION .(<;ite·the U.S:Civ.1! Statuteunderwhich ·you·arffiHng and write a brl~f statementof cause.. :oo.riot cfteJurhclictional staMes•.unless diversity.)
42 u:S,c. section 1983

VII~ NATURE OF SU IT (Place an X in Cirie box only).

D   375 False Claims Ad            D     )10 Insurance            D     240 Torts to Land            D      462 Naturalizati.on                    Habeas Corpus:            D    820 Copyri~hts
                                                                  D                                                              D 463· M
□
 . 376.QulT.im
              ·                    D    TWMarlne
                                                                        245Tort.Prod. u.ct                  Application                  Alien De@lnee
                                                                                                                                         o·                                  D    83.0 Patent




                                                                                                                                                 =~f: :~ ~[;~=-•Act
   :(31 USC3729(a))                                                     Uability            .               4650ther                51.0 .. qtit;mstciVaciite
D. 400 State                       D    130·Miller.Act            □     29i>AII. 0th.er Rflal        D      Immigration Actions: . ·Sen~ence                                 D    835 .f>a,ent · A~tireviated



g:'f.:".:':",mg ~ ~$~;
D      450 Commerce/ICC                 Enforcemeiltof
                                                                  gi!f?57n    ~~!'~~
                                                                                ·
                                                                                     ~ ·             D 371 Truth in Lending
D
       ilateii/Ei:c. .
       46b: Deportation
                                        Judgmerit .               □    ~:~mty
                                                                         i:td1i~f                      3800ther Personal D 550 Clvil Rights
                                                                                                     D Property
                                                                                                        · · Damage   ·
                                                                                                                                                                             :Y.·•"l<{:,sp_c;IAkS~<:U~.1:rY"-: .:. /:i I
                                                                                                                                                                              D 861
                                                                                                                                                                                 · · · IA (1395
                                                                                                                                                                                             · ff)
                                   D    15.1 ¥edicareAct          D      320 Assault; Libel 11,                             D 55 5 Prison Condition                                     H.



   470 Racketeer lnf!u-
0 linced  & Cori-uptOrg.                J52 Recovery of
                                                                         Slander·
                                                                         330 Fed. Employers'         0 ~ Property Damage 560 Civ/1 Detainee
                                                                                                       38
                                                                                                                                                                              D B62 81ack:Lun.g (9.. 23.).
0 480 Con.sumerCredlt              O    Defaulted Student         O      Liability                     Product Liability    O Ceindltlohsof                                   O 863 DIWC/DIWW (405.(gi}
□ 485Te!ephone                          Loan(Exd.Vet)             0     340Marlne                    .,'_''..'''BANKRUPTC'f'•/iL ~··11oeo;~n~rnent ·                      ... 0 86•fS:s1btitleXVI
 · Coi1silmer P~otectiiJn Act           153 Recovery of                · 345 Marln1:rPro.~uc~        D .422 Appeal        28    9, ,, ,.Jt......I. . 11  ,R.~ '-'!Al:TY:i{           · ·
0 ··.;:~ ~;:~:~!:~:m-
0       dT s/E h
                                   D
                                   O
                                        ~![?:~~,ir1of
                                        ·1.60.stockl,ald~rs'
                                                                  DD   ~;!1
                                                                        · .. ·
                                                                                 ~~torVehic;e
                                                                                   · · . · .
                                                                                                     ·o            5
                                                                                                            4uu:s~c.~
                                                                                                                     5
                                                                                                                   1 i7:hdrawal   28 □· :t~~i~gf~e/:p~~
                                                                                                                                           .
                                                                                                                                                        21                   ~"::.:::;.~::.:.~~;su1TSPJ?\I
n      ,ifg~i;er;~a::fo~           0     ~::t.~ther               □ :! ~I~r~~~!;:,                   ;(;:t~~h~~:;~:;:~;~ .D~x:: j~;~~P~WiiL%/-\ D□ ~;!~T~f~it~s;: :n2t~u:~
D      8:91 Agricultural Acts           Contract                  D
                                                              Injury                     D 441 Voting                                            71.0.FairLaborStahdards           7609                   ·
 □     893 Environmentai    D           ,:95·contract      D 362 P,;rsonal Injury- □·                                                            Act
.      Matters                          Produ. ct iabilit.Y
                                                    L.        Med Malprat.li:.              442 Employnieht
                                                                                          e.·          .                                 O       72()1 LaboriMgmt.
                                                                                                                                                       ·
 □
        · Freedom.oflnfo.
       895                · D             ··
                                        196.franc  hise    D 365   Pe· rsonal 1·nju'ry·; D 443 Housing/                                          Re at ions
       Act                                                    Produd Lial:i)lity · ·        Accommodations                               D.      740. Railway Labor Act
                            )'/ 11:~A,~j:l;~<J:1!'~~1)') ;    367 Health Care/              445 American with
D 896. Arbitration
         . ..               0 2t0 La.nd•                   □ Pharmaceutli:a!
                                                                                         D o··. 1sabll'1t1es-
                                                                                                         ·    .                          □  ;:'51 Family and Medi cal
   899 Admin. Procedures. . Condemnation                      Pe.rs·ooalJnJury            · Employment                                     .Leav.eAct
0 /.let/Review of Appeal of O 220.foreclosure                 Product.~iabllity          O A46 American with                             □. 790 Other Labor
   /\gem:y Decision               . . . · .· · · · ·         ·368 Asb~st.iis ·              Oisabilities-Oti")er .                          Lit.igation
□ 950 Constitutionality of O 230 RentLease.& □· •Persona Hnjury                          O 44a.Education                                 □. 79fEmployee Ret, Inc.
   State Statutes      ·         Eiectment ·                  Prcidud Liabllitv ·                                                           Secudty Act

FOR ·oFF!CE USE ONLY:                             Case Number.
C\i;-71 ( 10120)                                                                                ·CIVIL COVER SHEET
      Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 303 of 305 Page ID #:303
                                             UNITED ST ATES DI STRICT COURT, CENTRAL DI STRICT OF CALIFORNIA
                                                                     CIVIL COVER SHEET

VI 11. VENUE: Your answers to the questions beltiw will .determine the division ofthe Court to which this case will be in!tlally assigned, Thfs Initial assignment is subject
to change, in accordance with the Court's General Orders,Upoh review by the Court.of your Complaint cir Notice of Removal. .
QUESTION A: Was this case removed
from state court?
               0     Yes.   D    No

lf"no," skip to Question 6. lf"yes." checld!ie     l-------------------------1----------------,
box to the right that applies, enter the
cci rresp cind Ing div is lo n In respoh se to .
Qilestion E, belciw,and continue from there ..


QUESTION B: Is the United States, ot B, 1. Do 50% or more of the defendantswho reside ln                           ·YES. Your case w!ll .initially be.assigned to the.Southern Division.
one.of its agencie~ cir employees, a the district reside in Orange Co.?                                       0     Enter "Southern" in response to Question E, below; and .continue
PLAINT I FF 1n this action?                                                                                         from there:
                                     check one of /he boxes rot he rig hr
             D Yes D No                                                                                       0     No, Continue to Question 6,2'.

                                                   B..2. Do SO% or rnoie of the defendants who reside in            YES, Yol..ircase will initially be.assigned·to the Eastern Division.
If "no," skip i:o Question t. If "yes;'' answer    the district reside Jn. Riverside and/orSan Bernardino
Question 6.1, at right.                            Counties? (COnsider the. two countie.1 together,)
                                                                                                              D     Enter "Eastern" In response to Question E, below, and continue.
                                                                                                                    from there.
                                                   checkone ofrhe bpxe.1 to the right                               NO. Your case will .initially be assigned to the Western Division.
                                                                                                              D     Enter 'Western' In response to Question E, below, and continue
                                                                                                                    from there:.            ·

QUESTION C: ls.the United States, or C.1. Do SO% or more ofthe plaintiffs who reside in the.                        YES: Your ca';e will initially be assignedto the Southern DivlsTon,
one cif its agencies or employees; a district reside in Orange Co.?                                           D     Enter "Southern" In response to Question E, below, and continue
DEFENDANT in.this action?                                                                                           fmrnthere,
                                     check one of/he boxes lo the right   ➔
             D Yes D No                                                                                      D      NO. Continue to Question C.2:

                                                   c,2. Do 50% or more.of the plaintiffs who reside !n the         YES, Your case will ihltiaUy be assignedto the Eiistern Division,
If ''no, " skip to Question Q. If "yes," answer    district reside in Riverside and/or San Bernardino·
Question i:.1, at right                                                                                      0     Enter ''Eastern" in response to Question E, below, and continue
                                                   Counties? (Consider the two cciuritles together.)               from there.
                                                   check one of the boxe.1 to rheright   ➔                          NO. Your casewlll initially be assigned to the. Western D.ivision.
                                                                                                             O      Enter'Western" fr1 response to Question Eibelow;and continue
                                                                                                                    from there.           ·




lndfcate the location(s) inwh lch 50% or more of plaintiffs who reside ih this dis tr/ct
reside. (Check up to two boxes, or leave blank if none .ofthese cholces apply.)                                                                                           □
lnd.icate the location(s) in whii::h 50% ormore of defendants who reside in this
district reside. (Checkup to two boxes, or leave blankif none of these choices
appl .J                                                                                                                                                                   □
                 D.1. Is there at least one answer in Column A?                                              D,2, ls there.at least one answer in Column B.?
                                    0Yes           □ No.                                                                         D Yes          □ No
                    .If "yes,"your case will lnltially be assignedto the                                          If "yes," your case will initially be assigned to the
                                  SOUTHERN DIVISION.                                                                            EASTERN DIViSION,
     Enter "Southern" in response to Question E; ·below, and continue from there.                              Enter "Eastern" ihre,ponse to .Quest!on E, below,
                            lf"no;" gofoquestion 02 to the right           ➔                            Jf "no," your casewill be assigned to the WESTERN DIVISION.
                                                                                                               EnteT"Western'' in response to Question Eibelow.




Eriter the initial. division deterrriiried byQuestion A        e, C. or D above:

Do. so% or more·of plairitlffs or deferida lits in this distrlct reside Tn Ventura, Santa Barbara, or San Luis. Obispo counties?                        D Yes
CV41 (10/20)                                                                      CIVIL COVER SHEET                                                                   Page2of3
     Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 304 of 305 Page ID #:304
                                           UNITED STATES DISTRICTCOURT, CENTRAL OISTRICTOF CALIFORNIA
                                                                CIVIL COVER SHEET

IX(a }. IDENTICAL CASES:: Has this action been previously filed ln this court?                                                                       0     NO             0      YES

         lfyes,.llst case riumber(s):

IX(b ). RELATED CASES: Is this case related (as defined below) to any civil orcrhriinal c.ise(s) previously filed Jn this c0;urt?
                                                                                                                                                     0    NO              0     YES
         If yes, list case number(si:



         Civil cases are related when they (check a II that apply):

               D     A. Arise from the same or a tlosely.relatedtransacfion, happening, or.event;

               D     B. Call for determination of the same or substantially related or similar questions of law and fact;or

               D     C. For other reasons would enta ii substantial duplication of labor if heard by different judges.

         Note: That cases may involve the same pa tent. trademark, ot copyrightis not, in itself, sufficientfo deem cases related.



         A civil forfeiture case and a criminal casl! are related when they (check all thafapply):


               □    A. .Arise from the same or. a closely related transaction, happening, or eve ht;

               □     B, Call for determination of the s.ame or substantially related or similar q uestlons oflawand fact; or
                     c
               □
                        Involve one or more defendants from the criminal case in common and would entail subs ta ntia I duplkation of
                     labor if heard by different judges.


X; SIGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LITIGANT): /s/ Soojin Kang                                                                                         DATE:       1/24/2022
                                                   -----~-----------------
Notice to Counsel/Parties: The submission of this (]Vil Cover:Sheet is required by Loca I Ruie 3.-1. Th is Form 0/-?i and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as.provided by local rules of court.· For ·
more detailed irisfructiohs, s'eesepa rate i tistruction sheet (CV0 07lA).




Key to Statl.stlcal codesrelatrng to Soclal Security Cases:

     Nature of Suit Code        Abbreviation                   Stibstantlve Statement of Cause of Action
                                                   Ali.clalms.for. healt.h Insurance. benefits (Medicare) under Title 18;Part A; of the .Social Security Act, as amended. Also,
        B61                        HIA             in dude claims by hospitals; skllled nursing fad I/ties, etc., for certification as. providers of services underthe program.
                                                   (42 U.S.C 193SFF(b)l . .                         .     .        .                .         .                              .

        B62                        BL              All claims for "Black Lung' beriefits under Title 4, Part B, ohheFederal Coal Mirie Health and Safety Act of1969. (30 U.S.C
                                                   923)                       .                                                                                 .


        863                        DIWC                                                                                                                                    a
                                                   AII dai ms fiJ ed by insured workers for di sa bili tyin st.ir an ce benefits under ntl e 2 of the Socl al Secu rlty Act; as mended; plus
                                                   all claims filed for child's irisuram.'e benefits.based on disability: (42 U.5.C. 4Vi (g)J                         .

        863                        DIWW            All claims med for widows or widowers.Insurance benefits l;,ased .on d.isability und.er T!t]e 2 of the So(jaJ Securlty Act, as
                                                   amended. (42 U.S.C. 40~ (g))                                                         ·


        864                        S51D            All.claims for supplemental .security income payments based upori disabllity fl!ed under T!tle 16.ofthe Social Security Act, as
                                                   am.ended.

        865                        RSI             All claims for retiremerit fold age) arid survivors benefits under Title 2 .of the Social Security Act,.as amended.
                                                   (42 U5.C. 405 (gll                                                                                 .




CV-71 ( 10/20)                                                                    CIVIL COVERSHEET                                                                       Page3 of 3
    Case 8:22-cv-00118-CJC-DFM Document 1 Filed 01/24/22 Page 305 of 305 Page ID #:305

  NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S}
  OR OF PARTY APPEARING IN PRO PER
  Jeffrey S. Ranen SB# 224285
  Soojin Kang SB# /219738
  Andrea L. Steffart SB# 332596
  Lewis Brisbois Bisgaard & Smith, LLP
  633 West 5th Street, Suite 4000
  Los Angeles, CA 90071
  (213) 250-1800 .

  ATTORNEY(S} FOR:

                                                 ------------------------------
                      Rristine Ridge; Sonia Carvalho; Jason Motsick
                                               UN IT ED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Santa Ana Police; Officers Association; Gerry                                  CASE NUMBER:

Serrano
                                                              Plaintiff(s),
                                     v.
City of Santa An~; Santa Ana Police Department;
                                                                                              CERTIFICATION AND NOTICE
David Valentin; Kristin Ridge; Sonia Carvalho;
                                                                                                OF INTERESTED PARTIES
Jason Motsick ·
                                                             Defendant(s)                            (Local Rule 7.1-1)


TO:       THE COURT AND ALL PARTIES OF RECORD:

The undersign~d, counsel of record for                    Kristine Ridge; Sonia Carvalho; Jason Motsick
or party appearing in pro per, certifies that the following listed party ( or parties) may have a pecuniary interest in
the outcome of,this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

                (List tµe names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                   CONNECTION I INTEREST
City of Santa Ana                                                             Defendant
Santa Ana Police Department, a non-jural entity                               NIA
David Valentin                                                                Defendant
Kristine Ridge                                                                Defendant
Sonia Carvalho                                                                Defendant
Jason Motsick                                                                 Defendant
Santa Ana Police Officers Association                                         Plaintiff
Gerry Serrano                                                                 Plaintiff




          January,24, 2022                                 Isl Soojin Kang
          Date                                             Signature


                                                           Attorney of record for (or name of party appearing in pro per):

                                                           Kristine Ridge; Sonia Carvalho; Jason Motsick


CV-30 (05/13)                                          NOTICE OF INTERESTED PARTIES
